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                        Central States, Southeast
                         and Southwest Areas
                              Pension Plan




                                    RESTATED PLAN EFFECTIVE JANUARY 1, 1985
                                       AS AMENDED THROUGH APRIL 3, 2023




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CENTRAL STATES, SOUTHEAST AND SOUTHWEST AREAS PENSION FUND, a jointly
administered, defined benefit employee benefit plan




                                    ADDRESS OF ADMINISTRATIVE OFFICE
                                          8647 West Higgins Road
                                           Chicago, Illinois 60631




                                            TELEPHONE NUMBER
                                                (847) 518-9800
                                           1-800-323-5000 (Toll-Free)




                                    EMPLOYER IDENTIFICATION NUMBER
                                               XX-XXXXXXX




                                                PLAN NUMBER
                                                    001




                                            BOARD OF TRUSTEES

                            UNION                             EMPLOYER
                         Charles A. Whobrey                  Gary F. Caldwell
                         Gary Dunham                         Robert Whitaker
                         Trevor Lawrence                     Mark Angerame
                                                             Richard K. Ellis



                                            EXECUTIVE DIRECTOR
                                    (also Agent for Service of Legal Process)
                                               Thomas C. Nyhan




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ARTICLE I             DEFINITIONS


Section 1.01        ACCRUED BENEFIT

             (a)    The Accrued Benefit of a Participant who is eligible for a Vested Pension (as defined in
                    Section 4.07) is the greater of either the maximum Twenty-Year Service Pension or 30-
                    and-Out Pension payable from his Benefit Class multiplied by the sum of the following:

                    (1)    1½% of the Contributory Service Credit earned by the Participant before January
                           1, 1976,

                    (2)    3% of the Contributory Service Credit earned by the Participant on and after
                           January 1, 1976,

                    (3)    the product of (1) and (2), above.

             (b)    The Accrued Benefit of a Participant who is eligible for a Contribution-Based Pension
                    (as defined in Section 4.03) is:

                    (1)    The greater of either the Twenty-Year Service Pension or 30-And-Out Pension
                           payable from his Benefit Class, as of December 31, 1985, multiplied by the sum of
                           the following:

                           (A)      1½% of the Contributory Service Credit he earned before January 1, 1976,

                           (B)      3% of the Contributory Service Credit he earned from January 1, 1976
                                    through December 31, 1985,

                           (C)      the product of (A) and (B), above, plus

                    (2)    For each calendar year from 1986 through 2003, inclusive, the greater of:

                           (A)      2% of all Contributions made on his behalf during the calendar year or, if he
                                    is at Benefit Class 15(C) or 16,

                           (B)      the minimum benefit below, corresponding to his Benefit Class as of the date
                                    of the last Contribution made on his behalf during the calendar year,
                                    multiplied by the Contributory Service Credit he earned during the calendar
                                    year:

                                                    Benefit                   Minimum
                                                     Class                     Benefit

                                                      15
                                                              (C)              $66
                                                      16
                                                              (A)               77
                                                              (B)               81
                                                              (C)               83, plus

                    (3)    For calendar year 2004 and for each subsequent calendar year, 1% of all
                           Contributions made on his behalf during the calendar year.

             (c)    The Accrued Benefit calculated in (a) or (b)(1), above, shall not exceed the 30-And-Out
                    Pension amount for the Benefit Class of the Participant.
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             (d)    The Accrued Benefit calculated in (a) or (b), above, shall never be less than the Accrued
                    Benefit determined at the end of any preceding calendar year.

             (e)    All Non-Contributory Service Credit and any calendar year for which no Contributory
                    Service Credit is earned shall be excluded in determining a Participant’s Accrued Benefit
                    in (a) and (b)(1), above.

Section 1.02        ACTIVE PARTICIPANT

             (a)    A Participant becomes an Active Participant if:

                    (1)    he has a Year of Participation; or

                    (2)    he has not had a One-Year Break-in-Service during any calendar year since he
                           last became an Active Participant.

             (b)    A Disabled Participant becomes an Active Participant during the calendar year in which
                    he recovers from his disability.

             (c)    A Participant becomes an Active Participant immediately upon having a Year of
                    Participation.

Section 1.03        BARGAINING UNIT means, all Employees who are covered by and whose terms and
                    conditions of employment are specified in a particular Collective Bargaining Agreement.

Section 1.04        BOARD OF TRUSTEES means, the Union Trustees and the Employer Trustees
                    collectively as appointed according to the Trust Agreement to administer the Pension
                    Fund and the Pension Plan.

Section 1.05        BREAK-IN-SERVICE

             (a)    A Break-in-Service is sustained when consecutive One-Year Breaks-in-Service
                    accumulate as follows:

                    (1)    If the Participant stopped working in Covered Service between February 1, 1955
                           and March 31, 1969, inclusive, he shall sustain a Break-in-Service if he has at least
                           5 consecutive One-Year Breaks-in-Service.

                    (2)    If the Participant stopped working in Covered Service between April 1, 1969 and
                           December 31, 1975, inclusive, he shall sustain a Break-in-Service if he has at least
                           3 consecutive One-Year Breaks-in-Service.

                    (3)    If the Participant stopped working in Covered Service after December 31, 1975,
                           he shall sustain a Break-in-Service if he has the greater of:

                           (A)      5 consecutive One-Year Breaks-in-Service; or

                           (B)      a number of consecutive One-Year Breaks in Service equaling or exceeding
                                    the number of years of Vesting Service he earned prior to the first of his
                                    consecutive One-Year Breaks-in-Service.

             (b)    A Vested Participant cannot sustain a Break-in-Service.



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             (c)    An individual who sustains a Break-in-Service is no longer a Participant, and he shall
                    lose all right and claim to any benefit from the Pension Plan, except that he shall never
                    lose any Self-Contributions he may have made to the Pension Fund.

Section 1.06        COLLECTIVE BARGAINING AGREEMENT means, a written agreement between a
                    Union and a Contributing Employer requiring Employer Contributions to the Pension
                    Fund on behalf of all Employees whose classification of work is covered by the Collective
                    Bargaining Agreement. A Collective Bargaining Agreement also means a written
                    agreement between the Board of Trustees and a Contributing Employer requiring
                    Employer Contributions on behalf of all Employees whose classification of work is
                    covered by the agreement.

Section 1.07        CONTRIBUTING EMPLOYER means, any association or individual employer which has
                    agreed or shall agree, in writing, to be bound by the Trust Agreement and to make
                    Employer Contributions to the Pension Fund according to a Collective Bargaining
                    Agreement, and which has been accepted by the Board of Trustees as a Contributing
                    Employer. Contributing Employer also means a Union with regard to its Employees, the
                    Pension Fund with regard to its Employees, and Central States, Southeast and
                    Southwest Areas Health and Welfare Fund with regard to its Employees. A Contributing
                    Employer, upon acceptance, must continue to meet the conditions stated above as well
                    as any additional conditions established by the Board of Trustees for Contributing
                    Employers.

Section 1.08        CONTRIBUTIONS means, either or both of the following:

             (a)    Employer Contributions are Contributions which a Contributing Employer is required to
                    make to the Pension Fund pursuant to a Collective Bargaining Agreement or applicable
                    law, provided that the Contributing Employer shall be required to make such Employer
                    Contributions to the Pension Fund at Contribution rates at least equal to minimum
                    Employer Contribution requirements adopted by the Board of Trustees and applicable
                    to the Collective Bargaining Agreement, including the requirements stated in Appendix
                    K-1 and Appendix K-2 of this Pension Plan. Any Contributing Employer which, based
                    upon the Uniformed Services Employment and Reemployment Rights Act of 1994, is
                    required to make Employer Contributions to the Pension Fund, shall make those
                    Employer Contributions at the rates and in the amounts of Employer Contributions which
                    that Contributing Employer would have been obligated to pay to the Pension Fund,
                    relative to the Participant, if his employment by that Contributing Employer had
                    continued throughout (and had not been interrupted by) such service in the Uniformed
                    Services (plus interest, to the extent such Employer Contributions are not paid at the
                    time of such absence from employment as a result of service in the Uniformed Services,
                    in accordance with the Trust Agreement of the Pension Fund).

             (b)    Self-Contributions cannot be made and are not acceptable for any period after
                    December 31, 2003, unless the period of the layoff, sick leave, other leave of
                    absence or approved strike, on which the Self-Contributions are based,
                    commenced before and was continuing on January 1, 2004. All references to Self-
                    Contributions in this Section 1.08 and elsewhere in this Pension Plan are
                    subordinate to the limitations of the preceding sentence. Self-Contributions are
                    voluntary Contributions made to the Pension Fund by an Employee for a period of
                    employment for which his Contributing Employer is not required by his Collective
                    Bargaining Agreement, to make Employer Contributions on his behalf. Self-
                    Contributions are subject to each of the following:

                    (1)    An Employee shall not, except as provided by a Collective Bargaining Agreement,
                           be permitted to make Self-Contributions for any period of compensated

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                           employment with the same Contributing Employer if the period of compensated
                           employment is not covered by a Collective Bargaining Agreement.

                    (2)    An Employee must make a sufficient number of Self-Contributions which alone, or
                           when combined with Employer Contributions, earn him Contributory Service Credit
                           for the calendar year in which his Self-Contributions are to be applied.

                    (3)    An Employee must make Self-Contributions at the same rates as required by his
                           Collective Bargaining Agreement and any renewal thereof.

                    (4)    An Employee shall be permitted to make Self-Contributions, in accordance with
                           the following, for a period when he is on the seniority list of a Contributing Employer
                           in a sick-leave (illness or injury) or layoff status for no more than a 60-month layoff
                           period or is on approved strike:

                           (A)      Pre-January 1, 1994 Self-Contributions: Self-Contributions for a period
                                    preceding January 1, 1994 may be made at any time. If Self-Contributions
                                    for a pre-January 1, 1994 period are submitted within 24 months of the
                                    earliest date to which they apply, there shall not be any interest charged on
                                    such Self-Contributions. If such Self-Contributions are not submitted within
                                    this 24 month period, however, interest shall accrue and be charged from the
                                    earliest date to which such Self-Contributions apply to the date they are
                                    made. The interest charged shall be determined by the same rate (or rates)
                                    paid by Contributing Employers for delinquent Employer Contributions owed
                                    during the period for which such Self-Contributions are being made.

                           (B)      January 1, 1994 and after Self-Contributions: Self-Contributions for a
                                    period on or after January 1, 1994 must be submitted no later than December
                                    31 of the year immediately following the calendar year to which they are to
                                    be applied. There shall not be any interest charged on Self-Contributions
                                    made for a period beginning on or after January 1, 1994.

                    (5)    An Employee shall also be permitted to make Self-Contributions for a period when
                           he is on the seniority list of a Contributing Employer in an authorized leave of
                           absence status. Self-Contributions for a leave of absence must be submitted at the
                           time of the leave or as provided in the Collective Bargaining Agreement covering
                           an Employee. An Employee whose Collective Bargaining Agreement does not
                           require him to make Self-Contributions during a leave of absence, shall be
                           permitted to make Self-Contributions in accordance with (4)(A) or (B) (whichever
                           is applicable to the time period of his Self-Contributions) of this Section.

                    (6)    An Employee making Self-Contributions must comply with procedures established
                           by the Board of Trustees, including the use of forms which his Contributing
                           Employer is required to complete to confirm that he is in an employee status and
                           remains on the seniority list.

                    (7)    An Employee may not make Self-Contributions which exceed 10% of all
                           compensation he receives from Contributing Employers during his working career.
                           In determining the 10% Self-Contribution limitation, any interest required by
                           subsection (b)(4)(A) of this Section, shall be excluded.

                    (8)    An Employee whose layoff status commences on or after January 1, 2000, and is
                           the result of a cessation of business by a Contributing Employer shall be permitted
                           to make Self-Contributions for a maximum of 2 years after the initial business
                           cessation date.

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             (c)     Employer Contributions shall be irrevocable, shall be held and invested according to the
                     provisions of the Trust Agreement, and shall be used for providing benefits and paying
                     the expenses of the Pension Fund. Employer Contributions made in error shall be
                     subject to the refund policies adopted by the Board of Trustees.

             (d)     Self-Contributions shall be non-forfeitable. If an Employee who has made Self-
                     Contributions does not become eligible for benefits from the Pension Fund, the Self-
                     Contributions that he made shall be returned to him with interest at the rate of 5.5%
                     compounded annually.

             (e)     If an Employee who has made Self-Contributions would qualify for a Contributory Credit
                     Pension under Benefit Class 17a or 17b or higher or for a 25-And-Out Pension under
                     Benefit Class 17a or higher or for a 30-And-Out Pension under Benefit Class 17b or
                     higher, except for the exclusion of his Self-Contributions as required by the Pension
                     Plan, including Section 1.09(b), and if the Employee requests a return of his Self-
                     Contributions, the Self-Contributions that he made shall be returned to him with interest
                     at the rate of 5.5% compounded annually.

             (f)     There shall be a separate accounting maintained of the portion of the Accrued Benefit
                     of each Participant derived from Self-Contributions.

Section 1.09         CONTRIBUTORY SERVICE

             (a)     A Participant shall earn Contributory Service for any employment with a Contributing
                     Employer required to make Employer Contributions on his behalf according to a
                     Collective Bargaining Agreement.

             (b)     A Participant shall earn Contributory Service for any period commencing before
                     January 1, 2004, for which he makes Self-Contributions, except that, any Contributory
                     Service earned from Self-Contributions shall not be counted in determining his eligibility
                     for benefits under:

                     (1)   Benefit Class 16, if such Self-Contributions were made to meet any part of the 5-
                           day or one-week Contribution requirement for benefits under this Benefit Class; or

                     (2)   Benefit Class 17a, if such Self-Contributions were made (A) for a period or periods
                           preceding January 1, 1994, other than a Temporary Medical Absence Period or
                           (B) to meet any part of the 100-day or 20-week Contribution requirement for
                           benefits under this Benefit Class; or

                     (3)   Benefit Class 17b, if such Self-Contributions were made (A) for a period or
                           periods preceding January 1, 1994, other than a Temporary Medical Absence
                           Period or (B) to meet any part of the 10-day or 2-week or 100-day or 20-week
                           Contribution requirements for benefits under this Benefit Class; or

                     (4)   Benefit Class 18, if such Self-Contributions were made (A) for a period or periods
                           preceding January 1, 1994, other than a Temporary Medical Absence Period, or
                           (B) to meet any part of the 10-day or 2-week or 100-day or 20-week Contribution
                           requirements for benefits under this Benefit Class.

                     (5)   Benefit Class 18+, if such Self-Contributions were made (A) for a period or periods
                           preceding January 1, 1994, other than a Temporary Medical Absence Period, or
                           (B) to meet any part of the 10-day or 2-week or 100-day or 20- week Contribution
                           requirements for benefits under this Benefit Class.


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                           As used in this Section 1.09(b) and in Sections 4.04(a), 4.05(a) and 4.06(b), a
                           Temporary Medical Absence Period means and includes any period when the
                           Participant, while continuing to be in employee status on the seniority list of a
                           Contributing Employer, is temporarily absent from active employment by his
                           Contributing Employer as a direct result of sickness or injury, provided that the
                           aggregate maximum period of such absences for which such past Self-
                           Contributions may be counted and included in determining Benefit Class 17a and
                           17b and 18 eligibility is 30 days of daily Self-Contributions or 6 weeks of weekly
                           Self-Contributions, and provided further that, for Participants receiving continuing
                           Workers’ Compensation benefit payments during such absences, the aggregate
                           maximum is one year of daily or weekly Self-Contributions.

             (c)    A Participant may earn Contributory Service for his periods of service in the Uniformed
                    Services if and to the extent:

                    (1)    his service in the Uniformed Services begins during, and causes him to be absent
                           from, employment by an employer that was, either at such beginning of service or
                           before such service is concluded, a Contributing Employer;

                    (2)    he would have earned Contributory Service based upon Employer Contributions if
                           his employment by that employer had not been interrupted by such service in the
                           Uniformed Services;

                    (3)    he submits an application for reemployment to the same Contributing Employer
                           within the following time limitations (except as those limitations are required by law
                           to be extended):

                           (A)      If his reemployment is initiated before December 11, 1994, his application for
                                    reemployment must be submitted to the Contributing Employer within 90
                                    days after his discharge from the Uniformed Services; and

                           (B)      If his reemployment is initiated on or after December 11, 1994, his application
                                    for reemployment must be submitted to the Contributing Employer;

                                    (i)     within 90 days after completion of a period of service in the Uniformed
                                            Services that was more than 180 days;

                                    (ii)    within 30 days after completion of a period of service in the Uniformed
                                            Services that was more than 30 days and less than 181 days; and

                                    (iii)   within one day after completion of a period of service in the Uniformed
                                            Services that was less than 31 days; and

                    (4)    All such periods of service in the Uniformed Services do not, in the aggregate,
                           exceed 5 years (except as that 5-year maximum is required by law to be enlarged).

                           For purposes of this Section 1.09(c) and Sections 1.08(a), 1.10(b) and 1.36, the
                           term ‘Uniformed Services’ is as defined in the Uniformed Services Employment
                           and Reemployment Rights Act of 1994 (as may be hereafter amended)
                           (‘USERRA’). For purposes of this Section 1.09(c) and Sections 1.08(a), 1.10(b)
                           and 1.36, ‘service in the Uniformed Services’ includes the performance of duty by
                           a Participant on a voluntary or involuntary basis in a Uniformed Service under
                           competent authority and also includes any period during which a Participant is
                           absent from employment for the purpose of an examination to determine the
                           Participant’s fitness to perform any such duty. As a prerequisite to earning
                           Contributory Service based upon this Section 1.09(c), the Participant shall provide
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                           any notice and any documentation that is required by USERRA or other applicable
                           law.

             (d)     A Participant may earn Contributory Service if his Bargaining Unit was accepted in this
                     Pension Fund according to the Alternative Policy in Appendix G of this Pension Plan.

             (e)     A Participant may lose the Contributory Service he earned if he sustains a Break-in-
                     Service.

             (f)     If a Collective Bargaining Agreement covering an Employee requires his Contributing
                     Employer to make weekly Contributions, then he shall earn one week of Contributory
                     Service for each week that he performs one Hour of Service and a weekly Contribution
                     is required on his behalf.

             (g)     If a Collective Bargaining Agreement covering an Employee requires his Contributing
                     Employer to make daily Contributions, then he shall earn one day of Contributory Service
                     for each day that he performs one Hour of Service and a daily Contribution is required
                     on his behalf.

Section 1.10         CONTRIBUTORY SERVICE CREDIT

             (a)     Contributory Service Credit is based on Contributory Service, and is determined as
                     follows:

                     (1)   For calendar years beginning before January 1, 1976:

                           (A)      no Contributory Service Credit is earned for any calendar year with less than
                                    20 weeks of Contributory Service; and

                           (B)      ½ year of Contributory Service Credit is earned for any calendar year with at
                                    least 20 weeks but less than 35 weeks of Contributory Service; and

                           (C)      one year of Contributory Service Credit is earned for any calendar year with
                                    at least 35 weeks of Contributory Service.

                     (2)   For calendar years beginning on and after January 1, 1976:

                           (A)      Contributory Service Credit is earned only for a calendar year in which a
                                    Participant has a Year of Participation;

                           (B)      Contributory Service Credit equals the sum of the following:

                                    (i)    the number of weeks of Contributory Service earned by a Participant in
                                           a calendar year in which he has at least a Year of Participation divided
                                           by 40; and

                                    (ii)   the number of days of Contributory Service earned by a Participant in
                                           a calendar year in which he has at least a Year of Participation divided
                                           by 180.

             (b)     A Participant shall earn Contributory Service Credit for Contributory Service to which he
                     is entitled, based upon Section 1.09(c), for his periods of service in the Uniformed
                     Services, according to the following:

                     (1)   For calendar years beginning before January 1, 1976:

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                           (A)      no Contributory Service Credit is earned for any calendar year with less than
                                    20 weeks of Contributory Service; and

                           (B)      ½ year of Contributory Service Credit is earned for any calendar year with at
                                    least 20 weeks but less than 35 weeks of Contributory Service; and

                           (C)      one year of Contributory Service Credit is earned for any calendar year with
                                    at least 35 weeks of Contributory Service.

                    (2)    For calendar years beginning on and after January 1, 1976:

                           (A)      Contributory Service Credit is earned only for a calendar year in which the
                                    Participant had at least 20 weeks of Contributory Service;

                           (B)      Contributory Service Credit equals the number of weeks of Contributory
                                    Service earned by the Participant in a calendar year in which he had at least
                                    20 weeks of Contributory Service divided by 40.

             (c)    A Participant shall be eligible to earn Contributory Service Credit in this Pension Plan
                    for all of the contributory service credit he had earned while covered under a prior
                    pension plan of an Employer which became required to make contributions to this
                    Pension Fund on his behalf if:

                    (1)    his Bargaining Unit was accepted in this Pension Fund according to the Alternative
                           Policy in Appendix G of this Pension Plan; and

                    (2)    he was a vested participant under that prior pension plan.

             (d)    A Participant shall not earn more than one year of Contributory Service Credit during a
                    calendar year.

Section 1.11        COVERED SERVICE means the combined Non-Contributory Service and Contributory
                    Service of a Participant, subject to the following restrictions:

             (a)    Covered Service shall not include any period of self-employment, or employment as an
                    employer, or as a member of a partnership or in a managerial or supervisory capacity.

             (b)    Covered Service, except as provided by Appendix D and Appendix G of this Pension
                    Plan, shall not include any period of employment covered by another pension plan
                    established and maintained according to a Teamster Contract.

Section 1.12        DEFERRED RETIREMENT DATE is the first day of any month selected by a Participant
                    to be the month in which the Deferred Pension or Twenty-Year Deferred Pension he is
                    eligible to receive becomes payable. A Participant’s Deferred Retirement Date must be
                    in a month later than the month in which his Retirement Date occurs. In no event,
                    however, shall any benefit payable to a Participant begin any later than the date required
                    by Section 4.15.

Section 1.13        DISABLED PARTICIPANT

             (a)    A Participant is a Disabled Participant if he becomes disabled and is receiving payment
                    of a disability benefit from this Pension Plan.

             (b)    A Participant is no longer a Disabled Participant if he reaches his Normal Retirement
                    Date and becomes a Pensioner, or if he recovers from his disability or becomes an
                    Active Participant.
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Section 1.14        EMPLOYEE

             (a)    An Employee means an individual who is:

                    (1)    employed by a Contributing Employer under the terms and conditions of a
                           Collective Bargaining Agreement which requires that Employer Contributions be
                           made to the Pension Fund, except that, any individual who is self-employed or a
                           member of a partnership or employed in a managerial or supervisory capacity shall
                           not be an Employee for purposes of this Pension Plan; or

                    (2)    employed by a Union which has been accepted by the Board of Trustees as a
                           Contributing Employer of its full-time and regular part-time employees, and on
                           whom the Union is required to make Employer Contributions to the Pension Fund
                           under the same conditions as any other Contributing Employer; or

                    (3)    employed by the Pension Fund or by Central States, Southeast and Southwest
                           Areas Health and Welfare Fund, and on whom the Board of Trustees is required
                           to make Employer Contributions to the Pension Fund under the same conditions
                           as any other Contributing Employer; or

                    (4)    employed by a Contributing Employer and a member of the Board of Trustees, and
                           on whom Employer Contributions are required to be made to the Pension Fund
                           under the same conditions as any other Contributing Employer.

             (b)    The common law test or the applicable statutory definition of master-servant relationship
                    shall be used to decide any dispute regarding employee status under (a)(1) of this
                    Section.

             (c)    Continuation of employee status shall be subject to those rules and regulations the
                    Board of Trustees may adopt according to law.

Section 1.15        EMPLOYEE GROUP means, all Employees who are employed by a Contributing
                    Employer in a classification of work covered by a Collective Bargaining Agreement.

Section 1.16        GENDER

                    Whenever used in the Pension Plan, the words “he,” “she,” “his” and “her,” are
                    interchangeable.

Section 1.17        HOUR OF SERVICE

             An Employee shall earn an Hour of Service for any of the following:

             (a)    each hour for which he is paid, or entitled to payment for employment performed for a
                    Contributing Employer.

             (b)    each hour for which he is paid, or entitled to payment, by a Contributing Employer for a
                    period of time during which no employment is performed (regardless of whether the
                    employment relationship has terminated) due to vacation, holiday, illness, incapacity
                    (including disability), layoff, jury duty, military duty, or leave of absence.

             (c)    each hour for which he is paid, or entitled to payment of back pay (regardless of
                    mitigation of damages) awarded or agreed to by a Contributing Employer.


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Section 1.18        INACTIVE PARTICIPANT

                    A Participant who has not become a Pensioner or a Disabled Participant becomes an
                    Inactive Participant at the end of any calendar year during which he no longer meets the
                    definition of an Active Participant.

Section 1.19        LOSS OF NON-CONTRIBUTORY SERVICE

             (a)    Any Participant employed in an Employee Group involved in a Voluntary Withdrawal (as
                    defined in Section 1.38(b)) from the Pension Fund shall lose all right and claim to his
                    Non-Contributory Service Credit unless:

                    (1)    If the Voluntary Withdrawal occurred before January 1, 1986, he permanently
                           ceases to be employed in that Employee Group, as a result of a quit, discharge or
                           retirement, before a calendar year in which less than 10 weeks of Contributions
                           are made on his behalf;

                    (2)    If the Voluntary Withdrawal occurred on or after January 1, 1986 but before April
                           1, 1991, he permanently ceases to be employed in that Employee Group, as a
                           result of a quit, discharge or retirement, before the 31st day following the date of
                           the Voluntary Withdrawal;

                    (3)    If the Voluntary Withdrawal occurred on or after April 1, 1991:

                           (A)      he permanently ceases to be employed in that Employee Group, as a result
                                    of a quit, discharge or retirement, before the last day of the 6th calendar
                                    month following the date of the Voluntary Withdrawal; or

                           (B)      he and the other members of that Employee Group again become covered
                                    by a Collective Bargaining Agreement before the last day of the 18th calendar
                                    month following the date of the Voluntary Withdrawal.

             (b)    Any Participant who sustains a loss of his right and claim to Non-Contributory Service
                    Credit according to (a), above, shall retain only the benefit he may be eligible to receive
                    from his Contributory Service Credit, if any.

Section 1.20        MINIMUM CONTRIBUTION REQUIREMENT

             (a)    The Minimum Contribution Requirement used to determine the eligibility of a Participant
                    for a Twenty-Year Service Pension or Early Retirement Pension shall be as follows:

                    (1)    at least 80 weeks of Contributions for an Employee who last became a Participant
                           before July 1, 1967;

                    (2)    at least 120 weeks of Contributions for an Employee who last became a Participant
                           between July 1, 1967 and March 31, 1969, inclusive;

                    (3)    at least 450 weeks of Contributions for an Employee who last became a Participant
                           between April 1, 1969 and December 31, 1975, inclusive;

                    (4)    a number of years of Contributory Service Credit at least equal to the number of
                           years of Non-Contributory Service an Employee is eligible to earn if he last became
                           a Participant on or after January 1, 1976.



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             (b)    For purposes of (a)(1), (a)(2) and (a)(3) above, 5 days of Contributions required to be
                    made on behalf of a Participant shall be considered equivalent to one week of
                    Contributions.

             (c)    The Minimum Contribution Requirement used to determine the eligibility of a Participant
                    for a Monthly Disability Benefit or a Lump Sum Disability Benefit or the eligibility of a
                    Participant’s survivor for a Lump Sum Death Benefit shall be as follows:

                    (1)    at least 35 weeks of Contributions during each of 5 calendar years; or

                    (2)    at least 225 weeks of Contributions in total.

             (d)    For purposes of (c)(1) and (c)(2) above, 5 days of Contributions required to be made on
                    behalf of a Participant shall be equivalent to one week of Contributions.

Section 1.21        NON-CONTRIBUTORY SERVICE

             (a)    If an Employee first becomes a Participant before April 1, 1985, he shall be eligible to
                    earn Non-Contributory Service for any of the following types of employment he
                    performed prior to the date he first became a Participant:

                    (1)    employment under a Teamster Contract; or

                    (2)    continuous past employment with a Contributing Employer in work classifications
                           which become covered by a Collective Bargaining Agreement, if the Employee is
                           a member of the Bargaining Unit on the date the Contributing Employer becomes
                           required to make Employer Contributions for the first time; or

                    (3)    employment requiring the usual Teamster skills in traditional Teamster industries
                           at the time of the employment; or

                    (4)    employment in a work classification and in an industry which, at the time of the
                           employment, were normally covered by Teamster Contracts in that local
                           metropolitan area; or

                    (5)    employment by a Union; or

                    (6)    service in the armed forces of the United States under Selective Service or during
                           a war or international police action if he entered the armed forces directly from any
                           Non-Contributory Service, defined above, and he returned directly from the armed
                           forces to Contributory Service or Non-Contributory Service.

             (b)    In addition to the types of employment described in (a) above, an Employee who first
                    became a Participant before May 1, 1971 shall be eligible to earn Non-Contributory
                    Service for any employment in the same classification of work which was covered by a
                    Teamster Contract and for which Contributions were later made on his behalf.

             (c)    An Employee who first becomes a Participant before April 1, 1985 shall be eligible to
                    earn Non-Contributory Service for his continuous past employment with a Contributing
                    Employer in a work classification which becomes covered by a Collective Bargaining
                    Agreement if he is a member of the Bargaining Unit on the date the Contributing
                    Employer is required to make Employer Contributions for the first time.

             (d)    After the date an Employee first becomes a participant, he shall be eligible to earn Non-
                    Contributory Service for service in the armed forces of the United States under Selective
                    Service or during a war or international police action if he entered the armed forces
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                    directly from Contributory Service and he returned directly from the armed forces to
                    either Contributory Service or Non-Contributory Service.

             (e)    An Employee who first becomes a Participant on or after April 1, 1985, shall be eligible
                    to earn Non-Contributory Service only for his continuous past employment with the
                    Contributing Employer that began making Employer Contributions on his behalf only if
                    his Bargaining Unit was accepted in this Pension Fund according to the Acceptance
                    Policies in Appendix G of this Pension Plan.

Section 1.22        NON-CONTRIBUTORY SERVICE CREDIT

             (a)    For each year of his Contributory Service Credit, a Participant who first became a
                    Participant prior to April 1, 1985 may earn up to one year of Non-Contributory Service
                    Credit for his Non-Contributory Service as follows:

                    (1)    For Non-Contributory Service earned while serving in the armed forces of the
                           United States:

                           (A)      no Non-Contributory Service Credit is earned for any calendar year with less
                                    than 18 weeks of Non-Contributory Service; and

                           (B)      ½ year of Non-Contributory Service Credit is earned for any calendar year
                                    with at least 18 weeks but less than 25 weeks of Non-Contributory Service;
                                    and

                           (C)      one year of Non-Contributory Service Credit is earned for any calendar year
                                    with at least 25 weeks of Non-Contributory Service.

                    (2)    For all other Non-Contributory Service:

                           (A)      no Non-Contributory Service Credit is earned for any calendar year with less
                                    than 500 hours of Non-Contributory Service; and

                           (B)      ½ year of Non-Contributory Service Credit is earned for any calendar year
                                    with at least 500 but less than 1,000 hours of Non-Contributory Service; and

                           (C)      one year of Non-Contributory Service Credit is earned for any calendar year
                                    with at least 1,000 hours of Non-Contributory Service.

             (b)    A Participant who first became a Participant prior to January 1, 1976, may earn Non-
                    Contributory Service Credit according to (a)(1) and (a)(2), above, for all of his Non-
                    Contributory Service.

             (c)    An Employee who becomes a Participant on or after April 1, 1985, and whose Bargaining
                    Unit was accepted in this Pension Fund according to the Acceptance Policies in
                    Appendix G of this Pension Plan, shall be eligible to earn Non-Contributory Service
                    Credit as follows:

                    (1)    no Non-Contributory Service Credit is earned for any calendar year with less than
                           500 hours of Non-Contributory Service; and

                    (2)    ½ year of Non-Contributory Service Credit is earned for any calendar year with at
                           least 500 but less than 1,000 hours of Non-Contributory Service; and

                    (3)    one year of Non-Contributory Service Credit is earned for any calendar year with
                           at least 1,000 hours of Non-Contributory Service.
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             (d)     A Participant shall not earn more than one year of Non-Contributory Service Credit
                     during a calendar year.

             (e)     During the calendar year an Employee who is eligible to earn Non-Contributory Service
                     Credit becomes a Participant, he may earn ½ year of Non-Contributory Service Credit
                     for 500 hours of Non-Contributory Service, or one year of Non-Contributory Credit for
                     1,000 hours of Non-Contributory Service. The combined Non-Contributory Service
                     Credit and Contributory Service Credit earned during the calendar year an Employee
                     becomes a Participant shall not exceed one year of Service Credit.

             (f)     Regardless of any other rules or provisions in this Pension Plan, any Employee who first
                     becomes a Participant in this Pension Plan on or after April 1, 1985 shall not be eligible
                     to earn Non-Contributory Service Credit, except for his military service, and, except as
                     provided for in Appendix G of this Pension Plan.

Section 1.23         ONE-YEAR BREAK-IN-SERVICE

             (a)     Before January 1, 1976, a One-Year Break-in-Service is a calendar year with less than
                     10 weeks of Covered Service.

             (b)     On and after January 1, 1976, a One-Year Break-in-Service is a calendar year during
                     which the sum of (1), (2), (3) and (4) is less than one.

                     (1)   The number of weeks of Vesting Service due to employment under a Collective
                           Bargaining Agreement requiring weekly Contributions divided by 10; and

                     (2)   The number of days of Vesting Service due to employment under a Collective
                           Bargaining Agreement requiring daily Contributions limited to a 5 day per week
                           maximum divided by 37; and

                     (3)   The number of days of Vesting Service due to employment under a Collective
                           Bargaining Agreement requiring daily Contributions not limited to a 5 day per week
                           maximum divided by 45; and

                     (4)   The number of hours of Vesting Service due to Continuous Compensated
                           Employment (as defined in Section 1.36(f)) for which no Contributions are required
                           divided by 450.

             (c)     Before January 1, 1976 and only for the purpose of determining whether a One-Year
                     Break-in-Service has been sustained, a Participant shall be treated as having been in
                     Covered Service for any period during which he was unable to work because of illness,
                     injury, disability or because he honored an approved strike. On and after January 1,
                     1976 and only for the purpose of determining whether a One-Year Break-in-Service has
                     been sustained, a Participant shall be treated as having earned Vesting Service for any
                     period during which he was unable to work because of illness, injury, disability or
                     because he honored an approved strike.

             (d)     A Participant who stops working in Covered Service on or after January 1, 1985 because
                     of a pregnancy, the birth of a child, the adoption of a child, or to care for a child recently
                     born or adopted, shall receive Vesting Service sufficient to avoid having a One-Year
                     Break-in-Service in either:

                     (1)   the calendar year in which his leave begins, if the Vesting Service is required to
                           avoid having a One-Year Break-in-Service during that calendar year; or, if not,

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                    (2)    the calendar year immediately following the calendar year in which his leave
                           begins.

             (e)    A Participant shall not be eligible to earn any Vesting Service during a calendar year if
                    any duplication of Vesting Service results from the application of (b), (c) and (d) above,
                    or any combination thereof.

Section 1.24        PARTICIPANT

             (a)    A Participant of any earlier version of the Pension Plan becomes a Participant of this
                    Pension Plan if:

                    (1)    he has not had a One-Year Break-in-Service during 1984; or

                    (2)    he has had a Year of Participation ending after December 31, 1984; or

                    (3)    he is receiving, or is eligible to receive, a Twenty-Year Service Pension Benefit, an
                           Early Retirement Pension Benefit, a Vested Pension Benefit or a Disability Pension
                           Benefit from the Pension Plan in effect on December 31, 1984.

             (b)    An Employee shall become a Participant as of the date the first Contribution is made on
                    his behalf during a Year of Participation which ends after December 31, 1984.

             (c)    A Participant of the Pension Plan in effect on December 31, 1984 who does not meet
                    any of the conditions stated in (a) and (b), above, shall continue to be governed by the
                    provisions of the Pension Plan in effect on December 31, 1984.

             (d)    A Participant shall no longer be a Participant on the date of his death, or on the date he
                    receives all benefits due him, or on the date he sustains a Break-in-Service.

             (e)    Neither membership nor lack of membership in any labor organization shall be a basis
                    for becoming a Participant in, or determining eligibility to receive benefits from the
                    Pension Fund.

Section 1.25        PENSIONER

                    A Participant becomes a Pensioner on the date he begins to receive payment of the
                    retirement pension for which he is eligible.

Section 1.26        PENSION FUND means, the Central States, Southeast and Southwest Areas Pension
                    Fund established by the Trust Agreement.

Section 1.27        PENSION PLAN means, the rules and regulations for the payment of benefits from the
                    employee benefit plan described in this document as well as any amendments to this
                    document.

Section 1.28        RECOVERY OF LOST SERVICE CREDIT

                    A Participant who first became a Participant prior to April 1, 1985, and who sustains a
                    Break-in-Service, shall recover one year of his lost Service Credit as Non-Contributory
                    Service Credit for each year of Contributory Service Credit he earns on or after the later
                    of:

             (a)    January 1, 1973; or

             (b)    his last employment or re-employment date following his last Break-in-Service.
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Section 1.29        RETIREMENT DATE is, the date a Participant stops working in Covered Service and
                    terminates his employment. A Participant eligible for a retirement pension may become
                    eligible to receive benefit payments on the 1st day of the month following his Retirement
                    Date.

Section 1.30        SERVICE CREDIT means, the combined Contributory Service Credit and Non-
                    Contributory Service Credit earned by a Participant, subject to the Break-in-Service and
                    One-Year Break-in-Service provisions of this Pension Plan. A Participant shall not earn
                    more than one year of Service Credit during a calendar year.

Section 1.31        TEAMSTER CONTRACT means, any collective bargaining agreement between an
                    employer and a local union affiliated with the International Brotherhood of Teamsters,
                    Chauffeurs, Warehousemen and Helpers of America.

Section 1.32        TRUST AGREEMENT means, the Agreement and Declaration of Trust for Central
                    States, Southeast and Southwest Areas Pension Fund as originally made and entered
                    into on March 16, 1955, together with any amendments.

Section 1.33        UNION means, those local unions which the Board of Trustees determines to have been
                    affiliated Local Unions of the Central Conference of Teamsters and the Southern
                    Conference of Teamsters when those two conferences were dissolved in or around
                    June, 1994, and such other unions as the Board of Trustees may agree upon.

Section 1.34        VESTED PARTICIPANT

             A Participant becomes a Vested Participant if:

             (a)    he is an Active Participant or a Disabled Participant who has reached his Normal
                    Retirement Date; or

             (b)    he is an Active Participant or an Inactive Participant who has not reached his 65th
                    birthday, but who has earned at least 3 Vesting Service Years after December 31, 1970,
                    and has a total of at least:

                    (1)    10 Vesting Service Years; or

                    (2)    5 Vesting Service Years from employment performed outside a Bargaining Unit
                           and at least One Hour of Service of such employment is after December 31, 1988;
                           or

                    (3)    5 Vesting Service Years from employment performed within a Bargaining Unit and
                           at least one Hour of Service of such employment is after December 31, 1998; or

                    (4)    5 Vesting Service Years from a combination of employment performed outside a
                           Bargaining Unit and employment performed within a Bargaining Unit (provided that
                           such combined employment is based in part upon at least one Hour of Service
                           after December 31, 1998).




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Section 1.35         VESTED PENSION RETIREMENT DATE (NORMAL RETIREMENT DATE)

             (a)     Normal Retirement Date of a Participant means the later of:

                     (1)   the 65th birthday of an Employee; or

                     (2)   the 5th anniversary of the date on which an Employee first became an Active
                           Participant.

             (b)     Normal Retirement Date is used to determine the date on which a Participant’s Vested
                     Pension becomes payable without reduction.

Section 1.36         VESTING SERVICE

             (a)     Vesting Service is earned for Continuous Compensated Employment of an Active
                     Participant or an Inactive Participant by a Contributing Employer. “Continuous
                     Compensated Employment” means, employment performed while a member of the
                     Bargaining Unit, and employment outside of a Bargaining Unit if such employment is
                     performed immediately before or after Bargaining Unit employment with the same
                     Contributing Employer and if it is not interrupted by a quit, discharge or retirement.

             (b)     An Employee who becomes a Participant on or after April 1, 1985, and whose Bargaining
                     Unit was accepted in this Pension Fund according to the Acceptance Policies in
                     Appendix G of this Pension Plan, shall, in addition to (a) above, be eligible to earn one
                     hour of Vesting Service for each Hour of Service of his continuous past employment with
                     the Contributing Employer that became required to make Employer Contributions on his
                     behalf.

             (c)     If a Collective Bargaining Agreement covering an Employee requires his Contributing
                     Employer to make weekly Contributions, then he shall earn one week of Vesting Service
                     for each week that he performs an Hour of Service and a weekly Contribution is required
                     on his behalf.

             (d)     If a Collective Bargaining Agreement covering an Employee requires his Contributing
                     Employer to make daily Contributions limited to a maximum of 5 days per week, then he
                     shall earn one day of Vesting Service for each day that he performs one Hour of Service
                     and a daily Contribution is required on his behalf.

             (e)     If a Collective Bargaining Agreement covering an Employee requires his Contributing
                     Employer to make daily Contributions not limited to a maximum of 5 days per week,
                     then he shall earn one day of Vesting Service for each day that he performs one Hour
                     of Service and a daily Contribution is required on his behalf.

             (f)     One Hour of Vesting Service is earned for each Hour of Service of Continuous
                     Compensated Employment for periods during which no Contributions are required on
                     behalf of an Employee.

             (g)     Vesting Service also includes any period of service in the Uniformed Services for which
                     a Participant is entitled, based upon Section 1.09(c), to Contributory Service.




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Section 1.37        VESTING SERVICE YEAR means, a calendar year during which the sum of (a), (b), (c),
                    (d), and (e), below, equals or exceeds one.

             (a)    The number of weeks of Vesting Service due to employment under a Collective
                    Bargaining Agreement requiring weekly Contributions divided by 20; and

             (b)    The number of days of Vesting Service due to employment under a Collective Bargaining
                    Agreement requiring daily Contributions limited to a maximum of 5 days per week
                    divided by 75; and

             (c)    The number of days of Vesting Service due to employment under a Collective Bargaining
                    Agreement requiring daily Contributions not limited to a maximum of 5 days per week
                    divided by 90; and

             (d)    The number of hours of Vesting Service due to Continuous Compensated Employment
                    for which no Contributions are required divided by 900.

             (e)    The number of hours of Vesting Service a Participant earned due to his continuous past
                    employment with the Contributing Employer that became required to make Employer
                    Contributions on his behalf divided by 900, if his Bargaining Unit was accepted according
                    to the Acceptance Policies in Appendix G of this Pension Plan.

Section 1.38        WITHDRAWAL OF AN EMPLOYEE GROUP

             (a)    Regardless of any other rules or provisions in this Pension Plan, any Participant, who
                    was a member of an Employee Group at the time of its Voluntary Withdrawal from the
                    Pension Plan, shall, subject to the following sentence, lose all right and claim to Non-
                    Contributory Service Credit. This provision shall take effect if on or after the applicable
                    date specified in Section 1.19(a), the Participant is employed by the same employer that
                    made Contributions on his behalf immediately before the Voluntary Withdrawal and is
                    performing or supervising work that was covered by the Collective Bargaining
                    Agreement in effect immediately before the Voluntary Withdrawal.

             (b)    A “Voluntary Withdrawal” occurs on the date a Contributing Employer is no longer
                    required to make Employer Contributions to the Pension Fund as a result of actions by
                    members of a Bargaining Unit, which actions include, but are not limited to the following:

                    (1)    decertification or other removal of the Union as a bargaining agent; and

                    (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                           permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                           Plan.

             (c)    Any Participant whose Bargaining Unit was accepted according to the Acceptance
                    Policies in Appendix G of this Pension Plan, shall immediately lose all right and claim to
                    any Vesting Service, Non-Contributory Service Credit and Contributory Service Credit
                    he may have earned before Employer Contributions began on his behalf, if within the
                    “Five-Year Free Look” period defined in Section 8 of Appendix E of this Pension Plan,
                    Employer Contributions are no longer required to be made on behalf of the members of
                    the Bargaining Unit of which he was a member on the date he became a Participant.




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Section 1.39        YEAR OF EMPLOYMENT means:

             (a)    The 12 consecutive month period which begins on the date an Employee becomes
                    employed or reemployed by a Contributing Employer and which ends on his 1st
                    anniversary date of employment or reemployment; and

             (b)    Any calendar year that begins after the calendar year an Employee became employed
                    or reemployed by a Contributing Employer, if the 1st anniversary date of his employment
                    or reemployment occurs during that calendar year.

Section 1.40        YEAR OF PARTICIPATION means, a Year of Employment during which the sum of (a),
                    (b), and, (c) below, equals or exceeds 1.

             (a)    The number of weeks of Contributory Service due to employment under a Collective
                    Bargaining Agreement requiring weekly Contributions divided by 20; and

             (b)    The number of days of Contributory Service due to employment under a Collective
                    Bargaining Agreement requiring daily Contributions limited to a maximum of 5 days per
                    week divided by 75; and

             (c)    The number of days of Contributory Service due to employment under a Collective
                    Bargaining Agreement requiring daily Contributions not limited to a maximum of 5 days
                    per week divided by 90.




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ARTICLE II            EFFECTIVE DATE *

             The provisions of this Pension Plan are applicable to every individual who is a Participant of
             this Pension Plan on any date on and after January 1, 1985, and to every beneficiary of such
             a Participant, except to the extent determination of the rights of such Participant or beneficiary
             was or is based upon a Retirement Date, death or disability prior to January 1, 1985. The
             provisions of this Pension Plan govern the consequences of all events on and after January
             1, 1985 (such as any Retirement Date, death, disability, Covered Service, One-Year Break-
             in-Service, Break-in-Service, Reemployment and Suspension of Benefits Rules and
             Withdrawal of a Bargaining Unit). The provisions of this Pension Plan govern the
             consequences of events prior to January 1, 1985 only to the extent such events are relevant
             to determination of the rights of a Participant of this Pension Plan, or a beneficiary of such a
             Participant, based upon a Retirement Date, death or disability on or after January 1, 1985. To
             the extent this Pension Plan is not applicable, a relevant earlier version of this Pension Plan
             is applicable.


*     This Article II was adopted at the same time as a complete restatement of this Pension Plan was
      approved by the Board of Trustees in 1985. Post-1985 amendments of this restated Pension Plan
      are effective as of separate dates after 1985, as determined by the Board of Trustees at the time it
      adopts those plan amendments.




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ARTICLE III           BENEFIT CLASS


Section 3.01        BENEFIT CLASS OF A COLLECTIVE BARGAINING AGREEMENT

             (a)    A Collective Bargaining Agreement shall be acceptable only if such agreement requires
                    a Contributing Employer to make Employer Contributions:

                    (1)    on behalf of each Employee who receives compensation for any part of an
                           applicable Contribution period; and

                    (2)    in accordance with the billing and collection procedures established by the Board
                           of Trustees; and

                    (3)    at the same rate on behalf of all Employees in a Bargaining Unit, except as
                           otherwise provided in Appendix J of this Pension Plan; and

                    (4)    at the same rate or a higher rate than that which was in effect during the preceding
                           12 month period; and

                    (5)    at Contribution rates at least equal to minimum Employer Contribution
                           requirements adopted by the Board of Trustees and applicable to the Collective
                           Bargaining Agreement, including the requirements stated in Appendix K-1 and
                           Appendix K-2 of this Pension Plan; and

                    (6)    for the entire term of such Collective Bargaining Agreement.

                           The Board of Trustees shall have the authority to reject any Collective Bargaining
                           Agreement that fails to meet any of the requirements above.

             (b)    To maintain an existing Benefit Class, the Contribution rate in a Collective Bargaining
                    Agreement must correspond to the Contribution Schedule adopted by the Board of
                    Trustees for that Benefit Class.

             (c)    No Collective Bargaining Agreement will be permitted to increase the Benefit
                    Class of any Employee in a Bargaining Unit covered by that agreement, at any
                    time after December 31, 2003, except to the extent of the following limited
                    circumstances:

                    (1)    Benefit Class increases will be permitted for any purpose, including
                           eligibility for a Contributory Credit Pension (Section 4.04), a 25-And-Out
                           Pension (Section 4.05) and a 30-And-Out Pension (Section 4.06), to the extent
                           that the increase is based upon the terms of a Collective Bargaining
                           Agreement which was accepted by the Pension Fund on a date prior to
                           November 18, 2003, provided that no such Benefit Class increase will be
                           permitted if it is based upon any amendment of the previously accepted
                           agreement which is first received by the Pension Fund after November 17,
                           2003; and




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                    (2)    Benefit Class increases will be permitted at any time to establish eligibility
                           for (only) a Twenty-Year Service Pension (Section 4.01), an Early Retirement
                           Pension (Section 4.02), a Deferred Pension (Section 4.08) or a Twenty-Year
                           Deferred Pension (Section 4.09); and

                    (3)    if a Participant as of December 31, 2003, does not have Continuous
                           Contributions and he has not as of that date ever received benefits from the
                           Pension Fund, Benefit Class increases will be permitted at any time after
                           December 31, 2003, to enable the Participant to restore only any Benefit
                           Class he had earned and then lost before December 31, 2003, as a result of
                           a One-Year Break-in-Service or a change in Bargaining Units, provided that
                           the method of such restoration will be limited to calculations based upon the
                           Non-Continuous Contribution Method specified in Section 3.03(b) and
                           applied as of his Retirement Date.

                           For any period prior to January 1, 2004 (and for the limited post-2003 exceptions
                           specified in the preceding sentence), a Collective Bargaining Agreement can result
                           in an increase of the Benefit Class of the Employees in the Bargaining Unit covered
                           by that agreement to the next higher Benefit Class if the Contribution rate in the
                           agreement corresponds to the Contribution Schedule adopted by the Board of
                           Trustees for that next higher Benefit Class, provided that the increased
                           Contribution rate must extend for at least 12 months during the term of the
                           Collective Bargaining Agreement. For any period prior to January 1, 2004 (and for
                           the limited post-2003 exceptions specified in the first sentence of this subsection
                           [c]), the Benefit Class of a Collective Bargaining Agreement can result in an
                           increase to the next higher Benefit Class only one time during a 12-month period,
                           except that a one-time increase to higher than the next higher Benefit Class may
                           be permitted if a Contributing Employer was making Contributions at a rate
                           corresponding to Benefit Classes 15(A) or 15(B) and then entered into a Collective
                           Bargaining Agreement requiring Contributions at rates corresponding to Benefit
                           Classes 16(A), 16(B) and 16(C). This exception is described in Sections
                           4.01(b)(1)(B) and 4.06(c)(3)(A)(ii).

             (d)    The Board of Trustees has adopted the following 2 Schedules of Benefit Classes and
                    Required Minimum Contribution Rates which are referred to as “Schedule A” and
                    “Schedule B”:




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(1)     SCHEDULE A

                                   SCHEDULE A OF BENEFIT CLASSES
                              AND REQUIRED MINIMUM CONTRIBUTION RATES


                                          Maximum                       Weekly Employer
      Benefit                         Twenty-Year Service                Contribution
      Class                             Pension Benefits                    Rates

                                       57           Age 60 Plus
                                    through
                                       59


         (1)                         $ 60                   $ 60              $ 5.00
         (2)                           90                     90                7.00
         (2A)                         125                    125                9.00
         (3)                          140                    170               11.00
         (3A)                         170                    210               13.00
         (4)                          225                    275               16.00
         (5)                          260                    315               18.50
         (6)                          285                    350               21.00
         (7)                          330                    400               24.00
         (8)                          365                    445               27.00
         (9)                          400                    485               30.00
         (10)                         435                    530               33.00
         (11)                         490                    595               37.00
         (12)                         575                    675               41.00
         (13)                         600                    725               46.00
         (14)                         625                    775               51.00




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(2)      SCHEDULE B
                                SCHEDULE B OF BENEFIT CLASSES AND
                           REQUIRED MINIMUM WEEKLY CONTRIBUTION RATES

                                               Maximum                                         Weekly
Benefit                                    Twenty-Year Service                                Employer
Class                                       Pension Benefits                                 Contribution
                                                 Ages                                           Rates
                                                                       60
                    57               58            59                through       65 Plus
                                                                       64
1                 $ 60              $ 60         $ 60                $ 60          $ 60        $    6.00
2                   90                90           90                  90            90             8.00
2      (A)         125               125          125                 125           125            10.00
3                  140               140          140                 170           170            12.00
3      (A)         170               170          170                 210           210            15.00
4                  225               225          225                 275           275            18.00
5                  260               260          260                 315           315            21.00
6                  285               285          285                 350           350            24.00
7                  330               330          330                 400           400            27.00
8                  365               365          365                 445           445            30.00
9                  400               400          400                 485           485            33.00
10                 435               435          435                 530           530            36.00
11                 490               490          490                 595           595            40.00
12                 575               575          575                 675           675            44.00
13                 600               600          600                 725           725            49.00
14                 625               625          625                 775           775            55.00
15
         (A)       700              750            800                900            900           61.00
         (B)       700              750            800                900            900           65.00
         (C)       700              750            800                900            900           69.00
         (C)       700              750            800                900            900           73.00
16
         (A)       700              750            800                900           1,100          79.00
         (B)       700              750            800                900           1,100          83.00
         (C)       700              750            800                900           1,100          85.00
17a
         (A)       700              750            800                900           1,100        91.00
         (B)       700              750            800                900           1,100       100.00
         (C)       700              750            800                900           1,100       109.00
         (D)       700              750            800                900           1,100       118.00
17b
         (A)       700              750            800                900           1,100        91.00
         (B)       700              750            800                900           1,100       100.00
         (C)       700              750            800                900           1,100       110.00
         (D)       700              750            800                900           1,100       124.00
18
         (A)       700              750            800                900           1,100       122.00*
         (A)       700              750            800                900           1,100       124.00*
         (B)       700              750            800                900           1,100       136.00
         (C)       700              750            800                900           1,100       150.00
         (D)       700              750            800                900           1,100       158.00
         (E)       700              750            800                900           1,100       166.00
18+
         (A)       700              750            800                900           1,100       150.00
         (B)       700              750            800                900           1,100       164.00
         (C)       700              750            800                900           1,100       172.00
         (D)       700              750            800                900           1,100       180.00

*     If the Bargaining Unit is moving from Benefit Class 17a to Benefit Class 18, the weekly contribution
      rate for the first year is $122.00; otherwise it is $124.00
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                                SCHEDULE B OF BENEFIT CLASSES AND
                             REQUIRED MINIMUM DAILY CONTRIBUTION RATES

                                               Maximum                                           Daily
Benefit                                    Twenty-Year Service                                  Employer
Class                                       Pension Benefits                                   Contribution
                                                 Ages                                            Rates

                      57             58              59                 60           65 Plus
                                                                      through
                                                                        64
15
         (A)         $700           $750           $800               $900          $ 900         $13.00
         (B)          700            750            800                900            900          13.80
         (C)          700            750            800                900            900          14.60
16
         (A)          700            750            800                 900          1,100           16.60
         (B)          700            750            800                 900          1,100           17.40
         (C)          700            750            800                 900          1,100           17.80
17a
         (A)          700            750            800                 900          1,100           19.00
         (B)          700            750            800                 900          1,100           20.80
         (C)          700            750            800                 900          1,100           22.60
         (D)          700            750            800                 900          1,100           24.40
17b
         (A)          700            750            800                 900          1,100           18.80
         (B)          700            750            800                 900          1,100           20.60
         (C)          700            750            800                 900          1,100           22.80
         (D)          700            750            800                 900          1,100           25.60
18
         (A)          700            750            800                 900          1,100           25.20**
         (A)          700            750            800                 900          1,100           25.60**
         (B)          700            750            800                 900          1,100           28.00
         (C)          700            750            800                 900          1,100           30.80
         (D)          700            750            800                 900          1,100           32.40
         (E)          700            750            800                 900          1,100           34.00
18+
         (A)          700            750            800                 900          1,100           30.80
         (B)          700            750            800                 900          1,100           33.60
         (C)          700            750            800                 900          1,100           35.20
         (D)          700            750            800                 900          1,100           36.80

         ** If the Bargaining Unit is moving from Benefit Class 17a to Benefit Class 18, the daily
            contribution rate for the first year is $25.20; otherwise it is $25.60.

               Benefit Class 18+ of a Participant must be based upon the Continuous Contribution Method
               and not upon the Non-Continuous Contribution Method or any other method.

               (e)    All references and cross references to Benefit Class 15 and higher shall include any or
                      all of the Contribution rates designated (A), (B) and (C) for Benefit Class 15, (A), (B) and
                      (C) for Benefit Class 16, (A), (B), (C) and (D) for Benefit Classes 17a and 17b unless a
                      particular Contribution rate of a particular Benefit Class is specified, and (A), (B), (C),
                      (D) and (E) for Benefit Class 18 and 18+ unless a particular Contribution rate of a
                      particular Benefit Class is specified.


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             (f)     A Contributing Employer that makes Contributions under Benefit Class 17a shall, upon
                     expiration of the Collective Bargaining Agreement providing for such Benefit Class, be
                     permitted to continue Contributions under the highest rate of such Benefit Class or
                     negotiate to a higher Benefit Class, but shall not be permitted to negotiate to Benefit
                     Class 17b. A Contributing Employer that makes Contributions under Benefit Class 17b
                     shall likewise be permitted to continue Contributions at the highest rate of such Benefit
                     Class or move to a higher Benefit Class, but shall not be permitted to negotiate Benefit
                     Class 17a.

             (g)     Benefit Classes 17a and 17b are parallel (equivalent) Benefit Classes with neither being
                     lower or higher than the other. A Participant who moves from one of these Benefit
                     Classes to the other as a result of a change in Bargaining Units shall have his Benefit
                     Class determined by the provisions of Article III, Section 3.02(c).

             (h)     The Pension Fund shall not accept a Collective Bargaining Agreement or a renewal of
                     a Collective Bargaining Agreement that switches from Schedule B Contribution rates to
                     Schedule A Contribution rates.

             (i)     Any Contribution made at a rate which does not correspond to the Contribution rates for
                     the Benefit Classes in (d)(1), or (d)(2), above, shall be treated as a Contribution made
                     at the next lower Benefit Class.

             (j)     In addition to the Schedules of Benefit Classes and Required Minimum Contribution
                     Rates (referred to as ‘Schedule A’ and ‘Schedule B’), which are provided in (d), above,
                     the Board of Trustees has adopted Appendix K-1 and Appendix K-2 of this Pension Plan
                     (entitled ‘MINIMUM EMPLOYER CONTRIBUTION REQUIREMENTS’).

Section 3.02         CONTINUOUS CONTRIBUTIONS

             (a)     Contributions made on behalf of a Participant are Continuous Contributions if the
                     following conditions are met:

                     (1)   At least 250 weeks of Contributions are required to be made on his behalf where:

                           (A)      the Contributions are not interrupted by the Participant having a One-Year
                                    Break-in-Service; and

                           (B)      the Contributions are not interrupted by any period during which the
                                    Participant receives benefits from the Pension Fund; and

                           (C)      the Contributions:

                                    (i)    prior to April 1,1991, are not interrupted by the Participant changing
                                           Bargaining Units and having Contributions made on his behalf at a rate
                                           corresponding to a lower Benefit Class or a rate higher than the next
                                           higher Benefit Class; and

                                    (ii)   on or after April 1, 1991, are not interrupted by a Participant changing
                                           Bargaining Units and having Contributions made on his behalf at a rate
                                           corresponding to a lower or higher Benefit Class, except that, if he
                                           changes Bargaining Units as a result of his Contributing Employer
                                           ceasing business operations because of a bankruptcy, his
                                           Contributions shall remain Continuous Contributions unless made at a
                                           rate corresponding to a lower Benefit Class or to a Benefit Class higher
                                           than the next higher Benefit Class.

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                     (2)   The Participant meets at least one of the following requirements:

                           (A)      he has at least a Year of Participation in each of the last 5 calendar years; or

                           (B)      he has at least 150 weeks of Contributions in the last 5 calendar years.

             (b)     For purposes of (a) above, 5 days of Contributions required to be made on behalf of a
                     Participant shall be considered equivalent to one week of Contributions.

             (c)     A Participant who has Continuous Contributions at Benefit Class 17a or 17b and who,
                     as a result of a change in Bargaining Units, moves from one of these Benefit Classes to
                     the other, shall be considered to have Continuous Contributions at the Benefit Class
                     (17a or 17b) from which he moved unless and until he either: (1) moves to a Benefit
                     Class lower than 17a or 17b, or (2) establishes Continuous Contributions at the Benefit
                     Class of his new Bargaining Unit by having 250 weeks of Contributions made on his
                     behalf after the date of his change in Bargaining Units.

             (d)     Contributions required to be made on behalf of a Participant may be disregarded and
                     will not be considered Continuous Contributions if those Contributions cause the
                     Participant to fail to meet the conditions of (a), above.

             (e)     All Continuous Contributions required to be made on behalf of a Participant shall be
                     treated as having been made at the Benefit Class or Contribution rate corresponding to
                     his last Continuous Contribution.

             (f)     A Participant whose Bargaining Unit was accepted according to the Acceptance Policies
                     in Appendix G, shall not have Continuous Contributions and shall have his Benefit Class
                     determined by Section 3.03(b) unless and until he has had at least 250 weeks of
                     Contributions required to be made on his behalf according to (a), above.

Section 3.03         BENEFIT CLASS OF A PARTICIPANT

             The Benefit Class of a Participant is determined by one of the following two methods:

             (a)     CONTINUOUS CONTRIBUTION METHOD: The Benefit Class of a Participant who had
                     Continuous Contributions during his last 5 calendar years shall be the Benefit Class
                     corresponding to the rate of his last weekly Continuous Contribution (or his last daily
                     Continuous Contribution) in effect for at least his last 52 weeks of Contributory Service
                     (except that the last rate will be for a shorter period [instead of his last 52 weeks] only in
                     the following limited circumstances: it will be the rate in effect for his last 5 days of
                     Contributory Service if his final Contributory Service ended before January 1, 2004; and
                     it will be the rate in effect for his last 5 days of Contributory Service [or his last 10 days
                     of Contributory Service in Benefit Class 17b, 18, or 18+] if the last rate was based upon
                     the terms of a Collective Bargaining Agreement which was accepted by the Pension
                     Fund on a date prior to January 1, 2004, and the agreement increased the Participant’s
                     Benefit Class to Benefit Class 15[A] or higher).

             (b)     NON-CONTINUOUS CONTRIBUTION METHOD: The Benefit Class of a Participant
                     who did not have Continuous Contributions during his last 5 calendar years shall be
                     determined as follows:

                     (1)   The total dollar amount of Contributions made on behalf of the Participant during
                           his last 250 weeks of Contributions is calculated by using the rates at which the
                           Contributions were made where:


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                           (A)      5 days of Contributions shall be equivalent to one week of Contributions and
                                    the dollar amount shall be the equivalent weekly Contribution; and

                           (B)      the dollar amount of the earliest week of Contributions included in the 250
                                    week period shall be multiplied by the fraction representing the portion of that
                                    week needed to make up the last week of the 250 weeks of Contributions.

                    (2)    The dollar amount totaled in (1), above, is divided by 250 and rounded to the next
                           highest whole dollar amount.

                    (3)    One of the following two schedules is used:

                           (A)      If the Participant’s last 250 weeks of Contributions have been made only at
                                    Schedule B Contribution rates, the result of (2) above is compared to the
                                    weekly Contribution rates under Schedule B. If an exact match is found, the
                                    Benefit Class of the Participant is the Benefit Class corresponding to that
                                    weekly Contribution rate; otherwise, the Benefit Class of the Participant is the
                                    Benefit Class corresponding to the next lower weekly Contribution rate.
                                    SPECIAL BENEFIT CLASS 17a AND 17b RULE: In the event the result of
                                    (2), above, matches the weekly Contribution rates under both Benefit
                                    Classes 17a and 17b, the Benefit Class of the Participant shall be Benefit
                                    Class 17a if he has had more Contributions made on his behalf at Benefit
                                    Class 17a than at Benefit Class 17b, or Benefit Class 17b if he has had more
                                    Contributions made on his behalf at Benefit Class 17b than at Benefit Class
                                    17a. If the Contributions made on behalf of the Participant are equally divided
                                    between Benefit Classes 17a and 17b, or if he has never had Contributions
                                    made on his behalf at either of these classes, his Benefit Class shall be the
                                    Benefit Class, either 17a or 17b, that provides him with the greatest benefit.
                                    In no event, shall the resulting Benefit Class of the Participant exceed the
                                    highest Benefit Class for which Contributions were made on his behalf during
                                    his last 250 weeks of Contributions.

                           (B)      If any of the Participant’s last 250 weeks of Contributions have been made
                                    at Schedule A rates, the result of (2) above is compared to the weekly
                                    Contribution rates under Schedule A or Schedule B, whichever produces the
                                    greatest benefit. If an exact match is found, the Benefit Class of the
                                    Participant is the Benefit Class corresponding to that weekly Contribution
                                    rate; otherwise, the Benefit Class of the Participant is the Benefit Class
                                    corresponding to the next lower weekly Contribution rate. SPECIAL
                                    BENEFIT CLASS 17a AND 17b RULE: In the event the result of (2), above,
                                    matches the weekly Contribution rates under both Benefit Classes 17a and
                                    17b, the Benefit Class of the Participant shall be Benefit Class 17a if he has
                                    had more Contributions made on his behalf at Benefit Class 17a than at
                                    Benefit Class 17b, or Benefit Class 17b if he has had more Contributions
                                    made on his behalf at Benefit Class 17b than at Benefit Class 17a. If the
                                    Contributions made on behalf of the Participant are equally divided between
                                    Benefit Classes 17a and 17b, or if he has never had Contributions made on
                                    his behalf at either of these classes, his Benefit Class shall be the Benefit
                                    Class, either 17a or 17b, that provides him with the greatest benefit. In no
                                    event, shall the resulting Benefit Class of a Participant exceed the highest
                                    Benefit Class for which Contributions were made on his behalf during his last
                                    250 weeks of Contributions.

                    (4)    A Participant who has not had at least 250 weeks of Contributions made on his
                           behalf, shall have his Benefit Class determined according to (b)(1), (2) and (3)
                           above, except that:
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                           (A)      The total dollar amount of all Contributions made on his behalf shall be used
                                    in lieu of the total dollar amount of his last 250 weeks of Contributions; and

                           (B)      The number of weeks of Contributions made on his behalf shall be used in
                                    lieu of 250.

Section 3.04        BENEFIT CLASS MAINTENANCE

             (a)    A Participant who changes Bargaining Units and becomes covered by a Collective
                    Bargaining Agreement requiring Contributions at a lower or higher Benefit Class shall
                    have a period of “temporary maintenance” during which he (and any individual claiming
                    benefits because of his death) shall be eligible to have benefits determined by his Benefit
                    Class before his change of Bargaining Units.

             (b)    The period of “temporary maintenance” in (a), above, shall end on the earlier of:

                    (1)    the end of the 5th calendar year following the last calendar year in which the
                           Participant had at least 20 weeks of Contributions made on his behalf at his Benefit
                           Class before his change in Bargaining Units; or

                    (2)    the date the Participant first becomes eligible for a Twenty-Year Service Pension,
                           Early Retirement Pension, Deferred Pension or Twenty-Year Deferred Pension,
                           except that, a Participant who is already eligible for one of these benefits at the
                           time he changes Bargaining Units shall not have any temporary maintenance.




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ARTICLE IV            RETIREMENT PENSION BENEFITS


Section 4.01        TWENTY-YEAR SERVICE PENSION

             (a)    To become eligible for a Twenty-Year Service Pension, an Active Participant must meet
                    each of the following requirements at the time he stops working in Covered Service or
                    becomes an Inactive Participant:

                    (1)    he must have reached at least his 57th birthday; and

                    (2)    he must have at least 20 years of Service Credit; and

                    (3)    he must have met the Minimum Contribution Requirement.

             (b)    The monthly amount of the Twenty-Year Service Pension is determined by the Benefit
                    Class of a Participant and by his age, except that, in addition to his Benefit Class and
                    age, he will not become eligible for the $1,100 age 65 monthly amount unless and until
                    he meets the following requirements:

                    (1)    he has, on or after April 1, 1991, at least 5 days or one week of Employer
                           Contributions (and not Self-Contributions) made on his behalf at a rate
                           corresponding to Benefit Class 16(A) or higher and:

                           (A)      his Contributing Employer previously made Contributions at a rate
                                    corresponding to Benefit Class 15(C) or higher and his current Benefit Class,
                                    determined according to Section 3.03(a), is (16A) or higher; or

                           (B)      his Contributing Employer previously made Contributions at a rate
                                    corresponding to either Benefit Class 15(A) or 15(B) but not Benefit Class
                                    15(C), his current Benefit Class, determined according to Section 3.03(a), is
                                    16(A) or higher and his Contributing Employer has been making
                                    Contributions at a rate corresponding to Benefit Class 16(A) or higher for at
                                    least 12 months preceding his Retirement Date; or

                           (C)      his Benefit Class, determined according to Section 3.03(b), is 16(A) or higher;
                                    and

                    (2)    he is covered by a Collective Bargaining Agreement requiring his Contributing
                           Employer to begin making Contributions at a rate corresponding to at least Benefit
                           Class 16(C) no later than 24 months after the date the last Contribution is made
                           on his behalf.

             (c)    The monthly amount of the Twenty-Year Service Pension payable to a Participant shall
                    never be less than the monthly amount of any other retirement benefit he was eligible to
                    receive from this Pension Fund at the end of any preceding calendar year.

             (d)    Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                    4.13), the Contributory Service After Retirement Date or After Disability (as described in
                    Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                    the Twenty-Year Service Pension becomes payable to a Participant on the 1st day of
                    the month following the month in which his age was calculated according to (b), above,
                    except that, a Participant whose Retirement Date follows the date on which his age was
                    calculated, shall have his Twenty-Year Service Pension become payable on the 1st day
                    of the month following his Retirement Date.

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             (e)    The Pension Fund is not liable for benefits based upon this Section 4.01 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 4.02        EARLY RETIREMENT PENSION

             (a)    To become eligible for an Early Retirement Pension, an Active Participant must meet
                    one of the following two requirements at the time he stops working in Covered Service
                    or becomes an Inactive Participant:

                    (1)    If the Participant has not reached his 50th birthday:

                           (A)      he must have at least 30 years of Service Credit; and

                           (B)      he must have met the Minimum Contribution Requirement.

                    (2)    If the Participant has reached at least his 50th birthday:

                           (A)      he must have at least 20 years of Service Credit; and

                           (B)      he must have met the Minimum Contribution Requirement.

             (b)    The monthly amount of the Early Retirement Pension is a reduced Twenty-Year Service
                    Pension determined by the Benefit Class of a Participant and by his age. A Participant
                    may choose to have his age calculated as of any date which does not precede his
                    Retirement Date or extend beyond the date he becomes an Inactive Participant, except
                    that, a Participant who becomes an Inactive Participant prior to his Retirement Date and
                    who does not again become an Active Participant shall have his age determined as of
                    the date he became an Inactive Participant. The reduction is ½ of 1% for each month
                    the Participant’s Retirement Date precedes his 57th birthday, and is applied to the age
                    57 amount of his Benefit Class.

             (c)    The monthly amount of the Early Retirement Pension payable to a Participant shall never
                    be less than the monthly amount of any other retirement benefit he was eligible to
                    receive from this Pension Fund at the end of any preceding calendar year.

             (d)    Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                    4.13), the Contributory Service After Retirement Date or After Disability (as described in
                    Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                    the Early Retirement Pension becomes payable to a Participant on the 1st day of the
                    month following the month in which his age was calculated according to (b), above,
                    except that, a Participant whose Retirement Date follows the date on which his age was
                    calculated, shall have his Early Retirement Pension become payable on the 1st day of
                    the month following his Retirement Date.

             (e)    The Pension Fund is not liable for benefits based upon this Section 4.02 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 4.03        CONTRIBUTION-BASED PENSION

             (a)    To become eligible for a Contribution-Based Pension, a Participant must meet each of
                    the following requirements:

                    (1)    he must be a Vested Participant; and

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                     (2)   he must not have received payment of any benefit from this Pension Fund before
                           January 1, 1987, except that, this requirement shall be waived if a Pensioner, after
                           his Retirement Date, becomes employed by a Contributing Employer and meets
                           the requirements of Article IV, Section 4.14(a).

             (b)     Subject to sub-section (d), below, the Contribution-Based Pension of a Participant is his
                     Accrued Benefit as determined in Article I, Section 1.01(b).

             (c)     For purposes of determining the amount of his Contribution-Based Pension, a Vested
                     Participant may choose to have his age calculated as of any date which does not
                     precede his Retirement Date.

             (d)     The monthly amount of the Contribution-Based Pension payable to a Vested Participant
                     is either:

                     (1)   the amount calculated in (b), above if:

                           (A)      the Vested Participant has reached at least his 62nd birthday and has at least
                                    20 years of Service Credit; or

                           (B)      the Vested Participant has reached at least his 65th birthday and has less
                                    than 20 years of Service Credit; or

                     (2)   the amount calculated in (b), above, reduced by ½ of 1% for each month the age
                           of a Vested Participant precedes his:

                           (A)      62nd birthday if he has at least 20 years of Service Credit; or

                           (B)      65th birthday if he has less than 20 years of Service Credit.

             (e)     Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                     4.13), the Contributory Service After Retirement Date or After Disability (as described in
                     Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                     the Contribution-Based Pension becomes payable to a Participant on the 1st day of the
                     month following the month in which his age was calculated according to (c), above.

             (f)     The Pension Fund is not liable for benefits based upon this Section 4.03 to the extent
                     such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                     Pension Plan.

Section 4.04         CONTRIBUTORY CREDIT PENSION

             (a)     The benefit described in this Section 4.04 is preserved, protected and limited as
                     of December 31, 2003, to the extent described in this subsection (a). Contributory
                     Service Credit for any time period after December 31, 2003, will be disregarded, in
                     determining eligibility for and the amount of a Contributory Credit Pension, except as
                     otherwise provided in this subsection (a). For any Participant who has Contributory
                     Service Credit both before and after December 31, 2003, the eligibility and amount of a
                     Contributory Credit Pension will be determined in accordance with the following
                     standards:

                     (1)   The total of the Participant’s Contributory Service Credit before, on and after
                           December 31, 2003, will be included in the determination whether the Participant
                           has the minimum years of Contributory Service Credit required to qualify for this
                           benefit and, if he does, and if he satisfies all other eligibility requirements for a
                           Contributory Credit Pension, his monthly share of the applicable benefit amount
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                           will equal a fraction of that amount, the numerator being the total years of his
                           Contributory Service Credit as of December 31, 2003, and the denominator being
                           the total of the Participant’s Contributory Service Credit before, on and after
                           December 31, 2003, provided that the denominator does not exceed the minimum
                           years for the applicable benefit amount (“applicable benefit amount”, for this
                           calculation, means the amount in subsection [b] that is applicable to the
                           Participant); and

                    (2)    The Benefit Class of the Participant, for purposes of a Contributory Credit Pension,
                           will be determined as of December 31, 2003, unless any of the limited post-2003
                           exceptions specified in Section 3.01(c) is applicable; and

                    (3)    The age of the Participant, for purposes of a Contributory Credit Pension, will be
                           his age on his Retirement Date or the earlier date on which he has became an
                           Inactive Participant, in accordance with subsection (c); and

                    (4)    The Participant will also be entitled to receive, in addition to his share of a
                           Contributory Credit Pension, a partial Contribution-Based Pension provided by
                           Section 4.03, except that this partial benefit will be based solely upon his
                           Contributory Service Credit on and after January 1, 2004.

             (b)    A Contributory Credit Pension is available to a Participant who is eligible for a benefit
                    under Benefit Class 15 or higher in accordance with the following:

                    (1)    Benefit Classes 15(A) and 15(B):

                           (A)      A Participant shall qualify for a Contributory Credit Pension under Benefit
                                    Classes 15(A) or 15(B), if he meets each of the requirements as follows:

                                    (i)     He must be an Active Participant as of December 31, 1986 or any later
                                            calendar year; and

                                    (ii)    His Benefit Class must be 15(A) or 15(B); and

                                    (iii)   He must, before becoming an Inactive Participant for the last time,
                                            reach his 60th birthday; and

                                    (iv)    He must have a Retirement Date which is on or after his 60th birthday;
                                            and

                                    (v)     He must have at least 25 years of Contributory Service Credit; and

                                    (vi)    He must not have received payment of any benefit from this Pension
                                            Fund before January 1, 1987, except that, this requirement shall be
                                            waived if a Pensioner, after his Retirement Date, becomes employed
                                            by a Contributing Employer and meets the requirements of Section
                                            4.14(a).

                           (B)      A Participant who meets the requirements (1)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined as follows:

                                    (i)     If his Benefit Class is 15(A), he shall receive a benefit according to the
                                            following:



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                                  Age at                25 Years of              30 Years of
                                 Retirement            Contributory             Contributory
                                   Date                Service Credit           Service Credit

                                  60                      $ 950                   $1,050
                                  61                         950                   1,050
                                  62                       1,050                   1,125
                                  63                       1,050                   1,125
                                  64                       1,050                   1,125
                             65 and over                   1,125                   1,250

                                    (ii)    If his Benefit Class is 15(B), he shall receive a benefit according to the
                                            following:

                                  Age at                 25 Years of             30 Years of
                                 Retirement             Contributory            Contributory
                                   Date                 Service Credit          Service Credit

                                  60                       $1,000                 $1,100
                                  61                        1,000                  1,100
                                  62                        1,100                  1,250
                                  63                        1,100                  1,250
                                  64                        1,100                  1,250
                              65 and over                   1,250                  1,500

                    (2)    Benefit Class 15(C):

                           (A)      A Participant shall qualify for a Contributory Credit Pension under Benefit
                                    Class 15(C), if he meets each of the requirements as follows:

                                    (i)     He has, on or after April 1, 1988, at least 5 days or one week of
                                            Employer Contributions (and not Self-Contributions) made on his
                                            behalf after that date at a rate corresponding to Benefit Class 15(C);
                                            and

                                    (ii)    His Benefit Class is 15(C); and

                                    (iii)   He reaches his 57th birthday before becoming an Inactive Participant
                                            for the last time; and

                                    (iv)    He has a Retirement Date that is on or after his 57th birthday; and

                                    (v)     He has at least 25 years of Contributory Service Credit; and

                                    (vi)    He has not received payment of any benefit from this Pension Fund,
                                            except that, this requirement shall be waived if a Pensioner, after his
                                            Retirement Date, becomes reemployed by a Contributing Employer
                                            and meets the requirements of Section 4.14(a).

                           (B)      A Participant who meets the requirements of (2)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined as follows:

                                    (i)     If the Participant stops working on or after April 1, 1988, he shall receive
                                            a benefit according to the following:


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                                                         With 25 Years of         With 30 Years of
                              Age at                      Contributory             Contributory
                           Retirement Date               Service Credit            Service Credit

                            57 through 59                     $ 900                    $1,125
                            60 through 61                     $1,125                   $1,350
                            62 through 64                     $1,225                   $1,500
                            65 and over                       $1,375                   $1,750

                                    (ii)   If the Participant stops working on or after April 1, 1989 and had at least
                                           5 days or one week of Employer Contributions (and not Self-
                                           Contributions) made on his behalf after that date under a Collective
                                           Bargaining Agreement requiring Contributions at a rate corresponding
                                           to Benefit Class 15(C) for the 12 month period preceding his Retirement
                                           Date, he shall receive a benefit according to the following:

                                                         With 25 Years of         With 30 Years of
                              Age at                      Contributory             Contributory
                           Retirement Date               Service Credit            Service Credit

                            57 through 59                     $1,000                   $1,250
                            60 through 61                     $1,250                   $1,600
                            62 through 64                     $1,350                   $1,750
                            65 and over                       $1,500                   $2,000

                    (3)    Benefit Class 16:

                           (A)      A Participant shall qualify for a Contributory Credit Pension under Benefit
                                    Class 16, if he meets each of the requirements as follows:

                                    (i)    He has, on or after April 1, 1991, at least 5 days or one week of
                                           Employer Contributions (and not Self-Contributions) made on his
                                           behalf at a rate corresponding to Benefit Class 16(A) or higher and;

                                           (aa) His Contributing Employer previously made Contributions at a
                                                rate corresponding to Benefit Class 15(C) or higher and his
                                                current Benefit Class, determined according to Section 3.03(a), is
                                                16(A) or higher; or

                                           (bb) His Contributing Employer previously made Contributions at a
                                                rate corresponding to either Benefit Class 15(A) or 15(B) but not
                                                Benefit Class 15(C) or higher, his current Benefit Class,
                                                determined according to Section 3.03(a), is 16(A) or higher and
                                                his Contributing Employer has been making Contributions at a
                                                rate corresponding to Benefit Class 16(A) or higher for at least 12
                                                months preceding his Retirement Date; or

                                           (cc) His Benefit Class, determined according to Section 3.03(b), is
                                                16(A) or higher; and

                                    (ii)   He is covered by a Collective Bargaining Agreement which requires his
                                           Contributing Employer to begin making Contributions at a rate
                                           corresponding to at least Benefit Class 16(C) no later than 24 months
                                           after the date the last Contribution is made on his behalf; and


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                                    (iii)   He reaches his 57th birthday before becoming an Inactive Participant
                                            for the last time; and

                                    (iv)    He has a Retirement Date that is on or after his 57th birthday; and

                                    (v)     He has at least 20 years of Contributory Service Credit; and

                                    (vi)    He has not received payment of any benefit from this Pension Fund,
                                            except that, this requirement shall be waived if a Pensioner, after his
                                            Retirement Date, becomes reemployed by a Contributing Employer
                                            and meets the requirements of Section 4.14(a).

                           (B)      A Participant who meets the requirements of (3)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined by the
                                    following:

                                               With                     With                 With
               Age at                       20 Years of              25 Years of          30 Years of
              Retirement                    Contributory             Contributory        Contributory
                Date                          Credit                   Credit               Credit

                  57                           $ 900                    $1,200              $2,000
                  58                              950                    1,300               2,000
                  59                            1,000                    1,400               2,000
                  60                            1,050                    1,500               2,000
                  61                            1,100                    1,600               2,100
                  62                            1,200                    1,700               2,200
                  63                            1,300                    1,800               2,300
                  64                            1,400                    1,900               2,400
                  65                            1,500                    2,000               2,500

                    (4)    Benefit Class 17a

                           (A)      A Participant shall qualify for a Contributory Credit Pension under Benefit
                                    Class 17a, if he meets each of the requirements as follows:

                                    (i)     He has, on or after August 1, 1993, at least 100 days or 20 weeks of
                                            Employer Contributions (and not Self-Contributions) made on his
                                            behalf at a rate corresponding to Benefit Class 17a; and

                                    (ii)    His Benefit Class is 17a; and

                                    (iii)   He has, excluding any Contributory Service Credit he earned from
                                            Self-Contributions he made for a period preceding January 1,
                                            1994, other than a Temporary Medical Absence Period (as defined
                                            in Section 1.09(b)), at least 25 years of Contributory Service Credit;
                                            and

                                    (iv)    He meets, excluding any Contributory Service Credit he earned
                                            from Self-Contributions he made for a period preceding January
                                            1, 1994, other than a Temporary Medical Absence Period (as
                                            defined in Section 1.09(b)), the Contributory Service Credit
                                            requirement for the benefit amount he wishes to receive; and

                                    (v)     He has not received payment of any benefit from this Pension Fund,
                                            except that, this requirement shall be waived if a Pensioner, after his
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                                               Retirement Date, becomes reemployed by a Contributing Employer
                                               and meets the requirements of Section 4.14(a).

                           (B)      A Participant who meets the requirements of (4)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined by the
                                    following:


                                     YEARS OF CONTRIBUTORY SERVICE CREDIT

  Age at
Retirement Date             25            26       27     28      29        30     31     32    33      34     35

      50                   1500       1500        1500    1500   1500      2000   2100   2200   2300   2400    2500
 (and under)
      51                   1500       1500        1500    1500   1500      2000   2100   2200   2300   2400    2500

      52                   1500       1500        1500    1500   1500      2000   2100   2200   2300   2400    2500

      53                   1500       1500        1500    1500   1500      2000   2100   2200   2300   2400    2500

      54                   1500       1500        1500    1500   1500      2000   2100   2200   2300   2400    2500

      55                   1500       1500        1500    1500   1500      2000   2100   2200   2300   2400    2500

      56                   1500       1600        1600    1600   1600      2000   2100   2200   2300   2400    2500

      57                   1500       1600        1700    1700   1700      2000   2100   2200   2300   2400    2500

      58                   1500       1600        1700    1800   1800      2000   2100   2200   2300   2400    2500

      59                   1500       1600        1700    1800   1900      2000   2100   2200   2300   2400    2500

      60                   1500       1600        1700    1800   1900      2000   2100   2200   2300   2400    2500

      61                   1600       1600        1700    1800   1900      2100   2100   2200   2300   2400    2500

      62                   1700       1700        1700    1800   1900      2200   2200   2200   2300   2400    2500

      63                   1800       1800        1800    1800   1900      2300   2300   2300   2300   2400    2500

      64                   1900       1900        1900    1900   1900      2400   2400   2400   2400   2400    2500

      65                   2000       2000        2000    2000   2000      2500   2500   2500   2500   2500    2500


                    (5)    Benefit Class 17b

                           (A)      A Participant shall qualify for a Contributory Credit Pension under Benefit
                                    Class 17b, if he meets each of the requirements as follows:

                                    (i)        He has, on or after April 1, 1994, at least 10 days or 2 weeks of
                                               Employer Contributions (and not Self-Contributions) made on his
                                               behalf at a rate corresponding to Benefit Class 17b or if he is employed
                                               as a casual Employee or changes Contributing Employers (but not
                                               Bargaining Units) on or after such date, he has at least 100 days or 20
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                                            weeks of Employer Contributions (and not Self-Contributions) made
                                            on his behalf at a rate corresponding to Benefit Class 17b; and

                                    (ii)    His Benefit Class is 17b; and

                                    (iii)   He has, excluding any Contributory Service Credit he earned from
                                            Self-Contributions he made for a period preceding January 1,
                                            1994, other than a Temporary Medical Absence Period (as defined
                                            in Section 1.09(b)), at least 30 years of Contributory Service Credit, or
                                            has reached at least age 55 before becoming an Inactive Participant,
                                            and has, excluding any Contributory Service Credit he earned from
                                            Self-Contributions he made for a period preceding January 1,
                                            1994, other than a Temporary Medical Absence Period (as defined
                                            in Section 1.09(b)), at least 25 years of Contributory Service Credit;
                                            and

                                    (iv)    He meets, excluding any Contributory Service Credit he earned
                                            from Self-Contributions he made for a period preceding January
                                            1, 1994, other than a Temporary Medical Absence Period (as
                                            defined in Section 1.09(b)), the Contributory Service Credit
                                            requirement for the benefit amount he wishes to receive; and

                                    (v)     He has not received payment of any benefit from this Pension Fund,
                                            except that, this requirement shall be waived if a Pensioner, after his
                                            Retirement Date, becomes reemployed by a Contributing Employer
                                            and meets the requirements of Section 4.14(a).

                           (B)      A Participant who meets the requirements of (5)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined by the
                                    following:




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                                     YEARS OF CONTRIBUTORY SERVICE CREDIT
     Age at
  Retirement Date           25        26     27      28       29        30     31     32    33     34     35

          50                                                           2500   2600   2700   2800   2900   3000
         (and under)       EARLY RETIREMENT PENSION
          51                                                           2500   2600   2700   2800   2900   3000
                           IS PAID FOR THESE AGE AND
         52                                                            2500   2600   2700   2800   2900   3000
                           SERVICE COMBINATIONS
         53                                                            2500   2600   2700   2800   2900   3000

         54                                                            2500   2600   2700   2800   2900   3000

         55                1500      1500    1500   1500     1500      2500   2600   2700   2800   2900   3000

         56                1500      1600    1600   1600     1600      2500   2600   2700   2800   2900   3000

         57                1500      1600    1700   1700     1700      2500   2600   2700   2800   2900   3000

         58                1500      1600    1700   1800     1800      2500   2600   2700   2800   2900   3000

         59                1500      1600    1700   1800     1900      2500   2600   2700   2800   2900   3000

         60                1500      1600    1700   1800     1900      2500   2600   2700   2800   2900   3000

         61                1600      1600    1700   1800     1900      2500   2600   2700   2800   2900   3000

         62                1700      1700    1700   1800     1900      2500   2600   2700   2800   2900   3000

         63                1800      1800    1800   1800     1900      2500   2600   2700   2800   2900   3000

         64                1900      1900    1900   1900     1900      2500   2600   2700   2800   2900   3000

         65                2000      2000    2000   2000      2000     2500   2600   2700   2800   2900   3000


              (c)   For purposes of determining the amount of his Contributory Credit Pension, a Participant
                    may choose to have his age calculated as of any date which does not precede his
                    Retirement Date or extend beyond the date he becomes an Inactive Participant, except
                    that, a Participant who becomes an Inactive Participant prior to his Retirement Date, and
                    who does not again become an Active Participant, shall have his age determined as of
                    the date he became an Inactive Participant.

              (d)   Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                    4.13), the Contributory Service After Retirement Date or After Disability (as described in
                    Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                    the Contributory Credit Pension becomes payable to a Participant on the 1st day of the
                    month following the month in which his age was calculated according to (b), above,
                    except that, a Participant whose Retirement Date follows the date on which his age was
                    calculated, shall have his Contributory Credit Pension become payable on the 1st day
                    of the month following his Retirement Date.

                    (6)    Benefit Class 18

                           (A)      A Participant shall qualify for a Contributory Credit Pension under Benefit
                                    Class 18, if he meets each of the requirements as follows:



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                                    (i)      He has, on or after August 1, 1997, at least 10 days or 2 weeks of
                                             Employer Contributions (and not Self-Contributions) made on his
                                             behalf at a rate corresponding to Benefit Class 18 or, if he is employed
                                             as a casual Employee or changes Contributing Employers (but not
                                             Bargaining Units) on or after such date, he has at least 100 days or 20
                                             weeks of Employer Contributions (and not Self-Contributions) made
                                             on his behalf at a rate corresponding to Benefit Class 18; and

                                    (ii)     His Benefit Class is 18; and

                                    (iii)    He meets, excluding any Contributory Service Credit he earned
                                             from Self-Contributions he made for a period preceding January
                                             1, 1994, other than a Temporary Medical Absence Period (as
                                             defined in Section 1.09(b)), the Contributory Service Credit
                                             requirement for the benefit amount he wishes to receive; and

                                    (iv)     He has not received payment of any benefit from this Pension Fund,
                                             except that, this requirement shall be waived if a Pensioner, after his
                                             Retirement Date, becomes reemployed by a Contributing Employer
                                             and meets the requirements of Section 4.14(a).

                           (B)      A Participant who meets the requirements of (6)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined by the
                                    following:


                                      YEARS OF CONTRIBUTORY SERVICE CREDIT

   Age at
  Retirement        20-
    Date            24        25            26     27     28        29        30    31       32     33      34     35

     Any
     Age            -        2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      50            650      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      51            700      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      52            750      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      53            800      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      54            850      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      55            900      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      56            950      2000           2100   2200   2300      2400     3000   3100     3200   3300    3400   3500

      57            1000     2500           2600   2700   2800      2900     3000   3100     3200   3300    3400   3500

      58            1050     2500           2600   2700   2800      2900     3000   3100     3200   3300    3400   3500

      59            1100     2500           2600   2700   2800      2900     3000   3100     3200   3300    3400   3500




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                                      YEARS OF CONTRIBUTORY SERVICE CREDIT

   Age at
  Retirement        20-
    Date            24        25            26     27      28        29        30    31       32     33      34     35

      60         1150        2500           2600   2700   2800       2900     3000   3100     3200   3300    3400   3500

      61         1200        2500           2600   2700   2800       2900     3000   3100     3200   3300    3400   3500

      62         1300        2500           2600   2700   2800       2900     3000   3100     3200   3300    3400   3500

      63         1400        2500           2600   2700   2800       2900     3000   3100     3200   3300    3400   3500

      64         1500        2500           2600   2700   2800       2900     3000   3100     3200   3300    3400   3500

      65         2000        2500           2600   2700   2800       2900     3000   3100     3200   3300    3400   3500


                    (7)    Benefit Class 18+

                           (A)      A Participant shall qualify for Contributory Credit Pension under Benefit Class
                                    18+, if he meets each of the requirements as follows:

                                    (i)      He has, on or after June 1, 1998, at least 10 days or 2 weeks of
                                             Employer Contributions (and not Self-Contributions) made on his
                                             behalf at a rate corresponding to Benefit Class 18+ or, if he is employed
                                             as a casual Employee or changes Contributing Employers (but not
                                             Bargaining Units) on or after such date, he has at least 100 days or 20
                                             weeks of Employer Contributions (and not Self-Contributions) made
                                             on his behalf at a rate corresponding to Benefit Class 18+; and

                                    (ii)     His Benefit Class is 18+; and

                                    (iii)    He meets excluding any Contributory Service Credit he earned
                                             from Self-Contributions he made for a period preceding January
                                             1, 1994, other than a Temporary Medical Absence Period (as
                                             defined in Section 1.09(b)), the Contributory Service Credit
                                             requirement for the benefit amount he wishes to receive; and

                                    (iv)     He has not received payment of any benefit from this Pension Fund,
                                             except that, this requirement shall be waived if a Pensioner, after his
                                             Retirement Date, becomes reemployed by a Contributing Employer
                                             and meets the requirements of Section 4.14(a).

                           (B)      A Participant who meets the requirements of (7)(A), above, shall receive a
                                    Contributory Credit Pension in a monthly amount determined by the
                                    following:




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                                    YEARS OF CONTRIBUTORY SERVICE CREDIT

   Age at
  Retirement           20-
    Date               24      25      26      27      28      29      30      31      32      33      34      35

     Any
     Age           -         2000    2100    2200    2300    2400    3000    3100    3200    3300    3400    3500

      50           650       2000    2100    2200    2300    2400    3000    3100    3200    3300    3400    3500

      51           700       2000    2100    2200    2300    2400    3000    3100    3200    3300    3400    3500

      52           750       2000    2100    2200    2300    2400    3000    3100    3200    3300    3400    3500

      53           800       2000    2100    2200    2300    2400    3000    3100    3200    3300    3400    3500

      54           850       2000    2100    2200    2300    2400    3000    3100    3200    3300    3400    3500

      55           900       2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      56           950       2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      57         1000        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      58         1050        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      59         1100        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      60         1150        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      61         1200        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      62         1300        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      63         1400        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      64         1500        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

      65         2000        2500    2600    2700    2800    2900    3000    3100    3200    3300    3400    3500

             (e)       The Pension Fund is not liable for benefits based upon this Section 4.04 to the extent
                       such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                       Pension Plan.

Section 4.05           25-AND-OUT PENSION - BENEFIT CLASS 17a, 18 and 18+ ONLY

             (a)       The benefit described in this Section 4.05 is preserved, protected and limited as
                       of December 31, 2003, to the extent described in this subsection (a). Contributory
                       Service Credit for any time period after December 31, 2003, will be disregarded, in
                       determining eligibility for and the amount of a 25-And-Out Pension, except as otherwise
                       provided in this subsection (a). For any Participant who has Contributory Service Credit
                       both before and after December 31, 2003, the eligibility and amount of a 25-And-Out
                       Pension will be determined in accordance with the following standards:

                       (1)   The total of the Participant’s Contributory Service Credit before, on and after
                             December 31, 2003, will be included in the determination whether the Participant
                             has the minimum 25 years of Contributory Service Credit required to qualify for this
                             benefit and, if he does, and if he satisfies all other eligibility requirements for a 25-
                             And-Out Pension, his monthly share of the applicable benefit amount (either
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                           $1,500 or $2,000, whichever applies) will equal a fraction of that amount, the
                           numerator being the total years of his Contributory Service Credit as of December
                           31, 2003, and the denominator being 25 years; and

                    (2)    The Benefit Class of the Participant, for purposes of a 25-and-Out Pension, will be
                           determined as of December 31, 2003, unless any of the limited post-2003
                           exceptions specified in Section 3.01(c) is applicable; and

                    (3)    The Participant will also be entitled to receive, in addition to his share of a 25-And-
                           Out Pension, a partial Contribution-Based Pension provided by Section 4.03,
                           except that this partial benefit will be based solely upon his Contributory Service
                           Credit on and after January 1, 2004.

             (b)    A Participant shall qualify for a 25-And-Out Pension under Benefit Class 17a, in a
                    monthly amount of $1,500, if he meets each of the following requirements:

                    (1)    He has, on or after August 1, 1993, at least 100 days or 20 weeks of Employer
                           Contributions (and not Self-Contributions) made on his behalf under Benefit
                           Class 17a; and

                    (2)    His Benefit Class is 17a; and

                    (3)    He has, excluding any Contributory Service Credit he earned from Self-
                           Contributions he made for a period preceding January 1, 1994, other than a
                           Temporary Medical Absence Period (as defined in Section 1.09(b)), at least
                           25 years of Contributory Service Credit; and

                    (4)    He has not received payment of any benefit from this Pension Fund, except that,
                           this requirement shall be waived if a Pensioner, after his Retirement Date,
                           becomes reemployed by a Contributing Employer and meets the requirements of
                           Section 4.14(a).

             (c)    A Participant shall qualify for a 25-And-Out Pension under Benefit Class 18 or 18+, in a
                    monthly amount of $2,000, if he meets each of the following requirements:

                    (1)    He has had at least 10 days or 2 weeks of Employer Contributions (and not Self-
                           Contributions) made on his behalf at a rate corresponding to Benefit Class 18 or
                           18+ or, if he is employed as a casual Employee or changes Contributing Employers
                           (but not Bargaining Units) on or after such date, he has at least 100 days or 20
                           weeks of Employer Contributions (and not Self-Contributions) made on his
                           behalf at a rate corresponding to Benefit Class 18 or 18+; and

                    (2)    His Benefit Class is 18 or 18+; and

                    (3)    He has, excluding any Contributory Service Credit he earned from Self-
                           Contributions he made for a period preceding January 1, 1994, other than a
                           Temporary Medical Absence Period (as defined in Section 1.09(b)), at least
                           25 years of Contributory Service Credit; and

                    (4)    He has not received payment of any benefit from this Pension Fund, except that,
                           this requirement shall be waived if a Pensioner, after his Retirement Date,
                           becomes reemployed by a Contributing Employer and meets the requirements of
                           Section 4.14(a).

             (d)    Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                    4.13), the Contributory Service After Retirement Date or After Disability (as described in
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                     Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                     a Participant may elect to have his 25-And-Out Pension become payable on the 1st day
                     of the month following his Retirement Date.

             (e)     A Participant who has stopped working in Covered Service may not elect to have his 25-
                     And-Out Pension become payable later than the 1st day of the month following his
                     Normal Retirement Date.

             (f)     The 25-And-Out Pension a Participant becomes qualified to receive shall be his
                     minimum monthly retirement benefit from this Pension Fund.

             (g)     The Pension Fund is not liable for benefits based upon this Section 4.05 to the extent
                     such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                     Pension Plan.

Section 4.06         30-AND-OUT PENSION - SCHEDULE B BENEFIT ONLY

             (a)     The benefit described in this Section 4.06 is preserved, protected and limited as
                     of December 31, 2003, to the extent described in this subsection (a). Contributory
                     Service Credit for any time period after December 31, 2003, will be disregarded, in
                     determining eligibility for and the amount of a 30-and-Out Pension, except as otherwise
                     provided in this subsection (a). For any Participant who has Contributory Service Credit
                     both before and after December 31, 2003, the eligibility and amount of a 30-And-Out
                     Pension will be determined in accordance with the following standards:

                     (1)   The total of the Participant’s Contributory Service Credit before, on and after
                           December 31, 2003, will be included in the determination whether the Participant
                           has the minimum 30 years of Contributory Service Credit required to qualify for this
                           benefit and, if he does, and if he satisfies all other eligibility requirements for a 30-
                           And-Out Pension, his monthly share of the applicable benefit amount will equal a
                           fraction of that amount, the numerator being the total years of his Contributory
                           Service Credit as of December 31, 2003, and the denominator being 30 years
                           (“applicable benefit amount”, for this calculation, means the amount in subsection
                           [c] that is applicable to the Participant); and

                     (2)   The Benefit Class of the Participant, for purposes of a 30-And-Out Pension, will be
                           determined as of December 31, 2003, unless any of the limited post-2003
                           exceptions specified in Section 3.01(c) is applicable; and

                     (3)   The Participant will also be entitled to receive, in addition to his share of a 30-And-
                           Out Pension, a partial Contribution-Based Pension provided by Section 4.03,
                           except that this partial benefit will be based solely upon his Contributory Service
                           Credit on and after January 1, 2004.

             (b)     A Participant shall qualify for a 30-And-Out Pension if he meets each of the following
                     requirements:

                     (1)   He has at least 30 years of Contributory Service Credit; and

                     (2)   He has at least 5 days or one week of Contributions made on his behalf at
                           Schedule B rates; and

                     (3)   He has not received payment of any benefit from this Pension Fund, except that,
                           this requirement shall be waived if a Pensioner, after his Retirement Date,
                           becomes reemployed by a Contributing Employer and meets the requirements of
                           Section 4.14(a).
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             (c)    A Participant who is eligible for a 30-And-Out Pension shall receive a benefit in a monthly
                    amount determined as follows:

                    (1)    He shall receive a 30-And-Out Pension in a monthly amount equal to the age 60
                           Twenty-Year Service Pension corresponding to his Benefit Class if his Benefit
                           Class is below 15(A) and he is covered by a Collective Bargaining Agreement
                           which contains a commitment for Schedule B rates.

                    (2)    He shall receive a 30-And-Out Pension in a monthly amount of $1,000 if his Benefit
                           Class is 15 or if his Benefit Class is 16(A) or higher and he fails to meet the
                           requirements of (3), (4) and (5) below.

                    (3)    He shall receive a 30-And-Out Pension in a monthly amount of $2,000 if he meets
                           each of the following requirements:

                           (A)      He has, on or after April 1, 1991, at least 5 days or one week of Employer
                                    Contributions (and not Self-Contributions) made on his behalf at a rate
                                    corresponding to Benefit Class 16(A) or higher, and;

                                    (i)     His Contributing Employer previously made Contributions at a rate
                                            corresponding to Benefit Class 15(C) or higher and his current Benefit
                                            Class, determined according to Section 3.03(a), is 16(A) or higher; or

                                    (ii)    His Contributing Employer previously made Contributions at a rate
                                            corresponding to either Benefit Class 15(A) or 15(B) but not Benefit
                                            Class 15(C), his current Benefit Class, determined according to Section
                                            3.03(a), is 16(A) or higher and his Contributing Employer has been
                                            making Contributions at a rate corresponding to Benefit Class 16(A) or
                                            higher for at least 12 months preceding his Retirement Date; or

                                    (iii)   His Benefit Class, determined according to Section 3.03(b), is 16(A) or
                                            higher; and

                           (B)      He is covered by a Collective Bargaining Agreement which requires his
                                    Contributing Employer to begin making Contributions at a rate corresponding
                                    to at least Benefit Class 16(C) no later than 24 months after the date the last
                                    Contribution is made on his behalf.

                    (4)    He shall receive a 30-And-Out Pension in a monthly amount of $2,500 if he meets
                           each of the following requirements:

                           (A)      He has had, on or after April 1, 1994, at least 10 days or 2 weeks of Employer
                                    Contributions (and not Self-Contributions) made on his behalf at a rate
                                    corresponding to Benefit Class 17b or if he is employed as a casual
                                    Employee or changes Contributing Employers (but not Bargaining Units) on
                                    or after such date, he has at least 100 days or 20 weeks of Employer
                                    Contributions (and not Self-Contributions) made on his behalf at a rate
                                    corresponding to Benefit Class 17b; and

                           (B)      His Benefit Class is 17b; and

                           (C)      He has, excluding any Contributory Service Credit he earned from Self-
                                    Contributions he made for a period preceding January 1, 1994, other
                                    than a Temporary Medical Absence Period (as defined in Section
                                    1.09(b)), at least 30 years of Contributory Service Credit.
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                     (5)   He shall receive a 30-And-Out Pension in a monthly amount of $3,000 if he meets
                           each of the following requirements:

                           (A)      He has had at least 10 days or 2 weeks of Employer Contributions (and not
                                    Self-Contributions) made on his behalf at a rate corresponding to Benefit
                                    Class 18 or 18+ or, if he is employed as a casual Employee or changes
                                    Contributing Employers (but not Bargaining Units) on or after such date, he
                                    has at least 100 days or 20 weeks of Employer Contributions (and not Self-
                                    Contributions) made on his behalf at a rate corresponding to Benefit Class
                                    18 or 18+; and

                           (B)      His Benefit Class is 18 or 18+; and

                           (C)      He has, excluding any Contributory Service Credit he earned from Self-
                                    Contributions he made for a period preceding January 1, 1994, other
                                    than a Temporary Medical Absence Period (as defined in Section
                                    1.09(b)), at least 30 years of Contributory Service Credit.

             (d)     Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                     4.13), the Contributory Service After Retirement Date or After Disability (as described in
                     Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                     a Participant may elect to have his 30-And-Out Pension become payable on the 1st day
                     of any month following his Retirement Date.

             (e)     A Participant who has stopped working in Covered Service may not elect to have his 30-
                     And-Out Pension become payable later than the 1st day of the month following his
                     Normal Retirement Date.

             (f)     The 30-And-Out Pension a Participant becomes qualified to receive shall be his
                     minimum monthly retirement benefit from this Pension Fund.

             (g)     The Pension Fund is not liable for benefits based upon this Section 4.06 to the extent
                     such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                     Pension Plan.

Section 4.07         VESTED PENSION

             (a)     To become eligible for a Vested Pension, a Participant must be a Vested Participant and
                     have a Retirement Date preceding January 1, 1987. A Vested Participant whose
                     Retirement Date is on or after January 1, 1987 shall be eligible to receive a Contribution-
                     Based Pension (as defined in Section 4.03) in lieu of a Vested Pension.

             (b)     The monthly amount of the Vested Pension is determined as follows:

                     (1)   If the effective date of benefit payments is on or after the Normal Retirement Date
                           of the Participant, the monthly amount is equal to his Accrued Benefit, as
                           determined by Section 1.01(a).

                     (2)   If the effective date of benefit payments is before the Normal Retirement Date of
                           the Participant, the monthly amount is determined by reducing his Accrued Benefit,
                           as determined by Section 1.01(a), by ½ of 1% for each month his effective date of
                           benefit payments precedes his 65th birthday;

             (c)     Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                     4.13), the Contributory Service After Retirement Date or After Disability (as described in
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                    Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                    a Participant may elect to have his Vested Pension become payable on the 1st day of
                    any month following the later of:

                    (1)    his 50th birthday; or

                    (2)    his Retirement Date.

             (d)    The Pension Fund is not liable for benefits based upon this Section 4.07 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 4.08        DEFERRED PENSION

             (a)    A Participant who becomes eligible for a Deferred Pension may defer payment of his
                    Twenty-Year Service Pension or Early Retirement Pension to a later age and receive a
                    greater monthly benefit.

             (b)    To become eligible for a Deferred Pension, a Participant must meet one of the following
                    requirements at the time he stops working in Covered Service or becomes an Inactive
                    Participant.

                    (1)    he must be eligible for immediate payment of a Twenty-Year Service Pension; or

                    (2)    he must be eligible for immediate payment of an Early Retirement Pension and
                           have at least 20 years of Contributory Service Credit.

             (c)    The monthly amount of the Deferred Pension is determined by the age of the Participant
                    in the month immediately preceding his Deferred Retirement Date, and by his Benefit
                    Class on the earlier of:

                    (1)    the date he stops working in Covered Service; or

                    (2)    the date he became an Inactive Participant.

             (d)    Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                    4.13), the Contributory Service After Retirement Date or After Disability (as described in
                    Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                    the Deferred Pension becomes payable on the Deferred Retirement Date of a
                    Participant.

             (e)    The Pension Fund is not liable for benefits based upon this Section 4.08 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 4.09        TWENTY-YEAR DEFERRED PENSION - SCHEDULE B BENEFIT ONLY

             (a)    A Participant who becomes eligible for a Twenty-Year Deferred Pension may defer the
                    payment of his Twenty-Year Service Pension or Early Retirement Pension and receive
                    a greater monthly benefit.

             (b)    To become eligible for a Twenty-Year Deferred Pension, a Participant must meet the
                    following requirements at the time he stops working in Covered Service or becomes an
                    Inactive Participant.


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                    (1)    (A)      he must have had at least one Year of Participation in which his Contributing
                                    Employer made Employer Contributions under Schedule B for members of
                                    his Bargaining Unit; or

                           (B)      he must not have had a One-Year Break-in-Service during the calendar year
                                    immediately preceding the calendar year his Contributing Employer began
                                    making Employer Contributions under Schedule B for members of his
                                    Bargaining Unit; and

                    (2)    he must have had at least 20 years of Contributory Service Credit.

             (c)    The monthly amount of the Twenty-Year Deferred Pension is determined by the age of
                    the Participant in the month immediately preceding his Deferred Retirement Date, and
                    by his Benefit Class on the earlier of:

                    (1)    the date he stopped working in Covered Service; or

                    (2)    the date he became an Inactive Participant.

             (d)    Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                    4.13), the Contributory Service After Retirement Date or After Disability (as described in
                    Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                    the Twenty-Year Deferred Pension becomes payable on the Deferred Retirement Date
                    of a Participant.

             (e)    The Pension Fund is not liable for benefits based upon this Section 4.09 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 4.10        FORMS OF PAYMENT

             (a)    Three forms of payment for retirement pensions are available from the Pension Plan.
                    The form of payment affects the monthly amount of the retirement pension, and also
                    determines what benefits, if any, shall be available after the death of the Participant.

             (b)    FORM OF PAYMENT 1 - JOINT AND 50% SURVIVING SPOUSE OPTION

                    (1)    The Joint and 50% Surviving Spouse Option is the normal form of payment for
                           retirement pensions and is available if:

                           (A)      a Pensioner is married on the effective date of his benefit payments; and

                           (B)      he and his spouse have not elected, in writing, to receive his retirement
                                    pension in any other form of payment.

                    (2)    The Joint and 50% Surviving Spouse Option provides a lifetime retirement pension
                           to a Pensioner reduced to reflect the cost to the Pension Fund for this form of
                           payment, and after his death, provides 50% of that reduced amount as a lifetime
                           benefit to the surviving spouse. For purposes of this form of payment, a surviving
                           spouse is the individual to whom the Pensioner is married on the effective date of
                           his benefit payments, except as otherwise provided in subsection (g)(1)(E) and (F)
                           of this section.

                    (3)    The reduction factors for the Joint and 50% Surviving Spouse Option appear in
                           Appendix A-1.

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                    (4)    A Pensioner whose reduced pension is based upon the Joint and 50% Surviving
                           Spouse Option, and who is preceded in death by his spouse, shall have his
                           retirement pension restored to the amount he would have received if he and his
                           spouse had rejected the Joint and 50% Surviving Spouse Option. This provision
                           shall apply to any Pensioner who, on or after January 1, 1990, is eligible to receive
                           his retirement pension under the Joint and 50% Surviving Spouse Option and shall
                           go into effect according to the following:

                           (A)      If the date of death of a Pensioner’s spouse is before January 1, 1990,
                                    his retirement pension shall be restored effective January 1, 1990.

                           (B)      If the date of death of a Pensioner’s spouse is on or after January 1,
                                    1990, the Pensioner’s retirement pension shall be restored effective the 1st
                                    day of the month following the month of his spouse’s death.

                    (5)    If a Pensioner’s reduced pension is based upon the Joint and 50% Surviving
                           Spouse Option, and if that Pensioner’s spouse executes a specific written waiver
                           of any right to and interest in the Joint and 50% Surviving Spouse Option, and if
                           that waiver is incorporated in a court-approved property settlement agreement that
                           is part of a judgment or order entered by a court of competent jurisdiction in a
                           divorce, marriage dissolution or marital separation proceeding, then the Pensioner
                           shall have his retirement pension restored to the amount he would have received
                           if he and his spouse had rejected the Joint and 50% Surviving Spouse Option. This
                           restoration shall be effective the 1st day of the month following the month in which
                           the judgment or order is entered, except that the restoration will not be applied to
                           benefits paid or payable on any date prior to 1992.

                    (6)    Subject to the Benefits Claim Filing Procedures (as described in Section 7.14),
                           benefits payable to a surviving spouse under the Joint and 50% Surviving Spouse
                           Option form of payment shall become payable on the 1st day of the month following
                           the Participant’s death.

             (c)    FORM OF PAYMENT 1A -- JOINT AND 75% SURVIVING SPOUSE OPTION

                    (1)    The Joint and 75% Surviving Spouse Option is a form of payment for retirement
                           pensions which is an alternative to the Joint and 50% Surviving Spouse Option
                           and which is available if:

                           (A)      a Pensioner is married on the effective date of his benefit payments; and

                           (B)      the effective date of the benefit payments of the Pensioner is on or after
                                    March 1, 2008; and

                           (C)      there has been an effective waiver by the Pensioner, with the consent of his
                                    spouse, of the Joint and 50% Surviving Spouse Option; and

                           (D)      the Pensioner, during the applicable election period (as defined in subsection
                                    [f] [7] [C] of this section), has elected the Joint and 75% Surviving Spouse
                                    Option and has not revoked that election before expiration of that period.

                    (2)    The Joint and 75% Surviving Spouse Option provides a lifetime retirement pension
                           to a Pensioner reduced to reflect the cost to the Pension Fund for this form of
                           payment and, after his death, provides 75% of that reduced amount as a lifetime
                           benefit to his surviving spouse. For purposes of this form of payment, a surviving
                           spouse is the individual to whom the Pensioner is married on the effective date of
                           his benefit payments, except that, if the spouse of the Pensioner as of his
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                           retroactive annuity starting date (as defined in this section) is no longer his spouse
                           determined as of the date on which distribution of his retirement pension actually
                           commences, that former spouse is not his spouse for purposes of this subsection
                           (c) and is not entitled to a QOSA benefit.

                    (3)    The reduction factors for the Joint and 75% Surviving Spouse Option appear in
                           Appendix A-2.

                    (4)    A Pensioner whose reduced pension is based upon the Joint and 75% Surviving
                           Spouse Option, and who is preceded in death by his spouse, shall have his
                           retirement pension restored to the amount he would have received if he had not
                           elected the Joint and 75% Surviving Spouse Option, effective as of the 1st day of
                           the month following his spouse’s death.

                    (5)    If a Pensioner’s reduced pension is based upon the Joint and 75% Surviving
                           Spouse Option, and if that Pensioner’s spouse executes a specific written waiver
                           of any right to and interest in the Joint and 75% Surviving Spouse Option, and if
                           that waiver is incorporated in a court-approved property settlement agreement that
                           is part of a judgment or order entered by a court of competent jurisdiction in a
                           divorce, marriage dissolution or marital separation proceeding, then the Pensioner
                           shall have his retirement pension restored to the amount he would have received
                           if he had not elected the Joint and 75% Surviving Spouse Option. This restoration
                           shall be effective as of the 1st day of the month following the month in which the
                           judgment or order is entered.

                    (6)    Subject to the Benefits Claim Filing Procedures (as described in Section 7.14),
                           benefits payable to a surviving spouse under the Joint and 75% Surviving Spouse
                           Option form of payment shall become payable on the 1st day of the month following
                           the Pensioner’s death.

             (d)    FORM OF PAYMENT 2 - LIFETIME ONLY OPTION

                    (1)    A Participant whose Benefit Class is 3(A) or lower shall, after becoming a
                           Pensioner, automatically receive his retirement pension benefit under the Lifetime
                           Only Option if:

                           (A)      he is not married on the effective date of his retirement pension benefit
                                    payments; or

                           (B)      he and his spouse have elected in writing, not to receive his retirement
                                    pension benefits under the Joint and 50% Surviving Spouse Option.

                    (2)    The Lifetime Only Option provides a lifetime retirement pension to a Pensioner,
                           and does not, upon his death, provide any monthly surviving spouse benefit.

                    (3)    The Lifetime Only Option does not provide any lump-sum death benefit upon the
                           death of a Pensioner who was receiving a Contribution-Based Pension or Vested
                           Pension or upon the death of his spouse, unless, upon retirement, he had met the
                           requirements for an Early Retirement Pension or Twenty-Year Deferred Pension.

                    (4)    Subject to (d)(3), above, the Lifetime Only Option provides a $1,000 lump-sum
                           death benefit upon the death of a Pensioner. This $1,000 lump-sum death benefit
                           is payable in equal shares to all members of the highest level of survivors as
                           follows:

                           (A)      Spouse;
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                           (B)      Dependent Children;

                           (C)      Non-Dependent Children;

                           (D)      Parents;

                           (E)      Brothers and Sisters;

                           (F)      Estate.

                    (5)    Subject to (d)(3), above, the Lifetime Only Option provides a $500 lump-sum
                           benefit upon the death of the spouse of a Pensioner. This $500 lump-sum benefit
                           is payable to a Pensioner only once during his lifetime.

             (e)    FORM OF PAYMENT 3 - LIFETIME WITH LIMITED SURVIVING SPOUSE OPTION

                    (1)    A Participant whose Benefit Class is (4) or higher shall, upon becoming a
                           Pensioner, automatically receive his retirement pension benefit under the Lifetime
                           With Limited Surviving Spouse Option if:

                           (A)      he is not married on the effective date of his retirement pension benefit
                                    payments; or

                           (B)      he and his spouse have elected, in writing, not to receive his retirement
                                    pension benefits under the Joint and 50% Surviving Spouse Option.

                    (2)    The Lifetime With Limited Surviving Spouse Option provides a lifetime retirement
                           pension benefit to a Pensioner.

                    (3)    If a Pensioner receives at least 60 months of retirement pension benefit payments,
                           the Lifetime With Limited Surviving Spouse Option does not provide any further
                           benefits.

                    (4)    If a Pensioner does not receive at least 60 months of retirement pension benefit
                           payments, the Lifetime With Limited Surviving Spouse Option, except in cases
                           where he is receiving a Contribution-Based Pension or Vested Pension and, upon
                           retirement, had not met the requirements for an Early Retirement Pension or
                           Twenty-Year Deferred Pension, provides his surviving spouse with the difference
                           in payments resulting when the payments received by the Pensioner before his
                           death are subtracted from 60. For purposes of this form of payment, the surviving
                           spouse of a Pensioner is the individual to whom he is married on the date of his
                           death.

                    (5)    Subject to the Benefits Claim Filing Procedures (as described in Section 7.14) any
                           benefits payable to a surviving spouse under the Lifetime With Limited Surviving
                           Spouse Option form of payment shall become payable on the 1st day of the month
                           following the death of the Pensioner.

                    (6)    If a Pensioner does not receive at least 60 months of retirement pension benefit
                           payments and is not married at the time of his death, the Lifetime With Limited
                           Surviving Spouse Option, except in cases where he is receiving a Contribution-
                           Based Pension or Vested Pension and, upon retirement, had not met the
                           requirements for an Early Retirement Pension or Twenty-Year Deferred Pension,
                           provides that a $1,000 lump-sum death benefit will be payable in equal shares to
                           the members of the highest level of survivors as follows:
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                           (A)      Dependent Children;

                           (B)      Non-Dependent Children;

                           (C)      Parents;

                           (D)      Brothers and Sisters;

                           (E)      Estate.

             (f)     ELECTION TO WAIVE QUALIFIED JOINT AND SURVIVOR ANNUITY AND/OR TO
                     WAIVE QUALIFIED OPTIONAL SURVIVOR ANNUITY

                     (1)   Each Participant and Pensioner may elect at any time during the applicable
                           election period to waive the qualified joint and survivor annuity form of benefit
                           (hereinafter “QJSA benefit”), and, if such a waiver is effectively elected, he may
                           elect at any time during the applicable election period to waive the qualified
                           optional survivor annuity form of benefit (hereinafter “QOSA benefit”). He may also
                           revoke such election (to waive the QJSA benefit and/or to waive the QOSA benefit)
                           at any time during the applicable election period.

                     (2)   The QJSA benefit is the Joint and 50% Surviving Spouse Option described in
                           subsection (b) of this section. The QOSA benefit is the Joint and 75% Surviving
                           Spouse Option described in subsection (c) of this section.

                     (3)   An election by a Participant or Pensioner to waive the QJSA benefit shall not take
                           effect unless during the applicable election period his spouse consents in writing
                           to such waiver election, and unless the spouse’s consent acknowledges the effect
                           of such waiver election and is witnessed by a notary public. The definition of
                           “spouse” is in subsections (f)(7)(D) and (g)(1)(E) and (F) of this section.

                     (4)   The requirements of a spouse’s consent described in subsection (f)(3) of this
                           section are not applicable in circumstances which establish to the satisfaction of
                           the Pension Fund that the Participant or Pensioner is not married or that his spouse
                           cannot be located.

                     (5)   The Pension Fund shall provide to each Participant and Pensioner a written
                           explanation (hereinafter “QJSA-QOSA explanation”) that will include: the terms
                           and conditions of the QJSA benefit and the QOSA benefit; the right of the
                           Participant or Pensioner to make, and the effect of, a timely election to waive the
                           QJSA benefit and/or to receive the QOSA benefit; the rights of the spouse of the
                           Participant or Pensioner as described in subsection (f)(3) of this section; and the
                           right of the Participant or Pensioner to make, and the effect of, a timely revocation
                           of his previous waiver of the QJSA benefit and/or his previous election to receive
                           the QOSA benefit. The QJSA-QOSA explanation shall be written in a manner
                           calculated to be understood by the average Participant and Pensioner. The QJSA-
                           QOSA explanation shall include, as of the annuity starting date of the Participant
                           or Pensioner (or, if applicable, his retroactive annuity starting date), a description
                           of his QJSA benefit, a description of his QOSA benefit if he elects to waive his
                           QJSA benefit, a description of his optional benefit if he elects to waive both his
                           QJSA benefit and his QOSA benefit, a description of the eligibility conditions for
                           his benefits and a description of the financial effects and relative values of his
                           QJSA benefit, his QOSA benefit if he elects to waive his QJSA benefit, and his
                           optional benefit if he elects to waive both his QJSA benefit and his QOSA benefit.
                           The QJSA-QOSA explanation shall be provided to each Participant or Pensioner
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                           no less than 30 days, and no more than 180 days (or a longer interval caused
                           solely by administrative delay), before his annuity starting date, except as
                           otherwise provided in subsections (f)(6) and (g) of this section.

                    (6)    The QJSA-QOSA explanation may be provided by the Pension Fund to a
                           Participant or Pensioner on a date which is less than 30 days before his annuity
                           starting date if the following conditions are satisfied:

                           (A)      the QJSA-QOSA explanation must clearly inform the Participant or
                                    Pensioner that the applicable election period, for his election to waive the
                                    QJSA benefit, and for his election to receive the QOSA benefit, and for his
                                    revocation of any such prior election, continues until 90 days after the date
                                    on which distribution of his retirement pension actually commences; and

                           (B)      distribution in accordance with an affirmative election to waive the QJSA
                                    benefit and/or to receive the QOSA benefit, or with a revocation of any such
                                    prior election, cannot commence before expiration of 10 days after the date
                                    on which the Participant or Pensioner receives the QJSA-QOSA explanation.

                    (7)    The following terms in subsections (f) and (g) of this section shall have the following
                           meanings:

                           (A)      the term “annuity starting date” means the first day of the first period (of
                                    multiple periods) for which an amount is payable to a Pensioner as a
                                    retirement pension;

                           (B)      the term “retroactive annuity starting date” means an annuity starting date
                                    affirmatively elected by a Participant or Pensioner which occurs on or before
                                    the date on which the QJSA-QOSA explanation, as required by subsections
                                    (f)(5) and (f)(6) of this section, is provided to the Participant or Pensioner,
                                    and to which subsection (g) of this section applies;

                           (C)      the term “applicable election period” (for an election by a Participant or
                                    Pensioner to waive the QJSA benefit and/or to receive the QOSA benefit,
                                    and for his revocation of any such prior election) means the period which
                                    begins 180 days before the annuity starting date of the Participant or
                                    Pensioner and ends on the 90th day after the date on which distribution of
                                    his retirement pension actually commences; and

                           (D)      the “spouse” of a Participant or Pensioner means the person (if any) to whom
                                    he is married on his annuity starting date, except as otherwise provided in
                                    subsection (g) of this section.

             (g)    RETROACTIVE ANNUITY STARTING DATES

                    (1)    This subsection (g) applies only to retroactive annuity starting dates, as defined in
                           subsection (f)(7)(B) of this section, which are on and after January 1, 2004. To
                           the extent any Participant or Pensioner is permitted to elect to receive a retirement
                           pension based upon a retroactive annuity starting date which is on or after
                           January 1, 2004, the following terms, conditions and requirements are applicable:

                           (A)      all future periodic payments with respect to a Participant or Pensioner who
                                    elects a retroactive annuity starting date must be the same as the future
                                    periodic payments that would have been paid to him if his payments had
                                    actually commenced on the retroactive annuity starting date, and he must
                                    receive a make-up payment to reflect all missed payments for the period from
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                                    the retroactive annuity starting date to the date of the actual make-up
                                    payment (with an appropriate adjustment for interest from the date each
                                    missed payment would have been made to the date of the actual make-up
                                    payment, provided that there is to be no such interest adjustment except to
                                    the extent that it is legally required);

                           (B)      no Participant or Pensioner will be permitted to elect a retroactive annuity
                                    starting date that precedes the date upon which he could have otherwise
                                    started receiving benefits;

                           (C)      the QJSA-QOSA explanation shall be provided to each Participant or
                                    Pensioner no less than 30 days, and no more than 180 days (or a longer
                                    interval if caused solely by administrative delay), before the date on which
                                    distribution of his retirement pension actually commences, except that the
                                    QJSA-QOSA explanation may be provided by the Pension Fund to a
                                    Participant or Pensioner on a date which is less than 30 days before the date
                                    on which distribution of his retirement pension actually commences if the
                                    following conditions are satisfied:

                                    (i)    the QJSA-QOSA explanation must clearly inform the Participant or
                                           Pensioner that the applicable election period, for his election to waive
                                           the QJSA benefit, and for his election to receive the QOSA benefit, and
                                           for his revocation of any such prior election, continues until 90 days
                                           after the date on which distribution of his retirement pension actually
                                           commences; and

                                    (ii)   distribution in accordance with an affirmative election to waive the
                                           QJSA benefit and/or to receive the QOSA benefit, or with a revocation
                                           of any such prior election, cannot commence before expiration of 10
                                           days after the date on which the Participant or Pensioner receives the
                                           QJSA-QOSA explanation;

                           (D)      the term ‘applicable election period’ (for an election by a Participant or
                                    Pensioner to waive the QJSA benefit and/or to receive the QOSA benefit,
                                    and for his revocation of any such prior election) means the period which
                                    begins 180 days before the annuity starting date of the Participant or
                                    Pensioner and ends on the 90th day after the date on which distribution of
                                    his retirement pension actually commences;

                           (E)      if the spouse of the Participant or Pensioner as of the retroactive annuity
                                    starting date is no longer his spouse determined as of the date on which
                                    distribution of his retirement pension actually commences, that former
                                    spouse is not entitled to a QJSA benefit and the consent of that former
                                    spouse is not needed to waive the QJSA benefit unless otherwise required
                                    by a qualified domestic relations order; and

                           (F)      the requirements of a spouse’s consent described in subsection (f)(3) of this
                                    section are applicable to the spouse of the Participant or Pensioner
                                    determined as of the date on which distribution of his retirement pension
                                    actually commences (including an alternate payee who is treated as his
                                    spouse based upon a qualified domestic relations order), and no election of
                                    a retroactive annuity starting date shall take effect without consent to the
                                    election by that spouse (in the manner prescribed by subsection [f][3] of this
                                    section) if such election will reduce the amount of the potential future QJSA
                                    benefit which, absent such election, would be payable to the spouse.

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             (h)    TRANSFER OF LIABILITIES TO THE UPS TRANSFER PLAN

                    (1)    For purposes of all forms of payments pursuant to this Section 4.10 and this
                           Pension Plan, the Pension Fund is not liable for benefits to the extent such liability
                           has been transferred by the Pension Fund pursuant to APPENDIX L of this
                           Pension Plan, provided that, in any instance in which the Pension Fund becomes
                           responsible as a result of and pursuant to Section 3 of APPENDIX L for the
                           payment of a qualified post-retirement joint and survivor annuity on and after the
                           Participant’s 65th birthday (or the date that would have been the Participant’s 65th
                           birthday if the Participant is then deceased), if such annuity was previously elected
                           pursuant to and began to be paid by the UPS Transfer Plan, the form of the annuity
                           paid by the Pension Fund will be either the Joint and 50% Surviving Spouse Option
                           or the Joint and 75% Surviving Spouse Option (whichever was elected by the
                           Participant pursuant to the UPS Transfer Plan), and all such payments by the
                           Pension Fund will be determined and governed by the terms and provisions of this
                           Section 4.10 and APPENDIX L.

Section 4.11        BENEFITS UNDER ANOTHER PLAN

             A Participant whose Employee Group was accepted according to the Alternative Policy in
             Appendix G of this Pension Plan, shall have the amount of any Twenty-Year Service Pension,
             Early Retirement Pension, Contributory Credit Pension, 25-And-Out Pension, 30-And-Out
             Pension, Deferred Pension or Twenty-Year Deferred Pension he becomes eligible to receive
             from this Pension Plan, reduced by the amount of any benefit he may have earned while
             covered by a prior pension plan maintained by the Contributing Employer that became
             required to make Employer Contributions to this Pension Fund on his behalf.

Section 4.12        CHOICE OF BENEFITS

             (a)    Except as otherwise provided in (b), below, only one type of retirement pension shall be
                    payable to a Pensioner. Subject to that exception, if a Participant is eligible for more
                    than one type of retirement pension, he must choose the one he is to receive. That
                    choice, upon being made by a Participant, shall be irrevocable, except as provided by
                    the Rules and Procedures for Suspension of Benefits (as described in Section 4.13) and
                    the Contributory Service After Retirement Date or After Disability (as described in
                    Section 4.14), and except in cases where a Participant chooses to receive any other
                    benefit for which he is eligible before the Pension Fund completes the processing of his
                    claim for any other retirement pension he may be eligible to receive.

             (b)    For any Participant who has Contributory Service Credit both before and after December
                    31, 2003, and who becomes eligible to receive both a partial Contribution-Based
                    Pension based solely upon his Contributory Service Credit on and after January 1, 2004,
                    and a retirement benefit in accordance with Section 4.04(a) or Section 4.05(a) or Section
                    4.06(a), the initial effective date of both benefits will be the 1st day of the month following
                    the Retirement Date of the Participant.

Section 4.13        RULES AND PROCEDURES FOR SUSPENSION OF BENEFITS

             This section governs the suspension by the Pension Fund of monthly (and any other periodic)
             benefits payable for any period. Definitions of terms are stated in subsection (g) as well as in
             Article I of this Pension Plan.

             (a)    The Pension Fund shall permanently suspend all Periodic Benefit Payments of a
                    Pensioner or Disabled Participant during periods of his Reemployment to the following
                    extent:

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                    (1)    all Periodic Benefit Payments to a Disabled Participant shall be permanently
                           suspended during all periods of his Reemployment (even if it is not Restricted
                           Reemployment);

                    (2)    all Periodic Benefit Payments to a Pensioner shall be permanently suspended
                           during all periods of his Restricted Reemployment except that, after the 65th
                           birthday or Vested Pension Retirement Date of a Pensioner, whichever is later,
                           there shall be no suspension in conflict with applicable federal law, including 26
                           U.S.C. § 411 and 29 U.S.C. § 1053; and

                    (3)    there shall be no suspension of Periodic Benefit Payments of any Pensioner or
                           Disabled Participant after April 1 of the year after the calendar year in which the
                           Pensioner or Disabled Participant attains age 70½, regardless of any
                           Reemployment.

             Any failure of a Pensioner to comply with any disclosure obligation described in subsection
             (b), or with any related disclosure request by the Pension Fund, shall, if the Pensioner has
             been or is engaged in any Reemployment, create a rebuttable presumption of an existing
             factual basis, in accordance with this subsection, for a permanent suspension of the
             Pensioner’s Periodic Benefit Payments during all periods of his Reemployment, provided that
             such presumption will become inoperative if and to the extent the presumption is rebutted by
             clear and convincing evidence or is otherwise shown to be unreasonable under the
             circumstances. Each such permanent suspension of Periodic Benefit Payments shall apply
             not only to the Pensioner or Disabled Participant but also to any other potential payee of any
             part of his suspended Periodic Benefit Payments, including any payee pursuant to a qualified
             domestic relations order (such as a former spouse), and including a surviving spouse. Each
             such permanent suspension of Periodic Benefit Payments shall continue in effect until the
             Pension Fund has received what it determines to be both notice and clear and convincing
             evidence that the basis for the permanent suspension is no longer applicable, at which time

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        Applicable federal law, 26 U.S.C. § 411 and 29 U.S.C. § 1053, includes a regulation adopted by
the Secretary of Labor, 29 CFR § 2530.203-3, which authorizes the permanent suspension by the
Pension Fund of Periodic Benefit Payments, after a Pensioner’s Vested Pension Retirement Date (age
65 in the Pension Fund in almost all instances), “for each calendar month, or for each four or five week
payroll period ending in a calendar month” if during that month, the Pensioner:

             “-Completes 40 or more hours of service … or

             “-Receives payment for any such hours or service performed on each of 8 or more days
             (separate work shifts) in such month or payroll period…; in

                  “ – An industry in which employees covered by the plan were employed
                  and accrued benefits under the plan as a result of such employment at the
                  time that the payment of benefits commenced or would have commenced
                  if the employee had not remained in or returned to employment, and

                  “ – A trade or craft in which the employee was employed at any time under
                  the plan, and

                  “ – The geographic area covered by the plan at the time that the payment
                  of benefits commenced or would have commenced if the employee had not
                  remained in or returned to employment.”

That applicable law and that regulation are hereby incorporated into this Pension Plan.

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             the suspension will be ended and the Periodic Benefit Payments will be resumed on a
             prospective basis only (without any restoration of payments for the period prior to that end of
             the suspension), subject to possible offset pursuant to subsection (e).

             (b)    Every Participant, Pensioner and Disabled Participant is obliged, as a prerequisite to
                    any receipt of Periodic Benefit Payments, to keep the Pension Fund fully and promptly
                    informed of any employment or any other performance of services in which he was or is
                    engaged during any time period for which he claims or has received Periodic Benefit
                    Payments. The Pension Fund may at any time, and as often as is reasonable, require
                    appropriate signed authorizations by any Pensioner or Disabled Participant to provide
                    the Pension Fund with access to all information about his past and present
                    circumstances of any employment or any other performance of services, including but
                    not limited to all records of any employers and of the Social Security Administration. The
                    Pension Fund may also at any time, and as often as is reasonable, require appropriate
                    certifications signed by any Pensioner or Disabled Participant, and/or appropriate signed
                    responses by any Pensioner or Disabled Participant to any requests from the Pension
                    Fund, that relate to a determination whether or not he has been and/or is engaged in
                    Reemployment or Restricted Reemployment. Any failure of a Pensioner or Disabled
                    Participant to comply with any disclosure obligation described in this subsection (b), or
                    with any related disclosure request by the Pension Fund, shall itself be independent
                    grounds for temporary suspension of the Periodic Benefit Payments of the Pensioner or
                    Disabled Participant until he complies with his disclosure obligations and/or such request
                    to the satisfaction of the Pension Fund, at which point his Periodic Benefit Payments will
                    be resumed (including full restoration of all payments that had been temporarily
                    suspended) unless there is then in effect a permanent suspension of his Periodic Benefit
                    Payments in accordance with subsection (a). At the time of any temporary suspension
                    of Periodic Benefit Payments in accordance with this subsection (b), the Pension Fund
                    shall provide written notice of the suspension to the Pensioner or Disabled Participant
                    by first-class mail directed to his last known address on any date prior to the initial
                    effective date of the suspension, and the notice shall describe the specific reasons for
                    the suspension and its initial effective date, and shall inform the Pensioner or Disabled
                    Participant of his right to appeal pursuant to subsection (d).

             (c)    At the time of any permanent suspension of Periodic Benefit Payments in accordance
                    with subsection (a), the Pension Fund shall provide written notice of the suspension to
                    the Pensioner or Disabled Participant by first-class mail directed to his last known
                    address on any date prior to the initial effective date of the suspension. The notice shall
                    describe the specifics of the Reemployment (including, if applicable, Restricted
                    Reemployment) on which the suspension is based, the dates of the Reemployment, the
                    initial effective date of the suspension and the right of the Pension Fund to restitution
                    (pursuant to subsection [e]) including an offset or deduction from post-suspension
                    Periodic Benefit Payments, and the notice shall also inform the Pensioner or Disabled
                    Participant of his right to appeal pursuant to subsection (d).

             (d)    The Benefits Claim and Appeal Procedures of APPENDIX B of this Pension Plan shall
                    be applicable to all written requests by a Pensioner or Disabled Participant for review of
                    a permanent suspension or a temporary suspension of his Periodic Benefit Payments in
                    accordance with subsection (a) or subsection (b), and for review of a status
                    determination in accordance with subsection (f), except that the initial stage of such
                    review shall be conducted by the Benefits Claim Appeals Committee and the second
                    stage (if any) of such review shall be conducted by the Board of Trustees, provided that
                    the Pensioner or Disabled Participant must exhaust both stages of review prior to
                    commencement of any legal action with respect to any suspension of his Periodic Benefit
                    Payments or any status determination.


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             (e)     The Pension Fund is entitled to restitution of all Periodic Benefit Payments that are
                     distributed to a Pensioner or Disabled Participant for any period which is determined by
                     the Pension Fund to be a period of Reemployment (including, if applicable, Restricted
                     Reemployment) for which the Pensioner or Disabled Participant was not entitled to
                     receive such payments. The Pension Fund may obtain that restitution by recoupment
                     from any future Periodic Benefit Payments to which the Pensioner or Disabled
                     Participant may be entitled for periods after the end of a suspension, provided that such
                     recoupment will consist of 100% of the gross amount of the first three Periodic Benefit
                     Payments and 25 percent of the gross amount of each Periodic Benefit Payment
                     thereafter. The Pension Fund may also obtain that restitution by any other available
                     remedy at law or at equity.

             (f)     Every Participant, Pensioner and Disabled Participant is entitled to submit a written
                     request to the Pension Fund at any time for a determination whether or not specific
                     employment or other specific services constitute Reemployment or Restricted
                     Reemployment. Upon receipt of any such request, the Pension Fund shall promptly
                     make a determination whether or not the specific employment or other specific services
                     constitute Reemployment or Restricted Reemployment, and shall promptly provide
                     notice of that status determination to the Pensioner or Disabled Participant by first-class
                     mail directed to his last known address, which notice shall also inform the Pensioner or
                     Disabled Participant of his right to appeal pursuant to subsection (d).

             (g)     The following definitions are applicable to this Section 4.13 and to all other provisions of
                     this Pension Plan:

                     (1)   Reemployment means and includes any employment, self-employment,
                           occupation or service of any kind and at any time which is a basis for any form of
                           past, present or future wages, salary, commissions, profit or other income
                           (including employment in a managerial or supervisory position, and including any
                           occupation or service in which there is no employer-employee relationship);

                     (2)   Periodic Benefit Payments means and includes any retirement pension benefits
                           payable in accordance with Article IV in monthly (or other periodic) amounts during
                           retirement, and Monthly Disability Benefits payable in accordance with Section
                           5.02 during total and permanent disability; and

                     (3)   Restricted Reemployment means and includes any of the following, except that,
                           effective as of April 9, 2009, a Pensioner age 65 or older, and who for a period of
                           12 months following his Retirement Date has not been engaged in any categories
                           of reemployment described below in subsections (A) – (E) that would subject him
                           to a suspension of benefits, shall not be deemed to be in Restricted
                           Reemployment, regardless of the position or number of hours worked:

                           (A)      Reemployment in a Core Teamster Industry (as defined in paragraph
                                    4.13(g)(4)), except that a Pensioner that has reached age 65 may work a
                                    maximum of 40 hours per month in such a position;

                           (B)      Reemployment by a Contributing Employer (or an employer which was a
                                    Contributing Employer at any time after September 25, 1980), except that a
                                    Pensioner that has reached age 65 may work a maximum of 40 hours per
                                    month in such a position;

                           (C)      Reemployment in any position (or supervising any position) that is covered
                                    by a Teamster Contract between that employer and any affiliate of the
                                    International Brotherhood of Teamsters, except that a Pensioner that has
                                    reached age 65 is not subject to this subparagraph (C);
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                           (D)      Reemployment in any position in the same industry in which the Pensioner
                                    earned Contributory Service Credit while covered by the Pension Fund,
                                    except that a Pensioner that has reached age 60 is not subject to this
                                    subparagraph (D), and except that a Pensioner that has reached age 57 but
                                    has not reached age 60 may work a maximum of 80 hours per month in such
                                    position; or

                           (E)      Reemployment in any position in the same job classification as any other
                                    Participant then employed by a Contributing Employer located within 100
                                    miles of the position, except that a Pensioner that has reached age 60 is not
                                    subject to this subparagraph (E), and except that a Pensioner that has
                                    reached age 57 but has not reached age 60 may work a maximum of 80
                                    hours per month in such position.

                    (4)    Core Teamster Industry means and includes Reemployment in any of the following
                           industries:

                           (A)      trucking and/or freight;

                           (B)      small package and/or parcel delivery;

                           (C)      car haul;

                           (D)      tank haul;

                           (E)      warehouse;

                           (F)      food processing and/or distribution (including grocery, dairy, bakery,
                                    brewery, and soft drink); and

                           (G)      building material and/or construction.

                    (5)    Notwithstanding the provisions of paragraphs 4.13(g)(3) and 4.13(g)(4),
                           Reemployment with a government agency shall not constitute Restricted
                           Reemployment unless such agency is a Contributing Employer (or an employer
                           which was a Contributing Employer at any time after September 25, 1980).

                    (6)    Notwithstanding the provisions of subparagraph 4.13(g)(3)(C), and only for the
                           purposes of subparagraph 4.13(g)(3)(C), Reemployment shall not constitute
                           Restricted Reemployment if the Reemployment becomes Restricted
                           Reemployment because the Pensioner is in a position (or supervising any position)
                           that becomes covered by a Teamster Contract between that employer and any
                           affiliate of the International Brotherhood of Teamsters subsequent to the beginning
                           of the Pensioner’s Reemployment with that employer.

                    (7)    For purposes of the exception in subparagraphs 4.13(g)(3)(D) and the exception
                           in 4.13(g)(3)(E) which allow a Pensioner who is at least age 57 but less than age
                           60 to work a maximum of 80 hours a month in such positions, a Pensioner shall
                           not be allowed to utilize both the exception in subparagraph 4.13(g)(3)(D) and the
                           exception in subparagraph 4.13(g)(3)(E) to exceed a combined total of 80 hours
                           per month in such positions.

                    (8)    If the application of Paragraph 4.13(g)(3) results in a Pensioner being found to be
                           in Restricted Reemployment with respect to a position that would not have
                           constituted Teamster Industry Reemployment under the Plan as defined
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                           immediately prior to January 1, 2004, then that position shall not constitute
                           Restricted Reemployment.

Section 4.14        CONTRIBUTORY SERVICE AFTER RETIREMENT DATE OR AFTER DISABILITY

             (a)    A Pensioner who becomes reemployed by a Contributing Employer after his Retirement
                    Date and who thereafter earns at least one additional year of Contributory Service Credit
                    shall, upon retirement, have his retirement pension benefit redetermined as follows:

                    (1)    If, during his period of reemployment, he had less than 250 weeks of Contributions
                           made on his behalf, his benefit shall be recalculated (under the same Form of
                           Payment as when he last retired) as the higher of:

                           (A)      his Contribution-Based Pension; or

                           (B)      the retirement pension benefit he originally received.

                    (2)    If, during his period of reemployment, he had at least 250 weeks of Contributions
                           made on his behalf, his benefit shall be recalculated as though he never retired
                           and he and his spouse, if any, shall be free to choose any applicable Form of
                           Payment for receiving his benefit.

             (b)    A Pensioner who becomes reemployed by a Contributing Employer after his Retirement
                    Date and who thereafter fails to earn at least one additional year of Contributory Service
                    Credit shall not be eligible for any recalculation of his retirement pension benefit and
                    shall, upon reretirement, receive his original benefit under the same Form of Payment.

             (c)    A Disabled Participant who recovers from his disability and had less than 250 weeks of
                    Contributory Service Credit from his employment by a Contributory Employer between
                    the date of his recovery and his Retirement Date shall receive any retirement pension
                    for which he is eligible (disregarding any Monthly Disability Benefit he has received),
                    provided that, in the calculation of any retirement pension amount, his age shall be his
                    age on December 31 of the year (after the date he became totally and permanently
                    disabled) in which the amount of his actual Vesting Service for that calendar year is less
                    than all minimum Vesting Service amounts specified in Section 1.23(b) for a calendar
                    year, and provided further that, if he is eligible for a Contribution-Based Pension, Vested

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Prior to January 1, 2004, paragraph Section 4.13(g)(3) provided:

                    (3)    Teamster Industry Reemployment means and includes any of the following:

                           (A)      Reemployment in any position by a Contributing Employer (or an employer
                                    which was a Contributing Employer at any time after September 25, 1980);

                           (B)      Reemployment by an employer, other than a governmental agency in any
                                    position covered by a Teamster Contract between that employer and any
                                    affiliate of the International Brotherhood of Teamsters;

                           (C)      Reemployment (other than governmental employment) in any position either
                                    in the same industry in which the Participant or Pensioner earned any
                                    Contributory Service Credit while covered by the Pension Fund, or in any
                                    other industry if the Participant or Pensioner is in the same job classification
                                    as are other Participants then employed by a Contributing Employer located
                                    within the same standard metropolitan statistical area.

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                    Pension, Deferred Pension or Twenty-Year Deferred Pension, his age, for purposes of
                    the calculation of the amount of any of those benefits (only), shall be his age on his
                    Retirement Date. A recovered (former) Disabled Participant who is eligible for a
                    retirement pension determined in accordance with the preceding sentence may become
                    eligible for a greater retirement pension based upon his Benefit Class as determined by
                    the Non-Continuous Contribution Method if he has (and includes in his eligibility
                    determination) at least one year but less than 250 weeks of Contributory Service Credit
                    from his employment by a Contributing Employer between the date of his recovery and
                    his Retirement Date. A Disabled Participant who recovers from his disability and has at
                    least 250 weeks of Contributory Service Credit from his employment by a Contributing
                    Employer between the date of his recovery and his Retirement Date shall receive any
                    retirement pension for which he is eligible, disregarding any Monthly Disability Benefit
                    he has received.

             (d)    The Pension Fund is not liable for benefits based upon this Section 4.14 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 4.15        PERIOD OF BENEFIT DISTRIBUTION

             Except for Participants born before July 1, 1917, the entire benefit and interest of each
             Participant shall be distributed in a period beginning no later than April 1 of the year after the
             calendar year in which he attains age 70-1/2 and ending no later than his death or the death
             of his spouse or other beneficiary eligible for a benefit according to this Pension Plan,
             whichever death is later. For each Participant born before July 1, 1917, his entire benefit and
             interest shall be distributed in a period beginning no later than April 1 of the year after the
             calendar year in which his Retirement Date occurs or in which he attains age 70-1/2,
             whichever event is later, and ending no later than his death or the death of his spouse or other
             beneficiary eligible for a benefit according to this Pension Plan, whichever death is later.
             Distributions of all benefits and interests will be made by the Pension Fund in a manner
             consistent with Section 401(a)(9) of the Internal Revenue Code and regulations issued
             pursuant to authority of that section.




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ARTICLE V             DISABILITY BENEFITS


Section 5.01        DEFINITION OF DISABILITY

             (a)    A disability shall be considered total and permanent if a Participant is wholly disabled by
                    bodily injury or disease and shall be permanently, continuously and wholly prevented by
                    this disability from engaging in any occupation and performing any work for wage or
                    profit during the remainder of his lifetime. The entire and irrevocable loss of sight in both
                    eyes, or the severance of both hands above the wrist, or both feet above the ankle, or
                    one hand above the wrist and one foot above the ankle shall be recognized by the Board
                    of Trustees as total and permanent disability.

             (b)    The Board of Trustees shall accept a Certificate of Social Insurance Award under Title
                    II of the Social Security Act as evidence of total and permanent disability.

Section 5.02        MONTHLY DISABILITY BENEFITS

             (a)    To become eligible for a Monthly Disability Benefit, a Participant must become totally
                    and permanently disabled (as defined in Section 5.01) before his 62nd birthday and
                    while he is an Active Participant or within 2 calendar years after becoming an Inactive
                    Participant, and meet each of the following requirements at the time he stops working in
                    Covered Service:

                    (1)    he must have at least 10 years of Service Credit; and

                    (2)    he must have met the Minimum Contribution Requirement; and

                    (3)    he must have Contributions made on his behalf at the rates required by at least
                           Benefit Class 4 of either Schedule A or Schedule B.

             (b)    The amount of the Monthly Disability Benefit of a Participant whose Benefit Class is any
                    of 4 through 17a and 17b (regardless of his age when he became disabled) shall be:

                    (1)    $150 for a Participant whose effective date of benefit payments precedes July 1,
                           1986;

                    (2)    $250 for a Participant whose effective date of benefit payments is on or after July
                           1, 1986.

             (c)    The amount of the Monthly Disability Benefit of a Participant whose Benefit Class is 18
                    or 18+ on the date on which he becomes disabled, an amount which is based upon his
                    age (Age at Disability) on that date, shall be:

                                          Age at
                                          Disability              Amount
                                          50 (and younger)        $ 650
                                          51                         700
                                          52                         750
                                          53                         800
                                          54                         850
                                          55                         900
                                          56                         950
                                          57 (and older)           1,000


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             (d)     Subject to the Rules and Procedures for Suspension of Benefits (as described in Section
                     4.13), the Contributory Service After Retirement Date or After Disability (as described in
                     Section 4.14) and the Benefits Claim Filing Procedures (as described in Section 7.14),
                     the Monthly Disability Benefit becomes payable to a Disabled Participant on the 1st day
                     of the 6th month following the date the Participant became disabled. Monthly Disability
                     Benefit payments shall continue to be made to a Disabled Participant until the 1st day
                     of the month in which the earliest of the following occurs:

                     (1)   he becomes a Pensioner; or

                     (2)   he recovers from his disability; or

                     (3)   he dies.

             (e)     Effective July 1, 1986, a Participant eligible to receive a Monthly Disability Benefit from
                     this Pension Plan, or any earlier version of this Pension Plan, shall receive a $100
                     increase in the monthly amount of his disability benefit (subject to the provisions of
                     Appendix D of this Pension Plan) if:

                     (1)   his effective date of disability benefit payments precedes July 1, 1986; and

                     (2)   he is eligible to continue receiving his disability benefit on July 1, 1986.

             (f)     The Pension Fund is not liable for benefits based upon this Section 5.02 to the extent
                     such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                     Pension Plan.

Section 5.03         LUMP SUM DISABILITY BENEFITS

             (a)     To become eligible for a Lump Sum Disability Benefit, a Participant must become totally
                     and permanently disabled (as defined in Section 5.01) on or after his 45th birthday, and
                     while he is an Active Participant or within 2 calendar years after becoming an Inactive
                     Participant, and meet each of the following requirements at the time he stops working in
                     Covered Service:

                     (1)   he must have at least 10 years of Service Credit; and

                     (2)   he must have met the Minimum Contribution Requirement; and

                     (3)   he must not be eligible to receive the Monthly Disability Benefit or, if eligible, he
                           chooses not to receive the Monthly Disability Benefit.

             (b)     The amount of the Lump Sum Disability Benefit payable to a Disabled Participant shall
                     be either:

                     (1)   the lesser of $3,000 or 50% of the Employer Contributions made on behalf of the
                           Disabled Participant if he has had Contributions made on his behalf under
                           Schedule B;

                     (2)   the lesser of $2,000 or 50% of the Employer Contributions made on behalf of the
                           Disabled Participant if he has had Contributions made on his behalf under
                           Schedule A.

             (c)     The amount of the Lump Sum Disability Benefit determined in (b), above, shall be
                     reduced by any amounts previously paid as a Lump Sum Disability Benefit.

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             (d)    The Lump Sum Disability Benefit shall become payable to a Disabled Participant on the
                    1st day of the 6th month following the date he became disabled.

             (e)    The Pension Fund is not liable for benefits based upon this Section 5.03 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 5.04        50% SURVIVING SPOUSE BENEFIT

             (a)    In the event of the death of a Disabled Participant before his Normal Retirement Date
                    and while he is married and receiving or eligible to receive a Monthly Disability Benefit,
                    his surviving spouse will receive the 50% Surviving Spouse Benefit provided in Section
                    6.01, if the conditions of that section are satisfied, in an amount determined as if he were
                    a Participant but not a Disabled Participant on the date of his death and calculated in
                    accordance with Section 5.05(A).

             (b)    In the event a Disabled Participant is alive and married on his Normal Retirement Date,
                    he and his spouse will be entitled to elect the Joint and 50% Surviving Spouse Option
                    (based upon a retirement pension and not the Monthly Disability Benefit), in accordance
                    with Section 4.10(b) and (f) determined as if he were a Participant but not a Disabled
                    Participant on his Normal Retirement Date and calculated in accordance with Section
                    5.05(A), provided that:

                    (1)    in such circumstances, the election period of Section 4.10(f) will begin 90 days
                           prior to his Normal Retirement Date and extend until the 90th day after his Normal
                           Retirement Date; and

                    (2)    unless the Disabled Participant and his spouse (as of his Normal Retirement Date)
                           both elect in writing not to receive the Joint and 50% Surviving Spouse Option,
                           then, if the Disabled Participant dies after his Normal Retirement Date and is
                           survived by that spouse, the reduced amount of that surviving spouse’s lifetime
                           benefit will be determined as if he had never been a Disabled Participant and as if
                           he had become a Pensioner on his Normal Retirement Date (even if there is a
                           continuation of his Monthly Disability Benefit between his Normal Retirement Date
                           and his death).

             (c)    The Pension Fund is not liable for benefits based upon this Section 5.04 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 5.05        CHOICE OF DISABILITY BENEFITS

             Only one type of retirement pension or disability benefit shall be payable to a Disabled
             Participant. If a Disabled Participant is eligible for both a retirement pension and a disability
             benefit, he must elect the benefit he is to receive. The election made by a Disabled Participant
             shall be irrevocable before his Normal Retirement Date, except as provided by Section 4.13
             (Rules and Procedures for Suspension of Benefits and Section 4.14 (Contributory Service
             After Retirement Date or After Disability). On his Normal Retirement Date, a Disabled
             Participant may elect or, if he is married, he and his spouse may jointly elect, in writing, one
             of the following benefits:

             (a)    any retirement pension for which he is eligible (disregarding any Monthly Disability
                    Benefit he has received), provided that, in the calculation of any retirement pension
                    amount, his age shall be his age on December 31 of the year (after the date he became
                    totally and permanently disabled) in which the amount of his actual Vesting Service for
                    that calendar year is less than all minimum Vesting Service amounts specified in Section
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                    1.23(b) for a calendar year, and provided further that, if he is eligible for a Contribution-
                    Based Pension, Vested Pension, Deferred Pension or Twenty-Year Deferred Pension,
                    his age, for purposes of the calculation of the amount of any of those benefits (only),
                    shall be his age on his Normal Retirement Date;

             (b)    a continuation of the amount which he had been receiving as a Monthly Disability
                    Benefit.

             If a Disabled Participant is alive and married on his Normal Retirement Date, he and his
             spouse shall jointly make the above-referenced written benefits election and, if a retirement
             pension (instead of the Monthly Disability Benefit) is elected, he and his wife shall also jointly
             make a written election to receive or not to receive the Joint and 50% Surviving Spouse
             Option, in accordance with Sections 4.10(b) and (f) and 5.04(b). The Pension Fund is not
             liable for benefits based upon this Section 5.05 to the extent such liability has been transferred
             by the Pension Fund pursuant to APPENDIX L of this Pension Plan.




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ARTICLE VI            BEFORE RETIREMENT DEATH BENEFITS


Section 6.01        50% SURVIVING SPOUSE BENEFIT

             (a)    For his surviving spouse to become eligible for a 50% Surviving Spouse Benefit, a
                    Participant must have met each of the following requirements at the time of his death:

                    (1)    he must have been married; and

                    (2)    he must have been a Vested Participant or eligible for a Twenty-Year Service
                           Pension or Early Retirement Pension.

             (b)    The monthly amount of a 50% Surviving Spouse Benefit is 50% of the monthly amount
                    a deceased Participant could have received under the Joint and 50% Surviving Spouse
                    Option form of payment, and is determined as if he had stopped working in Covered
                    Service on the day before his death and had retired during the month preceding the
                    “effective date of payment” elected by his surviving spouse as described in (c), below.

             (c)    Subject to the Benefits Claim Filing Procedures (as described in Section 7.14), the
                    surviving spouse of a deceased Participant may elect an effective date of payment which
                    is not earlier than the later of the 1st day of the month following the month in which the
                    death of the Participant occurs, or the earliest date on which the Participant could have
                    received immediate payment of a retirement pension from this Pension Plan if he had
                    survived.

             (d)    The Pension Fund is not liable for benefits based upon this Section 6.01 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 6.02        60 MONTH SURVIVOR BENEFIT

             (a)    For the surviving spouse or dependent child (or dependent children) of a Participant who
                    dies before his Retirement Date to become eligible for the 60 Month Survivor Benefit,
                    the Participant must die while he is an Active Participant or within 2 calendar years after
                    becoming an Inactive Participant. In addition, the Participant must also have met each
                    of the following requirements at the time of his death:

                    (1)    he must have had at least 20 years of Service Credit; and

                    (2)    he must have met the Minimum Contribution Requirement; and

                    (3)    he must be survived by a spouse or dependent child or dependent children; and

                    (4)    he must have been eligible to have his retirement pension determined by at least
                           Benefit Class 4 of either Schedule A or Schedule B.

             (b)    The monthly amount of the 60 Month Survivor Benefit is the greater of $160, or the
                    monthly amount of the retirement pension benefit the deceased Participant could have
                    received on the date of his death under the Lifetime With Limited Surviving Spouse
                    Option.

             (c)    The 60 Month Survivor Benefit is payable to the surviving spouse of a deceased
                    Participant. If a deceased Participant is not survived by a spouse, then the 60 Month
                    Survivor Benefit is payable to the surviving dependent child or in equal shares to the
                    surviving dependent children of the deceased Participant.
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             (d)     For purposes of the 60 Month Survivor Benefit, a dependent child is the deceased
                     Participant’s natural or adopted unmarried, dependent child who is either under age 23
                     or is adjudged to be mentally or physically incompetent.

             (e)     Subject to the Benefits Claim Filing Procedures (as described in Section 7.14), the 60
                     Month Survivor Benefit becomes payable to a recipient (or recipients) on the 1st day of
                     the month following the month in which the death of a Participant occurs. Benefit
                     payments shall continue until 60 months of benefits are paid to the recipient (or
                     recipients) or, if earlier, the death of the recipient (or recipients).

             (f)     The Pension Fund is not liable for benefits based upon this Section 6.02 to the extent
                     such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                     Pension Plan.

Section 6.03         DISABILITY DEATH BENEFIT

             (a)     A lump sum Disability Death Benefit of $1,000 is payable if a Disabled Participant dies
                     while receiving or while eligible to receive, a Monthly Disability Benefit, provided that this
                     Disability Death Benefit is not payable if the Benefit Class 18/18+ Death Benefit is
                     payable pursuant to Section 6.05 or if the payee of this Disability Death Benefit would
                     be the surviving spouse of a deceased Disabled Participant and the surviving spouse
                     elects to receive a 50% Surviving Spouse Benefit in accordance with Section 5.04.

             (b)     The Disability Death Benefit is payable in equal shares to all members of the highest
                     level of survivors as follows:

                     (1)   Spouse;

                     (2)   Dependent Children;

                     (3)   Non-Dependent Children;

                     (4)   Parents;

                     (5)   Brothers and Sisters;

                     (6)   Estate.

             (c)     The Disability Death Benefit provides a $500 lump sum benefit upon the death of the
                     spouse of a Disabled Participant who is receiving or eligible to receive, a Monthly
                     Disability Benefit. This $500 lump sum benefit is payable to a Disabled Participant only
                     once during his lifetime.

             (d)     The Pension Fund is not liable for benefits based upon this Section 6.03 to the extent
                     such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                     Pension Plan.




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Section 6.04        LUMP SUM DEATH BENEFIT

             (a)    For a survivor of a deceased Participant to become eligible for the Lump Sum Death
                    Benefit, a Participant must have died while he was an Active Participant or within 2
                    calendar years after he became an Inactive Participant, provided that this Lump Sum
                    Death Benefit is not payable if the Benefit Class 18/18+ Death Benefit is payable
                    pursuant to Section 6.05. In addition, the Participant must also have met each of the
                    following requirements at the time of his death:

                    (1)    he must have had at least 10 years of Service Credit;

                    (2)    he must have met the Minimum Contribution Requirement; and

                    (3)    he must not have received any retirement pension or disability benefit from the
                           Pension Fund; and

                    (4)    his survivors must not have received any other death benefit from the Pension
                           Fund.

             (b)    The amount of a Lump Sum Death Benefit shall be:

                    (1)    the lesser of $4,000 or 50% of the Employer Contributions made on behalf of a
                           deceased Participant if he had had Contributions made on his behalf under
                           Schedule B; or

                    (2)    the lesser of $2,000 or 50% of the Employer Contributions made on behalf of a
                           deceased Participant if he had had Contributions made on his behalf under
                           Schedule A.

             (c)    A Lump Sum Death Benefit is payable in equal shares to all members of the highest
                    level of survivors as follows:

                    (1)    Spouse;

                    (2)    Dependent Children;

                    (3)    Non-Dependent Children;

                    (4)    Parents;

                    (5)    Brothers and Sisters;

                    (6)    Estate.

             (d)    The Pension Fund is not liable for benefits based upon this Section 6.04 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 6.05        BENEFIT CLASS 18/18+ DEATH BENEFIT

             (a)    A Benefit Class 18/18+ Death Benefit consisting of a $10,000 payment to the surviving
                    spouse of a deceased Participant or, if none, to his dependent children (if any) in equal
                    shares is payable if the Participant met each of the following requirements at the time of
                    his death:


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                    (1)    He has had at least 10 days or 2 weeks of Employer Contributions (and not Self-
                           Contributions) made on his behalf at a rate corresponding to Benefit Class 18 or
                           18+ or, if he is employed as a casual Employee or changes Contributing Employers
                           (but not Bargaining Units) on or after such date, he had at least 100 days or 20
                           weeks of Employer Contributions (and not Self-Contributions) made on his
                           behalf at a rate corresponding to Benefit Class 18 or 18+; and

                    (2)    He died while he was an Active Participant or within 2 calendar years after he
                           became an Inactive Participant; and

                    (3)    He had at least 10 years of Service Credit; and

                    (4)    He died prior to his Retirement Date if he was not a Disabled Participant or, if he
                           was a Disabled Participant, he died while he was receiving a Monthly Disability
                           Benefit and prior to his 65th birthday.

             (b)    The Benefit Class 18/18+ Death Benefit is payable in addition to any survivor benefit
                    payable in accordance with Section 6.01 or 6.02.

             (c)    The Pension Fund is not liable for benefits based upon this Section 6.05 to the extent
                    such liability has been transferred by the Pension Fund pursuant to APPENDIX L of this
                    Pension Plan.

Section 6.06        CHOICE OF SURVIVOR BENEFITS OR DEATH BENEFITS

             Except as otherwise provided in Section 6.05, only one survivor benefit or death benefit is
             payable upon the death of a Participant. If a surviving spouse or other payee is eligible for
             more than one survivor benefit and/or death benefit, a choice must be made by the payee as
             to which single survivor benefit or which single death benefit will be paid, provided that a
             payee eligible to receive a Benefit Class 18/18+ Death Benefit may also be eligible to receive
             a survivor benefit payable in accordance with Section 6.01 or 6.02. That choice upon being
             made shall be irrevocable, except in cases where a choice is made to receive a Lump Sum
             Death Benefit for which the surviving spouse or other payee is eligible before the Pension
             Fund completes the processing of a claim for a survivor benefit or another death benefit the
             surviving spouse or other payee is also eligible to receive. The choice of the benefit to be
             received must be made in writing on documents furnished by the Pension Fund. Any such
             document must be signed by the surviving spouse or other payee and witnessed by a notary
             public.

Section 6.07        SPECIAL RULES FOR DEATH OCCURRING DURING QUALIFIED MILITARY
                    SERVICE

             (a)    In the case of a Participant who dies on or after January 1, 2007 while performing
                    Qualified Military Service, the survivors of the Participant are entitled to any additional
                    benefits (other than benefit accruals relating to the period of Qualified Military Service)
                    provided under the Pension Plan had the Participant resumed and then terminated
                    employment on account of death.

             (b)    For purposes of Section 6.07, the term “Qualified Military Service” means any Service
                    in the Uniformed Services by a Participant if such Participant is entitled to USERRA
                    reemployment rights provided in accordance with Internal Revenue Code § 414(u).

             (c)    For purposes of Section 6.07, the term “Service in the Uniformed Services” is defined in
                    chapter 43 of title 38, United States Code, which includes, but is not limited to the
                    performance of duty on a voluntary or involuntary basis in a uniformed service including
                    active duty, active duty and inactive duty training, and full-time National Guard duty, for
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                    the United States Armed Forces (Army, Navy, Air Force, Marine Corps, and Coast
                    Guard), the Army National Guard and the Air National Guard, the commissioned corps
                    of the Public Health Service and National Oceanic and Atmospheric Administration, and
                    any other category of persons designated by the President in time of war or national
                    emergency.




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ARTICLE VII           ADMINISTRATION


Section 7.01        ADMINISTRATION AUTHORITY

           The Board of Trustees has authority to control and manage jointly the operation and
           administration of the Pension Fund and of this Pension Plan in accordance with the terms of the
           Trust Agreement and of this Pension Plan and amendments thereof, including the authority to
           establish and effectuate funding policies and methods consistent with the objectives of this
           Pension Plan, and including the authority provided by the Trust Agreement to allocate
           responsibilities for the operation and administration of the Pension Fund and of this Pension
           Plan.

Section 7.02        AMENDMENT OF THE PENSION PLAN

           This Pension Plan may be amended by the Board of Trustees at any time and to any lawful
           extent and purpose so long as such amendments comply with applicable provisions of the
           Internal Revenue Code, all other applicable federal laws and regulations, the contract articles
           creating the Pension Fund and the purposes set forth in the Trust Agreement.

Section 7.03        DECISIONS OF BOARD OF TRUSTEES

           All decisions by the Board of Trustees, including all rules and regulations adopted by the Board
           of Trustees, all amendments of the Trust Agreement and this Pension Plan by the Board of
           Trustees and all interpretations by the Board of Trustees of any of said documents, shall be
           binding upon all parties to the Trust Agreement, the Union, each Contributing Employer, all
           individuals claiming benefits pursuant to this Pension Plan or any amendment thereof and all
           other individuals engaging in any transaction with the Pension Fund.

Section 7.04        BENEFITS CLAIM AND APPELLATE PROCEDURES

           The Board of Trustees has adopted procedures to afford a fair and expeditious method for the
           processing of claims for pension and other benefits provided by this Pension Plan. APPENDIX
           B attached to this Pension Plan contains the Benefits Claim and Appeal Procedures effective
           at the present time (subject to possible amendment). Compliance with these procedures is a
           condition precedent to any legal action by a claimant with respect to a partial or complete denial
           of a claim for benefits.

Section 7.05        RECOVERY OF OVERPAYMENTS

           (a)    Any misrepresentation in a claim by a claimant to the Pension Fund for pension or other
                  benefits or in the course of a review in accordance with the procedures described in
                  Section 7.04 of this Pension Plan, shall constitute grounds for adjustment of the claim and
                  of the requested benefits, for recovery by the Pension Fund of any benefit payments in
                  reliance upon said misrepresentation and for any other equitable or legal remedies
                  available to the Pension Fund.

           (b)    Whenever the Pension Fund has made benefit payments exceeding the amount
                  determined by the provisions of its Pension Plan, due to a mistake, the Board of Trustees
                  shall have a right to recover the excess payments.




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Section 7.06        PAYMENT OF BENEFITS FOR INDIVIDUALS UNDER LEGAL DISABILITY OR IN
                    SIMILAR MENTAL OR PHYSICAL CONDITION

           In the event benefit payments pursuant to this Pension Plan are payable to an individual who is
           under legal disability, or to an individual who, while not adjudicated to be an incompetent, is
           shown to the satisfaction of the Board of Trustees to be unable, by reason of a mental or physical
           condition, to administer properly such payments, then such payments may be paid for the
           benefit of such individual in such of the following ways as the Board of Trustees determines to
           be appropriate:

           (a)    directly to such individual; or

           (b)    to the legally appointed guardian or conservator of such individual; or

           (c)    to a spouse, parent, brother or sister of such individual for his welfare, support or
                  maintenance; or

           (d)    to an institution providing care to such individual for his support, maintenance and welfare.

Section 7.07        SPENDTHRIFT CLAUSE

           No right to pension benefits or other benefits provided by this Pension Plan may be assigned
           or alienated in any manner, except as provided in this section and except as otherwise required
           or permitted by law. Upon receipt of written direction from any eligible recipient of monthly
           benefit payments, the Pension Fund will participate in an arrangement to make deductions from
           each monthly benefit payment, as authorized and directed by the recipient, and to transfer the
           amount of each such deduction to the Central States, Southeast and Southwest Areas Health
           and Welfare Fund as the recipient’s monthly contribution to retain eligibility for coverage
           pursuant to the retiree benefit plan established by that fund. This deduction-transfer
           arrangement is effective commencing October 1, 1988 and will continue, relative to each such
           recipient who authorizes and directs it, until the Pension Fund receives the recipient’s written
           cancellation of such authority and direction (or the earlier termination of benefits). Any authority
           and direction to the Pension Fund by a recipient of monthly benefit payments, to make such
           deductions and transfers, is revocable at any time by the recipient.

Section 7.08        ELIGIBILITY VERIFICATION

           Each individual receiving pension or other benefits provided by this Pension Plan shall submit
           to the Pension Fund on request his sworn statement that verifies his continuing eligibility to
           receive such benefits. If such statement is not received by the Pension Fund within 60 days
           after a request therefor is mailed to his last known address, all benefit payments shall be
           suspended until such statement is received and approved by the Pension Fund.

Section 7.09        TERMINATION OF THE PENSION PLAN

           It is the intention of the Board of Trustees that this Pension Plan shall continue to operate in full
           force and effect, although the Board of Trustees does reserve the power and right to terminate
           this Pension Plan in whole or in part. In the event of full or partial termination of this Pension
           Plan, the rights of all Participants to benefits accrued to the date of such full or partial
           termination, to the extent funded as of such date, shall be nonforfeitable.

Section 7.10        MERGERS

           The Board of Trustees has authority to approve and effect any merger between the Pension
           Fund and another pension fund in accordance with the terms of the Trust Agreement and

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           applicable federal law. No participant’s or beneficiary’s accrued benefit will be lower immediately
           after the effective date of any such merger than the benefit immediately before that date.

Section 7.11        CONSTRUCTION

           This Pension Plan is created and administered in the State of Illinois. All questions pertaining
           to the validity of construction of this Pension Plan shall be determined in accordance with the
           laws of the State of Illinois and, to the extent of pre-emption with the laws and regulations of the
           United States.

Section 7.12        SAVINGS CLAUSE

           If any provisions of this Pension Plan shall be held to be unlawful, or unlawful as to any individual
           or instance, such fact shall not affect adversely any other provision contained within the Pension
           Plan or the application of such provision to any other individual or instance unless and until such
           illegality shall make impossible the administration of this Pension Plan.

Section 7.13        CHANGE OF ADDRESS

           A Pensioner, Disabled Participant or other individual receiving benefit payments who fails to
           notify the Pension Fund of a change of address shall have all benefit payments which are
           undeliverable held without interest unless and until a claim therefor is made.

Section 7.14        BENEFITS CLAIM FILING PROCEDURES

           (a)    The Benefits Claim Filing Procedures (in subsection (b) and (c), below) shall be applied
                  to any written claim for benefits (other than Monthly Disability Benefits) filed by a
                  Participant, surviving spouse or other individual claiming benefits under this Pension Plan
                  for an event (the date of a retirement or death) which occurs on or after July 1, 1987.

           (b)    A Participant, surviving spouse or any other individual claiming benefits under this Pension
                  Plan shall be required to file a written claim for benefits (other than Monthly Disability
                  Benefits) with this Pension Fund within the 12 month period following the event (retirement
                  or death) for which benefits are being claimed. In addition, such a claimant shall also be
                  required to notify the Pension Fund, in writing, and within the 12 month period following
                  the date from which he intends his benefit payments to begin, that he wishes to begin
                  receiving his benefit UNLESS he has already filed a written claim specifying that date.

           (c)    If a Participant, surviving spouse or any other individual claiming benefits under this
                  Pension Plan fails to comply with the requirements in (b), above, he shall, in addition to
                  future benefits, receive benefits only for the 12 calendar months preceding the month
                  which follows the month in which he meets the last applicable requirement in (b), above.

Section 7.15        MAXIMUM BENEFIT LIMITATIONS

           (a)    No benefits payable in accordance with this Pension Plan shall exceed applicable
                  maximum benefit limitations established by the Internal Revenue Code (‘Code’), including
                  past and future amendments of the Code. The compensation limit established by Section
                  415(b)(1)(B) of the Code, which is incorporated by reference in this Pension Plan, as that
                  limit applies to the actual compensation of any Vested Participant whose Contributory
                  Service is concluded, shall be adjusted by multiplying the Participant’s actual
                  compensation limit amount by a fraction, the numerator of which is the adjusted maximum
                  dollar limitation (to be prescribed by the Secretary of the Treasury pursuant to Section 415
                  of the Code) for the current year and the denominator of which is the adjusted maximum
                  dollar limitation for the final year of the Participant’s Contributory Service. If a Pensioner
                  is also entitled to benefits from one or more defined benefit plans and the required
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                  combination of the Pensioner’s benefit from the Pension Fund and the other plan or plans
                  requires some benefit adjustments to maintain compliance with applicable maximum
                  benefit limitations of the Code, the benefit adjustments will be made by all such plans and
                  the adjustment of each plan will be based upon its proportionate share of the aggregate
                  benefits that would be payable by all such plans if such adjustments were not made.

           (b)    The term “compensation”, for purposes of this Section 7.15 and of Section 415 of the
                  Code, includes those items specified in paragraph (d)(2)(i) of 26 CFR 1.415-2 and
                  excludes those items specified in paragraph (d)(3) of 26 CFR 1.415-2, if applicable. For
                  limitation years beginning on and after January 1, 1998, and for purposes of applying the
                  compensation limit of this Section 7.15 and of Section 415 of the Code, compensation
                  paid or made available during such limitation years shall include any elective deferral as
                  defined in Section 402(g)(3)) of the Code as well as any elective amount which is not
                  includible in the gross income of the Employee by reason of Section 125 or Section
                  132(f)(4) or Section 457 of the Code.

           (c)    As a result of an amendment (Public Law No. 107-16, Section 654) of Section 415 of the
                  Code that became applicable to the Pension Fund and the Pension Plan in the plan year
                  that began on January 1, 2002, the compensation limit of Section 415(b)(1)(B) of the Code
                  is not applicable to any benefits distributed by the Pension Fund on and after January 1,
                  2002.

           (d)    For purposes of this Section 7.15 and of Section 415 of the Code, the term "compensation"
                  shall include amounts received as "differential wage payments" as defined in Section
                  3401(h)(2) of the Code, effective as of January 1, 2009.

Section 7.16        DIRECT ROLLOVER PAYMENTS TO ELIGIBLE RETIREMENT PLANS

           (a)    This Section 7.16 applies to distributions made on or after January 1, 1993.
                  Notwithstanding any provision of this Pension Plan to the contrary that would otherwise
                  limit a distributee’s election under this Section 7.16, a distributee may elect, at the time
                  and in the manner prescribed by the Board of Trustees, to have an eligible rollover
                  distribution (either the entire distribution or a portion no less than $500) paid directly to an
                  eligible retirement plan specified by the distributee in a direct rollover. In the event of an
                  eligible rollover distribution greater than $1,000, if the distributee does not elect either to
                  have such distribution paid directly to an eligible retirement plan specified by the
                  distributee in a direct rollover or to receive the distribution directly, the Pension Fund will
                  pay the distribution in a direct rollover to an individual retirement plan designated by the
                  Board of Trustees.

           (b)    Definitions:

                  (1)    Code:      Internal Revenue Code.

                  (2)    Eligible rollover distribution: An eligible rollover distribution is any distribution of all
                         or any portion of the balance to the credit of the distributee, except that an eligible
                         rollover distribution does not include: any distribution that is one of a series of
                         substantially equal periodic payments (not less frequently than annually) made for
                         the life of the distributee or the joint lives of the distributee and the distributee’s
                         designated beneficiary, or for a specified period of ten years or more; and any
                         distribution to the extent such distribution is required under Section 401(a)(9) of the
                         Code. An eligible rollover distribution includes:

                         (A)    a lump sum benefit that is payable to a Pensioner upon the death of the spouse
                                of the Pensioner, in accordance with Section 4.10(c)(5) of this Pension Plan;

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                         (B)    each distribution of the balance of the first 60 months of retirement pension
                                benefit payments that is payable to the surviving spouse of a Pensioner upon
                                the death of the Pensioner before receiving 60 months of payments, in
                                accordance with Section 4.10(d)(4) of this Pension Plan;

                         (C)    the Lump Sum Disability Benefit that is payable to a Participant (or, if the
                                disabled Participant dies before this benefit is paid, to the surviving spouse of
                                the Participant), in accordance with Section 5.03 of this Pension Plan; and

                         (D)    each distribution of the 60-Month Survivor Benefit that is payable to the
                                surviving spouse of a Participant who dies before his Retirement Date, in
                                accordance with Section 6.02 of this Pension Plan; and

                         (E)    the portion of a distribution that consists of after-tax employee contributions
                                which are not included in gross income, provided that such portion may be paid
                                only to an individual retirement account or annuity described in section 408(a)
                                or (b) of the Code, or to a qualified trust or to an annuity contract described in
                                section 403(b) of the Code that agrees to separately account for amounts so
                                transferred, including separately accounting for the portion of such distribution
                                which is includible in gross income and the portion of such distribution which is
                                not so includible.

                  (3)    Eligible retirement plan: An eligible retirement plan is any one of the following entities
                         which accepts the distributee’s eligible rollover distribution: an individual retirement
                         account described in Section 408(a) of the Code, an individual retirement annuity
                         described in Section 408(b) of the Code, an annuity plan described in Section 403(a)
                         of the Code, an annuity contract described in Section 403(b) of the Code, a qualified
                         trust described in Section 401(a) of the Code, or an eligible plan which is both
                         described in Section 457(b) of the Code and maintained by an eligible employer
                         defined in Section 457(e)(1)(A) of the Code (“a State, political subdivision of a State,
                         and any agency or instrumentality of a State or political subdivision of a State”). This
                         definition of eligible retirement plan shall also apply in the case of a distribution to a
                         surviving spouse of a Participant or Pensioner, or to the spouse or former spouse of
                         a Participant or Pensioner who is the alternate payee under a qualified domestic
                         relations order, as defined in Section 414(p) of the Code.

                  (4)    Distributee: A distributee includes an Employee or former Employee. In addition, the
                         Employee’s or former Employee’s surviving spouse, and the Employee’s or former
                         Employee’s spouse or former spouse who is the alternate payee under a qualified
                         domestic relations order, as defined in Section 414(p) of the Code, are distributees
                         with regard to the interest of the spouse or former spouse.

                  (5)    Direct rollover: A direct rollover is a payment by the Pension Fund to the eligible
                         retirement plan specified by the distributee.

           (c)    Special Rule for Designated Non-Spousal Beneficiary: Effective January 1, 2010, a
                  Participant’s non-spousal Beneficiary may elect to transfer a distribution that would be an
                  eligible rollover distribution if it were made to a spousal Beneficiary to an IRA described in
                  section 408(a) or (b) of the Code that will be treated as an inherited IRA, within the
                  meaning of section 408(d)(3)(C) of the Code, pursuant to a direct rollover. A trust can be
                  a designated beneficiary if it meets the requirements of section 401(a)(9)(E) of the Code.

           (d)    Rollover to Roth IRA: Notwithstanding any provision of the Plan to the contrary, for
                  distributions made on or after January 1, 2008 (effective January 1, 2010 with regard to a
                  non-spousal Beneficiary), a distributee or non-spousal Beneficiary may roll over directly
                  all or any portion of his eligible rollover distribution to a Roth IRA, subject to the limitations
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                  set forth in Section 408A of the Code. The Board of Trustees is not responsible for
                  assuring that the distributee or non-spousal Beneficiary is eligible to make a rollover under
                  this Section.

Section 7.17        ASSET-TRANSFER RULES UNDER SECTION 4234 OF ERISA

           The Pension Plan shall not transfer liabilities to a single-employer plan pursuant to Section 4232
           of ERISA; accordingly, assets shall not be transferred pursuant to Section 4234 of ERISA. The
           preceding sentence shall not apply to any transfer of liabilities pursuant to APPENDIX L of this
           Pension Plan.

Section 7.18        VALIDITY OF ELECTIONS AND CONSENTS MADE WITH RESPECT TO THE
                    UPS/IBT FULL-TIME PENSION PLAN

           Notwithstanding anything to the contrary, any election or spousal consent made under the
           UPS/IBT Full-Time Employee Pension Plan by any Grandfathered Central States Pension Plan
           Participant (as defined in such other plan) shall be given full force and effect as an election or
           spousal consent with respect to any benefits payable under this Pension Plan (and shall not be
           subject to change or revocation by reason of the passage of time, change in marital status or
           any other event after benefits have commenced under the UPS/IBT Full-Time Employee
           Pension Plan).

Section 7.19        REHABILITATION PLAN: PENSION PROTECTION ACT OF 2006

           In compliance with the Pension Protection Act of 2006 (Pub.L. 109-280), the Board of Trustees
           adopted a rehabilitation plan (which is APPENDIX M of this Pension Plan) on March 25, 2008,
           effective immediately. Benefits, and rights to benefits, described in this Pension Plan may be
           reduced, eliminated and otherwise adjusted at any time to the extent provided in APPENDIX M
           of this Pension Plan, as initially adopted and as may be amended at any time, and any such
           reduction, elimination and other adjustment will be retroactively and prospectively applicable
           and effective to the extent provided in APPENDIX M.




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APPENDIX A-1. ADJUSTMENT FACTORS FOR THE JOINT AND 50% SURVIVING SPOUSE
              OPTION


Section 1.            ANTI-CUTBACK PROVISION

             (a)   Relative to any effective date of benefit payments prior to March 1, 2008, if the
                   Participant who retires or otherwise becomes eligible for benefits from the Pension Plan
                   on or after January 1, 1985, would have been eligible for benefits from the Pension Plan
                   in effect on December 31, 1984, had he retired on December 31, 1984, the Participant,
                   if he elects to receive his benefits under the Joint and 50% Surviving Spouse Option
                   form of payment, shall be eligible to receive the greater of:

                   (1)    the amount determined under this Pension Plan using the Adjustment Factors
                          provided in Section 2 of this Appendix A-1;

                   (2)    the amount he could have received if he had retired on December 31, 1984, using
                          the adjustment factors provided in the Pension Plan in effect on that date.

                   As used in this Appendix A-1, the phrase “effective date of benefit payments” means the
                   first day of the first period for which an amount is payable to a Pensioner as a retirement
                   pension (including a “retroactive annuity starting date” as defined in Section 4.10 of this
                   Pension Plan).

             (b)   Relative to any effective date of benefit payments on or after March 1, 2008, the
                   Participant, if he elects to receive his benefits under the Joint and 50% Surviving Spouse
                   Option form of payment, shall be eligible to receive the greater of:

                   (1)    the amount determined under subsection (a) of this section;

                   (2)    the amount determined using the Adjustment Factors provided in Section 3 of this
                          Appendix A-1.

Section 2.            TABLE OF SEX NEUTRAL ADJUSTMENT FACTORS:                       BENEFIT PAYMENTS
                      INITIALLY EFFECTIVE PRIOR TO MARCH 1, 2008

             The Table below shall be used to calculate the Joint and 50% Surviving Spouse Option form
             of payment if:

             (a)   the effective date of benefit payments is after December 31, 1984, and prior to March 1,
                   2008; or

             (b)   the Participant had not reached his 55th birthday before his death or Retirement Date,
                   but had earned any Contributory Service after August 18, 1984.




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                                            APPENDIX A-1, SECTION 2

                                      Table of Sex Neutral Adjustment Factors

                          (age difference is determined by the difference between the
                            Participant’s year of birth and the spouse’s year of birth)



           PARTICIPANT OLDER                                       PARTICIPANT YOUNGER
              THAN SPOUSE                                               THAN SPOUSE

AGE DIFFERENCE                        ADJUSTMENT                 AGE DIFFERENCE           ADJUSTMENT
    IN YEARS                            FACTOR                       IN YEARS               FACTOR

          0                                 .850                           0                    .850
          1                                 .850                           1                    .850
          2                                 .850                           2                    .850
          3                                 .850                           3                    .850
          4                                 .850                           4                    .850
          5                                 .850                           5                    .850
          6                                 .850                           6                    .850
          7                                 .850                           7                    .850
          8                                 .850                           8                    .850
          9                                 .850                           9                    .850
         10                                 .850                          10                    .850
         11                                 .840                          11                    .870
         12                                 .830                          12                    .890
         13                                 .820                          13                    .910
         14                                 .810                          14                    .930
         15                                 .800                          15                    .950
         16                                 .790                          16                    .950
         17                                 .780                          17                    .950
         18                                 .770                          18                    .950
         19                                 .760                          19                    .950
         20 or more                         .750                          20 or more            .950

Section 3.            TABLE OF SEX NEUTRAL ADJUSTMENT FACTORS:                         BENEFIT PAYMENTS
                      INITIALLY EFFECTIVE ON OR AFTER MARCH 1, 2008

             The Table below shall be used to calculate the Joint and 50% Surviving Spouse Option form
             of payment if the effective date of payments is on or after March 1, 2008.




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              Spouse Age
Retiree Age         28         29       30         31         32          33       34         35       36        37
         28     0.9824     0.9829   0.9835     0.9840     0.9845      0.9851   0.9856     0.9861   0.9866    0.9871
         29     0.9808     0.9814   0.9820     0.9826     0.9831      0.9837   0.9843     0.9848   0.9854    0.9859
         30     0.9792     0.9798   0.9804     0.9810     0.9816      0.9822   0.9828     0.9834   0.9840    0.9846
         31     0.9775     0.9782   0.9788     0.9795     0.9801      0.9808   0.9814     0.9821   0.9827    0.9833
         32     0.9758     0.9765   0.9772     0.9778     0.9785      0.9792   0.9799     0.9806   0.9813    0.9819
         33     0.9739     0.9746   0.9754     0.9761     0.9768      0.9775   0.9783     0.9790   0.9797    0.9804
         34     0.9719     0.9727   0.9734     0.9742     0.9750      0.9757   0.9765     0.9773   0.9780    0.9788
         35     0.9698     0.9706   0.9714     0.9722     0.9730      0.9738   0.9746     0.9754   0.9763    0.9771
         36     0.9675     0.9684   0.9692     0.9700     0.9709      0.9717   0.9726     0.9735   0.9743    0.9752
         37     0.9651     0.9660   0.9668     0.9677     0.9686      0.9695   0.9704     0.9713   0.9722    0.9731
         38     0.9625     0.9634   0.9643     0.9652     0.9661      0.9671   0.9680     0.9690   0.9700    0.9709
         39     0.9597     0.9606   0.9616     0.9625     0.9635      0.9645   0.9655     0.9665   0.9675    0.9685
         40     0.9567     0.9577   0.9587     0.9596     0.9607      0.9617   0.9627     0.9638   0.9649    0.9659
         41     0.9535     0.9545   0.9555     0.9565     0.9576      0.9587   0.9597     0.9609   0.9620    0.9631
         42     0.9501     0.9511   0.9521     0.9532     0.9543      0.9554   0.9565     0.9577   0.9589    0.9600
         43     0.9464     0.9474   0.9485     0.9496     0.9507      0.9519   0.9531     0.9543   0.9555    0.9567
         44     0.9425     0.9435   0.9446     0.9458     0.9469      0.9481   0.9493     0.9506   0.9519    0.9531
         45     0.9383     0.9393   0.9405     0.9416     0.9428      0.9441   0.9453     0.9466   0.9479    0.9493
         46     0.9338     0.9349   0.9360     0.9372     0.9385      0.9397   0.9410     0.9424   0.9437    0.9451
         47     0.9289     0.9301   0.9313     0.9325     0.9338      0.9351   0.9364     0.9378   0.9392    0.9406
         48     0.9238     0.9250   0.9262     0.9274     0.9287      0.9301   0.9314     0.9329   0.9343    0.9358
         49     0.9183     0.9195   0.9207     0.9220     0.9233      0.9247   0.9261     0.9276   0.9291    0.9306
         50     0.9124     0.9136   0.9149     0.9162     0.9175      0.9189   0.9204     0.9219   0.9234    0.9250
         51     0.9061     0.9073   0.9086     0.9099     0.9113      0.9127   0.9142     0.9158   0.9174    0.9190
         52     0.8994     0.9007   0.9020     0.9033     0.9047      0.9062   0.9077     0.9093   0.9109    0.9126
         53     0.8923     0.8936   0.8949     0.8963     0.8977      0.8992   0.9007     0.9024   0.9040    0.9057
         54     0.8847     0.8860   0.8874     0.8888     0.8902      0.8917   0.8933     0.8950   0.8967    0.8984
         55     0.8767     0.8780   0.8794     0.8808     0.8823      0.8838   0.8854     0.8871   0.8888    0.8906
         56     0.8683     0.8696   0.8710     0.8724     0.8739      0.8755   0.8771     0.8788   0.8806    0.8824
         57     0.8595     0.8608   0.8622     0.8636     0.8652      0.8667   0.8684     0.8701   0.8719    0.8738
         58     0.8503     0.8516   0.8530     0.8545     0.8560      0.8576   0.8593     0.8610   0.8628    0.8647
         59     0.8406     0.8420   0.8434     0.8448     0.8464      0.8480   0.8497     0.8515   0.8533    0.8552
         60     0.8305     0.8318   0.8333     0.8348     0.8363      0.8379   0.8397     0.8414   0.8433    0.8453
         61     0.8199     0.8213   0.8227     0.8242     0.8258      0.8274   0.8291     0.8310   0.8328    0.8348
         62     0.8090     0.8103   0.8118     0.8133     0.8148      0.8165   0.8182     0.8200   0.8220    0.8240
         63     0.7976     0.7989   0.8004     0.8019     0.8035      0.8051   0.8069     0.8087   0.8106    0.8126
         64     0.7858     0.7872   0.7886     0.7902     0.7918      0.7934   0.7952     0.7970   0.7990    0.8010
         65     0.7737     0.7750   0.7765     0.7780     0.7796      0.7813   0.7830     0.7849   0.7868    0.7889
         66     0.7610     0.7624   0.7638     0.7654     0.7670      0.7686   0.7704     0.7723   0.7742    0.7763
         67     0.7481     0.7495   0.7509     0.7524     0.7540      0.7557   0.7575     0.7594   0.7613    0.7634
         68     0.7348     0.7361   0.7376     0.7391     0.7407      0.7424   0.7441     0.7460   0.7479    0.7500
         69     0.7208     0.7222   0.7236     0.7251     0.7267      0.7284   0.7302     0.7320   0.7340    0.7361
         70     0.7064     0.7077   0.7092     0.7107     0.7123      0.7139   0.7157     0.7176   0.7195    0.7216
         71     0.6914     0.6928   0.6942     0.6957     0.6973      0.6990   0.7007     0.7026   0.7045    0.7066
         72     0.6759     0.6772   0.6787     0.6801     0.6817      0.6834   0.6851     0.6870   0.6889    0.6910
         73     0.6597     0.6611   0.6625     0.6639     0.6655      0.6672   0.6689     0.6707   0.6726    0.6747
         74     0.6429     0.6442   0.6456     0.6471     0.6487      0.6503   0.6520     0.6538   0.6558    0.6578
         75     0.6255     0.6269   0.6282     0.6297     0.6312      0.6328   0.6345     0.6364   0.6382    0.6403
         76     0.6078     0.6091   0.6104     0.6119     0.6134      0.6150   0.6167     0.6184   0.6203    0.6223
         77     0.5894     0.5907   0.5921     0.5935     0.5950      0.5966   0.5982     0.6000   0.6019    0.6038
         78     0.5708     0.5721   0.5734     0.5748     0.5763      0.5778   0.5795     0.5812   0.5830    0.5850
         79     0.5519     0.5531   0.5544     0.5558     0.5572      0.5588   0.5604     0.5621   0.5639    0.5658
         80     0.5327     0.5339   0.5352     0.5365     0.5380      0.5395   0.5411     0.5427   0.5445    0.5464




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              Spouse Age
Retiree Age         38         39       40         41         42          43       44         45       46        47
         28     0.9876     0.9881   0.9885     0.9890     0.9894      0.9898   0.9902     0.9906   0.9910    0.9914
         29     0.9864     0.9869   0.9874     0.9879     0.9884      0.9889   0.9893     0.9897   0.9902    0.9906
         30     0.9852     0.9857   0.9863     0.9868     0.9873      0.9878   0.9883     0.9888   0.9892    0.9897
         31     0.9839     0.9845   0.9851     0.9857     0.9862      0.9868   0.9873     0.9878   0.9883    0.9888
         32     0.9826     0.9832   0.9839     0.9845     0.9851      0.9857   0.9862     0.9868   0.9874    0.9879
         33     0.9811     0.9818   0.9825     0.9832     0.9838      0.9845   0.9851     0.9857   0.9863    0.9869
         34     0.9796     0.9803   0.9810     0.9818     0.9825      0.9832   0.9839     0.9845   0.9852    0.9858
         35     0.9779     0.9787   0.9795     0.9802     0.9810      0.9818   0.9825     0.9832   0.9839    0.9846
         36     0.9760     0.9769   0.9777     0.9786     0.9794      0.9802   0.9810     0.9818   0.9825    0.9833
         37     0.9741     0.9750   0.9759     0.9768     0.9777      0.9785   0.9794     0.9802   0.9811    0.9819
         38     0.9719     0.9729   0.9738     0.9748     0.9757      0.9767   0.9776     0.9785   0.9794    0.9803
         39     0.9696     0.9706   0.9716     0.9726     0.9736      0.9747   0.9756     0.9766   0.9776    0.9785
         40     0.9670     0.9681   0.9692     0.9703     0.9714      0.9724   0.9735     0.9745   0.9756    0.9766
         41     0.9642     0.9654   0.9665     0.9677     0.9688      0.9700   0.9711     0.9723   0.9734    0.9745
         42     0.9612     0.9624   0.9637     0.9649     0.9661      0.9673   0.9685     0.9697   0.9709    0.9721
         43     0.9580     0.9592   0.9605     0.9618     0.9631      0.9644   0.9657     0.9670   0.9683    0.9695
         44     0.9545     0.9558   0.9571     0.9585     0.9599      0.9612   0.9626     0.9640   0.9653    0.9667
         45     0.9507     0.9520   0.9535     0.9549     0.9563      0.9578   0.9592     0.9607   0.9621    0.9636
         46     0.9466     0.9480   0.9495     0.9510     0.9525      0.9540   0.9555     0.9571   0.9586    0.9601
         47     0.9421     0.9436   0.9452     0.9467     0.9483      0.9499   0.9515     0.9531   0.9548    0.9564
         48     0.9374     0.9389   0.9405     0.9421     0.9438      0.9455   0.9472     0.9489   0.9506    0.9523
         49     0.9322     0.9338   0.9355     0.9372     0.9389      0.9407   0.9424     0.9442   0.9460    0.9479
         50     0.9267     0.9283   0.9301     0.9318     0.9336      0.9354   0.9373     0.9392   0.9411    0.9430
         51     0.9207     0.9224   0.9242     0.9260     0.9279      0.9298   0.9317     0.9337   0.9357    0.9377
         52     0.9143     0.9161   0.9180     0.9198     0.9218      0.9237   0.9258     0.9278   0.9299    0.9320
         53     0.9075     0.9094   0.9113     0.9132     0.9152      0.9172   0.9193     0.9215   0.9236    0.9258
         54     0.9002     0.9021   0.9041     0.9061     0.9081      0.9103   0.9124     0.9146   0.9169    0.9192
         55     0.8925     0.8944   0.8964     0.8985     0.9006      0.9028   0.9050     0.9073   0.9096    0.9120
         56     0.8843     0.8863   0.8883     0.8904     0.8926      0.8948   0.8972     0.8995   0.9019    0.9044
         57     0.8757     0.8778   0.8798     0.8820     0.8842      0.8865   0.8889     0.8914   0.8939    0.8964
         58     0.8667     0.8688   0.8709     0.8731     0.8754      0.8778   0.8802     0.8827   0.8853    0.8879
         59     0.8573     0.8593   0.8615     0.8638     0.8661      0.8685   0.8710     0.8736   0.8763    0.8790
         60     0.8473     0.8494   0.8516     0.8539     0.8563      0.8588   0.8614     0.8640   0.8667    0.8695
         61     0.8369     0.8390   0.8413     0.8436     0.8460      0.8486   0.8512     0.8539   0.8567    0.8596
         62     0.8260     0.8282   0.8305     0.8329     0.8353      0.8379   0.8406     0.8433   0.8462    0.8491
         63     0.8148     0.8170   0.8193     0.8217     0.8242      0.8268   0.8295     0.8323   0.8352    0.8382
         64     0.8031     0.8053   0.8077     0.8101     0.8126      0.8153   0.8180     0.8209   0.8239    0.8269
         65     0.7910     0.7932   0.7956     0.7980     0.8006      0.8033   0.8061     0.8090   0.8120    0.8151
         66     0.7784     0.7807   0.7830     0.7855     0.7881      0.7908   0.7936     0.7966   0.7997    0.8029
         67     0.7655     0.7678   0.7702     0.7727     0.7753      0.7780   0.7809     0.7839   0.7870    0.7902
         68     0.7522     0.7544   0.7568     0.7593     0.7620      0.7647   0.7676     0.7706   0.7738    0.7770
         69     0.7382     0.7405   0.7429     0.7454     0.7481      0.7508   0.7537     0.7568   0.7599    0.7633
         70     0.7237     0.7260   0.7284     0.7309     0.7336      0.7364   0.7393     0.7424   0.7456    0.7489
         71     0.7087     0.7110   0.7134     0.7159     0.7186      0.7214   0.7243     0.7274   0.7306    0.7340
         72     0.6931     0.6954   0.6978     0.7003     0.7029      0.7057   0.7087     0.7117   0.7150    0.7184
         73     0.6768     0.6791   0.6815     0.6840     0.6866      0.6894   0.6923     0.6954   0.6987    0.7021
         74     0.6599     0.6622   0.6645     0.6670     0.6697      0.6724   0.6754     0.6784   0.6817    0.6851
         75     0.6424     0.6446   0.6469     0.6494     0.6520      0.6548   0.6577     0.6608   0.6640    0.6674
         76     0.6244     0.6266   0.6289     0.6314     0.6340      0.6367   0.6396     0.6427   0.6459    0.6493
         77     0.6059     0.6081   0.6104     0.6128     0.6154      0.6181   0.6209     0.6240   0.6272    0.6305
         78     0.5870     0.5892   0.5914     0.5938     0.5964      0.5991   0.6019     0.6049   0.6080    0.6114
         79     0.5678     0.5699   0.5722     0.5745     0.5770      0.5797   0.5825     0.5854   0.5886    0.5919
         80     0.5484     0.5504   0.5526     0.5550     0.5574      0.5600   0.5628     0.5657   0.5688    0.5721




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              Spouse Age
Retiree Age         48         49       50         51         52          53       54         55       56        57
         28     0.9917     0.9921   0.9924     0.9927     0.9930      0.9933   0.9935     0.9938   0.9941    0.9943
         29     0.9909     0.9913   0.9917     0.9920     0.9923      0.9926   0.9930     0.9932   0.9935    0.9938
         30     0.9901     0.9905   0.9909     0.9912     0.9916      0.9920   0.9923     0.9926   0.9929    0.9932
         31     0.9893     0.9897   0.9901     0.9906     0.9909      0.9913   0.9917     0.9920   0.9924    0.9927
         32     0.9884     0.9889   0.9893     0.9898     0.9902      0.9907   0.9911     0.9914   0.9918    0.9922
         33     0.9874     0.9880   0.9885     0.9890     0.9895      0.9899   0.9904     0.9908   0.9912    0.9916
         34     0.9864     0.9870   0.9875     0.9881     0.9886      0.9891   0.9896     0.9901   0.9905    0.9909
         35     0.9853     0.9859   0.9865     0.9871     0.9877      0.9883   0.9888     0.9893   0.9898    0.9903
         36     0.9840     0.9847   0.9854     0.9860     0.9867      0.9873   0.9879     0.9884   0.9890    0.9895
         37     0.9826     0.9834   0.9841     0.9849     0.9856      0.9862   0.9869     0.9875   0.9881    0.9887
         38     0.9811     0.9820   0.9828     0.9836     0.9843      0.9851   0.9858     0.9864   0.9871    0.9877
         39     0.9795     0.9804   0.9812     0.9821     0.9829      0.9837   0.9845     0.9853   0.9860    0.9867
         40     0.9776     0.9786   0.9795     0.9805     0.9814      0.9823   0.9831     0.9839   0.9847    0.9855
         41     0.9755     0.9766   0.9776     0.9787     0.9796      0.9806   0.9815     0.9824   0.9833    0.9841
         42     0.9733     0.9744   0.9755     0.9766     0.9777      0.9787   0.9798     0.9807   0.9817    0.9826
         43     0.9708     0.9720   0.9732     0.9744     0.9756      0.9767   0.9778     0.9789   0.9799    0.9809
         44     0.9680     0.9693   0.9706     0.9719     0.9732      0.9744   0.9756     0.9768   0.9779    0.9790
         45     0.9650     0.9664   0.9678     0.9692     0.9705      0.9719   0.9732     0.9744   0.9757    0.9769
         46     0.9617     0.9632   0.9647     0.9662     0.9676      0.9691   0.9705     0.9718   0.9732    0.9745
         47     0.9580     0.9596   0.9612     0.9628     0.9644      0.9660   0.9675     0.9690   0.9704    0.9718
         48     0.9540     0.9558   0.9575     0.9592     0.9609      0.9625   0.9642     0.9658   0.9673    0.9689
         49     0.9497     0.9515   0.9533     0.9551     0.9569      0.9587   0.9605     0.9622   0.9639    0.9656
         50     0.9449     0.9468   0.9488     0.9507     0.9526      0.9545   0.9564     0.9583   0.9601    0.9619
         51     0.9397     0.9418   0.9438     0.9458     0.9479      0.9499   0.9519     0.9539   0.9559    0.9578
         52     0.9341     0.9363   0.9384     0.9406     0.9428      0.9449   0.9471     0.9492   0.9513    0.9534
         53     0.9281     0.9303   0.9326     0.9349     0.9371      0.9394   0.9417     0.9440   0.9462    0.9485
         54     0.9215     0.9239   0.9262     0.9286     0.9311      0.9335   0.9359     0.9383   0.9407    0.9431
         55     0.9144     0.9169   0.9194     0.9219     0.9245      0.9270   0.9296     0.9321   0.9347    0.9372
         56     0.9069     0.9095   0.9121     0.9148     0.9174      0.9201   0.9228     0.9255   0.9282    0.9309
         57     0.8990     0.9017   0.9044     0.9072     0.9100      0.9128   0.9156     0.9185   0.9213    0.9242
         58     0.8907     0.8934   0.8962     0.8991     0.9020      0.9050   0.9079     0.9109   0.9140    0.9170
         59     0.8818     0.8847   0.8876     0.8906     0.8936      0.8967   0.8998     0.9029   0.9061    0.9093
         60     0.8724     0.8754   0.8784     0.8815     0.8846      0.8878   0.8911     0.8944   0.8977    0.9010
         61     0.8625     0.8656   0.8687     0.8719     0.8752      0.8785   0.8819     0.8853   0.8888    0.8922
         62     0.8522     0.8553   0.8585     0.8618     0.8652      0.8687   0.8722     0.8757   0.8793    0.8830
         63     0.8414     0.8446   0.8479     0.8513     0.8548      0.8583   0.8620     0.8657   0.8694    0.8732
         64     0.8301     0.8334   0.8368     0.8403     0.8439      0.8476   0.8513     0.8552   0.8591    0.8630
         65     0.8184     0.8218   0.8252     0.8288     0.8325      0.8363   0.8402     0.8441   0.8481    0.8522
         66     0.8062     0.8096   0.8131     0.8168     0.8206      0.8245   0.8285     0.8325   0.8367    0.8409
         67     0.7936     0.7971   0.8007     0.8044     0.8083      0.8123   0.8164     0.8206   0.8248    0.8292
         68     0.7805     0.7840   0.7877     0.7915     0.7955      0.7995   0.8037     0.8080   0.8124    0.8170
         69     0.7667     0.7703   0.7741     0.7780     0.7820      0.7861   0.7904     0.7948   0.7993    0.8040
         70     0.7524     0.7560   0.7598     0.7638     0.7679      0.7721   0.7765     0.7810   0.7856    0.7904
         71     0.7375     0.7412   0.7450     0.7490     0.7532      0.7575   0.7619     0.7665   0.7712    0.7761
         72     0.7219     0.7256   0.7295     0.7335     0.7377      0.7421   0.7466     0.7513   0.7561    0.7611
         73     0.7056     0.7094   0.7133     0.7173     0.7216      0.7260   0.7306     0.7353   0.7402    0.7453
         74     0.6886     0.6924   0.6963     0.7004     0.7047      0.7091   0.7138     0.7186   0.7235    0.7287
         75     0.6710     0.6747   0.6787     0.6828     0.6871      0.6916   0.6962     0.7011   0.7061    0.7113
         76     0.6528     0.6566   0.6605     0.6646     0.6689      0.6734   0.6781     0.6830   0.6881    0.6934
         77     0.6341     0.6378   0.6417     0.6459     0.6502      0.6547   0.6594     0.6643   0.6694    0.6747
         78     0.6149     0.6186   0.6225     0.6266     0.6309      0.6354   0.6402     0.6451   0.6502    0.6555
         79     0.5954     0.5990   0.6029     0.6070     0.6113      0.6158   0.6205     0.6254   0.6305    0.6359
         80     0.5755     0.5792   0.5830     0.5870     0.5913      0.5958   0.6004     0.6053   0.6105    0.6158




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              Spouse Age
Retiree Age         58         59       60         61         62          63       64         65       66        67
         28     0.9945     0.9948   0.9950     0.9952     0.9954      0.9955   0.9957     0.9959   0.9961    0.9962
         29     0.9940     0.9943   0.9945     0.9947     0.9949      0.9951   0.9953     0.9955   0.9957    0.9959
         30     0.9935     0.9937   0.9940     0.9942     0.9945      0.9947   0.9949     0.9951   0.9953    0.9955
         31     0.9930     0.9933   0.9936     0.9938     0.9941      0.9943   0.9945     0.9948   0.9950    0.9952
         32     0.9925     0.9928   0.9931     0.9934     0.9937      0.9939   0.9942     0.9944   0.9947    0.9949
         33     0.9919     0.9923   0.9926     0.9929     0.9933      0.9935   0.9938     0.9941   0.9943    0.9946
         34     0.9914     0.9917   0.9921     0.9925     0.9928      0.9931   0.9934     0.9937   0.9940    0.9942
         35     0.9907     0.9911   0.9915     0.9919     0.9923      0.9926   0.9930     0.9933   0.9936    0.9939
         36     0.9900     0.9905   0.9909     0.9913     0.9918      0.9921   0.9925     0.9929   0.9932    0.9935
         37     0.9892     0.9897   0.9902     0.9907     0.9911      0.9916   0.9920     0.9924   0.9927    0.9931
         38     0.9883     0.9889   0.9895     0.9900     0.9905      0.9909   0.9914     0.9918   0.9922    0.9926
         39     0.9873     0.9880   0.9886     0.9892     0.9897      0.9902   0.9907     0.9912   0.9916    0.9921
         40     0.9862     0.9869   0.9876     0.9882     0.9888      0.9894   0.9900     0.9905   0.9910    0.9915
         41     0.9849     0.9857   0.9864     0.9872     0.9878      0.9885   0.9891     0.9897   0.9902    0.9907
         42     0.9835     0.9843   0.9852     0.9859     0.9867      0.9874   0.9881     0.9887   0.9893    0.9899
         43     0.9819     0.9828   0.9837     0.9846     0.9854      0.9862   0.9869     0.9877   0.9883    0.9890
         44     0.9801     0.9811   0.9821     0.9830     0.9839      0.9848   0.9856     0.9864   0.9872    0.9879
         45     0.9780     0.9792   0.9802     0.9813     0.9823      0.9833   0.9842     0.9851   0.9859    0.9867
         46     0.9758     0.9770   0.9782     0.9793     0.9804      0.9815   0.9825     0.9835   0.9844    0.9853
         47     0.9732     0.9746   0.9759     0.9771     0.9783      0.9795   0.9806     0.9817   0.9827    0.9837
         48     0.9704     0.9718   0.9733     0.9746     0.9760      0.9772   0.9785     0.9797   0.9808    0.9819
         49     0.9672     0.9688   0.9703     0.9718     0.9733      0.9747   0.9760     0.9774   0.9786    0.9798
         50     0.9637     0.9654   0.9671     0.9687     0.9703      0.9718   0.9733     0.9747   0.9761    0.9774
         51     0.9597     0.9616   0.9634     0.9652     0.9669      0.9686   0.9702     0.9718   0.9733    0.9748
         52     0.9554     0.9574   0.9594     0.9613     0.9632      0.9650   0.9668     0.9685   0.9702    0.9718
         53     0.9507     0.9528   0.9550     0.9570     0.9591      0.9610   0.9630     0.9648   0.9666    0.9684
         54     0.9454     0.9478   0.9501     0.9523     0.9545      0.9566   0.9587     0.9608   0.9627    0.9646
         55     0.9397     0.9422   0.9447     0.9471     0.9494      0.9518   0.9540     0.9562   0.9584    0.9605
         56     0.9336     0.9362   0.9388     0.9414     0.9440      0.9465   0.9489     0.9513   0.9536    0.9559
         57     0.9270     0.9298   0.9326     0.9354     0.9381      0.9408   0.9434     0.9460   0.9485    0.9510
         58     0.9200     0.9230   0.9259     0.9289     0.9318      0.9347   0.9375     0.9403   0.9430    0.9457
         59     0.9124     0.9156   0.9188     0.9219     0.9250      0.9281   0.9311     0.9341   0.9370    0.9399
         60     0.9044     0.9077   0.9111     0.9144     0.9177      0.9210   0.9242     0.9274   0.9305    0.9336
         61     0.8958     0.8993   0.9028     0.9063     0.9098      0.9133   0.9168     0.9202   0.9235    0.9268
         62     0.8867     0.8904   0.8941     0.8978     0.9015      0.9052   0.9088     0.9125   0.9160    0.9196
         63     0.8771     0.8809   0.8848     0.8887     0.8926      0.8965   0.9004     0.9043   0.9081    0.9119
         64     0.8670     0.8711   0.8751     0.8792     0.8833      0.8874   0.8915     0.8956   0.8997    0.9037
         65     0.8564     0.8606   0.8649     0.8692     0.8735      0.8778   0.8821     0.8864   0.8907    0.8950
         66     0.8453     0.8496   0.8541     0.8585     0.8630      0.8676   0.8721     0.8766   0.8812    0.8857
         67     0.8337     0.8382   0.8428     0.8475     0.8522      0.8569   0.8617     0.8664   0.8712    0.8760
         68     0.8216     0.8263   0.8310     0.8358     0.8407      0.8457   0.8506     0.8556   0.8606    0.8657
         69     0.8087     0.8136   0.8185     0.8235     0.8286      0.8337   0.8389     0.8441   0.8493    0.8546
         70     0.7952     0.8002   0.8053     0.8105     0.8157      0.8210   0.8264     0.8318   0.8373    0.8428
         71     0.7811     0.7862   0.7914     0.7967     0.8022      0.8077   0.8132     0.8189   0.8246    0.8303
         72     0.7662     0.7714   0.7768     0.7822     0.7878      0.7935   0.7992     0.8051   0.8110    0.8170
         73     0.7505     0.7558   0.7613     0.7669     0.7726      0.7784   0.7844     0.7904   0.7965    0.8028
         74     0.7340     0.7394   0.7450     0.7507     0.7566      0.7626   0.7687     0.7749   0.7812    0.7876
         75     0.7167     0.7222   0.7279     0.7337     0.7397      0.7458   0.7521     0.7584   0.7650    0.7716
         76     0.6988     0.7044   0.7102     0.7161     0.7222      0.7284   0.7348     0.7413   0.7480    0.7548
         77     0.6802     0.6859   0.6917     0.6977     0.7039      0.7102   0.7167     0.7234   0.7302    0.7372
         78     0.6610     0.6668   0.6727     0.6787     0.6850      0.6914   0.6980     0.7048   0.7117    0.7189
         79     0.6414     0.6472   0.6531     0.6592     0.6655      0.6720   0.6787     0.6856   0.6926    0.6999
         80     0.6214     0.6271   0.6331     0.6392     0.6456      0.6521   0.6589     0.6658   0.6730    0.6803




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              Spouse Age
Retiree Age         68         69       70         71         72          73       74         75       76        77
         28     0.9964     0.9965   0.9967     0.9968     0.9970      0.9971   0.9973     0.9974   0.9975    0.9976
         29     0.9960     0.9962   0.9964     0.9965     0.9967      0.9968   0.9970     0.9971   0.9972    0.9974
         30     0.9957     0.9958   0.9960     0.9962     0.9963      0.9965   0.9966     0.9968   0.9969    0.9971
         31     0.9954     0.9956   0.9958     0.9959     0.9961      0.9963   0.9964     0.9966   0.9967    0.9969
         32     0.9951     0.9953   0.9955     0.9957     0.9959      0.9960   0.9962     0.9964   0.9965    0.9967
         33     0.9948     0.9950   0.9952     0.9954     0.9956      0.9958   0.9960     0.9962   0.9963    0.9965
         34     0.9945     0.9947   0.9950     0.9952     0.9954      0.9956   0.9958     0.9960   0.9962    0.9963
         35     0.9942     0.9944   0.9947     0.9949     0.9951      0.9953   0.9956     0.9958   0.9960    0.9961
         36     0.9938     0.9941   0.9944     0.9946     0.9949      0.9951   0.9953     0.9955   0.9958    0.9960
         37     0.9934     0.9937   0.9940     0.9943     0.9946      0.9948   0.9951     0.9953   0.9955    0.9958
         38     0.9930     0.9933   0.9936     0.9940     0.9943      0.9945   0.9948     0.9951   0.9953    0.9955
         39     0.9925     0.9929   0.9932     0.9936     0.9939      0.9942   0.9945     0.9948   0.9950    0.9953
         40     0.9919     0.9923   0.9927     0.9931     0.9935      0.9938   0.9941     0.9944   0.9947    0.9950
         41     0.9912     0.9917   0.9922     0.9926     0.9930      0.9934   0.9937     0.9941   0.9944    0.9947
         42     0.9905     0.9910   0.9915     0.9920     0.9924      0.9929   0.9933     0.9936   0.9940    0.9943
         43     0.9896     0.9902   0.9908     0.9913     0.9918      0.9923   0.9927     0.9931   0.9935    0.9939
         44     0.9886     0.9893   0.9899     0.9905     0.9910      0.9916   0.9921     0.9925   0.9930    0.9934
         45     0.9875     0.9882   0.9889     0.9895     0.9902      0.9908   0.9913     0.9918   0.9923    0.9928
         46     0.9862     0.9870   0.9877     0.9885     0.9892      0.9898   0.9905     0.9910   0.9916    0.9921
         47     0.9847     0.9856   0.9864     0.9872     0.9880      0.9888   0.9894     0.9901   0.9907    0.9913
         48     0.9829     0.9839   0.9849     0.9858     0.9867      0.9875   0.9883     0.9890   0.9897    0.9904
         49     0.9810     0.9821   0.9831     0.9842     0.9851      0.9860   0.9869     0.9877   0.9885    0.9893
         50     0.9787     0.9800   0.9811     0.9823     0.9833      0.9844   0.9853     0.9863   0.9871    0.9880
         51     0.9762     0.9775   0.9788     0.9801     0.9813      0.9824   0.9835     0.9845   0.9855    0.9864
         52     0.9733     0.9748   0.9762     0.9776     0.9789      0.9802   0.9814     0.9826   0.9837    0.9847
         53     0.9701     0.9717   0.9733     0.9748     0.9763      0.9777   0.9790     0.9803   0.9815    0.9827
         54     0.9665     0.9683   0.9700     0.9717     0.9733      0.9749   0.9763     0.9778   0.9791    0.9804
         55     0.9625     0.9645   0.9664     0.9682     0.9700      0.9717   0.9733     0.9749   0.9764    0.9778
         56     0.9581     0.9602   0.9623     0.9643     0.9663      0.9681   0.9699     0.9717   0.9733    0.9749
         57     0.9534     0.9557   0.9580     0.9602     0.9623      0.9643   0.9663     0.9682   0.9701    0.9718
         58     0.9482     0.9508   0.9532     0.9556     0.9579      0.9602   0.9624     0.9644   0.9665    0.9684
         59     0.9427     0.9454   0.9481     0.9507     0.9532      0.9556   0.9580     0.9603   0.9625    0.9646
         60     0.9366     0.9396   0.9425     0.9453     0.9480      0.9507   0.9533     0.9558   0.9582    0.9605
         61     0.9301     0.9333   0.9364     0.9394     0.9424      0.9453   0.9481     0.9508   0.9535    0.9560
         62     0.9231     0.9265   0.9299     0.9332     0.9364      0.9395   0.9425     0.9455   0.9484    0.9511
         63     0.9156     0.9193   0.9229     0.9264     0.9299      0.9333   0.9366     0.9398   0.9429    0.9459
         64     0.9077     0.9116   0.9155     0.9193     0.9230      0.9267   0.9302     0.9337   0.9371    0.9404
         65     0.8992     0.9034   0.9075     0.9116     0.9156      0.9195   0.9234     0.9271   0.9308    0.9344
         66     0.8902     0.8946   0.8991     0.9034     0.9077      0.9119   0.9161     0.9201   0.9241    0.9279
         67     0.8807     0.8855   0.8901     0.8948     0.8994      0.9039   0.9083     0.9127   0.9170    0.9211
         68     0.8707     0.8757   0.8807     0.8856     0.8905      0.8953   0.9001     0.9048   0.9093    0.9138
         69     0.8599     0.8652   0.8704     0.8757     0.8809      0.8860   0.8911     0.8961   0.9011    0.9059
         70     0.8484     0.8539   0.8595     0.8650     0.8705      0.8760   0.8814     0.8868   0.8921    0.8973
         71     0.8361     0.8420   0.8478     0.8536     0.8595      0.8653   0.8711     0.8768   0.8824    0.8880
         72     0.8230     0.8291   0.8353     0.8414     0.8476      0.8537   0.8598     0.8659   0.8719    0.8779
         73     0.8091     0.8154   0.8218     0.8282     0.8347      0.8412   0.8477     0.8541   0.8605    0.8668
         74     0.7941     0.8007   0.8074     0.8141     0.8209      0.8277   0.8345     0.8413   0.8481    0.8549
         75     0.7783     0.7852   0.7921     0.7991     0.8062      0.8133   0.8204     0.8276   0.8348    0.8419
         76     0.7617     0.7688   0.7760     0.7832     0.7906      0.7980   0.8055     0.8131   0.8206    0.8281
         77     0.7443     0.7516   0.7589     0.7665     0.7741      0.7818   0.7896     0.7975   0.8054    0.8133
         78     0.7261     0.7336   0.7412     0.7489     0.7568      0.7648   0.7729     0.7811   0.7894    0.7977
         79     0.7073     0.7149   0.7227     0.7306     0.7387      0.7470   0.7554     0.7639   0.7725    0.7812
         80     0.6879     0.6956   0.7035     0.7117     0.7200      0.7285   0.7371     0.7459   0.7549    0.7639




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              Spouse Age
Retiree Age         78         79       80         81         82          83       84         85       86        87
         28     0.9978     0.9979   0.9980     0.9981     0.9982      0.9983   0.9984     0.9985   0.9986    0.9987
         29     0.9975     0.9976   0.9978     0.9979     0.9980      0.9981   0.9982     0.9983   0.9984    0.9985
         30     0.9972     0.9974   0.9975     0.9976     0.9977      0.9978   0.9979     0.9981   0.9981    0.9982
         31     0.9970     0.9972   0.9973     0.9974     0.9976      0.9977   0.9978     0.9979   0.9980    0.9981
         32     0.9969     0.9970   0.9971     0.9973     0.9974      0.9975   0.9977     0.9978   0.9979    0.9980
         33     0.9967     0.9968   0.9970     0.9971     0.9973      0.9974   0.9975     0.9976   0.9978    0.9979
         34     0.9965     0.9967   0.9968     0.9970     0.9971      0.9973   0.9974     0.9975   0.9976    0.9978
         35     0.9963     0.9965   0.9967     0.9968     0.9970      0.9971   0.9973     0.9974   0.9975    0.9976
         36     0.9961     0.9963   0.9965     0.9967     0.9968      0.9970   0.9971     0.9973   0.9974    0.9975
         37     0.9960     0.9962   0.9963     0.9965     0.9967      0.9969   0.9970     0.9972   0.9973    0.9974
         38     0.9958     0.9960   0.9962     0.9964     0.9966      0.9967   0.9969     0.9970   0.9972    0.9973
         39     0.9955     0.9958   0.9960     0.9962     0.9964      0.9966   0.9968     0.9969   0.9971    0.9972
         40     0.9953     0.9955   0.9958     0.9960     0.9962      0.9964   0.9966     0.9968   0.9969    0.9971
         41     0.9950     0.9953   0.9955     0.9958     0.9960      0.9962   0.9964     0.9966   0.9968    0.9969
         42     0.9946     0.9949   0.9952     0.9955     0.9957      0.9960   0.9962     0.9964   0.9966    0.9968
         43     0.9942     0.9946   0.9949     0.9952     0.9954      0.9957   0.9959     0.9962   0.9964    0.9966
         44     0.9938     0.9941   0.9945     0.9948     0.9951      0.9954   0.9957     0.9959   0.9961    0.9963
         45     0.9932     0.9936   0.9940     0.9944     0.9947      0.9950   0.9953     0.9956   0.9959    0.9961
         46     0.9926     0.9931   0.9935     0.9939     0.9943      0.9946   0.9950     0.9953   0.9955    0.9958
         47     0.9919     0.9924   0.9929     0.9933     0.9937      0.9941   0.9945     0.9948   0.9951    0.9954
         48     0.9910     0.9916   0.9921     0.9926     0.9931      0.9936   0.9940     0.9943   0.9947    0.9950
         49     0.9900     0.9906   0.9912     0.9918     0.9923      0.9928   0.9933     0.9937   0.9941    0.9945
         50     0.9887     0.9895   0.9902     0.9908     0.9914      0.9920   0.9925     0.9930   0.9934    0.9938
         51     0.9873     0.9881   0.9889     0.9897     0.9903      0.9910   0.9916     0.9921   0.9926    0.9931
         52     0.9857     0.9866   0.9875     0.9883     0.9891      0.9898   0.9905     0.9911   0.9917    0.9922
         53     0.9838     0.9849   0.9858     0.9868     0.9876      0.9884   0.9892     0.9899   0.9905    0.9911
         54     0.9817     0.9828   0.9839     0.9850     0.9859      0.9868   0.9877     0.9885   0.9892    0.9899
         55     0.9792     0.9805   0.9817     0.9829     0.9840      0.9850   0.9859     0.9868   0.9876    0.9884
         56     0.9764     0.9779   0.9793     0.9806     0.9818      0.9829   0.9840     0.9850   0.9859    0.9867
         57     0.9735     0.9751   0.9766     0.9781     0.9794      0.9807   0.9819     0.9830   0.9840    0.9850
         58     0.9702     0.9720   0.9737     0.9753     0.9768      0.9782   0.9795     0.9808   0.9819    0.9830
         59     0.9667     0.9686   0.9705     0.9722     0.9739      0.9755   0.9770     0.9783   0.9796    0.9808
         60     0.9627     0.9649   0.9669     0.9689     0.9707      0.9725   0.9741     0.9756   0.9770    0.9783
         61     0.9584     0.9608   0.9630     0.9652     0.9672      0.9691   0.9709     0.9726   0.9742    0.9756
         62     0.9538     0.9564   0.9588     0.9612     0.9634      0.9655   0.9675     0.9693   0.9711    0.9727
         63     0.9488     0.9516   0.9543     0.9569     0.9593      0.9616   0.9638     0.9658   0.9677    0.9695
         64     0.9435     0.9466   0.9495     0.9523     0.9550      0.9575   0.9599     0.9621   0.9642    0.9661
         65     0.9378     0.9411   0.9443     0.9473     0.9503      0.9530   0.9556     0.9581   0.9603    0.9625
         66     0.9316     0.9352   0.9387     0.9420     0.9452      0.9482   0.9510     0.9537   0.9562    0.9585
         67     0.9251     0.9290   0.9328     0.9364     0.9399      0.9431   0.9462     0.9492   0.9519    0.9544
         68     0.9182     0.9224   0.9265     0.9304     0.9341      0.9377   0.9411     0.9443   0.9472    0.9500
         69     0.9106     0.9151   0.9195     0.9238     0.9279      0.9317   0.9354     0.9389   0.9421    0.9451
         70     0.9023     0.9072   0.9120     0.9166     0.9210      0.9252   0.9292     0.9330   0.9365    0.9398
         71     0.8934     0.8987   0.9039     0.9088     0.9136      0.9182   0.9225     0.9266   0.9305    0.9341
         72     0.8837     0.8894   0.8949     0.9003     0.9055      0.9104   0.9151     0.9196   0.9238    0.9277
         73     0.8731     0.8792   0.8851     0.8909     0.8965      0.9019   0.9070     0.9118   0.9163    0.9206
         74     0.8615     0.8680   0.8744     0.8806     0.8866      0.8924   0.8979     0.9032   0.9081    0.9127
         75     0.8490     0.8559   0.8627     0.8694     0.8759      0.8821   0.8880     0.8937   0.8990    0.9041
         76     0.8356     0.8430   0.8503     0.8574     0.8643      0.8710   0.8774     0.8835   0.8893    0.8947
         77     0.8212     0.8290   0.8368     0.8443     0.8517      0.8589   0.8658     0.8723   0.8785    0.8844
         78     0.8060     0.8142   0.8224     0.8305     0.8383      0.8460   0.8533     0.8603   0.8670    0.8733
         79     0.7899     0.7986   0.8072     0.8157     0.8240      0.8322   0.8400     0.8475   0.8547    0.8614
         80     0.7730     0.7821   0.7911     0.8001     0.8089      0.8175   0.8258     0.8338   0.8415    0.8487




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                         Spouse Age
           Retiree Age         88         89         90         91          92       93         94       95
                    28     0.9987     0.9988     0.9989     0.9989      0.9990   0.9990     0.9991   0.9991
                    29     0.9986     0.9986     0.9987     0.9988      0.9988   0.9989     0.9989   0.9990
                    30     0.9983     0.9984     0.9985     0.9985      0.9986   0.9987     0.9987   0.9988
                    31     0.9982     0.9983     0.9984     0.9984      0.9985   0.9986     0.9986   0.9987
                    32     0.9981     0.9982     0.9983     0.9983      0.9984   0.9985     0.9985   0.9986
                    33     0.9980     0.9981     0.9981     0.9982      0.9983   0.9984     0.9984   0.9985
                    34     0.9979     0.9980     0.9980     0.9981      0.9982   0.9983     0.9983   0.9984
                    35     0.9977     0.9979     0.9979     0.9980      0.9981   0.9982     0.9983   0.9983
                    36     0.9976     0.9978     0.9979     0.9979      0.9980   0.9981     0.9982   0.9983
                    37     0.9976     0.9977     0.9978     0.9979      0.9979   0.9980     0.9981   0.9982
                    38     0.9975     0.9976     0.9977     0.9978      0.9979   0.9980     0.9980   0.9981
                    39     0.9973     0.9975     0.9976     0.9977      0.9978   0.9979     0.9980   0.9980
                    40     0.9972     0.9974     0.9975     0.9976      0.9977   0.9978     0.9979   0.9980
                    41     0.9971     0.9972     0.9974     0.9975      0.9976   0.9977     0.9978   0.9979
                    42     0.9969     0.9971     0.9972     0.9973      0.9975   0.9976     0.9977   0.9978
                    43     0.9967     0.9969     0.9971     0.9972      0.9973   0.9974     0.9975   0.9976
                    44     0.9965     0.9967     0.9969     0.9970      0.9972   0.9973     0.9974   0.9975
                    45     0.9963     0.9965     0.9967     0.9968      0.9970   0.9971     0.9972   0.9973
                    46     0.9960     0.9962     0.9964     0.9966      0.9968   0.9969     0.9970   0.9972
                    47     0.9957     0.9959     0.9961     0.9963      0.9965   0.9967     0.9968   0.9970
                    48     0.9953     0.9956     0.9958     0.9960      0.9962   0.9964     0.9966   0.9967
                    49     0.9948     0.9951     0.9954     0.9956      0.9958   0.9961     0.9962   0.9964
                    50     0.9942     0.9945     0.9949     0.9951      0.9954   0.9956     0.9958   0.9960
                    51     0.9935     0.9939     0.9942     0.9945      0.9948   0.9951     0.9953   0.9955
                    52     0.9927     0.9931     0.9935     0.9938      0.9942   0.9945     0.9947   0.9950
                    53     0.9917     0.9921     0.9926     0.9930      0.9934   0.9937     0.9940   0.9943
                    54     0.9905     0.9910     0.9915     0.9920      0.9924   0.9928     0.9932   0.9935
                    55     0.9891     0.9897     0.9903     0.9908      0.9913   0.9917     0.9921   0.9925
                    56     0.9875     0.9882     0.9889     0.9895      0.9900   0.9905     0.9910   0.9914
                    57     0.9858     0.9866     0.9874     0.9880      0.9886   0.9892     0.9897   0.9902
                    58     0.9839     0.9848     0.9857     0.9864      0.9871   0.9877     0.9883   0.9889
                    59     0.9819     0.9829     0.9838     0.9846      0.9854   0.9861     0.9868   0.9874
                    60     0.9795     0.9806     0.9817     0.9826      0.9835   0.9843     0.9850   0.9857
                    61     0.9770     0.9782     0.9793     0.9804      0.9813   0.9822     0.9830   0.9838
                    62     0.9742     0.9755     0.9768     0.9779      0.9790   0.9800     0.9809   0.9817
                    63     0.9711     0.9726     0.9740     0.9753      0.9765   0.9775     0.9785   0.9795
                    64     0.9679     0.9696     0.9711     0.9725      0.9738   0.9750     0.9761   0.9771
                    65     0.9644     0.9662     0.9679     0.9695      0.9709   0.9722     0.9734   0.9746
                    66     0.9607     0.9627     0.9645     0.9662      0.9677   0.9692     0.9705   0.9718
                    67     0.9568     0.9589     0.9609     0.9628      0.9645   0.9661     0.9675   0.9689
                    68     0.9526     0.9550     0.9571     0.9592      0.9610   0.9628     0.9644   0.9659
                    69     0.9480     0.9505     0.9529     0.9552      0.9572   0.9591     0.9608   0.9625
                    70     0.9429     0.9457     0.9483     0.9508      0.9530   0.9551     0.9570   0.9588
                    71     0.9374     0.9405     0.9434     0.9460      0.9484   0.9507     0.9528   0.9548
                    72     0.9313     0.9347     0.9378     0.9407      0.9434   0.9458     0.9481   0.9503
                    73     0.9246     0.9282     0.9316     0.9348      0.9377   0.9404     0.9429   0.9453
                    74     0.9170     0.9210     0.9248     0.9282      0.9314   0.9343     0.9371   0.9396
                    75     0.9087     0.9131     0.9171     0.9209      0.9243   0.9275     0.9305   0.9333
                    76     0.8997     0.9045     0.9088     0.9129      0.9167   0.9202     0.9234   0.9265
                    77     0.8899     0.8950     0.8997     0.9041      0.9082   0.9120     0.9156   0.9189
                    78     0.8792     0.8847     0.8899     0.8946      0.8991   0.9032     0.9070   0.9106
                    79     0.8678     0.8737     0.8792     0.8844      0.8891   0.8936     0.8977   0.9017
                    80     0.8555     0.8618     0.8678     0.8733      0.8785   0.8833     0.8877   0.8920




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APPENDIX A-2. ADJUSTMENT FACTORS FOR THE JOINT AND 75% SURVIVING SPOUSE
              OPTION


Section 1.           The table below shall be used to calculate the Joint and 75% Surviving Spouse Option
                     form of payment if applicable.

                Spouse Age
  Retiree Age         28          29       30       31          32          33         34          35       36        37
           28     0.9738      0.9746   0.9754   0.9762      0.9770      0.9778     0.9785      0.9793   0.9801    0.9808
           29     0.9715      0.9724   0.9732   0.9741      0.9749      0.9758     0.9766      0.9774   0.9782    0.9790
           30     0.9691      0.9700   0.9709   0.9718      0.9727      0.9736     0.9745      0.9754   0.9762    0.9771
           31     0.9667      0.9676   0.9686   0.9695      0.9705      0.9714     0.9724      0.9733   0.9743    0.9752
           32     0.9641      0.9651   0.9661   0.9671      0.9681      0.9691     0.9701      0.9711   0.9721    0.9731
           33     0.9614      0.9624   0.9635   0.9645      0.9656      0.9667     0.9677      0.9688   0.9699    0.9709
           34     0.9585      0.9596   0.9607   0.9618      0.9629      0.9640     0.9652      0.9663   0.9674    0.9685
           35     0.9554      0.9565   0.9577   0.9589      0.9600      0.9612     0.9624      0.9636   0.9648    0.9660
           36     0.9521      0.9533   0.9545   0.9557      0.9569      0.9582     0.9594      0.9607   0.9620    0.9632
           37     0.9486      0.9498   0.9511   0.9523      0.9536      0.9549     0.9562      0.9576   0.9589    0.9602
           38     0.9448      0.9461   0.9474   0.9487      0.9501      0.9514     0.9528      0.9542   0.9556    0.9570
           39     0.9408      0.9421   0.9435   0.9448      0.9462      0.9477     0.9491      0.9506   0.9520    0.9535
           40     0.9365      0.9378   0.9392   0.9407      0.9421      0.9436     0.9451      0.9466   0.9482    0.9497
           41     0.9319      0.9333   0.9347   0.9362      0.9377      0.9392     0.9408      0.9424   0.9440    0.9457
           42     0.9270      0.9284   0.9299   0.9314      0.9330      0.9346     0.9362      0.9378   0.9395    0.9412
           43     0.9217      0.9232   0.9247   0.9263      0.9279      0.9295     0.9312      0.9329   0.9347    0.9365
           44     0.9161      0.9176   0.9192   0.9208      0.9224      0.9241     0.9259      0.9277   0.9295    0.9313
           45     0.9102      0.9117   0.9133   0.9149      0.9166      0.9184     0.9202      0.9220   0.9239    0.9258
           46     0.9038      0.9054   0.9070   0.9087      0.9104      0.9122     0.9141      0.9160   0.9179    0.9199
           47     0.8971      0.8987   0.9003   0.9020      0.9038      0.9057     0.9075      0.9095   0.9115    0.9135
           48     0.8899      0.8915   0.8932   0.8949      0.8968      0.8986     0.9006      0.9026   0.9046    0.9067
           49     0.8822      0.8839   0.8856   0.8874      0.8892      0.8911     0.8931      0.8951   0.8973    0.8994
           50     0.8741      0.8758   0.8775   0.8793      0.8812      0.8831     0.8851      0.8872   0.8894    0.8916
           51     0.8654      0.8671   0.8689   0.8707      0.8726      0.8746     0.8766      0.8788   0.8810    0.8832
           52     0.8563      0.8580   0.8598   0.8617      0.8636      0.8656     0.8677      0.8698   0.8721    0.8744
           53     0.8467      0.8484   0.8502   0.8521      0.8540      0.8560     0.8582      0.8603   0.8626    0.8650
           54     0.8365      0.8382   0.8400   0.8419      0.8439      0.8459     0.8481      0.8503   0.8526    0.8550
           55     0.8258      0.8275   0.8293   0.8312      0.8332      0.8353     0.8374      0.8397   0.8420    0.8444
           56     0.8146      0.8164   0.8182   0.8201      0.8221      0.8241     0.8263      0.8286   0.8309    0.8334
           57     0.8031      0.8048   0.8066   0.8085      0.8105      0.8126     0.8148      0.8171   0.8194    0.8219
           58     0.7910      0.7928   0.7946   0.7965      0.7985      0.8006     0.8028      0.8051   0.8075    0.8100
           59     0.7786      0.7803   0.7821   0.7840      0.7860      0.7881     0.7903      0.7926   0.7950    0.7975
           60     0.7656      0.7673   0.7691   0.7710      0.7730      0.7751     0.7773      0.7796   0.7820    0.7846
           61     0.7522      0.7539   0.7557   0.7576      0.7596      0.7617     0.7639      0.7662   0.7686    0.7711
           62     0.7384      0.7401   0.7419   0.7438      0.7458      0.7479     0.7501      0.7524   0.7548    0.7573
           63     0.7243      0.7260   0.7277   0.7296      0.7316      0.7336     0.7358      0.7381   0.7405    0.7430
           64     0.7098      0.7115   0.7133   0.7151      0.7171      0.7191     0.7213      0.7236   0.7260    0.7285
           65     0.6950      0.6967   0.6984   0.7002      0.7022      0.7042     0.7064      0.7086   0.7110    0.7135
           66     0.6798      0.6815   0.6832   0.6850      0.6869      0.6889     0.6911      0.6933   0.6957    0.6982
           67     0.6644      0.6661   0.6678   0.6696      0.6715      0.6735     0.6756      0.6778   0.6801    0.6826
           68     0.6487      0.6503   0.6520   0.6538      0.6557      0.6576     0.6597      0.6619   0.6642    0.6667
           69     0.6325      0.6341   0.6358   0.6375      0.6394      0.6413     0.6434      0.6456   0.6478    0.6502
           70     0.6160      0.6175   0.6191   0.6209      0.6227      0.6246     0.6266      0.6288   0.6310    0.6334
           71     0.5990      0.6006   0.6022   0.6039      0.6056      0.6075     0.6095      0.6116   0.6138    0.6162
           72     0.5816      0.5831   0.5847   0.5864      0.5881      0.5900     0.5919      0.5940   0.5962    0.5985
           73     0.5638      0.5653   0.5668   0.5684      0.5701      0.5720     0.5739      0.5759   0.5780    0.5803
           74     0.5455      0.5470   0.5485   0.5501      0.5517      0.5535     0.5554      0.5574   0.5595    0.5617
           75     0.5269      0.5283   0.5298   0.5313      0.5330      0.5347     0.5365      0.5384   0.5405    0.5426
           76     0.5081      0.5095   0.5109   0.5124      0.5140      0.5157     0.5175      0.5194   0.5214    0.5235
           77     0.4891      0.4904   0.4918   0.4932      0.4948      0.4964     0.4982      0.5000   0.5019    0.5040
           78     0.4700      0.4712   0.4726   0.4740      0.4755      0.4771     0.4788      0.4806   0.4824    0.4844
           79     0.4509      0.4521   0.4534   0.4548      0.4562      0.4578     0.4594      0.4611   0.4630    0.4649
           80     0.4318      0.4330   0.4343   0.4356      0.4370      0.4385     0.4401      0.4417   0.4435    0.4454


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              Spouse Age
Retiree Age         38          39       40       41          42          43         44          45       46        47
         28     0.9815      0.9822   0.9829   0.9835      0.9842      0.9848     0.9854      0.9860   0.9866    0.9871
         29     0.9798      0.9805   0.9813   0.9820      0.9827      0.9834     0.9840      0.9847   0.9853    0.9859
         30     0.9779      0.9787   0.9795   0.9803      0.9811      0.9818     0.9825      0.9832   0.9839    0.9846
         31     0.9761      0.9770   0.9778   0.9787      0.9795      0.9803     0.9811      0.9818   0.9826    0.9833
         32     0.9741      0.9750   0.9760   0.9769      0.9778      0.9787     0.9795      0.9803   0.9811    0.9819
         33     0.9720      0.9730   0.9740   0.9750      0.9759      0.9769     0.9778      0.9787   0.9796    0.9804
         34     0.9697      0.9707   0.9718   0.9729      0.9739      0.9750     0.9760      0.9769   0.9779    0.9788
         35     0.9672      0.9683   0.9695   0.9706      0.9718      0.9729     0.9740      0.9750   0.9761    0.9771
         36     0.9645      0.9657   0.9670   0.9682      0.9694      0.9706     0.9718      0.9729   0.9740    0.9751
         37     0.9616      0.9629   0.9642   0.9656      0.9668      0.9681     0.9694      0.9706   0.9718    0.9730
         38     0.9584      0.9599   0.9613   0.9627      0.9640      0.9654     0.9668      0.9681   0.9694    0.9707
         39     0.9550      0.9565   0.9580   0.9595      0.9610      0.9625     0.9639      0.9653   0.9668    0.9681
         40     0.9513      0.9529   0.9545   0.9561      0.9576      0.9592     0.9608      0.9623   0.9638    0.9653
         41     0.9473      0.9490   0.9506   0.9523      0.9540      0.9556     0.9573      0.9589   0.9606    0.9622
         42     0.9430      0.9447   0.9465   0.9482      0.9500      0.9518     0.9535      0.9553   0.9570    0.9587
         43     0.9383      0.9401   0.9419   0.9438      0.9457      0.9475     0.9494      0.9513   0.9531    0.9550
         44     0.9332      0.9351   0.9370   0.9390      0.9410      0.9429     0.9449      0.9469   0.9489    0.9508
         45     0.9278      0.9298   0.9318   0.9338      0.9359      0.9380     0.9400      0.9421   0.9442    0.9463
         46     0.9219      0.9240   0.9261   0.9282      0.9304      0.9326     0.9347      0.9370   0.9392    0.9414
         47     0.9156      0.9178   0.9200   0.9222      0.9244      0.9267     0.9290      0.9313   0.9337    0.9360
         48     0.9089      0.9111   0.9134   0.9157      0.9180      0.9204     0.9228      0.9252   0.9277    0.9301
         49     0.9016      0.9039   0.9063   0.9086      0.9111      0.9136     0.9161      0.9186   0.9212    0.9238
         50     0.8939      0.8962   0.8986   0.9011      0.9036      0.9062     0.9088      0.9115   0.9141    0.9169
         51     0.8856      0.8880   0.8905   0.8930      0.8956      0.8983     0.9010      0.9037   0.9065    0.9094
         52     0.8768      0.8792   0.8818   0.8844      0.8871      0.8898     0.8926      0.8955   0.8984    0.9013
         53     0.8674      0.8699   0.8725   0.8752      0.8780      0.8808     0.8837      0.8866   0.8896    0.8927
         54     0.8575      0.8601   0.8627   0.8654      0.8683      0.8712     0.8741      0.8772   0.8803    0.8835
         55     0.8470      0.8496   0.8523   0.8551      0.8579      0.8609     0.8640      0.8671   0.8703    0.8736
         56     0.8359      0.8386   0.8413   0.8442      0.8471      0.8502     0.8533      0.8565   0.8598    0.8632
         57     0.8245      0.8272   0.8300   0.8329      0.8359      0.8389     0.8421      0.8454   0.8488    0.8523
         58     0.8126      0.8153   0.8181   0.8210      0.8241      0.8272     0.8305      0.8338   0.8373    0.8408
         59     0.8001      0.8029   0.8057   0.8087      0.8118      0.8150     0.8183      0.8217   0.8252    0.8288
         60     0.7872      0.7900   0.7928   0.7958      0.7989      0.8022     0.8055      0.8090   0.8126    0.8163
         61     0.7738      0.7765   0.7794   0.7824      0.7856      0.7888     0.7922      0.7957   0.7994    0.8032
         62     0.7599      0.7627   0.7656   0.7686      0.7718      0.7751     0.7785      0.7821   0.7857    0.7896
         63     0.7457      0.7485   0.7514   0.7544      0.7576      0.7609     0.7643      0.7679   0.7716    0.7755
         64     0.7311      0.7339   0.7368   0.7398      0.7430      0.7463     0.7498      0.7534   0.7572    0.7611
         65     0.7162      0.7189   0.7218   0.7248      0.7280      0.7313     0.7348      0.7385   0.7422    0.7462
         66     0.7008      0.7035   0.7064   0.7094      0.7126      0.7159     0.7194      0.7231   0.7269    0.7308
         67     0.6852      0.6879   0.6908   0.6938      0.6970      0.7003     0.7038      0.7074   0.7112    0.7152
         68     0.6692      0.6719   0.6748   0.6778      0.6809      0.6842     0.6877      0.6913   0.6951    0.6991
         69     0.6528      0.6555   0.6583   0.6612      0.6644      0.6676     0.6711      0.6747   0.6785    0.6825
         70     0.6359      0.6386   0.6413   0.6443      0.6474      0.6506     0.6540      0.6576   0.6614    0.6654
         71     0.6187      0.6213   0.6240   0.6269      0.6300      0.6332     0.6366      0.6401   0.6439    0.6478
         72     0.6009      0.6035   0.6062   0.6090      0.6120      0.6152     0.6186      0.6221   0.6258    0.6297
         73     0.5827      0.5852   0.5878   0.5907      0.5936      0.5967     0.6000      0.6035   0.6072    0.6110
         74     0.5640      0.5665   0.5691   0.5718      0.5747      0.5778     0.5810      0.5845   0.5881    0.5919
         75     0.5449      0.5473   0.5499   0.5526      0.5554      0.5584     0.5616      0.5650   0.5685    0.5722
         76     0.5257      0.5280   0.5305   0.5331      0.5359      0.5389     0.5420      0.5453   0.5487    0.5524
         77     0.5061      0.5084   0.5108   0.5134      0.5161      0.5190     0.5220      0.5252   0.5286    0.5322
         78     0.4865      0.4888   0.4911   0.4936      0.4962      0.4990     0.5020      0.5051   0.5084    0.5119
         79     0.4669      0.4691   0.4713   0.4738      0.4763      0.4790     0.4819      0.4849   0.4882    0.4916
         80     0.4473      0.4494   0.4516   0.4540      0.4564      0.4591     0.4618      0.4648   0.4679    0.4712




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              Spouse Age
Retiree Age         48          49       50       51          52          53         54          55       56        57
         28     0.9876      0.9881   0.9886   0.9891      0.9895      0.9899     0.9904      0.9907   0.9911    0.9915
         29     0.9865      0.9870   0.9875   0.9881      0.9885      0.9890     0.9895      0.9899   0.9903    0.9907
         30     0.9852      0.9858   0.9864   0.9869      0.9875      0.9880     0.9885      0.9889   0.9894    0.9898
         31     0.9840      0.9846   0.9853   0.9859      0.9865      0.9871     0.9876      0.9881   0.9886    0.9891
         32     0.9827      0.9834   0.9841   0.9848      0.9854      0.9860     0.9866      0.9872   0.9878    0.9883
         33     0.9813      0.9821   0.9828   0.9836      0.9843      0.9850     0.9856      0.9862   0.9868    0.9874
         34     0.9797      0.9806   0.9814   0.9822      0.9830      0.9838     0.9845      0.9852   0.9859    0.9865
         35     0.9780      0.9790   0.9799   0.9808      0.9817      0.9825     0.9833      0.9840   0.9848    0.9855
         36     0.9762      0.9772   0.9782   0.9792      0.9802      0.9811     0.9819      0.9828   0.9836    0.9843
         37     0.9742      0.9753   0.9764   0.9775      0.9785      0.9795     0.9804      0.9814   0.9822    0.9831
         38     0.9720      0.9732   0.9744   0.9755      0.9767      0.9777     0.9788      0.9798   0.9808    0.9817
         39     0.9695      0.9708   0.9721   0.9734      0.9746      0.9758     0.9769      0.9780   0.9791    0.9801
         40     0.9668      0.9682   0.9696   0.9710      0.9723      0.9736     0.9749      0.9761   0.9772    0.9784
         41     0.9638      0.9653   0.9668   0.9683      0.9698      0.9712     0.9725      0.9739   0.9751    0.9764
         42     0.9604      0.9621   0.9637   0.9654      0.9669      0.9685     0.9699      0.9714   0.9728    0.9741
         43     0.9568      0.9586   0.9603   0.9621      0.9638      0.9654     0.9671      0.9686   0.9702    0.9716
         44     0.9528      0.9547   0.9566   0.9585      0.9603      0.9621     0.9638      0.9656   0.9672    0.9688
         45     0.9484      0.9504   0.9525   0.9545      0.9565      0.9584     0.9603      0.9621   0.9639    0.9657
         46     0.9436      0.9458   0.9479   0.9501      0.9522      0.9543     0.9564      0.9584   0.9603    0.9622
         47     0.9383      0.9407   0.9430   0.9453      0.9475      0.9498     0.9520      0.9542   0.9563    0.9583
         48     0.9326      0.9351   0.9375   0.9400      0.9424      0.9448     0.9472      0.9495   0.9518    0.9540
         49     0.9264      0.9290   0.9316   0.9342      0.9368      0.9393     0.9419      0.9444   0.9468    0.9492
         50     0.9196      0.9223   0.9251   0.9278      0.9306      0.9333     0.9360      0.9387   0.9413    0.9439
         51     0.9122      0.9151   0.9180   0.9209      0.9238      0.9267     0.9296      0.9324   0.9353    0.9380
         52     0.9043      0.9074   0.9104   0.9135      0.9165      0.9196     0.9226      0.9257   0.9287    0.9317
         53     0.8958      0.8990   0.9022   0.9054      0.9086      0.9118     0.9151      0.9183   0.9215    0.9246
         54     0.8867      0.8900   0.8933   0.8967      0.9000      0.9034     0.9068      0.9102   0.9136    0.9170
         55     0.8769      0.8803   0.8838   0.8873      0.8908      0.8944     0.8980      0.9015   0.9051    0.9087
         56     0.8666      0.8701   0.8737   0.8774      0.8810      0.8848     0.8885      0.8923   0.8960    0.8998
         57     0.8558      0.8595   0.8632   0.8669      0.8708      0.8746     0.8786      0.8825   0.8865    0.8904
         58     0.8445      0.8482   0.8520   0.8559      0.8599      0.8639     0.8680      0.8721   0.8763    0.8804
         59     0.8326      0.8364   0.8403   0.8444      0.8485      0.8526     0.8568      0.8611   0.8654    0.8698
         60     0.8201      0.8240   0.8281   0.8322      0.8364      0.8407     0.8451      0.8495   0.8540    0.8585
         61     0.8071      0.8111   0.8152   0.8194      0.8237      0.8282     0.8327      0.8373   0.8419    0.8466
         62     0.7935      0.7976   0.8018   0.8061      0.8106      0.8151     0.8198      0.8245   0.8293    0.8342
         63     0.7795      0.7837   0.7879   0.7924      0.7969      0.8015     0.8063      0.8112   0.8161    0.8212
         64     0.7652      0.7694   0.7737   0.7782      0.7828      0.7876     0.7924      0.7974   0.8025    0.8077
         65     0.7503      0.7545   0.7589   0.7635      0.7682      0.7730     0.7780      0.7831   0.7883    0.7936
         66     0.7349      0.7392   0.7437   0.7483      0.7530      0.7580     0.7630      0.7682   0.7735    0.7790
         67     0.7193      0.7236   0.7281   0.7328      0.7376      0.7426     0.7477      0.7530   0.7584    0.7640
         68     0.7033      0.7076   0.7121   0.7168      0.7217      0.7267     0.7319      0.7373   0.7428    0.7485
         69     0.6866      0.6910   0.6955   0.7002      0.7051      0.7102     0.7154      0.7209   0.7265    0.7322
         70     0.6695      0.6739   0.6784   0.6831      0.6880      0.6931     0.6984      0.7039   0.7095    0.7154
         71     0.6519      0.6563   0.6608   0.6655      0.6704      0.6755     0.6809      0.6864   0.6921    0.6980
         72     0.6338      0.6381   0.6426   0.6473      0.6522      0.6573     0.6627      0.6682   0.6739    0.6799
         73     0.6151      0.6194   0.6238   0.6285      0.6334      0.6385     0.6438      0.6494   0.6551    0.6611
         74     0.5959      0.6001   0.6045   0.6092      0.6140      0.6191     0.6244      0.6299   0.6357    0.6416
         75     0.5762      0.5803   0.5847   0.5893      0.5941      0.5992     0.6044      0.6099   0.6156    0.6216
         76     0.5563      0.5604   0.5647   0.5692      0.5739      0.5789     0.5841      0.5896   0.5953    0.6012
         77     0.5360      0.5400   0.5442   0.5487      0.5534      0.5583     0.5634      0.5688   0.5744    0.5803
         78     0.5156      0.5195   0.5237   0.5280      0.5326      0.5375     0.5425      0.5478   0.5534    0.5592
         79     0.4952      0.4990   0.5031   0.5073      0.5118      0.5165     0.5215      0.5267   0.5322    0.5379
         80     0.4747      0.4785   0.4824   0.4866      0.4910      0.4956     0.5005      0.5056   0.5109    0.5166




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              Spouse Age
Retiree Age         58          59       60       61          62          63         64          65       66        67
         28     0.9918      0.9921   0.9925   0.9928      0.9931      0.9933     0.9936      0.9939   0.9941    0.9944
         29     0.9911      0.9914   0.9918   0.9921      0.9924      0.9927     0.9930      0.9933   0.9936    0.9938
         30     0.9902      0.9906   0.9910   0.9914      0.9917      0.9920     0.9924      0.9927   0.9930    0.9932
         31     0.9895      0.9900   0.9904   0.9908      0.9911      0.9915     0.9918      0.9922   0.9925    0.9928
         32     0.9888      0.9893   0.9897   0.9901      0.9905      0.9909     0.9913      0.9917   0.9920    0.9923
         33     0.9880      0.9885   0.9890   0.9895      0.9899      0.9903     0.9908      0.9911   0.9915    0.9919
         34     0.9871      0.9877   0.9882   0.9887      0.9892      0.9897     0.9902      0.9906   0.9910    0.9914
         35     0.9861      0.9868   0.9874   0.9879      0.9885      0.9890     0.9895      0.9900   0.9904    0.9909
         36     0.9851      0.9858   0.9864   0.9871      0.9877      0.9883     0.9888      0.9893   0.9898    0.9903
         37     0.9839      0.9847   0.9854   0.9861      0.9868      0.9874     0.9880      0.9886   0.9891    0.9897
         38     0.9826      0.9834   0.9843   0.9850      0.9858      0.9865     0.9871      0.9878   0.9884    0.9890
         39     0.9811      0.9821   0.9830   0.9838      0.9846      0.9854     0.9862      0.9869   0.9875    0.9882
         40     0.9794      0.9805   0.9815   0.9824      0.9833      0.9842     0.9850      0.9858   0.9865    0.9872
         41     0.9776      0.9787   0.9798   0.9808      0.9818      0.9828     0.9837      0.9846   0.9854    0.9862
         42     0.9754      0.9767   0.9779   0.9791      0.9802      0.9812     0.9822      0.9832   0.9841    0.9850
         43     0.9731      0.9744   0.9758   0.9770      0.9783      0.9794     0.9805      0.9816   0.9826    0.9836
         44     0.9704      0.9719   0.9734   0.9748      0.9761      0.9774     0.9786      0.9798   0.9809    0.9820
         45     0.9674      0.9691   0.9707   0.9722      0.9737      0.9751     0.9764      0.9778   0.9790    0.9802
         46     0.9641      0.9659   0.9676   0.9693      0.9709      0.9725     0.9740      0.9754   0.9768    0.9781
         47     0.9604      0.9623   0.9642   0.9661      0.9678      0.9696     0.9712      0.9728   0.9743    0.9758
         48     0.9562      0.9583   0.9604   0.9624      0.9644      0.9662     0.9681      0.9698   0.9715    0.9731
         49     0.9516      0.9539   0.9562   0.9583      0.9605      0.9625     0.9645      0.9664   0.9683    0.9700
         50     0.9465      0.9490   0.9514   0.9538      0.9561      0.9583     0.9605      0.9626   0.9646    0.9665
         51     0.9408      0.9435   0.9461   0.9487      0.9512      0.9536     0.9560      0.9582   0.9605    0.9626
         52     0.9346      0.9375   0.9403   0.9431      0.9458      0.9484     0.9510      0.9535   0.9559    0.9582
         53     0.9278      0.9309   0.9339   0.9369      0.9398      0.9427     0.9455      0.9482   0.9508    0.9533
         54     0.9203      0.9236   0.9269   0.9301      0.9332      0.9363     0.9393      0.9423   0.9451    0.9479
         55     0.9122      0.9158   0.9192   0.9227      0.9260      0.9293     0.9326      0.9357   0.9388    0.9418
         56     0.9036      0.9073   0.9110   0.9146      0.9182      0.9218     0.9253      0.9287   0.9320    0.9353
         57     0.8944      0.8983   0.9022   0.9061      0.9100      0.9138     0.9175      0.9211   0.9247    0.9282
         58     0.8846      0.8887   0.8929   0.8970      0.9011      0.9051     0.9091      0.9130   0.9169    0.9206
         59     0.8742      0.8785   0.8829   0.8873      0.8916      0.8959     0.9001      0.9043   0.9084    0.9124
         60     0.8631      0.8677   0.8723   0.8768      0.8814      0.8859     0.8904      0.8949   0.8993    0.9036
         61     0.8514      0.8562   0.8610   0.8658      0.8706      0.8754     0.8801      0.8848   0.8895    0.8941
         62     0.8391      0.8441   0.8491   0.8541      0.8592      0.8642     0.8692      0.8742   0.8791    0.8840
         63     0.8263      0.8314   0.8367   0.8419      0.8472      0.8524     0.8577      0.8630   0.8682    0.8734
         64     0.8130      0.8183   0.8237   0.8292      0.8347      0.8402     0.8457      0.8512   0.8567    0.8622
         65     0.7990      0.8046   0.8101   0.8158      0.8215      0.8272     0.8330      0.8388   0.8446    0.8503
         66     0.7846      0.7902   0.7960   0.8018      0.8077      0.8137     0.8197      0.8257   0.8318    0.8378
         67     0.7697      0.7755   0.7814   0.7874      0.7935      0.7997     0.8059      0.8122   0.8185    0.8248
         68     0.7543      0.7602   0.7663   0.7724      0.7787      0.7851     0.7915      0.7980   0.8046    0.8112
         69     0.7381      0.7442   0.7504   0.7567      0.7631      0.7697     0.7763      0.7830   0.7898    0.7967
         70     0.7214      0.7275   0.7339   0.7403      0.7469      0.7536     0.7604      0.7673   0.7743    0.7814
         71     0.7040      0.7103   0.7167   0.7232      0.7299      0.7368     0.7438      0.7509   0.7581    0.7654
         72     0.6860      0.6923   0.6988   0.7054      0.7122      0.7192     0.7263      0.7336   0.7410    0.7485
         73     0.6672      0.6736   0.6801   0.6868      0.6937      0.7008     0.7080      0.7154   0.7230    0.7307
         74     0.6478      0.6542   0.6607   0.6675      0.6745      0.6816     0.6890      0.6965   0.7042    0.7120
         75     0.6277      0.6341   0.6407   0.6475      0.6545      0.6617     0.6691      0.6767   0.6845    0.6925
         76     0.6073      0.6137   0.6203   0.6271      0.6341      0.6413     0.6488      0.6564   0.6643    0.6724
         77     0.5864      0.5927   0.5993   0.6061      0.6131      0.6203     0.6278      0.6355   0.6434    0.6516
         78     0.5652      0.5715   0.5780   0.5848      0.5918      0.5990     0.6064      0.6141   0.6221    0.6303
         79     0.5439      0.5501   0.5566   0.5633      0.5702      0.5774     0.5848      0.5925   0.6004    0.6086
         80     0.5224      0.5286   0.5349   0.5416      0.5484      0.5555     0.5629      0.5705   0.5784    0.5866




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              Spouse Age
Retiree Age         68          69       70       71          72          73         74          75       76        77
         28     0.9946      0.9948   0.9951   0.9953      0.9955      0.9957     0.9959      0.9961   0.9963    0.9965
         29     0.9941      0.9943   0.9946   0.9948      0.9950      0.9952     0.9955      0.9957   0.9959    0.9961
         30     0.9935      0.9938   0.9940   0.9943      0.9945      0.9947     0.9950      0.9952   0.9954    0.9956
         31     0.9931      0.9934   0.9936   0.9939      0.9942      0.9944     0.9947      0.9949   0.9951    0.9953
         32     0.9927      0.9930   0.9933   0.9935      0.9938      0.9941     0.9943      0.9946   0.9948    0.9951
         33     0.9922      0.9925   0.9929   0.9932      0.9935      0.9937     0.9940      0.9943   0.9945    0.9948
         34     0.9918      0.9921   0.9924   0.9928      0.9931      0.9934     0.9937      0.9940   0.9942    0.9945
         35     0.9913      0.9916   0.9920   0.9924      0.9927      0.9930     0.9934      0.9937   0.9939    0.9942
         36     0.9907      0.9912   0.9916   0.9919      0.9923      0.9927     0.9930      0.9933   0.9936    0.9939
         37     0.9901      0.9906   0.9911   0.9915      0.9919      0.9923     0.9926      0.9930   0.9933    0.9936
         38     0.9895      0.9900   0.9905   0.9910      0.9914      0.9918     0.9922      0.9926   0.9930    0.9933
         39     0.9888      0.9893   0.9899   0.9904      0.9909      0.9913     0.9918      0.9922   0.9926    0.9930
         40     0.9879      0.9885   0.9891   0.9897      0.9902      0.9908     0.9912      0.9917   0.9921    0.9925
         41     0.9869      0.9876   0.9883   0.9889      0.9895      0.9901     0.9906      0.9911   0.9916    0.9921
         42     0.9858      0.9866   0.9873   0.9880      0.9887      0.9893     0.9899      0.9905   0.9910    0.9915
         43     0.9845      0.9854   0.9862   0.9870      0.9877      0.9884     0.9891      0.9897   0.9903    0.9909
         44     0.9830      0.9840   0.9849   0.9858      0.9866      0.9874     0.9881      0.9888   0.9895    0.9901
         45     0.9813      0.9824   0.9834   0.9844      0.9853      0.9862     0.9870      0.9878   0.9885    0.9892
         46     0.9794      0.9806   0.9817   0.9828      0.9838      0.9848     0.9857      0.9866   0.9874    0.9882
         47     0.9772      0.9785   0.9798   0.9810      0.9821      0.9832     0.9843      0.9852   0.9862    0.9870
         48     0.9746      0.9761   0.9775   0.9789      0.9801      0.9814     0.9825      0.9836   0.9847    0.9856
         49     0.9717      0.9734   0.9749   0.9764      0.9778      0.9792     0.9805      0.9817   0.9829    0.9840
         50     0.9684      0.9702   0.9720   0.9736      0.9752      0.9767     0.9781      0.9795   0.9808    0.9821
         51     0.9647      0.9666   0.9686   0.9704      0.9721      0.9738     0.9754      0.9770   0.9784    0.9798
         52     0.9605      0.9627   0.9648   0.9668      0.9687      0.9706     0.9724      0.9741   0.9757    0.9772
         53     0.9558      0.9582   0.9605   0.9627      0.9649      0.9669     0.9689      0.9708   0.9726    0.9743
         54     0.9506      0.9532   0.9557   0.9581      0.9605      0.9628     0.9649      0.9670   0.9690    0.9709
         55     0.9448      0.9476   0.9504   0.9530      0.9556      0.9581     0.9605      0.9628   0.9650    0.9671
         56     0.9384      0.9415   0.9445   0.9474      0.9502      0.9530     0.9556      0.9581   0.9605    0.9629
         57     0.9317      0.9350   0.9383   0.9414      0.9445      0.9475     0.9503      0.9531   0.9558    0.9583
         58     0.9243      0.9279   0.9315   0.9349      0.9382      0.9414     0.9446      0.9476   0.9505    0.9533
         59     0.9164      0.9203   0.9241   0.9278      0.9314      0.9349     0.9383      0.9416   0.9448    0.9479
         60     0.9079      0.9120   0.9161   0.9201      0.9240      0.9278     0.9315      0.9351   0.9386    0.9419
         61     0.8987      0.9031   0.9075   0.9118      0.9160      0.9201     0.9241      0.9280   0.9318    0.9354
         62     0.8889      0.8937   0.8984   0.9030      0.9075      0.9119     0.9162      0.9204   0.9245    0.9285
         63     0.8785      0.8836   0.8886   0.8935      0.8984      0.9031     0.9078      0.9123   0.9167    0.9210
         64     0.8676      0.8730   0.8784   0.8836      0.8888      0.8939     0.8989      0.9037   0.9085    0.9131
         65     0.8561      0.8618   0.8674   0.8730      0.8785      0.8840     0.8893      0.8946   0.8997    0.9047
         66     0.8439      0.8499   0.8559   0.8618      0.8677      0.8734     0.8792      0.8848   0.8903    0.8956
         67     0.8312      0.8375   0.8438   0.8501      0.8563      0.8625     0.8685      0.8745   0.8804    0.8862
         68     0.8178      0.8244   0.8311   0.8377      0.8443      0.8508     0.8572      0.8636   0.8699    0.8761
         69     0.8036      0.8105   0.8175   0.8244      0.8313      0.8382     0.8451      0.8519   0.8586    0.8652
         70     0.7886      0.7958   0.8031   0.8103      0.8176      0.8249     0.8321      0.8393   0.8464    0.8534
         71     0.7728      0.7803   0.7879   0.7954      0.8031      0.8107     0.8183      0.8259   0.8334    0.8409
         72     0.7561      0.7639   0.7717   0.7796      0.7875      0.7955     0.8035      0.8115   0.8194    0.8273
         73     0.7385      0.7465   0.7546   0.7627      0.7710      0.7793     0.7877      0.7960   0.8044    0.8127
         74     0.7200      0.7282   0.7365   0.7449      0.7534      0.7621     0.7708      0.7795   0.7883    0.7970
         75     0.7006      0.7090   0.7175   0.7261      0.7349      0.7438     0.7528      0.7619   0.7711    0.7802
         76     0.6807      0.6891   0.6978   0.7067      0.7157      0.7248     0.7341      0.7436   0.7530    0.7626
         77     0.6599      0.6685   0.6773   0.6863      0.6955      0.7049     0.7145      0.7242   0.7340    0.7439
         78     0.6387      0.6473   0.6562   0.6654      0.6747      0.6843     0.6941      0.7041   0.7142    0.7244
         79     0.6170      0.6257   0.6347   0.6439      0.6534      0.6631     0.6731      0.6833   0.6936    0.7042
         80     0.5950      0.6037   0.6127   0.6220      0.6315      0.6414     0.6515      0.6618   0.6724    0.6832




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              Spouse Age
Retiree Age         78          79       80       81          82          83         84          85       86        87
         28     0.9967      0.9968   0.9970   0.9972      0.9973      0.9975     0.9976      0.9978   0.9979    0.9980
         29     0.9963      0.9965   0.9966   0.9968      0.9970      0.9971     0.9973      0.9974   0.9976    0.9977
         30     0.9958      0.9960   0.9962   0.9964      0.9966      0.9968     0.9969      0.9971   0.9972    0.9974
         31     0.9956      0.9958   0.9960   0.9962      0.9964      0.9965     0.9967      0.9969   0.9970    0.9972
         32     0.9953      0.9955   0.9957   0.9959      0.9961      0.9963     0.9965      0.9967   0.9968    0.9970
         33     0.9950      0.9953   0.9955   0.9957      0.9959      0.9961     0.9963      0.9965   0.9966    0.9968
         34     0.9948      0.9950   0.9952   0.9955      0.9957      0.9959     0.9961      0.9963   0.9965    0.9966
         35     0.9945      0.9948   0.9950   0.9952      0.9955      0.9957     0.9959      0.9961   0.9963    0.9965
         36     0.9942      0.9945   0.9948   0.9950      0.9953      0.9955     0.9957      0.9959   0.9961    0.9963
         37     0.9940      0.9942   0.9945   0.9948      0.9951      0.9953     0.9955      0.9958   0.9960    0.9962
         38     0.9937      0.9940   0.9943   0.9946      0.9948      0.9951     0.9953      0.9956   0.9958    0.9960
         39     0.9933      0.9937   0.9940   0.9943      0.9946      0.9949     0.9951      0.9954   0.9956    0.9958
         40     0.9929      0.9933   0.9937   0.9940      0.9943      0.9946     0.9949      0.9952   0.9954    0.9956
         41     0.9925      0.9929   0.9933   0.9936      0.9940      0.9943     0.9946      0.9949   0.9952    0.9954
         42     0.9920      0.9924   0.9928   0.9932      0.9936      0.9940     0.9943      0.9946   0.9949    0.9952
         43     0.9914      0.9919   0.9923   0.9928      0.9932      0.9936     0.9939      0.9943   0.9946    0.9949
         44     0.9907      0.9912   0.9918   0.9922      0.9927      0.9931     0.9935      0.9939   0.9942    0.9945
         45     0.9899      0.9905   0.9911   0.9916      0.9921      0.9926     0.9930      0.9934   0.9938    0.9941
         46     0.9890      0.9896   0.9903   0.9909      0.9914      0.9920     0.9925      0.9929   0.9933    0.9937
         47     0.9879      0.9886   0.9893   0.9900      0.9906      0.9912     0.9918      0.9923   0.9927    0.9932
         48     0.9866      0.9874   0.9882   0.9890      0.9897      0.9904     0.9910      0.9915   0.9920    0.9925
         49     0.9850      0.9860   0.9869   0.9878      0.9886      0.9893     0.9900      0.9906   0.9912    0.9917
         50     0.9832      0.9843   0.9853   0.9863      0.9872      0.9880     0.9888      0.9895   0.9902    0.9908
         51     0.9811      0.9823   0.9835   0.9846      0.9856      0.9865     0.9874      0.9882   0.9889    0.9896
         52     0.9787      0.9801   0.9814   0.9826      0.9837      0.9848     0.9858      0.9867   0.9875    0.9883
         53     0.9759      0.9775   0.9789   0.9803      0.9816      0.9828     0.9839      0.9849   0.9859    0.9867
         54     0.9727      0.9744   0.9761   0.9776      0.9791      0.9804     0.9817      0.9828   0.9839    0.9849
         55     0.9691      0.9710   0.9728   0.9745      0.9761      0.9777     0.9791      0.9804   0.9816    0.9827
         56     0.9651      0.9672   0.9692   0.9711      0.9729      0.9746     0.9762      0.9776   0.9790    0.9802
         57     0.9608      0.9631   0.9653   0.9674      0.9694      0.9713     0.9731      0.9747   0.9762    0.9776
         58     0.9560      0.9586   0.9610   0.9634      0.9656      0.9677     0.9696      0.9714   0.9731    0.9747
         59     0.9508      0.9537   0.9564   0.9589      0.9614      0.9637     0.9658      0.9678   0.9697    0.9714
         60     0.9451      0.9482   0.9512   0.9540      0.9567      0.9592     0.9616      0.9639   0.9659    0.9678
         61     0.9389      0.9423   0.9456   0.9487      0.9516      0.9544     0.9570      0.9595   0.9617    0.9639
         62     0.9323      0.9360   0.9395   0.9429      0.9461      0.9491     0.9520      0.9547   0.9572    0.9596
         63     0.9251      0.9291   0.9330   0.9367      0.9402      0.9435     0.9466      0.9496   0.9524    0.9549
         64     0.9176      0.9219   0.9261   0.9301      0.9339      0.9376     0.9410      0.9442   0.9472    0.9500
         65     0.9095      0.9142   0.9187   0.9230      0.9272      0.9311     0.9349      0.9384   0.9417    0.9447
         66     0.9008      0.9059   0.9108   0.9155      0.9200      0.9242     0.9283      0.9321   0.9357    0.9390
         67     0.8918      0.8972   0.9025   0.9076      0.9124      0.9171     0.9215      0.9256   0.9295    0.9332
         68     0.8821      0.8879   0.8936   0.8991      0.9044      0.9094     0.9142      0.9187   0.9229    0.9268
         69     0.8716      0.8779   0.8840   0.8899      0.8956      0.9010     0.9062      0.9110   0.9156    0.9199
         70     0.8603      0.8670   0.8736   0.8799      0.8860      0.8919     0.8975      0.9028   0.9077    0.9124
         71     0.8482      0.8554   0.8624   0.8692      0.8758      0.8821     0.8881      0.8939   0.8992    0.9043
         72     0.8351      0.8428   0.8503   0.8575      0.8646      0.8714     0.8779      0.8840   0.8899    0.8953
         73     0.8210      0.8291   0.8371   0.8448      0.8524      0.8597     0.8666      0.8733   0.8796    0.8854
         74     0.8057      0.8143   0.8228   0.8310      0.8391      0.8469     0.8544      0.8615   0.8682    0.8746
         75     0.7893      0.7984   0.8073   0.8161      0.8247      0.8330     0.8410      0.8486   0.8558    0.8627
         76     0.7721      0.7816   0.7910   0.8003      0.8094      0.8182     0.8267      0.8349   0.8426    0.8499
         77     0.7538      0.7638   0.7736   0.7834      0.7930      0.8023     0.8113      0.8200   0.8282    0.8361
         78     0.7347      0.7450   0.7554   0.7656      0.7756      0.7855     0.7950      0.8042   0.8130    0.8213
         79     0.7148      0.7255   0.7362   0.7469      0.7574      0.7677     0.7778      0.7875   0.7968    0.8056
         80     0.6942      0.7052   0.7163   0.7274      0.7383      0.7491     0.7597      0.7699   0.7797    0.7890




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                          Spouse Age
            Retiree Age         88         89       90          91          92         93          94       95
                     28     0.9981     0.9982   0.9983      0.9984      0.9985     0.9985      0.9986   0.9987
                     29     0.9978     0.9979   0.9980      0.9981      0.9982     0.9983      0.9984   0.9985
                     30     0.9975     0.9976   0.9977      0.9978      0.9979     0.9980      0.9981   0.9982
                     31     0.9973     0.9974   0.9975      0.9977      0.9978     0.9978      0.9979   0.9980
                     32     0.9971     0.9973   0.9974      0.9975      0.9976     0.9977      0.9978   0.9979
                     33     0.9970     0.9971   0.9972      0.9973      0.9974     0.9976      0.9976   0.9977
                     34     0.9968     0.9969   0.9971      0.9972      0.9973     0.9974      0.9975   0.9976
                     35     0.9966     0.9968   0.9969      0.9971      0.9972     0.9973      0.9974   0.9975
                     36     0.9965     0.9966   0.9968      0.9969      0.9970     0.9972      0.9973   0.9974
                     37     0.9963     0.9965   0.9967      0.9968      0.9969     0.9971      0.9972   0.9973
                     38     0.9962     0.9964   0.9965      0.9967      0.9968     0.9969      0.9971   0.9972
                     39     0.9960     0.9962   0.9964      0.9965      0.9967     0.9968      0.9969   0.9971
                     40     0.9958     0.9960   0.9962      0.9964      0.9965     0.9967      0.9968   0.9969
                     41     0.9956     0.9958   0.9960      0.9962      0.9964     0.9965      0.9967   0.9968
                     42     0.9954     0.9956   0.9958      0.9960      0.9962     0.9963      0.9965   0.9966
                     43     0.9951     0.9954   0.9956      0.9958      0.9960     0.9962      0.9963   0.9965
                     44     0.9948     0.9951   0.9953      0.9955      0.9957     0.9959      0.9961   0.9963
                     45     0.9944     0.9947   0.9950      0.9952      0.9955     0.9957      0.9959   0.9960
                     46     0.9940     0.9944   0.9946      0.9949      0.9952     0.9954      0.9956   0.9958
                     47     0.9935     0.9939   0.9942      0.9945      0.9948     0.9950      0.9953   0.9955
                     48     0.9929     0.9933   0.9937      0.9940      0.9943     0.9946      0.9949   0.9951
                     49     0.9922     0.9927   0.9931      0.9934      0.9938     0.9941      0.9944   0.9946
                     50     0.9913     0.9918   0.9923      0.9927      0.9931     0.9934      0.9938   0.9941
                     51     0.9903     0.9908   0.9913      0.9918      0.9922     0.9926      0.9930   0.9933
                     52     0.9890     0.9897   0.9902      0.9908      0.9913     0.9917      0.9921   0.9925
                     53     0.9875     0.9883   0.9889      0.9895      0.9901     0.9906      0.9911   0.9915
                     54     0.9858     0.9866   0.9874      0.9881      0.9887     0.9893      0.9898   0.9903
                     55     0.9837     0.9846   0.9855      0.9863      0.9870     0.9876      0.9883   0.9888
                     56     0.9814     0.9824   0.9834      0.9843      0.9851     0.9858      0.9865   0.9872
                     57     0.9789     0.9801   0.9812      0.9821      0.9831     0.9839      0.9847   0.9854
                     58     0.9761     0.9774   0.9786      0.9798      0.9808     0.9817      0.9826   0.9834
                     59     0.9730     0.9745   0.9759      0.9771      0.9782     0.9793      0.9803   0.9812
                     60     0.9696     0.9713   0.9728      0.9741      0.9754     0.9766      0.9777   0.9787
                     61     0.9658     0.9676   0.9693      0.9708      0.9722     0.9735      0.9748   0.9759
                     62     0.9617     0.9637   0.9656      0.9673      0.9688     0.9703      0.9716   0.9728
                     63     0.9573     0.9595   0.9615      0.9634      0.9651     0.9667      0.9682   0.9695
                     64     0.9526     0.9550   0.9573      0.9593      0.9612     0.9630      0.9646   0.9661
                     65     0.9476     0.9502   0.9526      0.9549      0.9570     0.9589      0.9607   0.9623
                     66     0.9421     0.9450   0.9477      0.9501      0.9524     0.9545      0.9564   0.9582
                     67     0.9365     0.9397   0.9425      0.9452      0.9477     0.9500      0.9521   0.9541
                     68     0.9305     0.9339   0.9371      0.9400      0.9427     0.9452      0.9475   0.9497
                     69     0.9239     0.9276   0.9310      0.9342      0.9371     0.9399      0.9424   0.9448
                     70     0.9167     0.9207   0.9245      0.9279      0.9311     0.9341      0.9368   0.9394
                     71     0.9090     0.9133   0.9174      0.9211      0.9246     0.9278      0.9308   0.9336
                     72     0.9004     0.9051   0.9095      0.9136      0.9174     0.9209      0.9242   0.9272
                     73     0.8909     0.8961   0.9008      0.9053      0.9094     0.9132      0.9167   0.9201
                     74     0.8805     0.8861   0.8912      0.8960      0.9005     0.9046      0.9085   0.9121
                     75     0.8691     0.8751   0.8806      0.8858      0.8906     0.8951      0.8993   0.9032
                     76     0.8568     0.8632   0.8692      0.8748      0.8800     0.8849      0.8894   0.8937
                     77     0.8434     0.8503   0.8568      0.8628      0.8684     0.8736      0.8785   0.8831
                     78     0.8291     0.8365   0.8434      0.8498      0.8559     0.8615      0.8667   0.8717
                     79     0.8139     0.8218   0.8291      0.8360      0.8425     0.8485      0.8541   0.8594
                     80     0.7978     0.8062   0.8140      0.8213      0.8281     0.8345      0.8405   0.8462




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APPENDIX B.           BENEFIT CLAIMS AND APPEALS PROCEDURES


Section 1.         CLAIMS FOR BENEFITS

             (a)   All benefit claims must be filed in writing and submitted on claim forms authorized by the
                   Pension Fund (“Fund”). Claim forms may be obtained from any local union or from the
                   Fund.

             (b)   To provide sufficient time for processing a claim for retirement pension benefits, a
                   Participant should file a claim form with the Fund at least 6 months before his Retirement
                   Date. An individual making a claim for death benefits or disability benefits should file a
                   claim form as promptly as possible after the death or disability occurs. See the Benefits
                   Claim Filing Procedures in Section 7.14 of this Pension Plan.

             (c)   The Fund, upon its receipt of a written benefit claim form, shall notify the claimant of the
                   Fund’s benefit determination within a reasonable period of time and, if a claim is wholly
                   or partially denied, not later than 90 days after the Fund receives the claim, provided
                   that this period may be extended for as much as an additional 90 days if the Fund
                   determines that such an extension is necessary due to special circumstances and
                   notifies the claimant, prior to the expiration of the initial 90-day period, of the
                   circumstances requiring the extension of time and the date by which the Fund expects
                   to render the benefit determination. If such an extension is necessary due to a failure of
                   the claimant to submit information necessary to decide the claim, the notice of extension
                   shall specifically describe the required information, and the claimant shall be afforded at
                   least 45 days from receipt of the notice within which to provide the specified information.

             (d)   In the event that a time period for notice of any benefit determination by the Fund is
                   extended to allow the claimant to submit information necessary to decide the claim, the
                   time period for making the benefit determination and providing related notice shall be
                   tolled (i.e., not counted) from the date on which the notification of the extension is sent
                   to the claimant until the date on which the claimant responds to the request for additional
                   information.

             (e)   Notice of any adverse benefit determination pursuant to this Section shall be provided
                   in accordance with Section 2 of this APPENDIX B.

Section 2.         NOTICE OF ADVERSE BENEFIT DETERMINATIONS

             (a)   Whenever an adverse benefit determination (as defined in Section 2[b]) is made by the
                   Fund, the Fund shall provide the claimant with written (or electronic) notice of the
                   determination that shall include statements, in a manner calculated to be understood by
                   the claimant, of the following:

                   (1)    the specific reason or reasons for each adverse benefit determination;

                   (2)    references to the specific provisions of this Pension Plan on which each adverse
                          benefit determination is based;

                   (3)    a description of any additional material or information necessary for the claimant
                          to perfect the claim and an explanation of why such material or information is
                          necessary; and

                   (4)    a description of the Fund’s appellate review procedures and the time limitations
                          applicable to those procedures, including a statement of the claimant’s right to
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                          bring a civil action pursuant to Section 502 of the Employee Retirement Income
                          Security Act following an adverse benefit determination at the end of appellate
                          review by the Fund.

             (b)   An “adverse benefit determination”, for all purposes of this APPENDIX B, means any of
                   the following: a denial, reduction or termination of, or a failure to provide or make
                   payment (in whole or in part) for, a benefit, including any such denial, reduction,
                   termination or failure to provide or make payment that is based on any exclusion or any
                   limitation of this Pension Plan as applied to a claim for benefits, or that is based on a
                   determination relative to the question of the claimant’s or any other individual’s eligibility.

Section 3.         PROCEDURES DURING               APPELLATE         REVIEW       OF    ADVERSE        BENEFIT
                   DETERMINATIONS

             (a)   Whenever an adverse benefit determination is made by the Fund, there are two available
                   stages of the Fund’s appellate review of the determination, the first stage of which is
                   conducted by the Benefits Claim Appeals Committee and the second stage of which is
                   conducted by the Trustee Appellate Review Committee. The Benefits Claim Appeals
                   Committee shall be composed of one or more employees of the Fund appointed to that
                   position by the Executive Director of the Fund, provided that the Executive Director
                   retains the authority to terminate any such appointment at any time.

             (b)   All authority and responsibilities of the Fund’s Board of Trustees with respect to appellate
                   review of adverse benefit determinations is delegated to a committee of Trustees
                   designated as the Trustee Appellate Review Committee.

             (c)   The following procedures shall govern the operations of the Trustee Appellate Review
                   Committee:

                   (1)    a quorum of the Trustees at any meeting of the Trustee Appellate Review
                          Committee, for the conduct of its business and for all benefit determinations on
                          review by that committee, shall be at least one Employer Trustee and at least one
                          Employee Trustee (all Trustee members of the Board of Trustees are and shall be
                          de facto members of the Trustee Appellate Review Committee);

                   (2)    for each matter voted upon at any meeting of the Trustee Appellate Review
                          Committee, the Employee Trustees and the Employer Trustees shall each have
                          the same number of votes based upon the larger number (of Employee Trustees
                          or Employer Trustees) in attendance, provided that each vote shall be cast as the
                          vote of an individual Trustee and not as part of a block, and each determination by
                          the Trustee Appellate Review Committee shall be based upon a majority vote of
                          those present and voting;

                   (3)    the meetings of the Trustee Appellate Review Committee shall be monthly
                          according to a schedule approved by the Trustees;

                   (4)    the Trustees who attend and participate in any meeting of the Trustee Appellate
                          Review Committee shall be vested, relative to all appellate review of adverse
                          benefit determinations, with all authority and responsibilities of the Board of
                          Trustees established by the Fund’s benefit plan documents, as heretofore and
                          hereafter amended, including discretionary and final authority in making
                          determinations during all such appellate review;

                   (5)    the Trustees who attend and participate in any meeting of the Trustee Appellate
                          Review Committee shall, in the same meeting, constitute and make decisions of
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                          the Special Hardship Appeal Committee (which decisions shall be recorded in the
                          minutes of the meeting of the Trustee Appellate Review Committee), pursuant to
                          Section 6(f) of APPENDIX B of the Pension Plan; and

                   (6)    the records of monthly meetings of the Trustee Appellate Review Committee, and
                          of its determinations during appellate review, shall be regularly kept and
                          maintained with records of meetings of the Board of Trustees.

             (d)   At all stages of appellate review of any adverse benefit determination, the following
                   procedures shall be enforced:

                   (1)    the claimant shall be provided an opportunity to submit written comments,
                          documents, records and other information relating to the claim for benefits;

                   (2)    the claimant shall be provided, upon request and free of charge, reasonable
                          access to, and copies of, all documents, records and other information possessed
                          by the Fund and relevant to the claimant’s claim for benefits;

                   (3)    the appellate review shall take into account all comments, documents, records and
                          other information submitted by the claimant relating to the claim, without regard to
                          whether such information was submitted or considered in the initial benefit
                          determination;

                   (4)    the appellate review shall not afford deference to the initial adverse benefit
                          determination by the Fund and shall be conducted by one or more individuals each
                          of whom shall be an appropriate named fiduciary of the Fund who is neither an
                          individual who made the adverse benefit determination that is the subject of the
                          review nor a subordinate of any such individual;
                   (5)    the appellate review shall require that, in deciding an appeal of any adverse benefit
                          determination that is based in whole or in part on a medical judgment, the
                          appropriate named fiduciary shall consult with a health care professional who has
                          appropriate training and experience in the field of medicine involved in the medical
                          judgment; and

                   (6)    the appellate review shall require the identification to the claimant of any medical
                          or vocational expert whose advice was obtained on behalf of the Fund in
                          connection with the claimant’s adverse benefit determination, whether or not the
                          advice was relied upon in making that determination.

Section 4.         TIME LIMITATIONS          FOR     APPELLATE       REVIEW      OF    ADVERSE      BENEFIT
                   DETERMINATIONS

             (a)   Whenever an adverse benefit determination (as defined in Section 2[b]) is made by the
                   Fund, the claimant may initiate appellate review of the determination by submission to
                   the Fund, within 180 days after the claimant’s receipt of the Fund’s notice of such
                   determination, of a request for appellate review. All requests for appellate review shall
                   be submitted to the Fund in writing on forms authorized by the Fund.

             (b)   The Fund, upon its receipt of a claimant’s timely written request for appellate review of
                   an earlier adverse benefit determination, shall perform and complete appellate review,
                   and shall notify the claimant of the determinations upon completion of such review, in
                   accordance with the following time limitations:

                   (1)    all appellate review and benefit determinations by the Benefits Claim Appeals
                          Committee shall be completed, and the Fund shall provide written notice to the
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                          claimant of those determinations, no later than 30 days after the Fund’s receipt of
                          the claimant’s timely written request for appellate review of an adverse benefit
                          determination;

                   (2)    whenever an adverse benefit determination is made by the Benefits Claim Appeals
                          Committee at the end of its appellate review, the claimant may initiate appellate
                          review by the Trustee Appellate Review Committee, by written request to the Fund
                          within 180 days after the claimant’s receipt of the Fund’s notice of such
                          determination;

                   (3)    appellate review by the Trustee Appellate Review Committee shall allow the
                          claimant to exercise his right to make a personal presentation to Trustees (as
                          provided in Section 6[e]), and all appellate review and benefit determinations by
                          the Trustee Appellate Review Committee shall be completed within a reasonable
                          period of time and at a monthly meeting that takes place no later than 90 or more
                          days after the Fund receives the claimant’s timely written request for appellate
                          review by the Trustee Appellate Review Committee (since 29 CFR 2560.503-1[i]
                          extends the aggregate time limit to a first quarterly board meeting more than 30
                          days after the review receipt’s request, or to the “third meeting” in “special
                          circumstances ... such as the need to hold a hearing”, and since the same
                          subsection allows an aggregate 120 days for review in “... special circumstances
                          (such as the need to hold a hearing) ...”, this maximum complies with the
                          regulation);

                   (4)    after appellate review and benefit determinations by the Trustee Appellate Review
                          Committee, the Fund shall provide written notice to the claimant of those
                          determinations by the Trustees no later than 5 days after the determinations are
                          made;

                   (5)    in the event that any time period for any appellate review by the Fund of an earlier
                          adverse benefit determination, and for notice of the determinations upon
                          completion of such review, is extended based upon a failure by the claimant to
                          submit information necessary to decide the claim, each time period for the conduct
                          and completion of such appellate review, and for making benefit determinations,
                          and for providing notice of those determinations, relative to the claimant’s claim,
                          shall be tolled (i.e., not counted) from the date on which the notification of the
                          extension is sent to the claimant until the date on which the claimant responds to
                          the request for additional information.

Section 5.         NOTICE OF BENEFIT DETERMINATIONS AFTER APPELLATE REVIEW

             Whenever a benefit determination is made by the Benefits Claim Appeals Committee or the
             Trustees after appellate review, the Fund shall provide the claimant with written (or electronic)
             notice of the determination that shall include statements, in a manner calculated to be
             understood by the claimant, of the following:

             (a)   the specific reason or reasons for each adverse benefit determination;

             (b)   references to the specific provisions of this Pension Plan on which each determination
                   is based;

             (c)   a statement that the claimant is entitled to receive, upon request and free of charge,
                   reasonable access to, and copies of, all documents, records and other information
                   relevant to the claimant’s claim for benefits; and

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             (d)   a description of the Fund’s appellate review procedures and the time limits applicable to
                   such procedures, including a statement of the claimant’s right to bring a civil action
                   pursuant to Section 502 of the Employee Retirement Income Security Act following an
                   adverse benefit determination at the end of appellate review by the Fund.

Section 6.         MISCELLANEOUS PROVISIONS

             (a)   Any time limitation specified in this APPENDIX B for a determination and/or a notice by
                   the Fund may be waived and/or modified at any time on the basis of a request,
                   agreement or consent by the claimant or by an authorized representative of the claimant,
                   including a retroactive waiver and/or modification of an applicable time limitation after it
                   has expired.

             (b)   Each member of the Benefits Claim Appeals Committee is vested with discretionary and
                   final authority in making any determination within the scope of this APPENDIX B, except
                   that, upon further appellate review by the Trustees after a determination by the Benefits
                   Claim Appeals Committee, the prior discretionary and final authority of the Benefits
                   Claim Appeals Committee is displaced by the authority of the Trustees, who shall not
                   afford deference to any determination by the Benefits Claim Appeals Committee.

             (c)   The Trustees are vested with discretionary and final authority in making any
                   determination within the scope of this APPENDIX B.

             (d)   The burden of proof in demonstrating any fact essential to the approval of any claim for
                   benefits, including eligibility for any claimed benefit and the extent to which a claimed
                   benefit is covered or payable in accordance with this Pension Plan, shall at all times be
                   the responsibility of the claimant, provided that the Fund will at all times during appellate
                   review of an adverse benefit determination provide to the claimant, upon request and
                   free of charge, reasonable access to, and copies of, all documents, records and other
                   information possessed by the Fund and relevant to the claimant’s claim for benefits.

             (e)   Subject to a determination by the Trustee Appellate Review Committee that a personal
                   presentation will be of assistance in augmenting the record of appeal of an adverse
                   benefit determination or in otherwise appropriately resolving the appeal, a claimant may
                   make a personal presentation of his claims to the Trustee Appellate Review committee
                   (either by himself or by his authorized representative, or both). In order to assist the
                   Trustee Appellate Review Committee in determining whether to grant requests to make
                   personal presentations, each such request shall be accompanied by a short written
                   statement explaining why a personal presentation before the Trustee Appellate Review
                   Committee would be of assistance in augmenting the record or in otherwise
                   appropriately resolving the appeal.

             (f)   A Special Hardship Appeal Committee exists in accordance with APPENDIX H of this
                   Pension Plan and is composed of Trustees who meet on a monthly or other periodic
                   basis and who, as members of such committee, are authorized by the Board of Trustees
                   to consider and determine matters that include:

                   (1)    whether any benefits-related relief within the scope of APPENDIX H should be
                          granted or denied to any individual; and

                   (2)    whether any claim of the Pension Fund, based upon Section 4.13, to restitution
                          from any individual of Periodic Benefit Payments issued during Restricted
                          Reemployment (or other Reemployment) should be enforced or waived or
                          compromised.

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          Decisions of the Special Hardship Appeal Committee are recorded in minutes of its meetings.
          Whenever an adverse benefit determination is made by the Special Hardship Appeal
          Committee, all terms and provisions of Section 2 through Section 6 of this APPENDIX B shall
          be applicable to such determination, except that the Benefit Claim Appeals Committee is not
          authorized to participate in any requested appellate review of that determination.

          (g)    It is a condition precedent to any civil action by a claimant or other individual to recover
                 benefits covered or payable in accordance with this Pension Plan and/or to clarify any
                 individual’s rights to past, present or future benefits covered or payable in accordance
                 with this Pension Plan, including any civil action pursuant to Section 502 of the Employee
                 Retirement Income Security Act, that the claimant or other individual files a benefit claim
                 and initiates and actively pursues appellate review of any adverse benefit determination
                 upon any claim, and secures all related benefit determinations by the Fund, in
                 accordance with this APPENDIX B, prior to the commencement of any civil action.




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                APPENDIX C. SCHEDULE A - EARLY RETIREMENT PENSION AMOUNTS

                                               RETIREMENT AGES

BENEFIT
CLASS

          56            55           54       53       52           51          50        49         48          47

1     $56.40        $52.80        $49.20    $45.60   $42.00       $38.40   $34.80       $31.20     $27.60       $24.00

2       84.60         79.20         73.80    68.40    63.00        57.60    52.20        46.80      41.40        36.00

2A    117.50         110.00       102.50     95.00    87.50        80.00    72.50        65.00      57.50        50.00

3     131.60        123.20        114.80    106.40    98.00        89.60    81.20        72.80      64.40        56.00

3A    159.80        149.60        139.40    129.20   119.00       108.80    98.60        88.40      78.20        68.00

4     211.50        198.00        184.50    171.00   157.50       144.00   130.50       117.00     103.50        90.00

5     244.40        228.80        213.20    197.60   182.00       166.40   150.80       135.20     119.60       104.00

6     267.90        250.80        233.70    216.60   199.50       182.40   165.30       148.20     131.10       114.00

7     310.20        290.40        270.60    250.80   231.00       211.20   191.40       171.60     151.80       132.00

8     343.10        321.20        299.30    277.40   255.50       233.60   211.70       189.80     167.90       146.00

9     376.00        351.00        328.00    304.00   280.00       256.00   232.00       208.00     184.00       160.00

10    408.90        382.80        356.70    330.60   304.50       278.40   252.30       226.20     200.10       174.00

11    460.60        431.20        401.80    372.40   343.00       313.60   284.20       254.80     225.40       196.00

12    540.50        506.00        471.50    437.00   402.50       368.00   333.50       299.00     264.50       230.00

13    564.00        528.00        492.00    456.00   420.00       384.00   348.00       312.00     276.00       240.00

14    587.50        550.00        512.50    475.00   437.50       400.00   362.50       325.00     287.50       250.00




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                 APPENDIX C. SCHEDULE B - EARLY RETIREMENT PENSION AMOUNTS

                                               RETIREMENT AGES

BENEFIT
CLASS

          56            55           54       53       52           51          50        49         48          47

 1     $56.40       $52.80        $49.20    $45.60   $42.00       $38.40   $34.80       $31.20     $27.60       $24.00

 2       84.60        79.20         73.80    68.40    63.00        57.60    52.20        46.80      41.40        36.00

2A     117.50        110.00       102.50     95.00    87.50        80.00    72.50        65.00      57.50        50.00

 3     131.60       123.20        114.80    106.40    98.00        89.60    81.20        72.80      64.40        56.00

3A     159.80       149.60        139.40    129.20   119.00       108.80    98.60        88.40      78.20        68.00

 4     211.50       198.00        184.50    171.00   157.50       144.00   130.50       117.00     103.50        90.00

 5     244.40       228.80        213.20    197.60   182.00       166.40   150.80       135.20     119.60       104.00

 6     267.90       250.80        233.70    216.60   199.50       182.40   165.30       148.20     131.10       114.00

 7     310.20       290.40        270.60    250.80   231.00       211.20   191.40       171.60     151.80       132.00

 8     343.10       321.20        299.30    277.40   255.50       233.60   211.70       189.80     167.90       146.00

 9     376.00       352.00        328.00    304.00   280.00       256.00   232.00       208.00     184.00       160.00

10     408.90       382.80        356.70    330.60   304.50       278.40   252.30       226.20     200.10       174.00

11     460.60       431.20        401.80    372.40   343.00       313.60   284.20       254.80     225.40       196.00

12     540.50       506.00        471.50    437.00   402.50       368.00   333.50       299.00     264.50       230.00

13     564.00       528.00        492.00    456.00   420.00       384.00   348.00       312.00     276.00       240.00

14     587.50       550.00        512.50    475.00   437.50       400.00   362.50       325.00     287.50       250.00

15(A) 658.00        616.00        574.00    532.00   490.00       448.00   406.00       364.00     322.00       280.00
or higher




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APPENDIX D.          PARTIAL PENSIONS

            (a)    PREFACE: The following provisions are included to comply with requirements of the
                   National Reciprocal Agreement, effective January 1, 1964, and any other Reciprocal
                   Agreements to which this Pension Fund is a party, and apply only to the following
                   benefits:

                   (1)   Twenty-Year Service Pension;

                   (2)   Early Retirement Pension;

                   (3)   Contributory Credit Pension;

                   (4)   25-And-Out Pension;

                   (5)   30-And-Out Pension;

                   (6)   Monthly Disability Benefit;

                   (7)   50% Surviving Spouse Benefit; and

                   (8)   60 Month Survivor Benefit.

            (b)    PURPOSE: Partial Pensions are provided under this Pension Plan to a Participant or a
                   former Participant who does not have sufficient Service Credit to be eligible for any
                   benefits because his years of employment were divided between different pension plans
                   or, if eligible, whose benefits would be less than the full amount because his employment
                   was divided.

            (c)    DEFINITIONS

                   (1)   COMBINED SERVICE CREDIT: The total of an individual’s Service Credit under
                         this Pension Plan and Related Service Credit together comprise the individual’s
                         Combined Service Credit. An individual shall not earn more than one year of
                         Combined Service Credit in any calendar year.

                   (2)   EFFECTIVE DATE: This Appendix D and the payment of partial pensions shall be
                         effective on January 1, 1964.

                   (3)   RELATED SERVICE CREDIT: Service Credit earned and maintained by an
                         individual under a Related Plan shall be recognized under this Pension Plan as
                         Related Service Credit. The Board of Trustees shall determine Service Credit on
                         the basis on which Related Service Credit has been earned and credited under the
                         Related Plan and certified by the Related Plan to this Pension Plan.

                   (4)   RELATED PLAN: By resolution adopted, the Board of Trustees may recognize
                         one or more other pension plans, which have executed a Reciprocal Agreement
                         to which this Pension Plan is a party, as a Related Plan.

                   (5)   TERMINAL PLAN: The Terminal Plan shall be the plan associated with the Union
                         which represents the individual at the time of, or immediately prior to, his
                         Retirement Date. If an individual was not represented by any Union immediately
                         prior to his Retirement Date, then the Terminal Plan is the plan to which the
                         greatest number of contributions were made on behalf of the individual in the 36
                         consecutive calendar months immediately preceding his Retirement Date.
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           (d)    ELIGIBILITY: An individual shall be eligible for a Partial Pension under this Pension
                  Plan if he meets all of the following requirements:

                  (1)   he would be eligible for any type of pension under this Pension Plan (other than a
                        Partial Pension) if his Combined Service Credit were treated as Service Credit
                        under this Plan; and

                  (2)   he has earned, in addition to any other requirements necessary to be eligible under
                        (1), above, at least two years of Service Credit in this Pension Plan (or a lesser
                        number of years of Service Credit as may be specified in any Reciprocal
                        Agreement to which this Pension Fund is a party) based on actual employment
                        after he became an Employee as defined in Article I, Section 1.14 of this Pension
                        Plan; and

                  (3)   he is found to be (A) eligible for a Partial Pension from a Related Plan and (B)
                        eligible for a Partial Pension from the Terminal Plan; and

                  (4)   he is not eligible to receive payment of a pension from a Related Plan independent
                        of its provisions for a Partial Pension, except that, an individual who is eligible for
                        a pension other than a Partial Pension from this Pension Plan or a Related Plan
                        may elect to waive the other pension and receive the Partial Pension.

           (e)    BREAK-IN-SERVICE: In applying the Break-in-Service rules of this Pension Plan, any
                  period for which an individual has earned Related Service Credit shall not be used to
                  determine whether there has been a period of no Covered Service sufficient to constitute
                  a Break-in-Service.

           (f)    ELECTION OF PENSIONS: If an individual is eligible for more than one type of pension
                  under this Pension Plan, he may elect the type of pension he is to receive.

           (g)    PARTIAL PENSION AMOUNT: The amount of the Partial Pension shall be determined
                  as follows:

                  (1)   the amount of the pension for which the individual would be eligible under this
                        Pension Plan taking into account his Combined Service Credit shall be determined,
                        then

                  (2)   the amount of Contributory Service Credit earned with this Pension Plan shall be
                        divided by the total amount of Contributory Service Credit earned by the individual,
                        then

                  (3)   the result determined in (2), above, shall be multiplied by the pension amount
                        determined in (1), above, and the result shall be the Partial Pension amount
                        payable by this Pension Plan.

           (h)    PAYMENT OF PARTIAL PENSIONS: The payment of a Partial Pension shall be subject
                  to all of the conditions contained in this Pension Plan applicable to other types of
                  benefits.

           (i)    In the event that any Related Plan, on or after July 20, 2004 liberalizes its service credit
                  rules, or takes other action that has the effect of awarding service credit with retroactive
                  effect (i.e., with respect to services performed in the past or with respect to service credit
                  already granted), in a way that imposes unanticipated costs in the Pension Fund if the
                  Pension Fund were to recognize such service credit for reciprocal pension purposes,
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                  the Pension Fund reserves the right to terminate its participation in any reciprocal
                  pension agreement to which it is a party with such Related Plan.

           (j)    The Pension Fund is not liable for benefits based upon this APPENDIX D and any
                  Reciprocal Agreement to which the Pension Fund is a party (including the National
                  Reciprocal Agreement for Teamster Pension Funds) to the extent such liability has been
                  transferred pursuant to APPENDIX L of this Pension Plan and the UPS-CSPF
                  Agreement described in APPENDIX L.




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APPENDIX E.          RULES AND REGULATIONS PERTAINING TO
                     EMPLOYER WITHDRAWAL LIABILITY


Section 1.         PREAMBLE

             This APPENDIX E to the Central States, Southeast and Southwest Areas Pension Plan (the
             “Plan”) sets forth and describes rules and regulations applicable to the determination and
             payment of Employer Withdrawal Liability pursuant to the Employee Retirement Income
             Security Act of 1974 (ERISA), as amended by the Multiemployer Pension Plan Amendments
             Act of 1980 (the “1980 Act”). The term Employer, as used herein, shall be defined as in ERISA
             and trades and businesses under common control shall constitute a single Employer as
             provided under ERISA Section 4001(b). Further, the term Employer refers to both Old
             Employers and New Employers (as defined in Sections 2.2(a) and 2.2(b), respectively) unless
             otherwise indicated.

Section 2.         CALCULATION OF WITHDRAWAL LIABILITY

   Section 2.1           Effective Date

             The amount of the unfunded vested benefits allocable to an Employer who withdraws from
             the Plan on or after October 14, 2011 and who is defined as an “Old Employer” under Section
             2.2(a) shall be determined in accordance with Section 2.3. The amount of the unfunded vested
             benefits allocable to an Employer who withdraws from the Plan on or after October 14, 2011
             and who is defined as a “New Employer” under Section 2.2(b) shall be determined in
             accordance with Section 2.4. The amount of unfunded vested benefits allocable to an
             Employer who withdraws from the Plan at any time before October 14, 2011 shall be
             determined in accordance with Section 2 of this Appendix E as in effect on October 13, 2011.

   Section 2.2           Definitions

             (a)   Old Employer means any Employer who had an obligation to contribute to the Plan for
                   any period prior to October 14, 2011 and all other trades or businesses under common
                   control with said Employer at any time such that together they constituted a single
                   employer within the meaning of Section 4001(b)(1) of ERISA, 29 U.S.C. § 1301(b)(1),
                   and the regulations promulgated thereunder. The term “Old Employer” includes an
                   Employer and all other trades or businesses who withdrew from the Plan prior to October
                   14, 2011.

             (b)   New Employer means any Employer who satisfies either of the conditions set forth in
                   paragraphs (1) or (2) below:

                   (1)   The Employer has never been an Old Employer or a trade or business under
                         common control with an Old Employer at any time such that together they
                         constituted a single employer within the meaning of Section 4001(b)(1) of ERISA,
                         29 U.S.C. § 1301(b)(1), and the regulations promulgated thereunder; or

                   (2)   To the extent the Employer first had an obligation to contribute to the Plan before
                         October 14, 2011 or has ever been considered an Old Employer, the Employer
                         has completely satisfied all withdrawal liability related to its past participation in a
                         lump sum or has provided the Pension Fund with a bond issued by a corporate
                         surety company that is an acceptable surety for purposes of ERISA section 412,
                         or an amount held in escrow by a bank or similar financial institution satisfactory
                         to the Pension Fund for the full amount of the outstanding withdrawal liability.

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                  (3)   An Employer satisfying paragraph (1) of this subsection shall be a New Employer
                        on the date its obligation to contribute to the Plan begins. An Employer satisfying
                        paragraph (2) of this subsection shall cease being an Old Employer and shall
                        become a New Employer on the date all of the conditions specified in paragraph
                        (2) are met.

                  (4)   An Old Employer who is or may be obligated under Section 4204 of ERISA, 29
                        U.S.C. § 1384, as a seller or purchaser, including without limitation the bonding or
                        escrow requirements of Sections 4204(a)(1)(B) and 4204(a)(3) of ERISA, 29
                        U.S.C. §§ 1384(a)(1)(B) and 1384(a)(3), as well as the liability provisions of
                        Section 4204(a)(1)(C) and 4204(a)(2), 29 U.S.C. §§ 1384(a)(1)(C) and 1384(a)(2),
                        remains subject to those obligations notwithstanding the fact that the Old Employer
                        becomes a New Employer.

           (c)    Modified Presumptive Pool means the pool of assets and associated benefit liabilities
                  relating to Contributions from Old Employers.

           (d)    Direct Attribution Pool means the pool of assets and associated benefit liabilities
                  relating to New Employer Contributions.

           (e)    New Employer Contributions means contributions made by New Employers which are
                  attributable to Participants’ service with such Employer for periods during which the
                  Employer qualifies as a New Employer under Section 2.2(b) plus contributions made by
                  an Old Employer during the Plan Year in which such Old Employer becomes a New
                  Employer.

           (f)    Modified Presumptive Pool Unfunded Vested Benefits means all unfunded vested
                  benefits under the Plan minus the Direct Attribution Pool Unfunded Vested Benefits
                  minus the sum of all New Employer’s Directly Attributable Unfunded Vested Benefits as
                  calculated under Section 2.4(b).

           (g)    Direct Attribution Pool Unfunded Vested Benefits means all unfunded vested
                  benefits in the Direct Attribution Pool as calculated in Section 2.4(e).

           (h)    Plan Year means the calendar year beginning and including January 1st through and
                  including December 31st.

           (i)    The definitions applicable to the Appendix E include all definitions stated in Article I and
                  other definitions of the Pension Plan, except to the extent those definitions are contrary
                  to those expressly stated in this Appendix E.

  Section 2.3           Calculation of Withdrawal Liability of an Old Employer

           The amount of the unfunded vested benefits allocable to an Old Employer who withdraws
           from the Plan shall be the product of:

           (a)    an amount equal to:

                  (1)   the Modified Presumptive Pool Unfunded Vested Benefits as of the end of the Plan
                        Year preceding the Plan Year in which the Old Employer withdraws; less

                  (2)   the sum of the value as of such date of all outstanding claims for withdrawal liability
                        of Old Employers which can reasonably be expected to be collected, with respect
                        to Old Employers withdrawing before such Plan Year; multiplied by

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           (b)    a fraction:

                  (1)   the numerator of which is the total amount required to be contributed under the
                        Plan by the Old Employer for the last 10 Plan Years ending before the date on
                        which the Old Employer withdraws; and

                  (2)   the denominator of which is the total amount contributed under the Plan by all Old
                        Employers for the last 10 Plan Years ending before the date on which the Old
                        Employer withdraws, increased by the amount of any Old Employer Contributions
                        owed with respect to earlier periods which were collected in those Plan Years, and
                        decreased by any amount contributed by an Old Employer who withdrew from the
                        Plan during those Plan Years;

  Section 2.4           Calculation of Withdrawal Liability of a New Employer

           (a)    New Employer’s Unfunded Vested Benefit Allocation. The amount of the unfunded
                  vested benefits allocable to a New Employer who withdraws from the Plan shall be the
                  sum of:

                  (1)   the New Employer’s Unfunded Vested Benefits Attributable to Its Participants’
                        Service (determined as of the end of the Plan Year preceding the Plan Year in
                        which the New Employer withdraws, and as described in subsection (b) below);
                        and

                  (2)   the New Employer’s Proportionate Share of the Direct Attribution Pool’s Unfunded
                        Vested Benefits (determined as of the end of the Plan Year preceding the Plan
                        Year in which the New Employer withdraws) as described in subsection (f) below.

           (b)    New Employer’s Unfunded Vested Benefits Attributable to Its Participants’
                  Service. A New Employer’s Unfunded Vested Benefits Attributable to Its Participants’
                  Service is equal to the value of nonforfeitable benefits under the Plan which are
                  attributable to Participants’ service with such New Employer (including service based
                  upon contributions deemed New Employer Contributions under Section 2.2(b))
                  decreased by the New Employer’s Share of the Direct Attribution Plan Assets which is
                  allocated to the New Employer under Section 2.4(d). The amount equal to the value of
                  nonforfeitable benefits under the Plan which are attributable to a Participants’ service
                  with such New Employer shall be determined by multiplying the Participant’s
                  nonforfeitable benefits by a fraction the numerator of which is the Participant’s
                  Contributory Service Credit earned with such New Employer (including Contributory
                  Service Credit earned with an Old Employer during the Plan Year in which such Old
                  Employer becomes a New Employer) and the denominator of which is the Participant’s
                  total years of Contributory Service Credit earned with all Employers. To the extent that
                  the New Employer’s Unfunded Vested Benefits Attributable to Its Participants’ Service
                  is less than zero, the New Employer’s Directly Attributable Unfunded Vested Benefits
                  shall be deemed to be zero.

           (c)    Direct Attribution Pool Plan Assets. The value of Direct Attribution Pool Plan Assets
                  determined under this Section 2.4(c) (a portion of which is to be allocated to the New
                  Employer as provided under Section 2.4(d)) is the sum of: all New Employer
                  Contributions made for each Plan Year preceding the Plan Year in which the New
                  Employer withdraws, plus all withdrawal liability payments made by New Employers for
                  withdrawals occurring as New Employers for each Plan Year preceding the Plan Year
                  in which the New Employer withdraws, plus investment earnings or losses for each Plan
                  Year preceding the Plan Year in which the New Employer withdraws attributable as
                  provided under Section 2.4(c)(1), minus administrative expenses for each Plan Year
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                  preceding the Plan Year in which the New Employer withdraws attributable as provided
                  under Section 2.4(c)(2), minus all benefit payments which are made for each Plan Year
                  preceding the Plan Year in which the New Employer withdraws that are attributable to
                  service with New Employers as provided under Section 2.4(c)(3).

                  (1)   Investment earnings or losses attributable to the Direct Attribution Plan Pool Plan
                        Assets shall be calculated for each Plan Year by applying the rate of return or loss
                        on all Plan assets for each Plan Year beginning after October 14, 2011 and ending
                        with the last day of the Plan Year prior to the Plan Year of the New Employer’s
                        withdrawal to the amount of Direct Attribution Plan Pool Plan Assets (after the
                        application of paragraphs (2) and (3) of this subsection (c)) as of the last day of the
                        Plan Year preceding the Plan Year in which the New Employer withdraws. For the
                        Plan Year that includes October 14, 2011, the rate of return or loss shall be applied
                        proportionate to the period after October 14, 2011 as compared to the entire Plan
                        Year.

                  (2)   Administrative expenses attributable to the Direct Attribution Pool Plan Assets shall
                        be calculated for each Plan Year beginning after October 14, 2011 and ending with
                        the last day of the Plan Year prior to the Plan Year of the New Employer’s
                        withdrawal by multiplying the total Plan administrative expenses for a Plan Year by
                        a fraction the numerator of which is the total number of Participants whose last
                        Contributory Service Credit earned under the Plan as of the last day of the Plan
                        Year was earned with a New Employer and the denominator is the total number of
                        Participants in the Plan as of the last day of the Plan Year. For the Plan Year that
                        includes October 14, 2011, the administrative expenses shall be applied
                        proportionate to the period after October 14, 2011 as compared to the entire Plan
                        Year.

                  (3)   Benefit payments that are attributable to service with New Employers shall mean
                        the pro rata portion of a Participant’s benefits determined by multiplying the benefit
                        payments by a fraction the numerator of which is the Participant’s years of
                        Contributory Service Credit earned with New Employers (including a Participant’s
                        Contributory Service Credit with an Old Employer during the Plan Year in which
                        such Participant’s Old Employer becomes a New Employer) and the denominator
                        of which is the Participant’s total years of Contributory Service Credit earned with
                        all Employers.

           (d)    New Employer’s Share of Direct Attribution Pool Plan Assets. The New Employer’s
                  Share of Direct Attribution Pool Plan Assets shall be determined by multiplying the value
                  of the Direct Attribution Pool Plan Assets determined under Section 2.4(c) by the
                  fractions in subparagraphs (d)(1) and (d)(2) of this subsection -




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                  (1)   The first fraction –

                        (i)    the numerator of which is the value of nonforfeitable benefits (including such
                               benefits attributable to contributions deemed New Employer Contributions
                               under Section 2.2(b)) which are attributable to Participants’ service with all
                               New Employers who have an obligation to contribute under the Plan in the
                               Plan Year preceding the Plan Year in which the New Employer withdraws,
                               and

                        (ii)   the denominator of which is the value of all nonforfeitable benefits (including
                               such benefits attributable to contributions deemed New Employer
                               Contributions under Section 2.2(b)) attributable to all New Employers under
                               the Plan; and

                  (2)   The second fraction –

                        (i)    the numerator of which is the value of the nonforfeitable benefits (including
                               such benefits attributable to contributions deemed New Employer
                               Contributions under Section 2.2(b)) which are attributable to the New
                               Employer, and

                        (ii)   the denominator of which is the value of the nonforfeitable benefits (including
                               such benefits attributable to contributions deemed New Employer
                               Contributions under Section 2.2(b)) which are attributable to service with all
                               New Employers who have an obligation to contribute under the Plan in the
                               Plan Year preceding the Plan Year in which the New Employer withdraws.

           (e)    Direct Attribution Pool’s Unfunded Vested Benefits. The amount of the Direct
                  Attribution Pool’s Unfunded Vested Benefits for a Plan Year preceding the Plan Year in
                  which a New Employer withdraws is equal to:

                  (1)   an amount equal to –

                        (i)    The value of all nonforfeitable benefits attributable to service with all New
                               Employers (including such benefits attributable to contributions deemed New
                               Employer Contributions under Section 2.2(b)) under the Plan at the end of
                               such Plan Year; reduced by

                        (ii)   The value of nonforfeitable benefits under the Plan at the end of such Plan
                               Year which are attributable to Participants’ service with New Employers
                               (including such benefits attributable to contributions deemed New Employer
                               Contributions under Section 2.2(b)) who have an obligation to contribute
                               under the Plan for such Plan Year; reduced by

                  (2)   an amount equal to –

                        (i)    The value of the Direct Attribution Pool Plan Assets as of the end of such
                               Plan Year as determined under Section 2.4(c), reduced by

                        (ii)   The value of the Direct Attribution Pool Plan Assets as of the end of such
                               Plan Year as determined under Section 2.4(c) multiplied by the fraction in
                               Section 2.4(d)(1); reduced by



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                  (3)   The value of all outstanding claims for withdrawal liability which can reasonably be
                        expected to be collected with respect to New Employers withdrawing before the
                        Plan Year preceding the Plan Year in which the New Employer withdraws.

           If the Direct Attribution Pool’s Unfunded Vested Benefits is less than zero, it shall be deemed
           to be zero.

           (f)    New Employer’s Proportionate Share of the Direct Attribution Pool’s Unfunded
                  Vested Benefits. The New Employer’s Proportionate Share of the Direct Attribution
                  Pool Unfunded Vested Benefits described in Section 2.4(a)(2) for a Plan Year is the
                  amount determined under Section 2.4(e) multiplied by a fraction-

                  (1)   the numerator of which is the value of the nonforfeitable benefits (including such
                        benefits attributable to contributions deemed New Employer Contributions under
                        Section 2.2(b)) which are attributable to the New Employer, and

                  (2)   the denominator of which is the value of the nonforfeitable benefits (including such
                        benefits attributable to contributions deemed New Employer Contributions under
                        Section 2.2(b)) which are attributable to service with all New Employers who have
                        an obligation to contribute under the Plan in the Plan Year preceding the Plan Year
                        in which the New Employer withdraws.

      Section 2.5       Effect of Complete Withdrawal of All Old Employers

           If all Old Employers completely withdraw from the Pension Fund, the Direct Attribution Pool
           and the Modified Presumptive Pool shall be discontinued and the amount of unfunded vested
           benefits allocable to an Employer that withdraws from the Pension Fund at any time beginning
           with the first day of the Plan Year in which all Old Employers cease to be obligated to
           contribute to the Fund shall be determined in accordance with Section 2 of this Appendix E
           as in effect on October 13, 2011 (the “Pre-2011 Methodology”).

      Section 2.6       Effect of Complete Withdrawal of All New Employers

           If in any Plan Year all New Employers completely withdraw from the Pension Fund, the Direct
           Attribution Pool and the Modified Presumptive Pool shall be discontinued and the amount of
           unfunded vested benefits allocable to an Employer that withdraws in the following Plan Year
           shall be determined in accordance with Section 2 of this Appendix E as in effect on October
           13, 2011 (the “Pre-2011 Methodology”).

      Section 2.7       Allocation of Reallocation Liability in the Event of Mass Withdrawal

           In the event that, within the meaning of ERISA§ 4219(c)(1)(D), every Employer withdraws
           from the Plan or substantially all Employers withdraw from the Plan pursuant to an
           arrangement to withdraw (thus triggering a “Mass Withdrawal”), any Employers who are
           subject to Mass Withdrawal reallocation liability within the meaning of 29 C.F.R. §
           4219.2(b)(2):

           (a)    Shall have their initial allocable share of such reallocation liability determined as follows:

                  Initial allocable share. Except as otherwise provided in subsection (c) below, an
                  Employer’s initial allocable share shall be equal to the product of the plan’s unfunded
                  vested benefits to be reallocated, multiplied by a fraction--

                  (1)   The numerator of which is the sum of the Employer’s initial withdrawal liability and
                        the Employer’s redetermination liability, if any; and
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                  (2)   The denominator of which is the sum of all initial withdrawal liabilities and all the
                        redetermination liabilities of all Employers liable for reallocation liability; and

           (b)    Shall have their allocation of unassessable amounts determined as follows:

                  Allocation of unassessable amounts. If after computing each Employer’s initial
                  allocable share of unfunded vested benefits related to the Mass Withdrawal, the
                  Trustees determine that any portion of an Employer’s initial allocable share is
                  unassessable as withdrawal liability because of the limitations in ERISA § 4225, the
                  Trustees shall allocate any such unassessable amounts among all other liable
                  Employers. This allocation shall be done by prorating the unassessable amounts on the
                  basis of each such Employer’s initial allocable share. No Employer shall be liable for
                  unfunded vested benefits allocated under subsection (a) or this subsection (b) to another
                  Employer that are determined to be unassessable or uncollectible subsequent to the
                  Trustees’ demand for payment of reallocation liability.

           (c)    Special rule for certain Employers with no or reduced initial withdrawal liability
                  due to application of the free-look or de minimis rules. If an Employer has no initial
                  withdrawal liability because of the application of the free-look rule in ERISA § 4210, then,
                  in computing the fraction prescribed in subsection (b), the Plan shall use the Employer’s
                  allocable share of unfunded vested benefits, determined under ERISA § 4211 at the
                  time of the Employer’s withdrawal and adjusted in accordance with ERISA § 4225, if
                  applicable. If an Employer’s initial withdrawal liability was reduced pursuant to ERISA §
                  4209 (a) or (b) and the Employer is not liable for de minimis amounts, then, in computing
                  the fraction prescribed in subsection (b), the Plan shall use the Employer’s allocable
                  share of unfunded vested benefits, determined under ERISA § 4211 at the time of the
                  Employer’s withdrawal and adjusted in accordance with ERISA § 4225, if applicable.

           (d)    Special rule for determining the Initial withdrawal liability of certain New
                  Employers.

                  (1)   In the event of a Mass Withdrawal occurring on or before the end of the second
                        full Plan year after the date on which a New Employer has qualified for New
                        Employer status by meeting the requirements of Para. 2.2(b)(2) of this Appendix
                        E and satisfying its withdrawal liability related to its past participation in the Plan,
                        such New Employer’s initial withdrawal liability (for purposes of any allocations of
                        reallocation liability to be made under subsection (a), (b) and (c) of this section 2.7)
                        shall be equal to the greater of (A) the amount of withdrawal liability that the
                        Employer is deemed to have satisfied in order to qualify as a New Employer, and
                        (B) the New Employer’s initial withdrawal liability upon its actual withdrawal from
                        the Plan in connection with such Mass Withdrawal.

                  (2)   In the event of a Mass Withdrawal occurring after the end of the second full Plan
                        year after the date on which a New Employer has qualified for New Employer
                        status by meeting the requirements of Para. 2.2(b)(2) of this Appendix E and
                        satisfying its withdrawal liability related to its past participation in the Plan, any
                        such New Employer’s initial withdrawal liability (for purposes of any allocations of
                        reallocation liability to be made under subsection (a), (b) and (c) of this section 2.7)
                        shall be equal to the amount (if any) of the New Employer’s initial withdrawal
                        liability upon its actual withdrawal from the Plan in connection with such Mass
                        Withdrawal.



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   Section 2.8           Trustee Determinations

             The determinations pursuant to Section 2 of this Appendix E and Section 4202 of ERISA shall
             be based upon authorization by the Board of Trustees, except that any such determination
             may be initially authorized between board meetings by action of at least one Employer Trustee
             and at least one Employee Trustee (which action is to be recorded in a written document)
             provided such action is ratified by the Board of Trustees at its next meeting.

Section 3.         SPECIAL RULES WITH RESPECT TO EMPLOYER CONTRIBUTIONS

             For purposes of determining the denominator defined at Sections 2.3(b)(2), 2.4(d)(2),
             2.4(e)(3)(ii), and 2.4(f)(2), the amount of Employer Contributions “made” or “contributed” with
             respect to a Plan Year shall be based upon the amount of Employer Contributions reported
             on the Form 5500 filed by the Plan for such Plan Year.

Section 4.         ACTUARIAL ASSUMPTIONS

             The actuarial assumptions used to determine the unfunded vested benefits of the Plan shall
             be determined by the Plan actuary based on his/her best estimate and in accordance with
             ERISA § 4213.

Section 5.         PAYMENT OF WITHDRAWAL LIABILITY

             (a)   The amount of payment shall be calculated as follows:

                   (1)   Except as provided in (2) and (4) below, and in (c) and (d) below; the Employer
                         shall pay the amount determined under Section 2 of this Appendix E appropriately
                         adjusted for partial withdrawal and de minimis reductions of $50,000 or less as
                         provided in ERISA Sections 4206 and 4209(a), over the period of years required
                         to amortize the amount in level annual payments determined under (3) below,
                         calculated as if the first payment were made on the first day of the Plan year
                         following the Plan Year in which the withdrawal occurs and as if each subsequent
                         payment were made on the first day of each subsequent Plan Year. Such
                         amortization period shall be determined based on actuarial assumptions used in
                         the most recent actuarial valuation of the Plan.

                   (2)   If the amortization period described in (1) above exceeds 20 years, the liability of
                         the Employer shall be limited to the first 20 annual payments determined in (3)
                         below.

                   (3)   Except as provided in (5) below, the amount of each annual payment shall be the
                         product of:

                         (A)    the average number of weeks of contributions for the three consecutive Plan
                                Years, during the 10 consecutive Plan Years ending before the date of
                                withdrawal, in which the Employer had an obligation to contribute to the Plan
                                for the greatest number of weeks of contributions; and

                         (B)    the highest contribution rate at which the Employer had an obligation to
                                contribute to the Plan during the 10 Plan Years ending with the Plan Year in
                                which the withdrawal occurs.

                   (4)   In the event of a withdrawal of all or substantially all Employers which contribute
                         to the Plan (as described in Section 4219(c)(1)(D) of ERISA) (2) above shall not
                         apply, and total unfunded vested benefits shall be allocated among all such
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                        Employers according to regulations established by the Pension Benefit Guaranty
                        Corporation (the “PBGC”).

                  (5)   As described in Section 4219(c)(1)(E) of ERISA, the amount of annual payment
                        may be adjusted in the event of a partial withdrawal.

           (b)    Withdrawal liability shall be payable monthly, according to the schedule determined by
                  the Trustees. Payment of withdrawal liability shall commence no later than 60 days after
                  demand is made therefore by the Trustees.

           (c)    An Employer shall be entitled to prepay his withdrawal liability and accrued interest
                  without penalty.

           (d)    Non-payment by an Employer of any amounts due shall not relieve any other Employer
                  from its obligation to make payment. In addition to any other remedies to which the
                  parties may be entitled, an Employer shall be obligated to pay interest on withdrawal
                  liability owed to the Fund from the date when the payment was due to the date when the
                  payment is made together with all expenses of collection incurred by the Trustees,
                  including but not limited to attorneys’ fees and such fees for late payment as the Trustees
                  determine and as permitted by law. The interest payable by an Employer, in accordance
                  with the preceding sentence, shall be computed and charged to the Employer at an
                  annualized interest rate equal to two percent (2%) plus the prime interest rate
                  established by JPMorgan Chase Bank, NA (New York, New York) for the fifteenth (15th)
                  day of the month for which the interest is charged. Any judgment against an Employer
                  for withdrawal liability payments owed to this Fund, shall include the greater of (a) a
                  doubling of interest computed and charged in accordance with this section or (b) single
                  interest computed and charged in accordance with this section plus liquidated damages
                  in the amount of 20% of the unpaid withdrawal liability payments. The interest rate after
                  entry of a judgment against an Employer for withdrawal liability shall be due from the
                  date the judgment is entered until the date of payment, shall be computed and charged
                  to the Employer on the entire judgment balance at an annualized interest rate equal to
                  two percent (2%) plus the prime interest rate established by JPMorgan Chase Bank, NA
                  (New York, New York) for the fifteenth (15th) day of the month for which the interest is
                  charged and shall be compounded annually.

           (e)    In the event of a default, the outstanding amount of the withdrawal liability shall
                  immediately become due and payable. A default occurs if:

                  (1)   the Employer fails to make, when due, any payments of withdrawal liability, if such
                        failure is not cured within 60 days after such Employer receives written notification
                        from the Fund of such failure; or

                  (2)   the Trustees, in their discretion, deem the Fund insecure as a result of any of the
                        following events with respect to the Employer:

                        (A)    the Employer’s insolvency, or any assignment by the Employer for the benefit
                               of creditors, or the Employer’s calling of a meeting of creditors for the purpose
                               of offering a composition or extension to such creditors, or the Employer’s
                               appointment of a committee of creditors or liquidating agent, or the
                               Employer’s offer of a composition or extension to creditors,

                        (B)    the Employer’s failure or inability to pay its debts as they become due;

                        (C)    the commencement of any proceedings by or against the Employer (with or
                               without the Employer’s consent) pursuant to any bankruptcy or insolvency
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                                laws or any laws relating to the relief of debtors, or the readjustment,
                                composition or extension of indebtedness, or to the liquidation, receivership,
                                dissolution or reorganization of debtors;

                         (D)    the withdrawal, revocation or suspension, by any governmental or judicial
                                entity or by any national securities exchange or association, of any charter,
                                license, authorization, or registration required by the Employer in the conduct
                                of its business;

                         (E)    the cessation of all or substantially all of an Employer’s operations, or the
                                liquidation of all or substantially all of an Employer’s assets;

                         (F)    the existence of a delinquency in any amount owed to the Pension Fund
                                including, without limitation, the payment of contributions or prior withdrawal
                                liability; or

                         (G)    any other event or circumstance which in the judgment of the Trustees
                                materially impairs the Employer’s credit worthiness or the Employer’s ability
                                to pay its withdrawal liability when due.

Section 6.         RESOLUTION OF DISPUTES

             Any dispute concerning whether a complete or partial withdrawal has occurred, concerning
             the amount and/or payment of any withdrawal liability or any other matter pertaining to ERISA
             Sections 4201 through 4219 and ERISA Section 4225 will be resolved in the following manner:

             (a)   REVIEW BY THE FUND: If, within ninety (90) days after an Employer receives a notice
                   and demand for payment of withdrawal liability from the Fund, such Employer in writing
                   to the Fund (i) requests a review of any specific matter relating to the determination of
                   such liability and the schedule of payments, (ii) identifies any inaccuracy in the
                   determination of the amount of the unfunded vested benefits allocable to the Employer,
                   or (iii) furnishes any additional relevant information to the Fund, a review may be
                   conducted by the Withdrawal Liability Review Committee. The Withdrawal Liability
                   Review Committee consists of members of Staff of the Fund selected by the Executive
                   Director of the Fund. The Withdrawal Liability Review Committee is responsible for the
                   review of any matter pertaining to withdrawal liability which is timely made and the
                   recommendation for decisions on such matters to the Trustees. This Committee acts by
                   a majority of its members present and voting in making recommendations regarding the
                   action which the Trustees may follow in determining questions of withdrawal liability. The
                   decision of the Trustees may be communicated in writing to the Employer including the
                   basis for the decision and the reason(s) for any change in the determination of an
                   Employer’s liability or schedule for liability payments.

             (b)   ARBITRATION: Within 60 days following the earlier of receipt of a written decision from
                   the Trustees in accordance with subparagraph (a) above, or 120 days after an Employer
                   has made a timely written request for a review of such withdrawal liability matters
                   specified above, either the Employer or the Fund may initiate an arbitration proceeding
                   as provided herein.

                   (1)   Manner of Initiation: Arbitration is initiated by written notice to the Chicago Regional
                         Office of the American Arbitration Association (“AAA”) with copies to the Fund (or
                         if initiated by the Fund to the Employer) and the bargaining representative (if any)
                         of the affected employees of the Employer. Such arbitration will be conducted,
                         except as otherwise provided in these rules, in accordance with the “Multiemployer
                         Pension Plan Arbitration Rules” (the “AAA Rules”) administered by the AAA. The
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                         initial filing fee is to be paid by the party initiating the arbitration proceeding.
                         Arbitration is timely initiated if received by the AAA along with the initial filing fee
                         within the time period prescribed by ERISA Section 4221(a)(1).

                   (2)   Venue: All arbitrations under this Section shall be conducted in Chicago, Illinois.
                         Any actions pursuant to ERISA §4221(b)(2), 29 U.S.C. §1401(b)(2), to enforce,
                         vacate or modify any awards entered in such arbitrations shall be filed in the United
                         States District Court for the Northern District of Illinois, Eastern Division.

                   (3)   Preliminary Statements: The Employer shall file with the AAA and serve upon the
                         Fund at least 21 days prior to the hearing a Preliminary Statement. The Plan shall
                         file with the AAA and serve upon the Employer a responsive Preliminary Statement
                         at least seven days prior to the hearing. Each preliminary statement shall contain:
                         (1) a statement of the factual and legal contentions of the party with respect to
                         each of the issues before the arbitrator; (2) a list identifying the name, address,
                         and occupation of each witness to be called by the party at the hearing and a
                         specific description of the matters upon which the witness will testify; (3) a list
                         describing each exhibit which the party will offer in evidence; and (4) a statement
                         of the relief sought by the party.

            (c)    LITIGATION: Section 43(c) of the AAA Rules shall not apply. Within 30 days after the
                   issuance of a final award by an arbitrator in accordance with these procedures, any party
                   to such arbitration proceeding may bring an action in an appropriate United States
                   district court to enforce, modify, or vacate the arbitration award, in accordance with
                   ERISA Sections 4221 and 4301.

Section 7          CONSTRUCTION INDUSTRY EXEMPTION

            ERISA section 4203(b) shall apply to those Employers described in ERISA section 4203(b)(1).

Section 8          FIVE-YEAR FREE LOOK RULE

            (a)    Pursuant to ERISA Section 4210, 29 U.S.C. §1390, an employer who withdraws from
                   the Plan in a complete or partial withdrawal is not liable to the Plan if the Employer:

                   (1)   first had an obligation to contribute to the Plan after September 26, 1980;

                   (2)   had an obligation to contribute to the Plan for no more than 5 consecutive plan
                         years preceding the date of its withdrawal;

                   (3)   was required to make contributions to the Plan for each such plan year in an
                         amount equal to less than 2 percent of the sum of all employer contributions made
                         to the Plan for each such year as reported on the Form 5500 filed by the Plan for
                         each such year; and

                   (4)   has never avoided withdrawal liability because of the application of this Section 8
                         of Appendix E.

            (b)    Paragraph (a) of this section shall apply to an Employer with respect to the plan only if -

                   (1)   the plan is not a plan which primarily covers employees in the building and
                         construction industry;

                   (2)   the plan makes this exception applicable (as it has in paragraph (a) of this section);

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                   (3)   the plan provides (as it does in Appendix G, section (a)(5)) that the reduction under
                         §411(a)(3)(E) of the Internal Revenue Code of 1954 applies with respect to the
                         employees of the Employer; and

                   (4)   the ratio of the assets of the plan for the plan year preceding the first plan year for
                         which the Employer was required to contribute to the plan to the benefit payments
                         made during that plan year was at least 8 to 1.

Section 9.         ADJUSTMENT OF LIABILITY FOR WITHDRAWAL SUBSEQUENT TO PARTIAL
                   WITHDRAWAL

             The amount of credit an Employer receives for payment of a prior year’s partial withdrawal
             liability is determined in accordance with applicable regulations (29 CFR §4206). Pursuant to
             29 CFR §4206, the amortization period defined at 29 CFR §4206.9 shall be ten years. A New
             Employer shall not be entitled to credit for any prior withdrawal liability incurred as an Old
             Employer.

Section 10.        NO REDUCTION OR WAIVER OF LIABILITY FOR NEW EMPLOYER

             An Employer shall not be entitled to a reduction or waiver of withdrawal liability under ERISA
             sections 4207 or 4208 based upon the payment of withdrawal liability as an Old Employer for
             its resumption or continuation of participation in the Pension Fund as a New Employer.




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APPENDIX F.          RULES PERTAINING TO HOURLY RATES FOR CONSTRUCTION INDUSTRY
                     PARTICIPANTS


Section 1.         CONSTRUCTION AND BUILDING MATERIALS INDUSTRY DEFINED

             The construction or building materials industry for purposes of this Appendix shall be defined
             as all Contributing Employers in the construction industry relating to the contracting or
             subcontracting of work to be done at the site of the construction, alteration, painting, or repair
             of a building, structure, highway, excavation, or other work, and(or) whose principal business
             is the supply and(or) transportation to and from such job sites of material, equipment or
             supplies to be utilized by an employee performing such construction work.

             The definition in the preceding paragraph applies only for the purpose of this Appendix F and
             does not apply for any other purpose including, without limitation, the definition of “building
             and construction industry” for purposes of ERISA § 4203 (b).

Section 2.         HOURLY CONTRIBUTION OBLIGATION

             (a)   Any Collective Bargaining Agreement between a Union and a Contributing Employer in
                   the construction or building materials industry with an effective date on or after
                   September 1, 1985 may require hourly Contributions as set forth in (b) below.

             (b)   SCHEDULE B OF BENEFIT CLASSES AND REQUIRED MINIMUM HOURLY
                   CONTRIBUTION RATES

                                                     Maximum
                                                 Twenty-Year Service
                                                  Pension Benefits
                         Employer                                                Hourly
                         Benefit                    Ages                       Contribution
                          Class            57    58    59        60    65 Plus    Rates
                                                                 to
                                                                 64

                           14              625   625      625    775      775          $1.75
                           15
                                     (A)   700   750      800    900      900          $1.90
                                     (B)   700   750      800    900      900          $2.05
                                     (C)   700   750      800    900      900          $2.20
                           16
                                     (A)   700   750      800    900     1100          $2.45
                                     (B)   700   750      800    900     1100          $2.55
                                     (C)   700   750      800    900     1100          $2.65
                           17a
                                     (A)   700   750      800    900     1100          $2.85
                                     (B)   700   750      800    900     1100          $3.15
                                     (C)   700   750      800    900     1100          $3.40
                                     (D)   700   750      800    900     1100          $3.70




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                                                            Maximum
                                                         Twenty-Year Service
                                                          Pension Benefits
                                    Employer                                             Hourly
                                    Benefit                 Ages                       Contribution
                                     Class      57       58    59     60       65 Plus    Rates
                                                                      to
                                                                      64

                                    17b
                                          (A)   700      750    800   900      1100         $2.85
                                          (B)   700      750    800   900      1100         $3.15
                                          (C)   700      750    800   900      1100         $3.45
                                          (D)   700      750    800   900      1100         $3.90
                                    18
                                          (A)   700      750    800   900      1100         $3.80*
                                          (A)   700      750    800   900      1100         $3.90*
                                          (B)   700      750    800   900      1100         $4.25
                                          (C)   700      750    800   900      1100         $4.70
                                          (D)   700      750    800   900      1100         $4.95
                                          (E)   700      750    800   900      1100         $5.20
                                    18+
                                          (A)   700      750    800   900      1100         $4.40
                                          (B)   700      750    800   900      1100         $4.85
                                          (C)   700      750    800   900      1100         $5.10
                                          (D)   700      750    800   900      1100         $5.35

                        Benefit Class 18+ of a Participant must be based upon the Continuous Contribution
                        Method and not upon the Non-Continuous Contribution Method or any other
                        method.

           * If the Bargaining Unit is moving from Benefit Class 17a to Benefit Class 18, the hourly
           contribution rate for the first year is $3.80; otherwise it is $3.90.

           (c)    If a Collective Bargaining Agreement requires a Contributing Employer to make hourly
                  Contributions, then an hourly Contribution is required to be made on an Employee’s
                  behalf for each hour that he performs one Hour of Service.

           (d)    If a Collective Bargaining Agreement requires a Contributing Employer to make hourly
                  Contributions, then an Employee shall earn one hour of Contributory Service for each
                  hour of Contributions required to be made on his behalf.

           (e)    If a Collective Bargaining Agreement requires a Contributing Employer to make hourly
                  Contributions, then an Employee shall earn one hour of Vesting Service for each hour
                  of Contributions required to be made on his behalf.

           (f)    Self-Contributions made under Article I, Section 1.08 for periods during which the
                  Collective Bargaining Agreement covering the Employee requires hourly Contributions
                  shall be limited to 40 hours of Self-Contributions per week.




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Section 3.         RULES FOR DETERMINING SERVICE CREDIT WHEN HOURLY CONTRIBUTIONS
                   ARE REQUIRED

             (a)   For purposes of Article I, Section 1.10, 30 hours of Contributions required to be made
                   on behalf of a Participant shall be considered equivalent to one week of Contributions.

             (b)   For any calendar year during which a Participant has had an hour of Contributions
                   required to be made on his behalf, the number of hours of Vesting Service due to
                   employment under a Collective Bargaining Agreement requiring hourly Contributions
                   during such year divided by 600 shall be added to the sum determined in Article I,
                   Section 1.40 for the purpose of determining whether he has had a Year of Participation.

             (c)   For any calendar year during which a Participant has had an hour of Contributions
                   required to be made on his behalf and during which he has at least a Year of
                   Participation, the number of hours of Contributory Service during such year divided by
                   1,200 shall be added to the sum determined in Article I, Section 1.10(a)(2)(B) for the
                   purpose of determining his Contributory Service Credit for that year.

             (d)   For any calendar year during which a Participant has had an hour of Contributions
                   required to be made on his behalf, the number of hours of Vesting Service due to
                   employment under a Collective Bargaining Agreement requiring hourly Contributions
                   during such year divided by 300 shall be added to the sum determined in Article I,
                   Section 1.23(b) for the purpose of determining whether he has had a One-Year Break-
                   in-Service.

             (e)   For any calendar year during which a Participant has had an hour of Contributions
                   required to be made on his behalf, the number of hours of Vesting Service due to
                   employment under a Collective Bargaining Agreement requiring hourly Contributions
                   during such year divided by 600 shall be added to the sum determined in Article I,
                   Section 1.37 for the purpose of determining whether he has earned a Vesting Service
                   Year.

Section 4.         DETERMINATION OF THE BENEFIT CLASS OF A PARTICIPANT WITH HOURLY
                   CONTRIBUTIONS

             (a)   Continuous Contribution Method: The Benefit Class of a Participant who has had
                   Continuous Contributions during his last 5 calendar years shall be the Benefit Class
                   corresponding to the rate of his last weekly Continuous Contribution, his last daily
                   Continuous Contribution in effect for at least his last 5 days of Contributory Service, or
                   his last hourly Continuous Contribution in effect for at least his last 30 hours of
                   Contributory Service.

             (b)   Non-Continuous Contribution Method: The Benefit Class of a Participant who has not
                   had Continuous Contributions shall be determined by the Non-Continuous Contribution
                   Method described in Article III, Section 3.03(b). For the purpose of determining a
                   Participant’s Benefit Class under the Non-Continuous Contribution Method, 30 hours of
                   Contributions shall be equivalent to one week of Contributions and the dollar amount
                   shall be the equivalent weekly Contribution.




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APPENDIX G.          ACCEPTANCE POLICIES FOR BARGAINING UNITS

            The Acceptance Policies in this Appendix G have been adopted by the Board of Trustees for
            Bargaining Units that have not had prior coverage under this Pension Fund. These policies
            make it possible for a Bargaining Unit Employee who has never been covered by a Collective
            Bargaining Agreement (as defined in Article I, Section 1.06) to earn Vesting Service, Non-
            Contributory Service Credit and Contributory Service Credit for his past employment with the
            Contributing Employer that begins making Contributions on his behalf.

            (a)    GENERAL POLICY APPLICABLE TO A BARGAINING UNIT:

                   A Bargaining Unit may be accepted under this General Policy subject to the following
                   conditions:

                   (1)   BENEFIT CLASS: The Bargaining Unit must be covered by a Collective
                         Bargaining Agreement requiring Employer Contributions at any Benefit Class
                         under Schedule B.

                   (2)   AGE AND SERVICE OF EMPLOYEES: The Employees in the Bargaining Unit
                         may be any age and have any number of years of past employment with the
                         Contributing Employer that becomes required to make Employer Contributions to
                         the Pension Fund on their behalf.

                   (3)   EARNING VESTING SERVICE AND NON-CONTRIBUTORY SERVICE CREDIT
                         FOR PAST EMPLOYMENT: An Employee who is a member of a Bargaining Unit
                         on the “Effective Date of Acceptance” (as hereinafter defined), shall earn Vesting
                         Service and Non-Contributory Service Credit for his periods of past employment
                         according to the following:

                         (A)    he shall earn Vesting Service for all of his continuous past employment with
                                the Contributing Employer that begins making Contributions on behalf of the
                                Employees in his Bargaining Unit; and

                         (B)    he shall earn Non-Contributory Service Credit according to Article I, Section
                                1.22(c) for all of his employment with the Contributing Employer that begins
                                making Contributions on behalf of the Employees in his Bargaining Unit,
                                unless such employment was as a manager, supervisor, business partner,
                                sole proprietor or business owner with supervisor authority. The “Effective
                                Date of Acceptance” of a Bargaining Unit is the date Contributions to the
                                Pension Fund begin on behalf of Employees who are members of a
                                Bargaining Unit accepted under this policy or the Alternative Policy in (b),
                                below.

                         (C)    Non-Contributory Service Credit earned according to (a)(3)(B), above, shall
                                be subject to the limitations in Article I, Section 1.20(a)(4).

                                An Employee who is on lay-off, sick leave or authorized leave of absence on
                                the Effective Date of Acceptance of his Bargaining Unit under this policy,
                                shall be eligible to earn Vesting Service and Non-Contributory Service Credit
                                according to the above.




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                  (4)   EARNING VESTING SERVICE AND CONTRIBUTORY SERVICE CREDIT FOR
                        FUTURE EMPLOYMENT: An Employee who is a member of a Bargaining Unit
                        accepted under this policy, shall earn Vesting Service and Contributory Service
                        Credit for periods of future employment according to the benefit eligibility
                        provisions of the Pension Plan.

                  (5)   CANCELLATION OF VESTING SERVICE AND NON-CONTRIBUTORY
                        SERVICE CREDIT EARNED: In the event a Bargaining Unit either voluntarily or
                        involuntarily withdraws from the Pension Fund during the “Five-Year Free Look”
                        period defined in Section 8 of Appendix E, the Vesting Service and Non-
                        Contributory Service Credit earned by an Employee under (a)(3), above, shall be
                        canceled. After the “Five-Year Free Look” period expires, the provisions of Article
                        I, Section 1.38 shall be applied in the event of a Voluntary Withdrawal.

                  (6)   BENEFIT ELIGIBILITY: The benefit eligibility rules of the Pension Plan, including
                        the Break-in-Service rules, shall be used to determine whether an Employee in a
                        Bargaining Unit accepted under this policy receives any benefit from the Pension
                        Fund, and the Forms of Payment provisions of the Pension Plan shall be used to
                        determine the manner in which any benefit to be received shall be paid.

           (b)    ALTERNATIVE POLICY APPLICABLE TO A BARGAINING UNIT THAT HAD PRIOR
                  PENSION PLAN COVERAGE FOR ITS MEMBERS: A Bargaining Unit whose members
                  have been covered by another pension plan may be accepted under this Alternative
                  Policy rather than the General Policy stated above, subject to the following conditions:

                  (1)   BENEFIT CLASS: The Employees in the Bargaining Unit must be covered by a
                        Collective Bargaining Agreement requiring Employer Contributions under a
                        Schedule B Benefit Class that provides benefits comparable to the benefits
                        payable to them by the prior pension plan.

                  (2)   AGE AND SERVICE OF EMPLOYEES: The Bargaining Unit must consist of less
                        than 20% of Employees who are at an age greater than 55 with 15 or more years
                        of past employment with the Contributing Employer that becomes required to make
                        Employer Contributions to the Pension Fund on their behalf.

                  (3)   EARNING VESTING SERVICE, NON-CONTRIBUTORY SERVICE CREDIT AND
                        CONTRIBUTORY SERVICE CREDIT FOR PAST EMPLOYMENT: An Employee
                        who is a member of a Bargaining Unit on the “Effective Date of Acceptance” (as
                        defined in (a)(3), above), shall earn Vesting Service, Non-Contributory Service
                        Credit and Contributory Service Credit for periods of past employment according
                        to the following:

                        (A)    he shall earn Vesting Service for all of his continuous past employment with
                               the Contributing Employer that begins making Contributions on behalf of the
                               Employees in his Bargaining Unit; and

                        (B)    he shall earn Non-Contributory Service Credit according to Article I, Section
                               1.22(c) of the Pension Plan for all of his employment with the Contributing
                               Employer required to make Contributions on behalf of the Employees in his
                               Bargaining Unit, except that, no Non-Contributory Service Credit will be
                               earned for:

                               (i)   employment as a manager, supervisor, business partner, sole
                                     proprietor or business owner with supervisory authority; or

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                               (ii)   employment for which he earns Contributory Service Credit according
                                      to (b)(3)(C), below.

                        (C)    he shall earn Contributory Service Credit under this Pension Plan for any
                               contributory service credit he had earned under the prior pension plan if he
                               had become a participant vested under the prior pension plan.

                               Non-Contributory Service Credit earned according to (b)(3)(B), above, shall
                               be subject to the limitations in Article I, Section 1.20(a)(4) of the Pension
                               Plan.

                               An Employee who is on lay-off, sick leave, or authorized leave of absence on
                               the Effective Date of Acceptance of his Bargaining Unit under this policy,
                               shall be eligible to earn Vesting Service, Non-Contributory Service Credit and
                               Contributory Service Credit according to the above.

                  (4)   EARNING VESTING SERVICE AND CONTRIBUTORY SERVICE CREDIT FOR
                        FUTURE EMPLOYMENT: An Employee who is a member of a Bargaining Unit
                        accepted under this policy, shall earn Vesting Service and Contributory Service
                        Credit for periods of future employment according to the benefit eligibility provision
                        of the Pension Plan.

                  (5)   CANCELLATION OF VESTING SERVICE, NON-CONTRIBUTORY SERVICE
                        CREDIT AND CONTRIBUTORY SERVICE CREDIT EARNED: In the event a
                        Bargaining Unit accepted under this policy either voluntarily or involuntarily
                        withdraws from the Pension Fund during the “Five-Year Free Look” period defined
                        in Section 8 of Appendix E, the Vesting Service, Non-Contributory Service Credit
                        and Contributory Service Credit earned by an Employee under (b)(3), above, shall
                        be canceled. After the “Five-Year Free Look” period expires, the provisions of
                        Article I, Section 1.38 shall be applied in the event of a Voluntary Withdrawal.

                  (6)   BENEFIT ELIGIBILITY: The benefit eligibility rules of the Pension Plan, including
                        the Break-in-Service rules, shall be used to determine whether an Employee who
                        is a member of a Bargaining Unit accepted under this policy receives any benefit
                        from the Pension Fund, and the Forms of Payment provisions of the Pension Plan
                        shall be used to determine the manner in which any benefit to be received shall be
                        paid, except that:

                        (A)    The Twenty-Year Service Pension, Early Retirement Pension, Deferred
                               Pension and Twenty-Year Deferred Pension shall be reduced by the amount
                               of any benefit payable under the prior pension plan.

                        (B)    The eligibility requirements for the Contributory Credit Pension, 25-And-Out
                               Pension and 30-And-Out Pension shall also include the condition that at least
                               ½ of the Contributory Service Credit needed for these benefits be earned
                               after the Effective Date of Acceptance of a Bargaining Unit under this policy.
                               These benefits shall also be reduced by the amount of any benefit payable
                               under the prior pension plan.

           (c)    POLICY UNDER WHICH VESTING SERVICE, NON-CONTRIBUTORY SERVICE
                  CREDIT AND CONTRIBUTORY SERVICE CREDIT WILL BE RECOGNIZED: Any
                  Vesting Service, Non-Contributory Service Credit and Contributory Service Credit being
                  claimed by an Employee in a Bargaining Unit accepted under the provisions of this
                  Appendix G, must be reported to the Pension Fund at the time the Bargaining Unit
                  petitions for acceptance. Only an Employee who is a member of a Bargaining Unit on
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                  the Effective Date of Acceptance shall be eligible to have Vesting Service, Non-
                  Contributory Service Credit and Contributory Service Credit recognized by the Pension
                  Fund according to the provisions of this Appendix G. An Employee who is hired or
                  rehired and becomes a member of a Bargaining Unit after its Effective Date of
                  Acceptance shall not be eligible to claim any Vesting Service, Non-Contributory Service
                  Credit or Contributory Service Credit under this Appendix G.




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APPENDIX H.          THE SPECIAL ELIGIBILITY APPENDIX

            During 1987, a settlement was finalized in a class action lawsuit (Dutchak, Brock and Sullivan
            v. Fitzsimmons) that had been pending in the United States District Court in Chicago. This
            Appendix H adds a series of amendments to the Pension Plan to comply with this settlement.
            In general, the provisions of this Appendix H make the federal law requirements of the
            Employee Retirement Income Security Act of 1974 (ERISA), retroactive to February 1, 1955
            (the inception of the Pension Fund) so as to cover any Participant or former Participant. The
            purpose of this Appendix H is to set forth the special eligibility amendments that apply to those
            who are affected by this settlement. These special eligibility amendments supersede any other
            provisions of this Pension Plan to the extent they are in conflict with those provisions.

            (a)    If any Participant is entitled to benefits under any provisions of the Pension Plan other
                   than these amendments, those other benefits must be paid in full and set off against any
                   benefit payable because of the amendments. This will not result in a decrease in the
                   total benefit to which any Participant is entitled.

            (b)    Prior to ERISA, which became law in 1974, the Fund did not provide any form of vested
                   benefits; that is (with one exception), no Participant was guaranteed a benefit unless the
                   Participant had met all eligibility criteria at the time of the Participant’s retirement. The
                   ERISA rules, in general, provide a benefit to every Participant with 10 years of
                   contributions made or required to be made to the Pension Fund not interrupted by a
                   Break-in-Service (absence from contributory coverage) regardless whether the
                   Participant subsequently left the Pension Fund for any period of time, however long,
                   before retiring. As a result of these amendments, any Participant who has ever had 10
                   years of contributions made or required to be made to the Pension Fund on his behalf
                   may receive a Vested Pension calculated under the ERISA mandated formula.
                   Specifically, under these amendments, any Participant who is eligible to retire before
                   December 31, 2015, will be entitled to choose either the benefits for which that
                   Participant qualifies under the Pension Plan as it existed before these amendments
                   became effective or, in the alternative, to receive a Vested Pension based upon all
                   contributions required to be made to the Pension Fund on behalf of the Participant since
                   1955 (not counting certain non-contributory service as defined in the Pension Plan) if
                   the Participant has received 10 Vesting Service Years (as defined in the Pension Plan),
                   regardless whether at least 3 of those years were received after December 31, 1970
                   and regardless whether he was a Participant as defined by the Pension Plan.

            (c)    Under the earlier pension plans, a Participant could have a Break-in-Service, and lose
                   Service Credit if he left the Pension Fund for 2 to 5 years, regardless whether he
                   returned to coverage at a later date. The Break could cause the loss of a Participant’s
                   entire pension. These amendments, however, will be subject to the ERISA Break-in-
                   Service rules, which permit a Participant to regain all Service Credit if he returns to the
                   Pension Fund in less years than he was originally in the Fund, regardless whether the
                   Covered Service, Service Credit and Vesting Service occurred at any time after
                   February 1, 1955. In all cases, the Break-in-Service rule which is most advantageous to
                   the Participant will be applied in determining his eligibility for any benefit.

            (d)    Service in a different fund which has reciprocity with the Pension Fund, or in another
                   pension plan established by collective bargaining with an International Brotherhood of
                   Teamsters affiliate which this Pension Fund does not have a reciprocal agreement, will
                   not constitute a Break-in-Service regardless whether it is treated as Service Credit in
                   this Pension Fund for purposes of the Pension Plan for employment covered by another
                   pension plan. This amendment will remain in effect until December 31, 2015.


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           (e)    At present, the Pension Fund normally pays disability benefits on the same schedule as
                  Social Security Disability Benefits; starting the 1st day of the month after 5 full calendar
                  months of total disability. The present rules, however, delay such payments (and do not
                  pay for the period of such delay) if a Participant does not file his claim for disability
                  benefits during this 5 month period, so that a tardy filing will cause denial of benefits for
                  any time prior to the 3rd month after such late claim. As a result of these amendments,
                  the tardy filing rule will be waived so that the first monthly payment of a Disability Pension
                  Benefit for any Participant disabled between the effective date of this amendment and
                  December 31, 2015, will become due on the 1st day of the month after such Participant
                  has been disabled for 5 full calendar months (and is otherwise eligible for a benefit under
                  the Pension Plan).

           (f)    Each participant receiving a Disability Pension Benefit of $100 as of October 15, 1981,
                  will receive a $10 increase in his monthly payments effective retroactively to November
                  1, 1981 and to and including December 31, 2015, so long as that Participant is otherwise
                  eligible under the Pension Plan. If the Disability Pension Benefit is increased above $150
                  before December 31, 2015, the eligible Participant will receive that increased benefit
                  plus $15 per month, until December 31, 2015, at which time all additional payments
                  made under this amendment will terminate totally, provided that Participants who
                  qualified for a Disability Pension Benefit prior to December 31, 2015 and began to
                  receive the increased monthly payments described under this Section (f) prior to that
                  date, shall, subject to the requirements of all other provisions of this Pension Plan,
                  continue to receive those increased payments.

           (g)    A Special Hardship Appeal Committee will be created, composed of one Union Trustee
                  and one Employer Trustee. This Committee will meet at least once each calendar
                  quarter and may meet more often at its discretion. For each hardship claim presented,
                  the Committee will attempt to reach fair and internally consistent decisions and will keep
                  files which will include a summary of the basis of the claim and the Committee’s findings
                  and disposition of the claim. In addition, the Committee will maintain an index to all such
                  files. These records will be available for inspection by any Participant or his attorney.
                  The procedure for review of a claim by the Special Hardship Appeal Committee will be
                  the same as that for review by the Board of Trustees as described in the Pension Plan,
                  except to the extent that procedure is inconsistent with the procedure provided in this
                  amendment.

           (h)    The Special Hardship Appeal Committee will review appeals by and grant benefits to
                  any Participant who does not qualify for benefits under the Pension Plan in cases where
                  substantial justice requires deviation from the specific eligibility rules of the Pension
                  Plan; these cases must substantially conform to circumstances in which:

                  (1)   the Participant would have been eligible for benefits but for written misinformation
                        provided by the Pension Fund or its Employees;

                  (2)   the Participant would have been eligible for benefits but for inadequate or tardy
                        release of information about the Pension Fund’s eligibility rules or his status under
                        these rules;

                  (3)   the Participant has at least 20 years of Covered Service on or after his 47th
                        birthday, was not an active Employee on his 50th birthday, and demonstrated
                        confusion as to the application of Pension Plan rules to those circumstances by
                        having made a reasonably contemporaneous claim for benefits;

           (i)    Any benefits payable to a Participant or former Participant becoming eligible under the
                  terms of these amendments which have a present value (as computed by the Pension
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                  Fund’s actuary) of $2,500 or less at the time the benefits become effective, may (if the
                  Pension Fund elects) be paid in lump-sum equivalent to the amount of that present
                  value.

           (j)    Any payment which would have been made to a deceased Participant under the
                  amendments if not for the Participant’s death, will be payable to the estate of the
                  deceased Participant or those of the Participant’s heirs as may be determined by the
                  Pension Fund. Any payment of death benefits to which any person would be entitled
                  under the amendments will be made to the person who would have been entitled to a
                  death benefit at the time of the death of the Participant.

           (k)    These amendments are enacted pursuant to the settlement and will expire and cease
                  being effective on December 31, 2015, however, a Participant who is entitled to receive
                  benefits other than the disability pension provided by the amendments (but subject to
                  the final proviso clause concerning increased disability pension benefits set forth in
                  section (f) of this Appendix H and the other eligibility rules of the Pension Plan) will
                  continue to receive those benefits for the remainder of his life. Subject to any limitations
                  of ERISA or any other applicable legal requirements, the Board of Trustees reserves the
                  right to amend the Pension Plan to suspend or eliminate any of the benefits required by
                  the amendments if the lawsuits are reopened or revived by court order in a way which
                  challenges the general principles of the amendments and the settlement upon which
                  they are based.




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APPENDIX I.          MEDICAL BENEFITS ACCOUNTS


Section 1.         PREAMBLE

             This Appendix I is added to the Pension Plan by the Board of Trustees, effective on and after
             June 1, 1999, in order to establish a basis for benefits to be payable by the Pension Fund in
             accordance with Section 401(h) of the Internal Revenue Code, which currently provides that
             “a pension or annuity plan may provide for the payment of benefits for sickness, accident,
             hospitalization, and medical expenses of retired employees, their spouses and their
             dependents” if certain conditions are satisfied.

Section 2.         DEFINITIONS

             The definitions applicable to this Appendix I include all definitions stated in Article I and other
             provisions of the Pension Plan, as heretofore and hereafter amended, and the following:

             (a)   “Eligible Medical Beneficiary” means any person (1) who is a Pensioner receiving
                   monthly retirement pension benefits from the Pension Fund or the Spouse of such a
                   Pensioner and (2) who is eligible to receive Medical Benefits in accordance with a
                   Medical Benefits Account; and

             (b)   “Health and Welfare Fund” means Central States, Southeast and Southwest Areas
                   Health and Welfare Fund; and

             (c)   “Medical Benefits” means those benefits which are specified in a Medical Benefits
                   Account; and

             (d)   “Medical Benefits Account” means a plan established by the Board of Trustees to
                   provide benefits in accordance with Section 401(h) of the Internal Revenue Code,
                   provided that the terms and provisions of each such separate plan shall be specified in
                   a resolution adopted by the Board of Trustees; and

             (e)   “Spouse” means any person (1) who is married to a Pensioner in a legally recognized
                   civil or religious ceremony or (2) who is a party to a common-law marriage with a
                   Pensioner in a jurisdiction in which common-law marriages are recognized to be valid,
                   provided that the Pension Fund receives evidence confirming that all prerequisites to
                   the validity of a common-law marriage, in that jurisdiction, have been satisfied.

Section 3.         MEDICAL BENEFITS ACCOUNTS

             (a)   The Board of Trustees amends the Pension Plan by the addition of this Appendix I,
                   effective on and after June 1, 1999, as the basis for Medical Benefits to be payable by
                   the Pension Fund in accordance with separate Medical Benefits Accounts, the terms
                   and provisions of each such separate account to be specified in a resolution adopted by
                   the Board of Trustees.

             (b)   The funding for the payment of all Medical Benefits in accordance with Medical Benefits
                   Accounts shall be derived entirely from Contributions payable by Contributing Employers
                   in accordance with Collective Bargaining Agreements and from investment earnings.

             (c)   The terms and provisions of the Pension Plan relating to plan administration, including
                   Article VII and Appendix B, are incorporated by reference into, and shall be applicable
                   to, this Appendix I.

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           (d)    The Health and Welfare Fund shall provide administrative services in disbursing Medical
                  Benefits in accordance with Medical Benefits Accounts, in exchange for which the Health
                  and Welfare Fund shall receive reasonable compensation from the Pension Fund in
                  amounts sufficient to reimburse the Health and Welfare Fund for the costs it incurs in
                  providing such services.

           (e)    Medical Benefits Account 18+ is established, effective on and after June 1, 1999, and is
                  based upon the following terms and provisions:

                  (1)   the funding for the payment of all Medical Benefits in accordance with Medical
                        Benefits Account 18+ shall be derived entirely from a portion of the Contributions
                        that are payable by Contributing Employers in accordance with Collective
                        Bargaining Agreements that specify Benefit Class 18+ Contribution rates (and from
                        investment earnings), provided that the portion of those Contributions allocable to
                        Medical Benefits Account 18+ shall be limited to $6.00 per weekly Contribution or
                        $1.20 per daily contribution or $.15 per hourly Contribution, and provided further
                        that the Pension Fund shall not be obligated to fund Medical Benefits except to the
                        extent of such specified portion of Contributions and investment earnings thereon;
                        and

                  (2)   the Medical Benefits that will be payable to an Eligible Medical Beneficiary in
                        accordance with Medical Benefits Account 18+ will be equal to the Prescription
                        Drug Benefit which is specified (as of June 1, 1999) in the Retiree Plan Document
                        of the Health and Welfare Fund, the terms and exclusions of which are hereby
                        incorporated by reference, provided that the Pension Fund will pay 80% of covered
                        Prescription Drug Benefit charges, and provided further that such payments by the
                        Pension Fund will be limited to $1,000 per Eligible Medical Beneficiary in each
                        calendar year, and provided further that the terms, limitations and exclusions of
                        Medical Benefits payable in accordance with Medical Benefits Account 18+ may
                        be amended by the Board of Trustees at any time and to any lawful extent and
                        purpose; and

                  (3)   Medical Benefits in accordance with Medical Benefits Account 18+ will be payable
                        to a Pensioner receiving monthly retirement benefits from the Pension Fund (only
                        during periods in which such monthly benefits are payable), and to the Spouse of
                        such a Pensioner, if:

                        (A)    the Pensioner meets each of the requirements of Section 4.04(d)(7) and
                               qualifies for a Contributory Credit Pension under Benefit Class 18+; and

                        (B)    the Pensioner has at least 20 years of Contributory Service Credit; and

                        (C)    the Pensioner’s Retirement Date is during the period from the initial effective
                               date through the expiration date of a Collective Bargaining Agreement which
                               covers members of his Bargaining Unit and which provides for Employer
                               Contributions at a rate corresponding to Benefit Class 18+; provided that
                               such Medical Benefits will be payable only on and after the 65th birthday of
                               a Pensioner or Spouse.




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Section 4.         MISCELLANEOUS

             In order to comply with the Internal Revenue Code, administration of each Medical Benefits
             Account shall comply with the following requirements:

             (a)   all Medical Benefits shall be subordinate to the retirement pension benefits provided by
                   and in accordance with the Pension Plan, provided that the aggregate actual
                   Contributions allocated to Medical Benefits Accounts (when added to aggregate actual
                   Contributions allocable to life insurance protection provided by and in accordance with
                   the Pension Plan) shall not exceed 25% of all actual Contributions to the Pension Fund
                   (other than Contributions allocated to the funding of past service credits) after the date
                   on which a Medical Benefit Account is first established by the Pension Fund; and

             (b)   a separate account shall be established and maintained with respect to Contributions
                   allocated to each Medical Benefits Account, provided that this separate account
                   requirement is for recordkeeping purposes only and that the funds allocated to Medical
                   Benefits Accounts will be collectively invested with funds set aside for retirement
                   purposes without identification of which investment properties are allocable to each
                   account, and provided further that the investment earnings attributable to Medical
                   Benefits Accounts must be allocated to each such account in a reasonable manner; and

             (c)   each Contributing Employer, at or before the time he remits any Contribution to the
                   Pension Fund of which part is to be allocated to a Medical Benefits Account, must
                   designate the portion of the Contribution that is allocable to a Medical Benefits Account,
                   and all Contributions by Contributing Employers to Medical Benefits Accounts must be
                   reasonable and ascertainable; and

             (d)   it shall be impossible, at any time prior to the satisfaction of all liabilities under the
                   Pension Plan to provide Medical Benefits, for any part of the corpus or income of a
                   Medical Benefits Account (as recorded in a separate account) to be used for, or diverted
                   to, any purpose other than the providing of such Medical Benefits (within the taxable
                   year or thereafter), provided that it is permissible to apply corpus and/or income of a
                   Medical Benefits Account to the payment of necessary or appropriate expenses of
                   administering a Medical Benefits Account; and

             (e)   in the event the interest of an Eligible Medical Beneficiary in a Medical Benefits Account
                   is forfeited prior to termination of the account, an amount equal to the amount of the
                   forfeiture shall be applied as soon as possible to reduce Contributions to fund Medical
                   Benefits payable in accordance with the account; and

             (f)   in the case of any Pensioner who is a “key employee” (meaning a person who, at any
                   time during the plan year or any preceding plan year during which Contributions were
                   made to the Pension Fund on his or her behalf, was a “key employee” as defined in
                   Section 416[i] of the Internal Revenue Code as heretofore or hereafter amended), a
                   separate account shall be established and maintained for Medical Benefits payable on
                   behalf of such Pensioner and his or her Spouse, and such Medical Benefits (for any plan
                   year in which the person is a “key employee”) shall be payable for such Pensioner and
                   his or her Spouse only from such separate account; and

             (g)   upon the satisfaction of all liabilities under the Pension Plan to provide Medical Benefits
                   from a Medical Benefits Account, all of the corpus and income remaining in the Medical
                   Benefits Account (as recorded in a separate account) shall be credited or refunded to
                   the Contributing Employers whose Contributions funded the account, provided that such
                   credits or refunds shall be limited to entities which are then Contributing Employers.

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APPENDIX J-1.        GROCERY WAREHOUSE PLAN A


Section 1.         PREAMBLE

             This Appendix J-1 is added to the Pension Plan by the Board of Trustees, effective on and
             after January 1, 2000, in order to establish the basis for the initial participation in the Pension
             Plan, after that date, of certain newly hired Employees of Contributing Employers which are
             Grocery Warehouse Employers. A principal objective of this Appendix J-1 is to fortify the
             contribution base of the Pension Fund by attracting certain additional Contributing Employers
             and Participants and by enabling certain existing Contributing Employers to continue their
             participation in the Pension Fund. The terms and provisions of this Appendix J-1 are available
             only to those Contributing Employers (and Participants employed by them) whose
             participation in this Grocery Warehouse Plan is expressly authorized and approved by the
             Trustees. (This Appendix J-1 is inapplicable to any Collective Bargaining Agreement
             [including any renewal or extension of an earlier Collective Bargaining Agreement] that is
             initially effective in a period that begins on or after July 1, 2006. If the expiration date of a
             Collective Bargaining Agreement of a Grocery Warehouse Employer was on or after July 1,
             2006, and the agreement is amended to provide an expiration date prior to July 1, 2006, the
             amended agreement will not be accepted by the Pension Fund and this Appendix J-1 will be
             inapplicable to the amended agreement after its pre-amendment expiration date. See
             Appendix J-2 of the Pension Plan.)

Section 2.         DEFINITIONS

             The definitions applicable to this Appendix J-1 include all definitions stated in Article I and
             other provisions of the Pension Plan, as heretofore and hereafter amended, and the following:

             (a)   “Grocery Warehouse Employer” means a Contributing Employer which is bound by the
                   terms of a Teamster Contract and which is engaged in grocery warehouse operations.
                   The Trustees of the Pension Fund are vested with discretionary and final authority in
                   determining whether or not a specific Contributing Employer is a Grocery Warehouse
                   Employer and each such determination shall be binding upon that Contributing
                   Employer, all other Contributing Employers and all Participants and beneficiaries of the
                   Pension Fund.

             (b)   “Grocery Warehouse Employee”, within the scope and for purposes of this Appendix J-
                   1, means a Participant (1) who is employed by a Grocery Warehouse Employer, (2)
                   whose employment is limited to grocery warehouse operations and (3) whose initial
                   employment by his Grocery Warehouse Employer begins during the period from January
                   1, 2000, through the date of the first expiration on or after July 1, 2006, of a Collective
                   Bargaining Agreement (including any renewal or extension of an earlier agreement) of
                   his Grocery Warehouse Employer. (“Grocery Warehouse Employee” does not include
                   any employee who performs truck driving and/or other non-warehouse services for his
                   Grocery Warehouse Employer.) The Trustees of the Pension Fund are vested with
                   discretionary and final authority in determining whether or not a specific Participant is a
                   Grocery Warehouse Employee and each such determination shall be binding upon that
                   Participant, his Contributing Employer, all other Contributing Employers and all
                   Participants and beneficiaries of the Pension Fund.




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Section 3.         AUTHORIZED  LESS-THAN-100%  EMPLOYER   CONTRIBUTIONS  (AND
                   CONTRIBUTORY SERVICE CREDIT) DURING INITIAL EMPLOYMENT OF
                   GROCERY WAREHOUSE EMPLOYEES

             (a)   Each Grocery Warehouse Employer shall be authorized and obligated to remit Employer
                   Contributions on behalf of each Grocery Warehouse Employee it first employs on a date
                   that is on or after January 1, 2000, and prior to July 1, 2006, beginning no later than the
                   Contribution Start Date of that employee (as determined pursuant to this subsection), at
                   no less than the following percentage of the Contribution Rates specified in Section
                   3.01(d) of the Pension Plan:

                   (1)   20% throughout the first 12-month period after the Contribution Start Date; and

                   (2)   40% throughout the second 12-month period after the Contribution Start Date; and

                   (3)   60% throughout the third 12-month period after the Contribution Start Date; and

                   (4)   80% throughout the fourth 12-month period after the Contribution Start Date; and

                   (5)   100% on and after the fourth anniversary of the Contribution Start Date.

                   For each Grocery Warehouse Employer whose initial Collective Bargaining Agreement
                   providing for the above-described phased-in Employer Contributions is first effective on
                   a date after March 31, 2005, the Contribution Start Date of each Grocery Warehouse
                   Employee it first employs during or after the term of that agreement shall be the 31st
                   calendar day after such employment begins. For each Grocery Warehouse Employer
                   whose initial Collective Bargaining Agreement providing for the above-described
                   phased-in Employer Contributions was first effective before April 1, 2005, the
                   Contribution Start Date of each Grocery Warehouse Employee it first employs on or after
                   January 1, 2000, shall be no later than the date of that employee’s initial completion of
                   1,000 Hours of Service in a 12-month period based upon his compensated employment
                   by that Grocery Warehouse Employer, provided that, for each renewal or extension of a
                   Collective Bargaining Agreement of such Grocery Warehouse Employer that is first
                   effective on or after April 1, 2005, the Contribution Start Date of each Grocery
                   Warehouse Employee it first employs during or after the term of that renewed or
                   extended agreement shall be the 31st calendar day after such employment begins.

             (b)   Any Collective Bargaining Agreement that provides for a schedule of phased-in
                   Employer Contributions over a maximum 48-month period as authorized by (a), supra,
                   shall specify the full Contribution Rate to which each percentage is applicable and shall
                   separately specify the amount and duration of each such percentage.

             (c)   Any Participant on whose behalf Employer Contributions are owed at less than 100% of
                   the applicable Contribution Rate(s) during the first 48 months after his Contribution Start
                   Date, pursuant to (a) and (b), supra, shall, during that same period, earn full Contributory
                   Service for the purposes of both calculating a Year of Participation and preventing a
                   One-Year Break-in-Service (and a Break-in-Service) as if the Participant’s Employer
                   Contributions were owed at 100% (rather than partial percentages) of the full
                   Contribution Rate(s), provided that only the same partial percentages of Contributory
                   Service will be included in calculating Contributory Service Credit.

             (d)   Any Participant on whose behalf Employer Contributions are owed at less than 100% of
                   the applicable Contribution Rate(s) during the first 48 months after his Contribution Start
                   Date, pursuant to (a) and (b), supra, shall earn full Vesting Service throughout that period

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                  as if the Participant’s Employer Contributions were owed at 100% (rather than partial
                  percentages) of the full Contribution Rate(s).

           (e)    Any Participant on whose behalf Employer Contributions are owed at less than 100% of
                  the applicable Contribution Rate(s) during the first 48 months after his Contribution Start
                  Date, pursuant to (a) and (b), supra, shall be limited to the same partial amount of
                  Contributory Service Credit during that 48-month period (for example, if the Participant’s
                  Employer Contributions are owed at 20%, 40%, 60% and 80% of the full Contribution
                  Rate[s], respectfully, during the first four 12-month periods after his Contribution Start
                  Date, he will be entitled to Contributory Service Credit limited to the same corresponding
                  percentage of each week, day or other partial period within each such 12-month period),
                  and shall be limited to the same partial periods of Contributions solely for the purposes
                  of calculating Continuous Contributions and calculating the amount of reemployment of
                  a recovered (former) Disabled Participant or a reemployed Pensioner that may be
                  credited toward the 250-week minimum provided in Section 4.14.

           (f)    The terms and provisions of this Appendix J-1 shall be applied to each newly hired
                  Grocery Warehouse Employee without taking into account any of his prior employment,
                  except employment by the same Grocery Warehouse Employer. Each Grocery
                  Warehouse Employer may owe partial rather than full Employer Contributions on behalf
                  of each of its Grocery Warehouse Employees, during only the first 48 months after an
                  employee’s first Contribution Start Date during his initial employment by that Grocery
                  Warehouse Employer, to the extent authorized by this Appendix J-1 (even if its
                  employment of that employee is not continuous throughout that 48-month period).




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APPENDIX J-2.        GROCERY WAREHOUSE PLAN B


Section 1.           PREAMBLE

              This Appendix J-2 is added to the Pension Plan by the Board of Trustees, effective on and
              after July 1, 2006, in order to establish the basis for the initial participation in the Pension
              Plan, after that date, of certain newly hired Employees of Contributing Employers which are
              Grocery Warehouse Employers. A principal objective of this Appendix J-2 is to fortify the
              contribution base of the Pension Fund by attracting certain additional Contributing
              Employers and Participants and by enabling certain existing Contributing Employers to
              continue their participation in the Pension Fund. The terms and provisions of this Appendix
              J-2 are available only to those Contributing Employers (and Participants employed by them)
              whose participation in this Grocery Warehouse Plan is expressly authorized and approved
              by the Trustees.
Section 2.           DEFINITIONS

              The definitions applicable to this Appendix J-2 include all definitions stated in Article I and
              other provisions of the Pension Plan, as heretofore and hereafter amended, and the
              following:

              (a)    “Grocery Warehouse Employer” means a Contributing Employer which is bound by
                     the terms of a Teamster Contract and which is engaged in grocery warehouse
                     operations. The Trustees of the Pension Fund are vested with discretionary and final
                     authority in determining whether or not a specific Contributing Employer is a Grocery
                     Warehouse Employer and each such determination shall be binding upon that
                     Contributing Employer, all other Contributing Employers and all Participants and
                     beneficiaries of the Pension Fund.

              (b)    “Grocery Warehouse Employee”, within the scope and for purposes of this Appendix
                     J-2, means a Participant (1) who is employed by a Grocery Warehouse Employer, (2)
                     whose employment is limited to grocery warehouse operations and (3) whose initial
                     employment by his Grocery Warehouse Employer begins on or after the inception date
                     of the first Collective Bargaining Agreement of his Grocery Warehouse Employer
                     (including any renewal or extension of an earlier agreement) that becomes effective
                     on or after July 1, 2006. (“Grocery Warehouse Employee” does not include any
                     employee who performs truck driving and/or other non-warehouse services for his
                     Grocery Warehouse Employer.) The Trustees of the Pension Fund are vested with
                     discretionary and final authority in determining whether or not a specific Participant is
                     a Grocery Warehouse Employee and each such determination shall be binding upon
                     that Participant, his Contributing Employer, all other Contributing Employers and all
                     Participants and beneficiaries of the Pension Fund. (A Participant who, as of June 30,
                     2006, is a “Grocery Warehouse Employee” within the scope and for purposes of
                     Appendix J-1, and whose first Contribution Start Date for Appendix J-1 purposes was
                     after June 30, 2002, may prospectively be reclassified as a “Grocery Warehouse
                     Employee” within the scope and purposes of this Appendix J-2, but only for the
                     remainder of the first 48 months after his first Contribution Start Date for Appendix J-
                     1 purposes, provided that any such reclassification is contingent on prior approval by
                     the Trustees of a corresponding amendment to his Contributing Employer’s Collective
                     Bargaining Agreement [the Trustees are vested with discretionary and final authority
                     in determining whether or not to approve such an amendment].)




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Section 3.           AUTHORIZED  LESS-THAN-100%  EMPLOYER   CONTRIBUTIONS  (AND
                     CONTRIBUTORY SERVICE CREDIT) DURING INITIAL EMPLOYMENT OF
                     GROCERY WAREHOUSE EMPLOYEES

              (a)    Each Grocery Warehouse Employer shall be authorized and obligated to remit
                     Employer Contributions on behalf of each Grocery Warehouse Employee it first
                     employs on or after July 1, 2006, beginning no later than the Contribution Start Date
                     of that employee (as determined pursuant to this subsection), at no less than the
                     following percentage of the Contribution Rates specified in Section 3.01(d) of the
                     Pension Plan:

                     (1)    50% throughout the first 36-month period after the Contribution Start Date; and

                     (2)    100% on and after the third anniversary of the Contribution Start Date.

                     For each Grocery Warehouse Employer whose initial Collective Bargaining Agreement
                     providing for the above-described phased-in Employer Contributions is first effective
                     on a date on or after July 1, 2006, the Contribution Start Date of each Grocery
                     Warehouse Employee it first employs on or after that date shall be the 31st calendar
                     day after such employment begins.

              (b)    Any Collective Bargaining Agreement that provides for a schedule of phased-in
                     Employer Contributions over a maximum 36-month period as authorized by (a), supra,
                     shall specify the full Contribution Rate to which the 50% percentage is applicable and
                     shall specify the amount and duration of the 50% obligation.

              (c)    Any Participant on whose behalf Employer Contributions are owed at 50% of the
                     applicable Contribution Rate(s) during the first 36 months after his Contribution Start
                     Date, pursuant to (a) and (b) supra, shall, during that same period, earn full
                     Contributory Service for the purposes of both calculating a Year of Participation and
                     preventing a One-Year Break-in-Service (and a Break-in-Service) as if the
                     Participant’s Employer Contributions were owed at 100% (rather than 50%) of the full
                     Contribution Rate(s).

              (d)    Any Participant on whose behalf Employer Contributions are owed at 50% of the
                     applicable Contribution Rate(s) during the first 36 months after his Contribution Start
                     Date, pursuant to (a) and (b), supra, shall earn full Vesting Service throughout that
                     period as if the Participant’s Employer Contributions were owed at 100% (rather than
                     50%) of the full Contribution Rate(s).

              (e)    Any Participant on whose behalf Employer Contributions are owed at 50% of the
                     applicable Contribution Rate(s) during the first 36 months after his Contribution Start
                     Date, pursuant to (a) and (b), supra, shall earn full Contributory Service Credit
                     throughout that period as if the Participant’s Employer Contributions were owed at
                     100% (rather than 50%) of the full Contribution Rate(s) and, during that same 36-
                     month period, 100% of the total weeks of Contributions will be included in any
                     calculations of Continuous Contributions (Section 3.02) and of the amount of
                     reemployment of a recovered (former) Disabled Participant or a reemployed Pensioner
                     that may be credited toward the 250-week minimum provided in Section 4.14.

              (f)    The terms and provisions of this Appendix J-2 shall be applied to each newly hired
                     Grocery Warehouse Employee without taking into account any of his prior
                     employment, except employment by the same Grocery Warehouse Employer. Each
                     Grocery Warehouse Employer may owe 50% rather than full Employer Contributions

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                    on behalf of each of its Grocery Warehouse Employees for only the first 36 months
                    after an employee’s first Contribution Start Date that occurs during his initial
                    employment by that Grocery Warehouse Employer, and only to the extent authorized
                    by this Appendix J-2 (even if its employment of that employee is not continuous
                    throughout that 36-month period).




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APPENDIX K-1. MINIMUM EMPLOYER CONTRIBUTION REQUIREMENTS


Section 1.              PREAMBLE

               This Appendix K-1 is added to the Pension Plan by the Board of Trustees, effective on and
               after November 8, 2005, in order to enable the Pension Fund to comply with minimum funding
               standards imposed by federal law. The Pension Fund is required to comply with minimum
               funding standards established by Section 302 of ERISA, 29 U.S.C. § 1082, and Section 412
               of the Internal Revenue Code, 26 U.S.C. § 412. A letter from Internal Revenue Service (“IRS”)
               dated July 13, 2005, to Thomas C. Nyhan, Executive Director of the Pension Fund, states in
               part (emphasis added):

                        “This letter constitutes notice that your request for a 10-year extension for
                        amortizing the unfunded liabilities described in section 412 (b) (2) (B) of the
                        Internal Revenue Code (‘Code’) and section 302 (b) (2) (B) of the Employee
                        Retirement Income Security Act of 1974 (‘ERISA’), has been approved subject
                        to the following conditions:”

                                                         *****

                        “... If any one of these conditions is not satisfied, the approval to extend
                        the amortization periods for amortizing the unfunded liabilities would be
                        retroactively null and void.”

               The Trustees have received recommendations, information and expert advice that addition of
               this Appendix K-1 to the Pension Plan will be a reasonable measure to enable the Pension
               Fund to comply with the required conditions of the above-referenced IRS letter dated July 13,
               2005, to prevent a deficiency in the Pension Fund’s funding standard account and to comply
               with minimum funding standards imposed by ERISA and the Internal Revenue Code.

Section 2.              DEFINITIONS

               The definitions applicable to this Appendix K-1 include all definitions stated in Article I and
               other provisions of the Pension Plan.

Section 3.              MINIMUM EMPLOYER CONTRIBUTION REQUIREMENTS

               Every Collective Bargaining Agreement which required Employer Contributions to the Pension
               Fund as of November 8, 2005, and which as of that date was scheduled to expire between
               that date and December 31, 2006, and which is renewed for periods beyond its expiration
               shall require each Contributing Employer bound by that renewal agreement to make increased
               Employer Contributions to the Pension Fund at Contribution rates at least equal to the
               following requirements (with exceptions specified in Section 4)1:





       As used in the Appendix K-1, “Current” means the final Employer Contribution rate for the highest
Benefit Class negotiated in the Collective Bargaining Agreement expiring between November 8, 2005,
and December 31, 2006; “Rate/Wk” means Weekly Employer Contribution Rates; “Rate/Day” means
Daily Employer Contribution Rates; and “Rate/Hr” means Hourly Employer Contribution Rates.

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                                           Schedule A (Benefit Class 1-14):


Benefit          Current              Year 1        Year 2        Year 3        Year 4         Year 5
Class            Rate/Wk              Rate/Wk       Rate/Wk       Rate/Wk       Rate/Wk        Rate/Wk

 1               $ 5.00               $ 5.40        $ 5.80        $ 6.20        $ 6.60         $ 7.10
 2                  7.00               7.50           8.00          8.60         9.20            9.80
 2A                 9.00               9.60          10.30         11.30        11.80          12.60
 3                11.00               11.80          12.60         13.50        14.40          15.40
 3A               13.00               13.90          14.90         15.90        17.00          18.20
 4                16.00               17.10          18.30         19.60        21.00          22.50
 5                18.50               19.80          21.20         22.70        24.30          26.00
 6                21.00               22.50          24.10         25.80        27.60          29.50
 7                24.00               25.70          27.50         29.40        31.50          33.70
 8                27.00               28.90          30.90         33.10        35.40          37.90
 9                30.00               32.10          34.30         36.70        39.30          42.10
 10               33.00               35.30          37.80         40.40        43.20          46.20
 11               37.00               39.60          42.40         45.40        48.60          52.00
 12               41.00               43.90          47.00         50.30        53.80          57.60
 13               46.00               49.20          52.60         56.30        60.20          64.40
 14               51.00               54.60          58.40         62.50        66.90          71.60




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                                           Schedule B (Benefit Class 1-14)


Benefit          Current              Year 1        Year 2        Year 3        Year 4         Year 5
Class            Rate/Wk              Rate/Wk       Rate/Wk       Rate/Wk       Rate/Wk        Rate/Wk

 1               $ 6.00               $ 6.40        $ 6.80        $ 7.30        $ 7.80         $ 8.30
 2                  8.00               8.60           9.20          9.80        10.50          11.20
 2A               10.00               10.70          11.40         12.20        13.10          14.00
 3                12.00               12.80          13.70         14.70        15.70          16.80
 3A               15.00               16.10          17.20         18.40        19.70          21.10
 4                18.00               19.30          20.70         22.10        23.60          25.30
 5                21.00               22.50          24.10         25.80        27.60          29.50
 6                24.00               25.70          27.50         29.40        31.50          33.70
 7                27.00               28.90          30.90         33.10        35.40          37.90
 8                30.00               32.10          34.30         36.70        39.30          42.10
 9                33.00               35.30          37.80         40.40        43.20          46.20
 10               36.00               38.50          41.20         44.10        47.20          50.50
 11               40.00               42.80          45.80         49.00        52.40          56.10
 12               44.00               47.10          50.40         53.90        57.70          61.70
 13               49.00               52.40          56.10         60.00        64.20          68.70
 14               55.00               58.90          63.00         67.40        72.10          77.10




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                                      Schedule B (Benefit Class 15[A] through 18+)


Benefit          Current              Year 1        Year 2         Year 3        Year 4           Year 5
Class            Rate/Wk              Rate/Wk       Rate/Wk        Rate/Wk       Rate/Wk          Rate/Wk

15A              $ 61.00              $ 65.30       $ 69.90        $ 74.80       $ 80.00          $ 85.60
15B                 65.00               69.60         74.50          79.70           85.30         91.30
15C                 69.00               73.80         79.00          84.50           90.40         96.70
16                  85.00               91.00         97.40         104.20       111.50           119.30
17A               118.00               126.30        135.10         144.60       154.70           165.50
17B               124.00               132.70        142.00         151.90       162.50           173.90
18                166.00               177.60        190.00         203.30       217.50           232.70
18+               180.00               192.20        205.20         219.10       234.00           250.00



Benefit          Current               Year 1        Year 2         Year 3        Year 4           Year 5
Class            Rate/Day             Rate/Day      Rate/Day       Rate/Day      Rate/Day         Rate/Day

15A              $13.00               $13.90        $14.90         $15.90        $17.00          $18.20
15B                13.80               14.80          15.80         16.90            18.10         19.40
15C                14.60               15.60          16.70         17.90            19.20         20.50
16                 17.80               19.00          20.30         21.70            23.20         24.80
17A                24.40               26.10          27.90         29.90            32.00         34.20
17B                25.60               27.40          29.30         31.40            33.60         36.00
18                 34.00               36.40          38.90         41.60            44.50         47.60
18+                36.80               39.30          42.00         44.90            48.00         51.30




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Benefit          Current              Year 1        Year 2        Year 3        Year 4         Year 5
Class            Rate/Hr              Rate/Hr       Rate/Hr       Rate/Hr       Rate/Hr        Rate/Hr

15A              $1.90                $2.00         $2.10         $2.20         $2.40          $2.60
15B                2.05                2.20          2.40          2.60          2.80           3.00
15C                2.20                2.40          2.60          2.80          3.00           3.20
16                 2.65                2.80          3.00          3.20          3.40           3.60
17A                3.70                4.00          4.30          4.60          4.90           5.20
17B                3.90                4.20          4.50          4.80          5.10           5.50
18                 5.20                5.60          6.00          6.40          6.80           7.30

Section 4.            EXCEPTIONS

             The terms and requirements of Section 3 of this Appendix K-1 will not be applicable to any
             Collective Bargaining Agreement expiring between November 8, 2005, and December 31,
             2006, if the expiration date of the agreement is prior to January 1, 2006, and the renewal of
             the agreement is ratified prior to January 1, 2006, provided that the renewal Collective
             Bargaining Agreement must be received by the Pension Fund prior to July 1, 2006, in order
             to qualify for the exception described in this sentence.




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APPENDIX K-2. MINIMUM EMPLOYER CONTRIBUTION REQUIREMENTS
              (NOVEMBER 8, 2006 UPDATE)


Section 1.              PREAMBLE

               This Appendix K-2 is added to the Pension Plan by the Board of Trustees, effective on and
               after November 8, 2006, in order to enable the Pension Fund to comply with minimum funding
               standards imposed by federal law. The Pension Fund is required to comply with minimum
               funding standards established by Section 302 of ERISA, 29 U.S.C. § 1082, and Section 412
               of the Internal Revenue Code, 26 U.S.C. § 412. A letter from Internal Revenue Service (“IRS”)
               dated July 13 2005, to Thomas C. Nyhan, Executive Director of the Pension Fund, states in
               part (emphasis added):

                        “This letter constitutes that your request for a 10-year extension for amortizing
                        the unfunded liabilities described in section 412(b)(2)(B) of the Internal
                        Revenue Code (‘Code’) and section 302(b)(2)(B) of the Employee Retirement
                        Income Security Act of 1974 (‘ERISA’), has been approved subject to the
                        following conditions:”

                                                          *****

                        “... If any one of these conditions is not satisfied, the approval to extend
                        the amortization periods for amortizing the unfunded liabilities would be
                        retroactively null and void.”

               The Trustees have received recommendations, information and expert advice that addition of
               this Appendix K-2 to the Pension Plan will be a reasonable measure to enable the Pension
               Fund to comply with the required conditions of the above-referenced IRS letter dated July 13,
               2005, to prevent a deficiency in the Pension Fund’s funding standard account and to comply
               with minimum funding standards imposed by ERISA and the Internal Revenue Code.

Section 2.              DEFINITIONS

               The definitions applicable to this Appendix K-2 include all definitions stated in Article I and
               other provisions of the Pension Plan.

Section 3.              MINIMUM EMPLOYER CONTRIBUTION REQUIREMENTS

               Every Collective Bargaining Agreement requiring Employer Contributions to the Pension Fund
               as of January 1, 2007, and scheduled to expire between that date and December 31, 2007,
               which is renewed for periods beyond its expiration, shall require each Contributing Employer
               bound by that renewal agreement to make increased Employer Contributions to the Pension
               Fund at Contribution rates at least equal to the following requirements:





        As used in the Appendix K-1, “Current” means the final Employer Contribution rate for the highest
Benefit Class negotiated in the Collective Bargaining Agreement expiring between January 1, 2007, and
December 31, 2007; “Rate/Wk” means Weekly Employer Contribution Rates; “Rate/Day” means Daily
Employer Contribution Rates; and “Rate/Hr” means Hourly Employer Contribution Rates.

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                                           Schedule A (Benefit Class 1-14):

Benefit          Current              Year 1        Year 2        Year 3        Year 4         Year 5
Class            Rate/Wk              Rate/Wk       Rate/Wk       Rate/Wk       Rate/Wk        Rate/Wk

 1               $ 5.00               $ 5.40        $ 5.80        $ 6.30        $ 6.80         $ 7.30
 2                  7.00               7.60           8.20          8.90         9.60           10.40
 2A                 9.00               9.70          10.50         11.30        12.20           13.20
 3                11.00               11.90          12.90         13.90        15.00           16.20
 3A               13.00               14.00          15.10         16.30        17.60           19.00
 4                16.00               17.30          18.70         20.20        21.80           23.50
 5                18.50               20.00          21.60         23.30        25.20           27.20
 6                21.00               22.70          24.50         26.50        28.60           30.90
 7                24.00               25.90          28.00         30.20        32.60           35.20
 8                27.00               29.20          31.50         34.00        36.70           39.60
 9                30.00               32.40          35.00         37.80        40.80           44.10
10                33.00               35.60          38.40         41.50        44.80           48.40
11                37.00               40.00          43.20         46.70        50.40           54.40
12                41.00               44.30          47.80         51.60        55.70           60.20
13                46.00               49.70          53.70         58.00        62.60           67.60
14                51.00               55.10          59.50         64.30        69.40           75.00




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                                            Schedule B (Benefit Class 1-14)

Benefit          Current              Year 1         Year 2        Year 3        Year 4           Year 5
Class            Rate/Wk              Rate/Wk        Rate/Wk       Rate/Wk       Rate/Wk          Rate/Wk

 1               $ 6.00               $ 6.50         $ 7.00        $ 7.60        $ 8.20           $ 8.90
 2                  8.00                8.60           9.30         10.00            10.80         11.70
 2A                10.00               10.80          11.70         12.60            13.60         14.70
 3                 12.00               13.00          14.00         15.10            16.30         17.60
 3A                15.00               16.20          17.50         18.90            20.40         22.00
 4                 18.00               19.40          21.00         22.70            24.50         26.50
 5                 21.00               22.70          24.50         26.50            28.60         30.90
 6                 24.00               25.90          28.00         30.20            32.60         35.20
 7                 27.00               29.20          31.50         34.00            36.70         39.60
 8                 30.00               32.40          35.00         37.80            40.80         44.10
 9                 33.00               35.60          38.40         41.50            44.80         48.40
10                 36.00               38.90          42.00         45.40            49.00         52.90
11                 40.00               43.20          46.70         50.40            54.40         58.80
12                 44.00               47.50          51.30         55.40            59.80         64.60
13                 49.00               52.90          57.10         61.70            66.60         71.90
14                 55.00               59.40          64.20         69.30            74.80         80.80




                                      Schedule B (Benefit Class 15[A] through 18+)

Benefit          Current              Year 1         Year 2        Year 3        Year 4           Year 5
Class            Rate/Wk              Rate/Wk        Rate/Wk       Rate/Wk       Rate/Wk          Rate/Wk

15A              $ 61.00              $ 65.90        $ 71.20       $ 76.90       $ 83.10          $ 89.80
15B                 65.00                70.20         75.80         81.90            88.50         95.60
15C                 69.00                74.50         80.50         86.90            93.90        101.40
16                  85.00                91.80         99.10        107.00           115.60        124.80
17a                118.00              127.40         137.60        148.60           160.50        173.30
17b                124.00              133.90         144.60        156.20           168.70        182.20
18                 166.00              179.30         193.60        209.10           225.80        243.90
18+                180.00              193.90         208.90        225.10           242.60        261.50




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Benefit          Current               Year 1        Year 2         Year 3        Year 4         Year 5
Class            Rate/Day             Rate/Day      Rate/Day       Rate/Day      Rate/Day       Rate/Day

15A              $ 13.00              $ 14.00       $ 15.10        $ 16.30       $ 17.60        $ 19.00
15B                 13.80              14.90         16.10           17.40         18.80          20.30
15C                 14.60              15.80          17.10          18.50         20.00          21.60
16                  17.80              19.20         20.70           22.40         24.20          26.10
17a                 24.40              26.40         28.50           30.80         33.30          36.00
17b                 25.60              27.60         29.80           32.20         34.80          37.60
18                  34.00              36.70         39.60           42.80         46.20          49.90
18+                 36.80              39.70         42.80           46.10         49.70          53.60




Benefit          Current              Year 1        Year 2         Year 3        Year 4         Year 5
Class            Rate/Hr              Rate/Hr       Rate/Hr        Rate/Hr       Rate/Hr        Rate/Hr

15A              $ 1.90               $ 2.10        $ 2.30         $ 2.50        $ 2.70         $ 2.90
15B                 2.05               2.20           2.40           2.60         2.80            3.00
15C                 2.20               2.40           2.60           2.80         3.00            3.20
16                  2.65               2.90          3.10            3.30         3.60            3.90
17a                 3.70               4.00          4.30            4.60         5.00            5.40
17b                 3.90               4.20          4.50            4.90         5.30            5.70
18                  5.20               5.60          6.00            6.50         7.00            7.60




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APPENDIX L.        TRANSFER OF LIABILITIES TO THE UPS TRANSFER PLAN


Section 1.         PREAMBLE

             This Appendix L is added to the Pension Plan (“this Pension Plan”) by the Board of Trustees,
             effective on and after January 1, 2008, in accordance with certain rights, obligations, terms
             and provisions in an agreement signed and effective on September 30, 2007, between United
             Parcel Service, Inc. and the Trustees of the Pension Fund.

Section 2.         DEFINITIONS

             The definitions applicable to this Appendix L include all definitions stated in Article I and other
             provisions of this Pension Plan, as heretofore and hereafter amended, and the following:

             (a)   “Accrued Benefit Payable at Age 65” means the Accrued Benefit of a Participant
                   under this Pension Plan, as determined and calculated in accordance with this Pension
                   Plan (as stated on December 26, 2007), both (1) that has been earned as of December
                   26, 2007 (including post-retirement death benefits payable to a surviving spouse that
                   are part of a survivor annuity form of benefit, pursuant to Section 4.10 of this Pension
                   Plan), and (2) that will be or would have been payable from and/or after the first day of
                   the month following the 65th birthday of a Participant who is a member of the UPS
                   Transfer Group if the Participant as of December 26, 2007, had sustained a Break-in-
                   Service (as defined in Section 1.05[a] of this Pension Plan) and there had been no
                   transfer of liabilities of the Pension Fund to the UPS Transfer Plan pursuant to the UPS-
                   CSPF Agreement.

             (b)   “CSPF Participant Not in Pay Status” means a Participant who both (1) as of January
                   1, 2008, was not a Pensioner as defined in Section 1.25 of this Pension Plan and (2) as
                   of January 1, 2008, had not submitted to the Pension Fund a valid and bona fide
                   application (that had been received by the Pension Fund before January 1, 2008) to
                   become a Pensioner and to commence to receive retirement benefit payments from the
                   Pension Fund on a date before January 1, 2008.

             (c)   “Non-Retired UPS Participant” means each individual who both (1) as of January 1,
                   2008, was a CSPF Participant Not in Pay Status and (2) either (A) as of January 1, 2008,
                   was both employed by the UPS Employer and not employed by any other employer that
                   was then a Contributing Employer (as defined in Section 1.07 of this Pension Plan) or
                   (B) as of the last Hour of Service (as defined in Section 1.17 of this Pension Plan) earned
                   by the individual under the Pension Fund prior to January 1, 2008, was employed by the
                   UPS Employer.

             (d)   “UPS-CSPF Agreement” means an agreement which was signed and effective on
                   September 30, 2007, between United Parcel Service, Inc. and the Trustees of the
                   Pension Fund, which agreement is entitled “SPIN-OFF AND WITHDRAWAL LIABILITY
                   AGREEMENT AND RELEASE”.

             (e)   “UPS Employer” means a group consisting of United Parcel Service, Inc., and all other
                   trades and businesses under common control with United Parcel Service, Inc. as
                   described in section 4001(b)(1) of the Employee Retirement Income Security Act of
                   1974, as amended, and each entity that is a member of that group.

             (f)   “UPS Transfer Group” means the Non-Retired UPS Participants, the liabilities for
                   whose rights to benefits from the Pension Fund were, are and will be transferred from
                   the Pension Fund to the UPS Transfer Plan pursuant to the UPS-CSPF Agreement.
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             (g)   “UPS Transfer Plan” means the plan or plans maintained by the UPS Employer to
                   which liabilities of the Pension Fund were, are and will be transferred pursuant to the
                   UPS-CSPF Agreement.

Section 3.         TRANSFER OF LIABILITIES

             (a)   The Board of Trustees amends this Pension Plan by the addition of this APPENDIX L,
                   effective on and after January 1, 2008, to effectuate and evidence a complete transfer
                   of liabilities from the Pension Fund to the UPS Transfer Plan on that date to the extent
                   that such transfer of liabilities is contemplated by and in accordance with the UPS-CSPF
                   Agreement.

             (b)   Effective on and after January 1, 2008, all liabilities of the Pension Fund for any and all
                   benefits that the Pension Fund would have paid at any time on and after January 1,
                   2008, to any Participants who are members of the UPS Transfer Group and to any other
                   individuals to the extent that their benefits from the Pension Fund would have been
                   based upon Service Credit (as defined in this Pension Plan) of Participants who are
                   members of the UPS Transfer Group, including retirement, survivor, death, disability and
                   all other benefits of any kind, are transferred from the Pension Fund to the UPS Transfer
                   Plan, except:

                   (1)   relative to every Participant who is a member of the UPS Transfer Group and is
                         alive on the Participant’s 65th birthday that is on a date after January 1, 2008,
                         whether or not the Participant is employed on that 65th birthday and whether or not
                         the Participant has retired as of that 65th birthday, the Pension Fund will be
                         responsible to pay the Accrued Benefit Payable at Age 65 to that Participant
                         beginning on the first day of the next month after that 65th birthday, provided that:

                         (A)    the amount of the monthly benefits payable by the Pension Fund will be
                                calculated on the basis of a Retirement Date on the Participant’s 65th
                                birthday, provided that there will be no reduction if the Participant actually
                                retired and began to receive a retirement pension from the UPS Transfer
                                Plan prior to that date, and provided further that such amount will be no
                                greater than the amount of monthly benefits being paid by the UPS Transfer
                                Plan as of the date on which benefits are first payable by the Pension Fund
                                pursuant to this subsection (b); and

                         (B)    if the Participant is married on a retirement date prior to the Participant’s 65th
                                birthday and is receiving a retirement pension from the UPS Transfer Plan
                                as of that 65th birthday, the Participant’s binding and effective election to
                                receive or waive a qualified post-retirement joint and survivor annuity (“JSO
                                benefit”) from the UPS Transfer Plan will be irrevocable and will be binding
                                upon the Pension Fund, the Participant and the Participant’s spouse on and
                                after the Participant’s 65th birthday, and the monthly benefits payable by the
                                Pension Fund, if the Participant’s election was to receive a JSO benefit from
                                the UPS Transfer Plan, will be in the form of a JSO benefit payable pursuant
                                to Section 4.10 of this Pension Plan, reduced by adjustment factors for that
                                benefit as stated in this Pension Plan, provided further that only the individual
                                who was the Participant’s spouse on the date on which distribution of a
                                retirement pension from the UPS Transfer Plan to the Participant
                                commenced will be considered by the Pension Fund to be the Participant’s
                                spouse for JSO benefit purposes (and only that individual will be eligible to
                                receive a JSO benefit, calculated according to this Pension Plan, if that
                                individual survives the retired Participant); and
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                        (C)    if, on the Participant’s retirement date prior to the Participant’s 65th birthday,
                               either the Participant is not married or the Participant is married and makes
                               a binding and effective election to waive the JSO benefit from the UPS
                               Transfer Plan with consent by the Participant’s spouse, and the Participant
                               is receiving a retirement pension from the UPS Transfer Plan on that 65th
                               birthday, the monthly benefits payable by the Pension Fund will be continued
                               for the lifetime of the Participant and there will be no JSO benefit payable by
                               the Pension Fund; and

                  (2)   relative to every Participant who is a member of the UPS Transfer Group and who
                        dies on a date that is after January 1, 2008, and prior to the date that would have
                        been the Participant’s 65th birthday, if the Participant was married on a retirement
                        date prior to the Participant’s 65th birthday and elected to receive a qualified post-
                        retirement joint and survivor annuity (“JSO benefit”) from the UPS Transfer Plan,
                        and if the Participant’s surviving spouse (determined as of the date on which
                        distribution of a retirement pension from the UPS Transfer Plan commenced) is
                        receiving monthly JSO benefits from the UPS Transfer Plan that commenced after
                        the Participant’s death and are still being paid on the date that would have been
                        the Participant’s 65th birthday, the Pension Fund will be responsible to pay the
                        surviving spouse’s share of the Participant’s Accrued Benefit Payable at Age 65 to
                        that surviving spouse beginning on the first day of the next month after what would
                        have been the Participant’s 65th birthday, calculated in the form of a JSO benefit
                        payable pursuant to Section 4.10 of this Pension Plan, reduced by adjustment
                        factors for that benefit as stated in this Pension Plan, provided that there will be no
                        reduction based upon the Participant’s earlier retirement age and receipt of a
                        retirement pension from the UPS Transfer Plan prior to the Participant’s 65th
                        birthday, and further provided that such amount will be no greater than the amount
                        of monthly benefits being paid by the UPS Transfer Plan as of the date on which
                        benefits are first payable by the Pension Fund pursuant to this subsection (b).

                        Relative to every Participant who is a member of the UPS Transfer Group and who
                        dies on a date that is after January 1, 2008, and prior to the date that would have
                        been the Participant’s 65th birthday, if the Participant never retired and never began
                        to receive a retirement pension from the UPS Transfer Plan before his death, the
                        Pension Fund will not be responsible to pay any benefits to the Participant’s
                        surviving spouse or to any other individual as a result of the death of the
                        Participant.

           (c)    Effective on and after January 1, 2008, all liabilities of the Pension Fund for all benefit
                  rights of Non-Retired UPS Participants (whether payable before or after age 65),
                  payable at any time on and after January 1, 2008, to the extent those liabilities are based
                  upon the National Reciprocal Agreement for Teamster Pension Funds, are transferred
                  from the Pension Fund to the UPS Transfer Plan.

           (d)    No assets will be transferred from the Pension Fund to the UPS Transfer Plan. All
                  liabilities transferred from the Pension Fund to the UPS Transfer Plan pursuant to the
                  UPS-CSPF Agreement will immediately cease to be liabilities of the Pension Fund and
                  will be immediately assumed by the UPS Transfer Plan. The Pension Fund will have no
                  responsibility for payment of any liabilities transferred from the Pension Fund to the UPS
                  Transfer Plan pursuant to the UPS-CSPF Agreement.




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APPENDIX M-1. REHABILITATION PLAN


Section 1.           PREAMBLE AND DEFINITIONS.

             This Appendix M-1 is added to the Pension Plan effective on and after March 26, 2008 in
             order to comply with the requirements of the Pension Protection Act of 2006 (“PPA”). The
             Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was certified on
             March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as the “red zone”)
             under the PPA. The Fund’s Board of Trustees, as the plan sponsor of a “critical status”
             pension plan, is charged under the PPA with developing a “rehabilitation plan” designed to
             improve the financial condition of the Fund in accordance with the standards set forth in the
             PPA. That is the purpose of this Rehabilitation Plan.

             Under the PPA, a rehabilitation plan must include one or more schedules showing revised
             benefit structures, revised contributions, or both, which, if adopted by the parties obligated
             under agreements participating in the pension plan, may reasonably be expected to enable
             the Fund to emerge from critical status in accordance with the rehabilitation plan. The PPA
             also provides that one of the rehabilitation plan schedules of benefits and contributions shall
             be designated the “default” schedule. The default schedule must assume that there are no
             increases in contributions under the plan other than the increases necessary to emerge from
             critical status after future benefit accruals and other benefits have been reduced to the
             maximum extent permitted by law. The PPA also creates certain categories of “adjustable
             benefits” which may be reduced or eliminated dependent upon the outcome of bargaining
             over the rehabilitation plan schedules and dependent on the exercise of certain flexibility and
             discretion conferred upon the Board of Trustees by the PPA. Adjustable benefits that may be
             affected in this manner include post-retirement death benefits, early retirement benefits or
             retirement-type subsidies, and generally any benefit that would be payable prior to normal
             retirement age (age 65 benefits under the Fund’s Plan Document – or, as discussed below, a
             Contribution Based Benefit actuarially reduced to be equivalent to an age 65 benefit).

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.

             A.    PRIMARY SCHEDULE (PRESERVES ALL CURRENT BENEFITS).

                   1.    Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers are in compliance with
                         this Primary Schedule, there will be no change in benefit formulas, levels or
                         payment options in effect on January 1, 2008.

                         However, subject to the notice requirements of the PPA and other applicable law,
                         any Bargaining Units (and any non-Bargaining Unit employee groups participating
                         in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                         on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                         2(F) below eliminated or reduced to the extent indicated in Subsection B(1) below.

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                  2.    Contributions

                        Compliance with the Primary Schedule requires annually compounded
                        contribution rate increases effective immediately after the expiration of the
                        Collective Bargaining Agreement (or other agreement requiring contributions to the
                        Fund) and each agreement anniversary date (or reallocation anniversary, where
                        applicable) during the term of the new bargaining agreement to the extent indicated
                        below, depending on the year that the new agreement is effective (as shown
                        below). Note that all contribution rate increases are annually compounded on the
                        total contribution rate (including any reallocations of employee benefit
                        contributions or agreed mid-contract contribution increases) immediately prior to
                        the increase.

                                          Pre-2006 agreements: 7% per year
                                                               (beginning with 2006 agreement
                                                                anniversary or reallocation dates)

                                          2006 agreements: 7% per year

                                          2007 agreements: 8% per year

                                          2008 agreements: 8% per year

                                          2009 agreements: 8% per year

                        The required annual rate increase may be provided through annual allocations to
                        pension contributions of general and aggregate employee benefit contribution
                        increases that were negotiated at the outset of an agreement, but were not
                        specifically allocated to pension contributions until subsequent contract years. The
                        Primary Schedule requires 8% per year contribution rate increases for the first 5
                        years, 6% per year contribution rate increases for the next 3 years and 4% per
                        year contribution rate increases each year thereafter for 2008 agreements under
                        the Primary Schedule and comparable rate increases over time for all other
                        agreements under the Primary Schedule (see Exhibit A).

           B.     DEFAULT SCHEDULE.

                  1.    Benefits

                        With regard to Bargaining Units (and any non- Bargaining Unit employee groups
                        participating in the Fund) whose Contributing Employers agree to comply with this
                        Default Schedule [or who become subject to the Default Schedule due to a failure
                        to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                        the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                        and payment options in effect on January 1, 2008 will remain in effect except for
                        the following, upon the effective date that the Default Schedule applies to the
                        Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                        the Fund):

                                   Adjustable Benefits listed in Section 2(F) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit

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                                    payable at age 65 is reduced by ½% per month for each month prior to age
                                    65 at the time of retirement, with a minimum retirement age of 57.

                  2.    Contributions

                        Compliance with the Default Schedule consists of annually compounded
                        contribution rate increases of 4% effective immediately after the expiration of the
                        Collective Bargaining Agreement (or other agreement requiring contributions to the
                        Fund) and each anniversary thereof during the term of the agreement.

                  3.    Effect of agreement to or imposition of Default Schedule.

                        (i)    If a Contributing Employer agrees to the Default Schedule with respect to a
                               particular Bargaining Unit, the Fund will not accept any subsequent
                               Collective Bargaining Agreements covering that Bargaining Unit which are
                               compliant with the Primary Schedule, except as determined by the Board of
                               Trustees in their sole discretion.

                        (ii)   If a Contributing Employer becomes subject to the Default Schedule by
                               operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                               have failed to adopt either of the Schedules compliant with this Rehabilitation
                               Plan within 180 days of the expiration of their prior Collective Bargaining
                               Agreement, the Fund will then accept a Collective Bargaining Agreement that
                               is compliant with the Primary Schedule described in this Rehabilitation Plan,
                               provided that such new Collective Bargaining Agreement provides for
                               Primary Schedule contribution rates that are retroactive to the expiration date
                               of the last Collective Bargaining Agreement that covered the affected
                               Bargaining Unit.

           C.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                  PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection C, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(F)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)   whose last Hour of Service prior to January 1, 2008 was earned while employed
                        by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                        time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                        or

                  (2)   who (i) has earned or earns an Hour of Service while employed with a Contributing
                        Employer (or any predecessor or successor entity) that at any time on or after
                        March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(G) below),
                        and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                        Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                        predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Provided, however, that any Pensioner otherwise subject to the elimination of Adjustable
                  Benefits, due to a Rehabilitation Plan Withdrawal pursuant Subsection C(2) above, who
                  has a benefit commencement date [within the meaning of ERISA § 305(i)(10)] one year
                  or more prior to the earlier of: (i) the date of such Rehabilitation Plan Withdrawal or (ii)
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                  the date of the expiration of the last Collective Bargaining Agreement requiring Employer
                  Contributions under the Primary Schedule prior to such Withdrawal, shall not be subject
                  to the elimination of Adjustable Benefits provided that the Pensioner does not engage in
                  Restricted Reemployment at any time subsequent to the benefit commencement date.

                  And provided further that the spouse of any Participant otherwise subject to the
                  elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant to
                  Subsection C(2) above, shall not incur a loss of Adjustable Benefits with respect to any
                  Surviving Spouse Benefits for which such spouse has a benefit commencement date
                  [within the meaning of ERISA Section 305(i)(10)] prior to the date of the Rehabilitation
                  Plan Withdrawal.

           D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(F)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)   who have earned any Contributory Service Credit with a Contributing Employer (or
                        any predecessor or successor entity) that at any time becomes subject (by
                        agreement or otherwise) to the Default Schedule described herein; and

                  (2)   whose last year of Contributory Service Credit prior to the Employer’s becoming
                        subject to the Default Schedule was earned while a member of a Bargaining Unit
                        (or any predecessor or successor Bargaining Unit) that ultimately became subject
                        to the Default Schedule.

                  Provided, however, that any Pensioner otherwise subject to the elimination of Adjustable
                  Benefits, due to his Contributing Employer becoming subject to the Default Schedule
                  pursuant to this Subsection D, who has a benefit commencement date [within the
                  meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  And provided further that the spouse of any Participant otherwise subject to the
                  elimination of Adjustable Benefits, due to his Contributing Employer becoming subject
                  to the Default Schedule pursuant this Subsection D, shall not incur a loss of Adjustable
                  Benefits with respect to any Surviving Spouse Benefits for which such spouse has a
                  benefit commencement date [within the meaning of ERISA Section 305(i)(10)] prior to
                  the date on which the Contributing Employer became subject to the Default Schedule.




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           E.     RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C) or 2(D) above may have those affected benefits restored if,
                  subsequent to the event causing the benefit adjustment, the Participant:

                  (1)   in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                        Section 2(G) below), permanently ceases all employment with, and performance
                        of services in any capacity for, the Contributing Employer (and any successors or
                        trades or businesses under common control with such Employer within the
                        meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                        Rehabilitation Plan Withdrawal; and

                  (2)   in any case, subsequently earns one year of Contributory Service Credit with a
                        Contributing Employer while that Employer is in compliance with the Primary
                        Schedule described herein.

           F.     ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)   Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                        to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                        be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                        Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                        Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                        Deferred Pension (Pension Plan § 4.09)].

                  (2)   Early retirement benefit or retirement-type subsidies [including without limitation (i)
                        an Early Retirement Pension (Pension Plan Section 4.02); (ii) a 25-And-Out
                        Pension (Pension Plan Section 4.05); or a 30-And-Out Pension (Pension Plan
                        Section 4.06)].

                  (3)   All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)   Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                        surviving spouse benefit.

                  (5)   Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)   All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                        tied to one or more of the Adjustable Benefits listed above.

                  (7)   All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                        Participant meets all other requirements for receiving a Contribution-Based
                        Pension, the Contribution-Based Pension is payable at age 65 reduced by ½% per
                        month for each month prior to age 65 at the time of retirement with a minimum
                        retirement age of 57. Such minimum retirement age shall not apply if the
                        Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                        eliminated or reduced. In such circumstance, the Participant shall be entitled to
                        receive the Contribution-Based Pension reduced by ½% per month for each month
                        prior to age 65 at the time of retirement.




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                  (8)   To the extent not already included in paragraphs (1) – (7) above, the following
                        categories of benefits listed and defined as “adjustable benefits” under ERISA §
                        305(e)(8)(iv):

                        (i)     benefits, rights, and features under the plan, including post-retirement death
                                benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                similar benefits,

                        (ii)    any early retirement benefit or retirement-type subsidy (within the meaning
                                of ERISA section 204(g)(2)(A)) and any benefit payment option (other than
                                the qualified joint and survivor annuity), and

                        (iii)   benefit increases that would not be eligible for a guarantee under ERISA
                                Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                because the increases were adopted (or, if later, took effect) less than 60
                                months before such first day.

                  Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                  this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                  payable at normal retirement.

           G.     REHABILITATION PLAN WITHDRAWAL.

                  Subject to the discretionary authority of the Board of Trustees indicated in the final
                  clause of this Section 2(G), a “Rehabilitation Plan Withdrawal” occurs on the date a
                  Contributing Employer is no longer required to make Employer Contributions to the
                  Pension Fund under one or more of its Collective Bargaining Agreements as a result of
                  actions by members of a Bargaining Unit (or its representatives) or the Contributing
                  Employer, which actions include, but are not limited to the following:

                  (1)   decertification or other removal of the Union as a bargaining agent;

                  (2)   ratification or other acceptance of a Collective Bargaining Agreement which
                        permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                        Plan;

                  (3)   administrative termination of the Contributing Employer with respect to any or all
                        of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                        with respect to the terms of a Collective Bargaining Agreement [including, without
                        limitation, a provision providing for a split bargaining unit]; or (ii) a violation of any
                        other Fund rule or policy [including, without limitation, practices or arrangements
                        that result in adverse selection];

                  (4)   any transaction or other event [including without limitation, a merger, consolidation,
                        division, asset sale (other than an asset sale complying with ERISA § 4204),
                        liquidation, dissolution, joint venture, outsourcing, subcontracting] whereby all or a
                        portion of the operations for which the Contributing Employer has an obligation to
                        contribute are continued (whether by the Contributing Employer or by another
                        party) in whole or in part without maintaining the obligation to contribute to the
                        Fund under the same or better terms (including, for example, as to number of
                        participants and contribution rate) as existed before the transaction.

                  Provided, however, that with respect to the circumstances described in Subparas. (3)(ii)
                  or (4) above, the Board of Trustees shall have full discretionary authority to consider,


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                    weigh and balance the following factors in determining whether a Rehabilitation Plan
                    Withdrawal has occurred:

                            (i)      the extent to which the affected Bargaining Unit or its bargaining
                                     representative participated in or controlled, or could have controlled or
                                     prevented, through bargaining, grievance procedures, NLRB proceedings,
                                     litigation or other means, the cessation of Employer Contributions;

                            (ii)     the extent to which the affected Bargaining Unit benefited, directly or
                                     indirectly, from the cessation of Employer Contributions;

                            (iii)    the extent to which the affected Bargaining Unit, or its bargaining
                                     representative, resisted or attempted to resist, or acquiesced in, the
                                     cessation of Employer Contributions;

                            (iv)     the extent to which the affected Bargaining Unit, or any of its members,
                                     become engaged as employees or independent contractors in the service
                                     of operations that were or are in whole or in part a successor of the
                                     operations of the Contributing Employer who incurred the cessation of
                                     Employer Contributions; and

                            (v)      the extent of the hardship that might be incurred by members of the affected
                                     Bargaining Unit by the elimination of Adjustable Benefits.

Section 3.           REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to --

                    Meet the increasingly stringent requirements of the amortization extension granted to
                     the Fund by the Internal Revenue Service (IRS) in July 2005. The requirements include
                     a funded ratio and a required minimum credit balance requirement (see attached
                     Exhibit B) (pertinent portions of IRS amortization extension).

                    Enable the Fund to emerge from critical status in approximately the year 2028.

             The annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                    The annual actuarial valuation for the Fund shows that, as of the valuation date, the
                     Fund satisfies the annual funding ratio and required credit balance conditions
                     contained in the IRS amortization extension approval letter.

                    Actuarial projections updated for each year show, based on reasonable assumptions,
                     that under the Rehabilitation Plan and its schedules (as amended and updated from
                     time to time) the Fund will continue to satisfy the increasingly more stringent IRS
                     amortization extension requirements.

                    Actuarial projections updated for each year show, based on reasonable assumptions,
                     that under the Rehabilitation Plan and its schedules (or as amended from time to time)
                     the Fund is expected to emerge from Critical Status. The Board of Trustees recognize
                     that actual experience may differ from their reasonable assumptions, and therefore
                     the exact year of emergence may be difficult to predict.


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Section 4.           ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives (including combinations of
             contribution rate increases and benefit adjustments) that would satisfy the amortization
             extension conditions and might enable the Fund to emerge from Critical Status either by the
             end of ten year PPA Rehabilitation Period (which begins on January 1, 2011 and ends on
             December 31, 2020). Some of the alternatives considered were determined to be
             unreasonable measures. The various default and alternative schedules considered included
             the following:

             Schedules considered by the Board of Trustees to emerge by the end of the Rehabilitation
             Period on December 31, 2020



     Schedule                        Benefit Reductions                      Contribution Rate Increases

                                                                            15% per year until emergence
   Default            Immediate maximum Critical Status benefit cuts
                                                                            in 2021 (plus an additional
                      for all participants to the extent permitted by law
                                                                            1.6% annual increase for
                                                                            Benefit Classes 14 and below)
   Alternative 1      Maintain current benefits                             17% per year until emergence
                                                                            in 2021

   Alternative 2      On the second anniversary of the new                  16% per year until emergence
                      bargaining agreement, reduce the future benefit       in 2021
                      accrual rate from 1% of contributions payable at
                      age 62 to 1% of contributions at payable at age
                      65

             The Board of Trustees concluded that utilizing any and all possible measures to emerge from
             Critical Status by the end of the 10-year presumptive Rehabilitation Period described in ERISA
             section 305(e)(4) would be unreasonable and would involve considerable risk to the Fund and
             Fund participants. In particular, the Board of Trustees concluded that the continued existence
             of the Fund and the Trustees’ ability to maintain and improve the Fund’s funded status in
             accordance with the terms of the IRS approved amortization extension would be jeopardized
             by any attempt to emerge from critical status by the end of the presumptive 10-year
             Rehabilitation Period.

             As shown above, emergence by the end of the presumptive 10 year Rehabilitation Period
             could require double-digit annual contribution rate increases. For example, the daily
             contribution rate would generally have to grow from $52 to over $300. Therefore, the Trustees
             concluded that annual contribution rate increases above the 8%/6%/4% level in the Primary
             Schedule were not reasonable and could trigger mass withdrawals and significant losses to
             the Fund and the participants.

             In the last several years, the Trustees have implemented numerous measures to improve the
             Fund’s funding. These have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;


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                   Obtaining agreements from the major bargaining parties to reallocate about $400
                    million per year of benefit contributions to the Pension Fund;

                   Obtaining the amortization extension with its IRS-imposed conditions; and

                   Requiring as a condition of continued participation in the Fund that new bargaining
                    agreements in the last several years include significant annual contribution rate
                    increases.

           The Board of Trustees determined that mandating additional significant benefit cuts, or
           mandating contribution rate increases at levels beyond those required in recent years, would
           substantially accelerate the rate at which employers would withdraw from the Fund, in large
           part because the Union could conclude that it would be in its members’ best interest to agree
           to withdrawals.




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                                                 EXHIBIT A


        Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                     (all rate increases are to be compounded annually)

  Calendar Year of                             Year of New Bargaining Agreement
    Contribution
   Rate Increase                    2006           2007               2008                  2009

         2006                       7%

         2007                       7%              8%

         2008                       7%              8%                    8%

         2009                       7%              8%                    8%                 8%

         2010                       7%              8%                    8%                 8%

         2011                       6%              8%                    8%                 8%

         2012                       5%              6%                    8%                 8%

         2013                       4%              4%                    6%                 8%

         2014                       4%              4%                    6%                 8%

         2015                       4%              4%                    6%                 8%

         2016                       4%              4%                    4%                 6%

         2017                       4%              4%                    4%                 4%

         2018                       4%              4%                    4%                 4%

         2019                       4%              4%                    4%                 4%

         2020                       4%              4%                    4%                 4%

         2021                       4%              4%                    4%                 4%

         2022                       4%              4%                    4%                 4%

         2023                       4%              4%                    4%                 4%

         2024                       4%              4%                    4%                 4%

         2025                       4%              4%                    4%                 4%

         2026                       4%              4%                    4%                 4%

         2027                       4%              4%                    4%                 4%


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                                                 EXHIBIT B


Significant Index No. 0412.00-00


                                                                             200620024

                                      DEPARTMENT OF THE TREASURY
                                       INTERNAL REVENUE SERVICE
                                         WASHINGTON, D.C. 20224
  TAX EXEMPT AND
GOVERNMENT ENTITIES
    DIVISION
                                                FEB 22 2006

                                                                     SE:T:EP:RA:T:A2




In re:

         Fund =

         Industry =

This letter constitutes notice that your request for a 10-year extension for amortizing the unfunded
liabilities described in section 412(b)(2)(B) of the Internal Revenue Code (“Code”) and section
302(b)(2)(B) of the Employee Retirement Income Security Act of 1974 (“ERISA”), has been approved
subject to the following conditions:

         (1)   A credit balance is maintained such that the credit balance is at least as large as the
               accumulation (at the plan’s valuation rate) of the amortized (at the Plan’s valuation rate
               over a period of 15 years) differences between the amortization payments of the extended
               bases (amortized at the section 6621(b) rate) and the amortization payments of such
               bases had such bases been extended and amortized at the Plan’s valuation rate;

         (2)   The Plan’s funded ratio, calculated by dividing the market value of Plan assets as of the
               Plan’s valuation date by the Plan’s actuarial accrued liability (computed using the unit
               credit method and the Plan assumptions as of January 1, 2004), is:

               (a)    no less than 59% for each valuation date from January 1, 2005, through January 1,
                      2011, inclusive;
               (b)    no less than 60% as of January 1, 2012 and as of January 1, 2013;
               (c)    no less than 61% as of January 1, 2014, and as of January 1, 2015;
               (d)    no less than 62% as of January 1, 2016;


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                                                     2

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               (e)    for each valuation date subsequent to January 1, 2016, no less than 1% greater than
                      the floor funded ratio as of the previous valuation date. (For example, because the
                      floor funded ratio as of January 1, 2016, is 62%, the funded ratio must be at least
                      63% as of January 1, 2017, and 64% as of January 1, 2018); and

        (3)    For each plan year that the extension remains in effect, starting with the plan year
               beginning January 1, 2004, a copy of the actuarial valuation report for each plan year will
               be provided to this office by September 15 of the following calendar year at the address
               below:


Your authorized representative agreed to these conditions in a letter dated July 13, 2005. If any one of
these conditions is not satisfied, the approval to extend the amortization periods for amortizing the
unfunded liabilities would be retroactively null and void. However, the Service will consider modifications
of these conditions especially in the event that unforeseen circumstances beyond the control of the Fund
cause the actual experience of the Plan to fail the funded ratio condition. An example of such an
unforeseen circumstance would include a market fluctuation affecting the value of the Plan’s assets. Of
course, any request for a modification is considered another ruling request and would be subject to an
additional user fee.

The extensions of the amortization periods of the unfunded liabilities of the Plan have been granted in
accordance with section 412(e) of the Code and section 304(a) of ERISA. Section 412(e) of the Code
and section 304(a) of ERISA authorize the Secretary to extend the period of time required to amortize
any unfunded liability (described in section 412(b)(2)(B) of the Code and section 302(b)(2)(B) of ERISA)
of a plan for a period of time (not in excess of 10 years) if the Secretary determines that such extension
would carry out the purposes of ERISA and would provide adequate protection for participants under the
plan and their beneficiaries and if the Secretary determines that the failure to permit such extension would
(1) result in (A) a substantial risk to the voluntary continuation of the plan, or (B) a substantial curtailment
of pension benefit levels or employee compensation, and (2) be adverse to the interests of plan
participants in the aggregate.




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APPENDIX M-2. REHABILITATION PLAN (INCLUDING 2010 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             An amended Appendix M was added to the Pension Plan effective on and after December 31,
             2010 in order to update the Rehabilitation Plan in compliance with the requirements of the
             Pension Protection Act of 2006 (“PPA”). This Appendix M-2 is added to the Pension Plan in
             order to incorporate effective as of May 17, 2011, the Distressed Employer Schedule
             provisions (Section 2(C) and 2(F) below) into the Rehabilitation Plan.

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA; the Fund’s actuary has also certified the Fund to be in critical
             status for the 2009 and 2010 plan years. The Fund’s Board of Trustees, as the plan sponsor
             of a “critical status” pension plan, is charged under the PPA with developing a “rehabilitation
             plan” designed to improve the financial condition of the Fund in accordance with the standards
             set forth in the PPA, and with annually updating the rehabilitation plan. Although for plan year
             2009 the Fund was exempt from the update requirement, pursuant to an election under the
             Worker Retiree and Employer Recovery Act of 2008, for plan year 2010 the PPA provisions
             concerning the rehabilitation plan update process are applicable to the Fund. The purpose of
             this updated Rehabilitation Plan is to comply with those PPA provisions.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document –
             or, as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to
             an age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.            SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.




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            A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                  BENEFITS).

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers are in compliance with
                         this Primary Schedule, there will be no change in benefit formulas, levels or
                         payment options in effect on January 1, 2008, except that as provided in Section
                         2(J) below, Participants who (i) have not submitted a retirement application on or
                         before July 1, 2011 and (ii) do not have a benefit commencement date [within the
                         meaning of ERISA § 305(i)(10)] on or before July 1, 2011, will not be granted a
                         Retirement Date prior to their 57th birthday and will not be eligible to receive
                         retirement benefit payments of any type until after achieving age 57.

                         Further, subject to the notice requirements of the PPA and other applicable law,
                         any Bargaining Units (and any non-Bargaining Unit employee groups participating
                         in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                         on or after March 26, 2008 shall have their Adjustable Benefits listed in Section H
                         below eliminated or reduced to the extent indicated in Subsection B(1) below.

                  2.     Contributions

                         Compliance with the Primary Schedule requires annually compounded
                         contribution rate increases in accordance with Exhibit A effective immediately after
                         the expiration of the Collective Bargaining Agreement (or other agreement
                         requiring contributions to the Fund) and each agreement anniversary date (or
                         reallocation anniversary, where applicable) during the term of the new bargaining
                         agreement to the extent indicated in Exhibit A, depending on the year that the new
                         agreement is effective. Note that all contribution rate increases are annually
                         compounded on the total contribution rate (including any reallocations of employee
                         benefit contributions or agreed mid-contract contribution increases) immediately
                         prior to the increase.

                         The required annual rate increase may be provided through annual allocations to
                         pension contributions of general and aggregate employee benefit contribution
                         increases that were negotiated at the outset of an agreement, but were not
                         specifically allocated to pension contributions until subsequent contract years. The
                         Primary Schedule requires 8% per year contribution rate increases for the first 5
                         years, 6% per year contribution rate increases for the next 3 years and 4% per
                         year contribution rate increases each year thereafter for 2008 agreements under
                         the Primary Schedule and comparable rate increases over time for all other
                         agreements under the Primary Schedule (see Exhibit A).

                         Provided, however, that absent further amendment to this rehabilitation plan, as of
                         June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                         $348 per week for each full-time employee with respect to Participants covered by
                         the National Master Automobile Transporter Agreement, and (2) $342 per week
                         for each full-time employee with respect to all other Participants, will be deemed
                         to be in compliance with the Primary Schedule without the need for additional
                         annual rate increases.




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            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non- Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                         the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                         and payment options in effect on January 1, 2008 will remain in effect except for
                         the following, upon the effective date that the Default Schedule applies to the
                         Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                         the Fund):

                                    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) do not have a benefit commencement date [within the meaning of
                                     ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution Based
                                     Pension monthly benefit payable at age 65 shall be reduced to an
                                     actuarially equivalent benefit in accordance with the Schedule attached as
                                     Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to the
                         Fund) and each anniversary thereof during the term of the agreement.

                  3.     Effect of agreement to or imposition of Default Schedule.

                         (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                    particular Bargaining Unit, the Fund will not accept any subsequent
                                    Collective Bargaining Agreements covering that Bargaining Unit which are
                                    compliant with the Primary Schedule, except as determined by the Board of
                                    Trustees in their sole discretion.

                         (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                    operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                                    have failed to adopt either of the Schedules compliant with this Rehabilitation
                                    Plan within 180 days of the expiration of their prior Collective Bargaining
                                    Agreement, the Fund will then accept a Collective Bargaining Agreement that
                                    is compliant with the Primary Schedule described in this Rehabilitation Plan,
                                    provided that such new Collective Bargaining Agreement provides for
                                    Primary Schedule contribution rates that are retroactive to the expiration date
                                    of the last Collective Bargaining Agreement that covered the affected
                                    Bargaining Unit.




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            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is accepted
                         by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                      to the maximum extent permitted by law, but the future benefit accrual rate
                                      of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                      with the modification that the Contribution Based Pension monthly benefit
                                      payable at age 65 is reduced by ½% per month for each month prior to age
                                      65 with a minimum retirement age of 57, except that, for Participants who
                                      (i) have not submitted a retirement application on or before July 1, 2011
                                      and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                      Contribution Based Pension monthly benefit payable at age 65 shall be
                                      reduced to an actuarially equivalent benefit in accordance with the
                                      Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                      except that any Participant who (i) has achieved a minimum age of 55 as
                                      of the date of the Distressed Employer’s termination of participation in the
                                      Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                      years credit towards a Contributory Credit Pension or an And-Out Pension
                                      as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                      to retain his eligibility for (but not gain further credit towards) any such
                                      Pension, provided that any such Participant has a minimum retirement age
                                      of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the Default
                         Schedule to be in compliance with and subject to the Distressed Employer
                         Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                         the Contributing Employer meets each of the following qualifications:

                         (i)         the common stock of the Employer or its parent corporation (or other affiliate
                                     under 80% or more common control with the Employer) is publicly traded and
                                     registered pursuant to the securities laws of the United States;

                         (ii)        the Employer has previously incurred a termination of its participation in the
                                     Fund due to an inability to remain current in its Contribution obligations, and
                                     the Employer was in terminated status immediately prior to executing the
                                     Agreement sought to be qualified under the Distressed Employer Schedule;

                         (iii)       during the last ten years in which the Employer participated in the Fund prior
                                     to its termination, it had paid contributions to the Fund on behalf of at least
                                     1,000 full-time employees per month (or had, including part-time employees,

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                                paid contributions on behalf of the equivalent of at least 1,000 full-time
                                employees per month for the specified ten year period);

                         (iv)   the Employer submits to a review of its financial condition and operations by
                                the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                the Fund for all fees and expenses incurred by the Fund in this review
                                (including, but not limited to, reimbursement to the Fund for the time devoted
                                by the Fund’s Staff to any such review, with this reimbursement to be made
                                at market rates for comparable services performed by Fund’s Staff);

                         (v)    on the basis of this financial and operational review, it appears that the
                                Employer is not able to contribute to the Fund at a higher rate than is
                                indicated in the Collective Bargaining Agreement proposed for acceptance
                                under the Distressed Employer Schedule, and that acceptance of the
                                proposed Agreement is in the best interest of the Fund under all the
                                circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)   the Employer provides the Fund with first lien collateral in any and all
                                unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                Employer’s obligation to make current and future pension contributions to the
                                Fund, and (iii) any future withdrawal liability potentially incurred by the
                                Employer (with the amount of such potential withdrawal liability to be
                                determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                         are compliant with the Primary Schedule, except as determined by the Board of
                         Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                  PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

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                  Provided, however, that any Pensioner otherwise subject to the elimination of Adjustable
                  Benefits, due to a Rehabilitation Plan Withdrawal pursuant Subsection D(2) above, who
                  has a benefit commencement date [within the meaning of ERISA § 305(i)(10)] one year
                  or more prior to the earlier of: (i) the date of such Rehabilitation Plan Withdrawal or (ii)
                  the date of the expiration of the last Collective Bargaining Agreement requiring Employer
                  Contributions under the Primary Schedule prior to such Withdrawal, shall not be subject
                  to the elimination of Adjustable Benefits provided that the Pensioner does not engage in
                  Restricted Reemployment at any time subsequent to the benefit commencement date.

                  And provided further that the spouse of any Participant otherwise subject to the
                  elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant to
                  Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to any
                  Surviving Spouse Benefits for which such spouse has a benefit commencement date
                  [within the meaning of ERISA Section 305(i)(10)] prior to the date of the Rehabilitation
                  Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer
                         (or any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Provided, however, that any Pensioner otherwise subject to the elimination of Adjustable
                  Benefits, due to his Contributing Employer becoming subject to the Default Schedule
                  pursuant to this Subsection E, who has a benefit commencement date [within the
                  meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  And provided further that the spouse of any Participant otherwise subject to the
                  elimination of Adjustable Benefits, due to his Contributing Employer becoming subject
                  to the Default Schedule pursuant this Subsection E, shall not incur a loss of Adjustable
                  Benefits with respect to any Surviving Spouse Benefits for which such spouse has a
                  benefit commencement date [within the meaning of ERISA Section 305(i)(10)] prior to
                  the date on which the Contributing Employer became subject to the Default Schedule.




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            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Subsection C(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer
                         (or any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Provided, however, that any Pensioner otherwise subject to the reduction in Adjustable
                  Benefits indicated in the Distressed Employer Schedule, due to his Contributing
                  Employer becoming subject to that Schedule pursuant to this Subsection F, who has a
                  benefit commencement date [within the meaning of ERISA Section 305(i)(10)] one year
                  or more prior to the Contributing Employer becoming subject to the Distressed Employer
                  Schedule, shall not be subject to the reduction of Adjustable Benefits otherwise
                  mandated by the Distressed Employer Schedule provided that the Pensioner does not
                  engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date, and provided further that with respect to Bargaining Units that
                  become subject to the Distressed Employer Schedule on or prior to June 1, 2011, no
                  Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to such
                  Distressed Employer Schedule benefit reduction.

                  And provided further that the spouse of any Participant otherwise subject to the reduction
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the
                  Distressed Employer Schedule pursuant to this Subsection F, shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or
                         trades or businesses under common control with such Employer within the

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                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan Section 4.02); (ii) a 25-And-Out
                         Pension (Pension Plan Section 4.05); or a 30-And-Out Pension (Pension Plan
                         Section 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by ½% per
                         month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by ½% per month for each month
                         prior to age 65 at the time of retirement. Provided, however, for Participants who
                         (i) have not submitted a retirement application on or before July 1, 2011 and (ii) do
                         not have a benefit commencement date [within the meaning of ERISA § 305(i)(10)]
                         on or before July 1, 2011, the reductions in the Contribution-Based Pensions
                         payable at age 65 referenced in this subparagraph (7) shall be based on actuarial
                         equivalence in accordance with the Schedule attached as Exhibit B hereto.

                  (8)    To the extent not already included in paragraphs (1) – (7) above, the following
                         categories of benefits listed and defined as “adjustable benefits” under ERISA §
                         305(e)(8)(iv):




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                         (i)     benefits, rights, and features under the plan, including post-retirement death
                                 benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                 similar benefits,

                         (ii)    any early retirement benefit or retirement-type subsidy (within the meaning
                                 of ERISA section 204(g)(2)(A)) and any benefit payment option (other than
                                 the qualified joint and survivor annuity), and

                         (iii)   benefit increases that would not be eligible for a guarantee under ERISA
                                 Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                 because the increases were adopted (or, if later, took effect) less than 60
                                 months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

            I.     REHABILITATION PLAN WITHDRAWAL.

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Section 2(I), a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)   decertification or other removal of the Union as a bargaining agent;

                   (2)   ratification or other acceptance of a Collective Bargaining Agreement which
                         permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                         Plan;

                   (3)   administrative termination of the Contributing Employer with respect to any or all
                         of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                         with respect to the terms of a Collective Bargaining Agreement [including, without
                         limitation, a provision providing for a split bargaining unit]; or (ii) a violation of any
                         other Fund rule or policy [including, without limitation, practices or arrangements
                         that result in adverse selection];

                   (4)   any transaction or other event [including without limitation, a merger, consolidation,
                         division, asset sale (other than an asset sale complying with ERISA § 4204),
                         liquidation, dissolution, joint venture, outsourcing, subcontracting] whereby all or a
                         portion of the operations for which the Contributing Employer has an obligation to
                         contribute are continued (whether by the Contributing Employer or by another
                         party) in whole or in part without maintaining the obligation to contribute to the
                         Fund under the same or better terms (including, for example, as to number of
                         participants and contribution rate) as existed before the transaction;

                   Provided, however, that with respect to the circumstances described in Subparas. (3)(ii)
                   or (4) above, the Board of Trustees shall have full discretionary authority to consider,



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                       weigh and balance the following factors in determining whether a Rehabilitation Plan
                       Withdrawal has occurred:

                            (i)     the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                            (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                            (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                            (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                            (v)     the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.        BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                       INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                       APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                       COMMENCEMENT ON OR BEFORE THAT DATE.

                       Minimum Retirement Age 57.

                       Participants who (i) have not submitted a retirement application on or before July 1, 2011
                       and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                       305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                       57th birthday and will not be eligible to receive retirement benefit payments of any type
                       until after achieving age 57.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2023. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                       Actuarial projections updated for each year show, based on reasonable assumptions,
                        that under the Rehabilitation Plan and its schedules (as amended and updated from
                        time to time) the Fund will forestall its possible insolvency prior to 2021.



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Section 4.         ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which begins on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31, 2020:



      Schedule                        Benefit Reductions                      Contribution Rate Increases

    Default            Immediate maximum Critical Status benefit cuts        15% per year until emergence
                       for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                             1.6% annual increase for
                                                                             Benefit Classes 14 and below)
    Alternative 1      Maintain current benefits                             17% per year until emergence
                                                                             in 2021
    Alternative 2      On the second anniversary of the new                  16% per year until emergence
                       bargaining agreement, reduce the future benefit       in 2021
                       accrual rate from 1% of contributions payable at
                       age 62 to 1% of contributions at payable at age
                       65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the rehabilitation plan in 2010, the Trustees concluded that in
             light of current valuation data, the experience of the Fund and projections, the option available
             to the Fund under ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall
             a possible insolvency. The Trustees also concluded during the 2010 update process that
             requiring annual contribution increases above the level described in the Primary Schedule


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            would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
            than forestall it.

            In recent years, the Trustees have implemented numerous measures to improve the Fund’s
            funding. These have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate about $400
                     million per year of benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     seeking a waiver of the conditions of that extension in 2009 in light of anticipated
                     investment losses resulting from the 2008 collapse of the financial markets;

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases; and

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund.

            The Board of Trustees determined that mandating additional significant benefit cuts (beyond
            those provided in this updated rehabilitation plan), or mandating contribution rate increases
            at levels beyond those required in recent years, would substantially accelerate the rate at
            which employers would withdraw from the Fund, in large part because the Union could
            conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
            Trustees also determined that this acceleration of employer withdrawals would, in turn,
            accelerate the Fund’s insolvency and would be counterproductive to the Trustees’ effort to
            forestall insolvency.




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                                                  EXHIBIT A


          Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                       (all rate increases are to be compounded annually)

   Calendar Year of             Year of Initial Bargaining Agreement Conforming to Primary Schedule
     Contribution
    Rate Increase            2006 & Earlier          2007               2008              2009 & Later

           2006                     7%

           2007                     7%                8%

           2008                     7%                8%                    8%

           2009                     7%                8%                    8%                 8%

           2010                     7%                8%                    8%                 8%

           2011                     6%                8%                    8%                 8%

           2012                     5%                6%                    8%                 8%

           2013                     4%                4%                    6%                 8%

           2014                     4%                4%                    6%                 8%

           2015                     4%                4%                    6%                 8%

           2016                     4%                4%                    4%                 6%

           2017                     4%                4%                    4%                 4%

           2018                     4%                4%                    4%                 4%

           2019                     4%                4%                    4%                 4%

           2020                     4%                4%                    4%                 4%

           2021                     4%                4%                    4%                 4%

           2022                     4%                4%                    4%                 4%

           2023                     4%                4%                    4%                 4%

           2024                     4%                4%                    4%                 4%

           2025                     4%                4%                    4%                 4%

           2026                     4%                4%                    4%                 4%

           2027                     4%                4%                    4%                 4%


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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                       (applicable to Default Schedule and Rehabilitation Plan
                        Withdrawal benefit adjustments for Participants who
                         (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
              date [within the meaning of ERISA § 305(i)(10)] on or before July 1, 2011)



                                                       Percent of Age 65 Benefit Based on
                                    Age                      Actuarial Equivalence

                                    65                             100%
                                    64                              90%
                                    63                              81%
                                    62                              74%
                                    61                              67%
                                    60                              61%
                                    59                              55%
                                    58                              50%
                                    57                              46%




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APPENDIX M-3. REHABILITATION PLAN (INCLUDING 2011 UPDATE)


Section 1.           PREAMBLE AND DEFINITIONS.

             An amended Appendix M was added to the Pension Plan effective on and after December 31,
             2010 in order to update the Rehabilitation Plan in compliance with the requirements of the
             Pension Protection Act of 2006 (“PPA”). Appendix M-2 was added to the Pension Plan in order
             to incorporate effective as of May 17, 2011, the Distressed Employer Schedule provisions
             (Section 2(C) and 2(F) below) into the Rehabilitation Plan.

             This Appendix M-3 is added to the Pension Plan effective on and after December 31, 2011 in
             order to update the Rehabilitation Plan in compliance with the requirements of the PPA.

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA; the Fund’s actuary has also certified the Fund to be in critical
             status for the 2009 and 2010 plan years. The Fund’s Board of Trustees, as the plan sponsor
             of a “critical status” pension plan, is charged under the PPA with developing a “rehabilitation
             plan” designed to improve the financial condition of the Fund in accordance with the standards
             set forth in the PPA, and with annually updating the rehabilitation plan. Although for plan year
             2009 the Fund was exempt from the update requirement, pursuant to an election under the
             Worker Retiree and Employer Recovery Act of 2008, for subsequent plan years the PPA
             provisions concerning the rehabilitation plan update process are applicable to the Fund. The
             purpose of this updated Rehabilitation Plan is to comply with those PPA provisions.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document –
             or, as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to
             an age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.



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           A.     PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                  BENEFITS).

                  1.    Benefits

                        With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                        participating in the Fund) whose Contributing Employers are in compliance with
                        this Primary Schedule, there will be no change in benefit formulas, levels or
                        payment options in effect on January 1, 2008, except that as provided in Section
                        2(J) below, Participants who (i) have not submitted a retirement application on or
                        before July 1, 2011 and (ii) do not have a benefit commencement date [within the
                        meaning of ERISA § 305(i)(10)] on or before July 1, 2011, will not be granted a
                        Retirement Date prior to their 57th birthday and will not be eligible to receive
                        retirement benefit payments of any type until after achieving age 57.

                        Further, subject to the notice requirements of the PPA and other applicable law,
                        any Bargaining Units (and any non-Bargaining Unit employee groups participating
                        in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                        on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                        2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                  2.    Contributions

                        Compliance with the Primary Schedule requires annually compounded
                        contribution rate increases in accordance with Exhibit A effective immediately after
                        the expiration of the Collective Bargaining Agreement (or other agreement
                        requiring contributions to the Fund) and each agreement anniversary date (or
                        reallocation anniversary, where applicable) during the term of the new bargaining
                        agreement to the extent indicated in Exhibit A, depending on the year that the new
                        agreement is effective. Note that all contribution rate increases are annually
                        compounded on the total contribution rate (including any reallocations of employee
                        benefit contributions or agreed mid-contract contribution increases) immediately
                        prior to the increase.

                        The required annual rate increase may be provided through annual allocations to
                        pension contributions of general and aggregate employee benefit contribution
                        increases that were negotiated at the outset of an agreement, but were not
                        specifically allocated to pension contributions until subsequent contract years. The
                        Primary Schedule requires 8% per year contribution rate increases for the first 5
                        years, 6% per year contribution rate increases for the next 3 years and 4% per
                        year contribution rate increases each year thereafter for 2008 agreements under
                        the Primary Schedule and comparable rate increases over time for all other
                        agreements under the Primary Schedule (see Exhibit A).

                        Provided, however, that absent further amendment to this rehabilitation plan, as of
                        June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                        $348 per week for each full-time employee with respect to Participants covered by
                        the National Master Automobile Transporter Agreement, and (2) $342 per week
                        for each full-time employee with respect to all other Participants, will be deemed
                        to be in compliance with the Primary Schedule without the need for additional
                        annual rate increases.




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           B.     DEFAULT SCHEDULE.

                  1.    Benefits

                        With regard to Bargaining Units (and any non- Bargaining Unit employee groups
                        participating in the Fund) whose Contributing Employers agree to comply with this
                        Default Schedule [or who become subject to the Default Schedule due to a failure
                        to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                        the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                        and payment options in effect on January 1, 2008 will remain in effect except for
                        the following, upon the effective date that the Default Schedule applies to the
                        Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                        the Fund):

                                   Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit
                                    payable at age 65 is reduced by ½% per month for each month prior to age
                                    65 with a minimum retirement age of 57, except that, for Participants who
                                    (i) have not submitted a retirement application on or before July 1, 2011
                                    and (ii) do not have a benefit commencement date [within the meaning of
                                    ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution Based
                                    Pension monthly benefit payable at age 65 shall be reduced to an
                                    actuarially equivalent benefit in accordance with the Schedule attached as
                                    Exhibit B with a minimum retirement age of 57.

                  2.    Contributions

                        Compliance with the Default Schedule consists of annually compounded
                        contribution rate increases of 4% effective immediately after the expiration of the
                        Collective Bargaining Agreement (or other agreement requiring contributions to the
                        Fund) and each anniversary thereof during the term of the agreement.

                  3.    Effect of agreement to or imposition of Default Schedule.

                        (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                   particular Bargaining Unit, the Fund will not accept any subsequent
                                   Collective Bargaining Agreements covering that Bargaining Unit which are
                                   compliant with the Primary Schedule, except as determined by the Board of
                                   Trustees in their sole discretion.

                        (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                   operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                                   have failed to adopt either of the Schedules compliant with this Rehabilitation
                                   Plan within 180 days of the expiration of their prior Collective Bargaining
                                   Agreement, the Fund will then accept a Collective Bargaining Agreement that
                                   is compliant with the Primary Schedule described in this Rehabilitation Plan,
                                   provided that such new Collective Bargaining Agreement provides for
                                   Primary Schedule contribution rates that are retroactive to the expiration date
                                   of the last Collective Bargaining Agreement that covered the affected
                                   Bargaining Unit.



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           C.     DISTRESSED EMPLOYER SCHEDULE.

                  1.    Benefits

                        With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                        participating in the Fund) whose Contributing Employers and contribution rates
                        have been specifically accepted and approved by the Board of Trustees as
                        satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                        Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                        on January 1, 2008 will remain in effect except for the following, upon the effective
                        date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                        any non-Bargaining Unit employee group participating in the Fund) that is accepted
                        by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                     Contribution Based Pension monthly benefit payable at age 65 shall be
                                     reduced to an actuarially equivalent benefit in accordance with the
                                     Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                     except that any Participant who (i) has achieved a minimum age of 55 as
                                     of the date of the Distressed Employer’s termination of participation in the
                                     Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                     years credit towards a Contributory Credit Pension or an And-Out Pension
                                     as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                     to retain his eligibility for (but not gain further credit towards) any such
                                     Pension, provided that any such Participant has a minimum retirement age
                                     of 62.

                  2.    Contributions and Qualifications for the Distressed Employer Schedule.

                        The Board of Trustees may deem a Collective Bargaining Agreement with
                        contribution rates not in compliance with either the Primary Schedule or the Default
                        Schedule to be in compliance with and subject to the Distressed Employer
                        Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                        the Contributing Employer meets each of the following qualifications:

                        (i)         the common stock of the Employer or its parent corporation (or other affiliate
                                    under 80% or more common control with the Employer) is publicly traded and
                                    registered pursuant to the securities laws of the United States;

                        (ii)        the Employer has previously incurred a termination of its participation in the
                                    Fund due to an inability to remain current in its Contribution obligations, and
                                    the Employer was in terminated status immediately prior to executing the
                                    Agreement sought to be qualified under the Distressed Employer Schedule;

                        (iii)       during the last ten years in which the Employer participated in the Fund prior
                                    to its termination, it had paid contributions to the Fund on behalf of at least
                                    1,000 full-time employees per month (or had, including part-time employees,

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                               paid contributions on behalf of the equivalent of at least 1,000 full-time
                               employees per month for the specified ten year period);

                        (iv)   the Employer submits to a review of its financial condition and operations by
                               the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                               the Fund for all fees and expenses incurred by the Fund in this review
                               (including, but not limited to, reimbursement to the Fund for the time devoted
                               by the Fund’s Staff to any such review, with this reimbursement to be made
                               at market rates for comparable services performed by Fund’s Staff);

                        (v)    on the basis of this financial and operational review, it appears that the
                               Employer is not able to contribute to the Fund at a higher rate than is
                               indicated in the Collective Bargaining Agreement proposed for acceptance
                               under the Distressed Employer Schedule, and that acceptance of the
                               proposed Agreement is in the best interest of the Fund under all the
                               circumstances and advances the goals of this Rehabilitation Plan; and

                        (vi)   the Employer provides the Fund with first lien collateral in any and all
                               unencumbered assets to the fullest extent it is able in order to fully secure (i)
                               any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                               Employer’s obligation to make current and future pension contributions to the
                               Fund, and (iii) any future withdrawal liability potentially incurred by the
                               Employer (with the amount of such potential withdrawal liability to be
                               determined based on estimates to be provided by the Fund).

                  3.    Effect of agreement to or imposition of the Distressed Employer Schedule.

                        If a Contributing Employer becomes subject to the Distressed Employer Schedule
                        with respect to a particular Bargaining Unit, the Fund will not accept any
                        subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                        are compliant with the Primary Schedule, except as determined by the Board of
                        Trustees in their sole discretion.

        D.        ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                  PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)   whose last Hour of Service prior to January 1, 2008 was earned while employed
                        by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                        time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                        or

                  (2)   who (i) has earned or earns an Hour of Service while employed with a Contributing
                        Employer (or any predecessor or successor entity) that at any time on or after
                        March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2.I below),
                        and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                        Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                        predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

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                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                  Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                  requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                  shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                  does not engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced in
                  Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                  to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                        (i)     the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application prior
                                to the effective date of the administrative termination were aware of,
                                participated in or controlled, or could have controlled or prevented, through
                                bargaining, grievance procedures, NLRB proceedings, litigation or other
                                means, the circumstances that led to the administrative termination of the
                                Employer;

                        (ii)    the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application prior
                                to the effective date of the administrative termination benefited, directly or
                                indirectly from the cessation of Employer Contributions or from the
                                circumstances that led to the administrative termination of the Employer;

                        (iii)   the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application prior
                                to the effective date of the administrative termination resisted or attempted
                                to alter, or acquiesced in, the circumstances that led to the administrative
                                termination of the Employer;

                        (iv)    the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application prior
                                to the effective date of the administrative termination have become engaged
                                as employees or independent contractors in the service of operations that
                                were or are in whole or in part a successor of the operations of the Employer
                                that has undergone the administrative termination; and

                        (v)     the extent of the hardship that might be incurred by any actively employed
                                members of the affected Bargaining Unit or by any members who submitted
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                               a retirement application prior to the effective date of the administrative
                               termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

           E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Section B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)   who have earned any Contributory Service Credit with a Contributing Employer (or
                        any predecessor or successor entity) that at any time becomes subject (by
                        agreement or otherwise) to the Default Schedule described herein; and

                  (2)   whose last year of Contributory Service Credit prior to the Employer’s becoming
                        subject to the Default Schedule was earned while a member of a Bargaining Unit
                        (or any predecessor or successor Bargaining Unit) that ultimately became subject
                        to the Default Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E, shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.

           F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

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                  (1)   who have earned any Contributory Service Credit with a Contributing Employer (or
                        any predecessor or successor entity) that at any time becomes subject (by
                        agreement or otherwise) to the Distressed Employer Schedule described herein;
                        and

                  (2)   whose last year of Contributory Service Credit prior to the Employer’s becoming
                        subject to the Distressed Employer Schedule was earned while a member of a
                        Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                        became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits, due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

           G.     RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)   in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                        Section 2(I) below), permanently ceases all employment with, and performance of
                        services in any capacity for, the Contributing Employer (and any successors or
                        trades or businesses under common control with such Employer within the
                        meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                        Rehabilitation Plan Withdrawal; and

                  (2)   in any case, subsequently earns one year of Contributory Service Credit with a
                        Contributing Employer while that Employer is in compliance with the Primary
                        Schedule described herein.




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           H.     ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)   Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                        to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                        be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                        Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                        Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                        Deferred Pension (Pension Plan § 4.09)].

                  (2)   Early retirement benefit or retirement-type subsidies [including without limitation (i)
                        an Early Retirement Pension (Pension Plan Section 4.02); (ii) a 25-And-Out
                        Pension (Pension Plan Section 4.05); or a 30-And-Out Pension (Pension Plan
                        Section 4.06)].

                  (3)   All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)   Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                        surviving spouse benefit.

                  (5)   Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)   All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                        tied to one or more of the Adjustable Benefits listed above.

                  (7)   All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                        Participant meets all other requirements for receiving a Contribution-Based
                        Pension, the Contribution-Based Pension is payable at age 65 reduced by ½% per
                        month for each month prior to age 65 at the time of retirement with a minimum
                        retirement age of 57. Such minimum retirement age shall not apply if the
                        Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                        eliminated or reduced. In such circumstance, the Participant shall be entitled to
                        receive the Contribution-Based Pension reduced by ½% per month for each month
                        prior to age 65 at the time of retirement. Provided, however, for Participants who
                        (i) have not submitted a retirement application on or before July 1, 2011 and (ii) do
                        not have a benefit commencement date [within the meaning of ERISA § 305(i)(10)]
                        on or before July 1, 2011, the reductions in the Contribution-Based Pensions
                        payable at age 65 referenced in this subparagraph (7) shall be based on actuarial
                        equivalence in accordance with the Schedule attached as Exhibit B hereto.

                  (8)   To the extent not already included in paragraphs (1) – (7) above, the following
                        categories of benefits listed and defined as “adjustable benefits” under ERISA §
                        305(e)(8)(iv):

                        (i)     benefits, rights, and features under the plan, including post-retirement death
                                benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                similar benefits,

                        (ii)    any early retirement benefit or retirement-type subsidy (within the meaning
                                of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                the qualified joint and survivor annuity), and

                        (iii)   benefit increases that would not be eligible for a guarantee under ERISA
                                Section 4022A on the first day of the Fund’s initial critical year under the PPA

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                               because the increases were adopted (or, if later, took effect) less than 60
                               months before such first day.

                  Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                  this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                  payable at normal retirement.

           I.     REHABILITATION PLAN WITHDRAWAL.

                  Subject to the discretionary authority of the Board of Trustees indicated in the final
                  clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                  Contributing Employer (a) is no longer required to make Employer Contributions to the
                  Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                  undergoes a significant reduction in its obligation to make Employer Contributions
                  resulting from outsourcing or subcontracting work covered by the applicable Collective
                  Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                  representatives) or the Contributing Employer, which actions include, but are not limited
                  to the following:

                  (1)   decertification or other removal of the Union as a bargaining agent;

                  (2)   ratification or other acceptance of a Collective Bargaining Agreement which
                        permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                        Plan;

                  (3)   administrative termination of the Contributing Employer with respect to any or all
                        of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                        with respect to the terms of a Collective Bargaining Agreement [including, without
                        limitation, a provision providing for a split bargaining unit]; or (ii) a violation of any
                        other Fund rule or policy [including, without limitation, practices or arrangements
                        that result in adverse selection];

                  (4)   any transaction or other event [including without limitation, a merger, consolidation,
                        division, asset sale (other than an asset sale complying with ERISA § 4204),
                        liquidation, dissolution, joint venture, outsourcing, subcontracting] whereby all or a
                        portion of the operations for which the Contributing Employer has an obligation to
                        contribute are continued (whether by the Contributing Employer or by another
                        party) in whole or in part without maintaining the obligation to contribute to the
                        Fund under the same or better terms (including, for example, as to number of
                        participants and contribution rate) as existed before the transaction;

                  Provided, however, that with respect to the circumstances described in Subparagraphs.
                  (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to
                  consider, weigh and balance the following factors in determining whether a
                  Rehabilitation Plan Withdrawal has occurred:

                        (i)    the extent to which the affected Bargaining Unit or its bargaining
                               representative participated in or controlled, or could have controlled or
                               prevented, through bargaining, grievance procedures, NLRB proceedings,
                               litigation or other means, the cessation of Employer Contributions;

                        (ii)   the extent to which the affected Bargaining Unit benefited, directly or
                               indirectly, from the cessation of Employer Contributions;



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                            (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                            (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                            (v)     the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.        BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                       INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                       APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                       COMMENCEMENT ON OR BEFORE THAT DATE.

                       Minimum Retirement Age 57.

                       Participants who (i) have not submitted a retirement application on or before July 1, 2011
                       and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                       305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                       57th birthday and will not be eligible to receive retirement benefit payments of any type
                       until after achieving age 57.

Section 3.              REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2023. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                       Actuarial projections updated for each year show, based on reasonable assumptions,
                        that under the Rehabilitation Plan and its schedules (as amended and updated from
                        time to time) the Fund will forestall its possible insolvency prior to 2021.

Section 4.              ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:



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           Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
           plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
           December 31, 2020:

    Schedule                        Benefit Reductions                      Contribution Rate Increases
  Default            Immediate maximum Critical Status benefit cuts        15% per year until emergence
                     for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                           1.6% annual increase for
                                                                           Benefit Classes 14 and below)
  Alternative 1      Maintain current benefits                             17% per year until emergence
                                                                           in 2021
  Alternative 2      On the second anniversary of the new                  16% per year until emergence
                     bargaining agreement, reduce the future benefit       in 2021
                     accrual rate from 1% of contributions payable at
                     age 62 to 1% of contributions at payable at age
                     65

           In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
           that utilizing any and all possible measures to emerge from Critical Status by the end of the
           10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
           unreasonable and would involve considerable risk to the Fund and Fund participants. In
           particular, the Board of Trustees concluded that the continued existence of the Fund and the
           Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
           terms of the IRS approved amortization extension would be jeopardized by any attempt to
           emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

           As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
           presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
           increases. For example, the daily contribution rate would generally have to grow from $52 to
           over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
           above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
           mass withdrawals and significant losses to the Fund and the participants.

           During the process of updating the rehabilitation plan in 2010, and again in 2011, the Trustees
           concluded that in light of current valuation data, the experience of the Fund and projections,
           the option available to the Fund under ERISA Section 305(e)(3)(ii) was to pursue reasonable
           measures to forestall a possible insolvency. The Trustees also concluded during the 2010 and
           2011 update process that requiring annual contribution increases above the level described
           in the Primary Schedule would not be reasonable and would likely accelerate a possible
           insolvency of the Fund rather than forestall it.

           In recent years, prior to Plan/calendar year 2011, the Trustees have implemented numerous
           measures to improve the Fund’s funding. These have included:

                   Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                   Protecting the “and-out” and early retirement benefits while freezing them at their year-
                    end 2003 levels;

                   Obtaining agreements from the major bargaining parties to reallocate about $400
                    million per year of benefit contributions to the Pension Fund;

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                   Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                    seeking a waiver of the conditions of that extension in 2009 in light of anticipated
                    investment losses resulting from the 2008 collapse of the financial markets;

                   Requiring as a condition of continued participation in the Fund that new bargaining
                    agreements in the last several years include significant annual contribution rate
                    increases; and

                   Providing information to Congress and federal agencies with respect to legislative or
                    regulatory proposals that appear to assist in addressing the funding challenges
                    confronting the Fund.

           And specifically during the Plan/calendar year 2011, the Trustees have, in addition to
           continuing with the implementation of the measures listed above, implemented the following
           measures to improve the Fund’s funding:

                   Approved a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan.
                    Pursuant to this Schedule, YRC, Inc. and its affiliate USF Holland, Inc., two distressed
                    (but historically significant) Contributing Employers whose participation in the Fund the
                    Trustees had been terminated by the Board of Trustees in July 2009 due to chronic
                    contribution delinquencies, were permitted to resume Contributions at a rate lower
                    than would have been permitted under the pre-2011 Rehabilitation Plan Schedules.
                    The Trustees determined that this Contribution rate was the highest these Employers
                    could pay without unduly risking their insolvency and dissolution. Therefore, the
                    Trustees permitted these Employers to resume contributions in June 2011 at these
                    lower rates under a newly approved Distressed Employer Schedule; this Schedule
                    significantly adjusted the benefits of the affected Bargaining Unit members, and helped
                    assure that despite the lower Contribution rates, the continued participation of these
                    Employers would improve the Fund’s funding.

                   Adopted a new withdrawal liability method, and obtained approval of that method by
                    the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                    and existing Contributing Employers who satisfy their withdrawal liability under the
                    Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                    method”), will have any future withdrawal liability determined under the “direct
                    attribution” method. Under direct attribution method, the Trustees believe that a
                    Contributing Employer’s potential exposure to future withdrawal is virtually eliminated.
                    The Trustees believe that this new “hybrid” method will be attractive to some
                    Contributing Employers who wish to continue to participate in the Fund, but may be
                    concerned about the potential for future growth of their estimated withdrawal liability
                    as calculated under the Fund’s prior (pre-2011) withdrawal liability method. This, in
                    turn, will tend to improve the Fund’s funding position as Employers who might
                    otherwise withdraw from the Fund are encouraged to continue to participate.

           The Board of Trustees determined that mandating additional significant benefit cuts (beyond
           those provided in this updated rehabilitation plan), or mandating contribution rate increases
           at levels beyond those required in recent years, would substantially accelerate the rate at
           which employers would withdraw from the Fund, in large part because the Union could
           conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
           Trustees also determined that this acceleration of employer withdrawals would, in turn,
           accelerate the Fund’s insolvency and would be counterproductive to the Trustees’ effort to
           forestall insolvency.



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                                                 EXHIBIT A


        Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                     (all rate increases are to be compounded annually)

  Calendar Year of             Year of Initial Bargaining Agreement Conforming to Primary Schedule
    Contribution           2006 &
   Rate Increase                       2007       2008       2009         2010       2011        2012
                           Earlier
         2006                7%

         2007                7%         8%

         2008                7%         8%         8%

         2009                7%         8%         8%         8%

         2010                7%         8%         8%         8%          8%

         2011                6%         8%         8%         8%          8%          8%

         2012                5%         6%         8%         8%          8%          8%         8%

         2013                4%         4%         6%         8%          8%          8%         8%

         2014                4%         4%         6%         8%          8%          8%         8%

         2015                4%         4%         6%         8%          8%          8%         8%

         2016                4%         4%         4%         6%          8%          8%         8%

         2017                4%         4%         4%         4%          6%          8%         8%

         2018                4%         4%         4%         4%          4%          6%         8%

         2019                4%         4%         4%         4%          4%          4%         6%

         2020                4%         4%         4%         4%          4%          4%         4%

         2021                4%         4%         4%         4%          4%          4%         4%

         2022                4%         4%         4%         4%          4%          4%         4%

         2023                4%         4%         4%         4%          4%          4%         4%

         2024                4%         4%         4%         4%          4%          4%         4%

         2025                4%         4%         4%         4%          4%          4%         4%

         2026                4%         4%         4%         4%          4%          4%         4%

         2027                4%         4%         4%         4%          4%          4%         4%


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                                               EXHIBIT B


                          Schedule for Actuarial Reduction of Age 65 Benefits

                      (applicable to Default Schedule and Rehabilitation Plan
                       Withdrawal benefit adjustments for Participants who
                        (i) have not submitted a retirement application on or
                 before July 1, 2011 and (ii) do not have a benefit commencement
             date [within the meaning of ERISA § 305(i)(10)] on or before July 1, 2011)



                                                 Percent of Age 65 Benefit Based on
                                    Age                Actuarial Equivalence

                                    65                           100%
                                    64                            90%
                                    63                            81%
                                    62                            74%
                                    61                            67%
                                    60                            61%
                                    59                            55%
                                    58                            50%
                                    57                            46%




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APPENDIX M-4. REHABILITATION PLAN (INCLUDING 2012 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-4 is added to the Pension Plan effective on and after December 31, 2012 in
             order to update the Rehabilitation Plan in compliance with the requirements of the Pension
             Protection Act of 2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2012. The Fund’s Board of Trustees,
             as the plan sponsor of a “critical status” pension plan, is charged under the PPA with
             developing a “rehabilitation plan” designed to improve the financial condition of the Fund in
             accordance with the standards set forth in the PPA, and with annually updating the
             rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.       SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.




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            A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                  BENEFITS).

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers are in compliance with
                         this Primary Schedule, there will be no change in benefit formulas, levels or
                         payment options in effect on January 1, 2008, except that as provided in Section
                         2(J) below, Participants who (i) have not submitted a retirement application on or
                         before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                         meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                         Retirement Date prior to their 57th birthday and will not be eligible to receive
                         retirement benefit payments of any type until after achieving age 57.

                         Further, subject to the notice requirements of the PPA and other applicable law,
                         any Bargaining Units (and any non-Bargaining Unit employee groups participating
                         in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                         on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                         2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                  2.     Contributions

                         Compliance with the Primary Schedule requires annually compounded
                         contribution rate increases in accordance with Exhibit A effective immediately after
                         the expiration of the Collective Bargaining Agreement (or other agreement
                         requiring contributions to the Fund) and each agreement anniversary date (or
                         reallocation anniversary, where applicable) during the term of the new bargaining
                         agreement to the extent indicated in Exhibit A, depending on the year that the new
                         agreement is effective. Note that all contribution rate increases are annually
                         compounded on the total contribution rate (including any reallocations of employee
                         benefit contributions or agreed mid-contract contribution increases) immediately
                         prior to the increase.

                         The required annual rate increase may be provided through annual allocations to
                         pension contributions of general and aggregate employee benefit contribution
                         increases that were negotiated at the outset of an agreement, but were not
                         specifically allocated to pension contributions until subsequent contract years. The
                         Primary Schedule requires 8% per year contribution rate increases for the first 5
                         years, 6% per year contribution rate increases for the next 3 years and 4% per
                         year contribution rate increases each year thereafter for 2008 agreements under
                         the Primary Schedule and comparable rate increases over time for all other
                         agreements under the Primary Schedule (see Exhibit A).

                         Provided, however, that absent further amendment to this rehabilitation plan, as of
                         June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                         $348 per week for each full-time employee with respect to Participants covered by
                         the National Master Automobile Transporter Agreement, and (2) $342 per week
                         for each full-time employee with respect to all other Participants, will be deemed
                         to be in compliance with the Primary Schedule without the need for additional
                         annual rate increases.

                         Provided further that any Employer that qualifies as a New Employer under §
                         2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it qualifies

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                         as a New Employer, to be in compliance with the Primary Schedule without the
                         need for additional contribution rate increases.

            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non- Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                         the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                         and payment options in effect on January 1, 2008 will remain in effect except for
                         the following, upon the effective date that the Default Schedule applies to the
                         Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                         the Fund):

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by 1/2% per month for each month prior to
                                     age 65 with a minimum retirement age of 57, except that, for Participants
                                     who (i) have not submitted a retirement application on or before July 1,
                                     2011 and (ii) do not have a benefit commencement date [within the
                                     meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                     Based Pension monthly benefit payable at age 65 shall be reduced to an
                                     actuarially equivalent benefit in accordance with the Schedule attached as
                                     Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to the
                         Fund) and each anniversary thereof during the term of the agreement.

                  3.     Effect of agreement to or imposition of Default Schedule.

                         (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                    particular Bargaining Unit, the Fund will not accept any subsequent
                                    Collective Bargaining Agreements covering that Bargaining Unit which are
                                    compliant with the Primary Schedule, except as determined by the Board of
                                    Trustees in their sole discretion.

                         (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                    operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                                    have failed to adopt either of the Schedules compliant with this Rehabilitation
                                    Plan within 180 days of the expiration of their prior Collective Bargaining
                                    Agreement, the Fund will then accept a Collective Bargaining Agreement that
                                    is compliant with the Primary Schedule described in this Rehabilitation Plan,
                                    provided that such new Collective Bargaining Agreement provides for
                                    Primary Schedule contribution rates that are retroactive to the expiration date


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                                    of the last Collective Bargaining Agreement that covered the affected
                                    Bargaining Unit.

            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is accepted
                         by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                     Contribution Based Pension monthly benefit payable at age 65 shall be
                                     reduced to an actuarially equivalent benefit in accordance with the
                                     Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                     except that any Participant who (i) has achieved a minimum age of 55 as
                                     of the date of the Distressed Employer’s termination of participation in the
                                     Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                     years credit towards a Contributory Credit Pension or an And-Out Pension
                                     as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                     to retain his eligibility for (but not gain further credit towards) any such
                                     Pension, provided that any such Participant has a minimum retirement age
                                     of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the Default
                         Schedule to be in compliance with and subject to the Distressed Employer
                         Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                         the Contributing Employer meets each of the following qualifications:

                         (i)        the common stock of the Employer or its parent corporation (or other affiliate
                                    under 80% or more common control with the Employer) is publicly traded and
                                    registered pursuant to the securities laws of the United States;

                         (ii)       the Employer has previously incurred a termination of its participation in the
                                    Fund due to an inability to remain current in its Contribution obligations, and
                                    the Employer was in terminated status immediately prior to executing the
                                    Agreement sought to be qualified under the Distressed Employer Schedule;


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                         (iii)   during the last ten years in which the Employer participated in the Fund prior
                                 to its termination, it had paid contributions to the Fund on behalf of at least
                                 1,000 full-time employees per month (or had, including part-time employees,
                                 paid contributions on behalf of the equivalent of at least 1,000 full-time
                                 employees per month for the specified ten year period);

                         (iv)    the Employer submits to a review of its financial condition and operations by
                                 the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                 the Fund for all fees and expenses incurred by the Fund in this review
                                 (including, but not limited to, reimbursement to the Fund for the time devoted
                                 by the Fund’s Staff to any such review, with this reimbursement to be made
                                 at market rates for comparable services performed by Fund’s Staff);

                         (v)     on the basis of this financial and operational review, it appears that the
                                 Employer is not able to contribute to the Fund at a higher rate than is
                                 indicated in the Collective Bargaining Agreement proposed for acceptance
                                 under the Distressed Employer Schedule, and that acceptance of the
                                 proposed Agreement is in the best interest of the Fund under all the
                                 circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)    the Employer provides the Fund with first lien collateral in any and all
                                 unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                 any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                 Employer’s obligation to make current and future pension contributions to the
                                 Fund, and (iii) any future withdrawal liability potentially incurred by the
                                 Employer (with the amount of such potential withdrawal liability to be
                                 determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                         are compliant with the Primary Schedule, except as determined by the Board of
                         Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A
                  REHABILITATION PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),

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                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)) one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                  Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                  requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                  shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                  does not engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced in
                  Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                  to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                         (i)     the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination were aware of,
                                 participated in or controlled, or could have controlled or prevented, through
                                 bargaining, grievance procedures, NLRB proceedings, litigation or other
                                 means, the circumstances that led to the administrative termination of the
                                 Employer;

                         (ii)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination benefited, directly or
                                 indirectly from the cessation of Employer Contributions or from the
                                 circumstances that led to the administrative termination of the Employer;

                         (iii)   the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination resisted or attempted
                                 to alter, or acquiesced in, the circumstances that led to the administrative
                                 termination of the Employer;

                         (iv)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination have become engaged
                                 as employees or independent contractors in the service of operations that


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                                were or are in whole or in part a successor of the operations of the Employer
                                that has undergone the administrative termination; and

                         (v)    the extent of the hardship that might be incurred by any actively employed
                                members of the affected Bargaining Unit or by any members who submitted
                                a retirement application prior to the effective date of the administrative
                                termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Section 8(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)) prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.




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            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F. effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)) one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or
                         trades or businesses under common control with such Employer within the

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                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan§ 4.07); (iv) a Deferred Pension (Pension Plan§ 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan Section 4.02); (ii) a 25-And-Out
                         Pension (Pension Plan Section 4.05); or a 30-And-Out Pension (Pension Plan
                         Section 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                         per month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by 1/2% per month for each
                         month prior to age 65 at the time of retirement. Provided, however, for Participants
                         who (i) have not submitted a retirement application on or before July 1, 2011 and
                         (ii) do not have a benefit commencement date [within the meaning of ERISA §
                         305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                         Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                         actuarial equivalence in accordance with the Schedule attached as Exhibit B
                         hereto.

                  (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                         categories of benefits listed and defined as “adjustable benefits” under ERISA§
                         305(e)(8)(iv):


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                          (i)       benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                          (ii)      any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                          (iii)     benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

            I.     REHABILITATION PLAN WITHDRAWAL

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)    decertification or other removal of the Union as a bargaining agent;

                   (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                          permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                          Plan;

                   (3)    administrative termination of the Contributing Employer with respect to any or all
                          of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                          with respect to the terms of a Collective Bargaining Agreement (including, without
                          limitation, a provision providing for a split bargaining unit]; or (ii) a violation of any
                          other Fund rule or policy [including, without limitation, practices or arrangements
                          that result in adverse selection];

                   (4)    any transaction or other event (including without limitation, a merger, consolidation,
                          division, asset sale (other than an asset sale complying with ERISA § 4204),
                          liquidation, dissolution, joint venture, outsourcing, subcontracting] whereby all or a
                          portion of the operations for which the Contributing Employer has an obligation to
                          contribute are continued (whether by the Contributing Employer or by another
                          party) in whole or in part without maintaining the obligation to contribute to the
                          Fund under the same or better terms (including, for example, as to number of
                          participants and contribution rate) as existed before the transaction;

                          Provided, however, that with respect to the circumstances described in
                          Subparagraphs. (3)(ii) or (4) above, the Board of Trustees shall have full


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                            discretionary authority to consider, weigh and balance the following factors in
                            determining whether a Rehabilitation Plan Withdrawal has occurred:

                            (i)     the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                            (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                            (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                            (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                            (v)     the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.        BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                       INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                       APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                       COMMENCEMENT ON OR BEFORE THAT DATE.

                       Minimum Retirement Age 57.

                       Participants who (i) have not submitted a retirement application on or before July 1, 2011
                       and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                       305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                       57th birthday and will not be eligible to receive retirement benefit payments of any type
                       until after achieving age 57.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2023. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                   •    Actuarial projections updated for each year show, based on reasonable assumptions,
                        that under the Rehabilitation Plan and its schedules (as amended and updated from
                        time to time) the Fund will forestall its possible insolvency prior to 2021.



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Section 4.          ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:

       Schedule                        Benefit Reductions                       Contribution Rate Increases
    Default            Immediate maximum Critical Status benefit cuts        15% per year until emergence
                       for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                             1.6% annual increase for
                                                                             Benefit Classes 14 and below)
    Alternative 1      Maintain current benefits                             17% per year until emergence
                                                                             in 2021
    Alternative 2      On the second anniversary of the new                  16% per year until emergence
                       bargaining agreement, reduce the future benefit       in 2021
                       accrual rate from 1% of contributions payable at
                       age 62 to 1% of contributions at payable at age
                       65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in 2010, 2011 and 2012, the Trustees
             concluded that in light of current valuation data, the experience of the Fund and projections,
             the option available to the Fund under ERISA Section 305(e)(3)(ii) was to pursue reasonable
             measures to forestall a possible insolvency. The Trustees also concluded during the 2010,
             2011 and 2012 update process that requiring annual contribution increases above the level
             described in the Primary Schedule would not be reasonable and would likely accelerate a
             possible insolvency of the Fund rather than forestall it.


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            In recent years, prior to Plan/calendar year 2012, the Trustees have implemented numerous
            measures to improve the Fund’s funding. These have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate significant
                     amounts of annual benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     seeking a waiver of the conditions of that extension in 2009 in light of investment
                     losses resulting from the weakness in financial in recent years;

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases;

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund;

                    Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                     under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                     historically significant) Contributing Employers, resumed Contributions in June 2011
                     at rates lower than would have been permitted under previous (pre-2011)
                     Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                     adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                     despite the lower Contribution rates, the continued participation of these Employers
                     would tend to improve overall pension funding; and

                    Adopting a new withdrawal liability method, and obtaining approval of that method by
                     the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                     and existing Contributing Employers who satisfy their withdrawal liability under the
                     Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                     method”), will have any future withdrawal liability determined under the “direct
                     attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                     some Contributing Employers who wish to continue to participate in the Fund, but may
                     be concerned about the potential for future growth of their estimated withdrawal liability
                     as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                     this, in turn, will encourage continued participation in the Fund and tend to improve
                     overall pension funding.

            And specifically during 2012, the Trustees continued to implement the funding improvement
            measures listed above, and also amended the Primary Schedule of the Rehabilitation Plan to
            permit Contributing Employers, who satisfy their existing withdrawal liability and qualify as
            New Employers eligible for the direct attribution method under the hybrid method, to comply
            with the Primary Schedule without the need for the contribution rate increases otherwise
            required under the Primary Schedule. The Trustees determined that this amendment to the
            Rehabilitation Plan will encourage existing Contributing Employers to satisfy their existing
            withdrawal liability and to continue their participation in the Fund as New Employers under the
            hybrid method; the Trustees determined that the New Employers’ participation on these terms
            would tend to improve overall pension funding.
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            As part of their responsibility to consider updates to the Rehabilitation Plan for Plan Year
            2012, the Board of Trustees also determined that mandating additional significant benefit cuts
            (beyond those provided in this updated Rehabilitation Plan), or (as noted) mandating
            contribution rate increases at levels beyond those required in recent years, would substantially
            accelerate the rate at which employers would withdraw from the Fund, in large part because
            the Union could conclude that it would be in its members’ best interest to agree to withdrawals.
            The Board of Trustees also determined that this acceleration of employer withdrawals would,
            in turn, be counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                   Exhibit A


          Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                      (all rate increases are to be compounded annually)


                                    Year of Initial Bargaining Agreement Conforming to Primary Schedule
     Calendar
      Year of
    Contribution        2006 &
   Rate Increase                     2007      2008        2009      2010     2011      2012      2013
                        Earlier

         2006               7%

         2007               7%         8%

         2008                7%        8%        8%

         2009                7%        8%        8%             8%

         2010               7%         8%        8%             8%    8%

         2011               6%         8%        8%             8%    8%        8%

         2012               5%         6%        8%             8%    8%        8%        8%

         2013               4%         4%        6%             8%    8%        8%        8%        8%

         2014               4%         4%        6%             8%    8%        8%        8%        8%

         2015               4%         4%        6%             8%    8%        8%        8%        8%

         2016               4%         4%        4%             6%    8%        8%        8%        8%

         2017               4%         4%        4%             4%    6%        8%        8%        8%

         2018               4%         4%        4%             4%    4%        6%        8%        8%

         2019               4%         4%        4%             4%    4%        4%        6%        8%

         2020               4%         4%        4%             4%    4%        4%        4%        6%

         2021               4%         4%        4%             4%    4%        4%        4%        4%

         2022               4%         4%        4%             4%    4%        4%        4%        4%

         2023               4%         4%        4%             4%    4%        4%        4%        4%

         2024               4%         4%        4%             4%    4%        4%        4%        4%

         2025               4%         4%        4%             4%    4%        4%        4%        4%

         2026               4%         4%        4%             4%    4%        4%        4%        4%

         2027               4%         4%        4%             4%    4%        4%        4%        4%



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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                 (applicable to Default Schedule and Rehabilitation Plan Withdrawal
                                benefit adjustments for Participants who
                         (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)




                                               Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence

                                    65                         100%
                                    64                          90%
                                    63                          81%
                                    62                          74%
                                    61                          67%
                                    60                          61%
                                    59                          55%
                                    58                          50%
                                    57                          46%




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APPENDIX M-5. REHABILITATION PLAN (INCLUDING 2013 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-5 is added to the Pension Plan effective on and after December 31, 2013 in
             order to update the Rehabilitation Plan in compliance with the requirements of the Pension
             Protection Act of 2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2013. The Fund’s Board of Trustees,
             as the plan sponsor of a “critical status” pension plan, is charged under the PPA with
             developing a “rehabilitation plan” designed to improve the financial condition of the Fund in
             accordance with the standards set forth in the PPA, and with annually updating the
             rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.            SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.




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            A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                  BENEFITS).

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers are in compliance with
                         this Primary Schedule, there will be no change in benefit formulas, levels or
                         payment options in effect on January 1, 2008, except that as provided in Section
                         2(J) below, Participants who (i) have not submitted a retirement application on or
                         before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                         meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                         Retirement Date prior to their 57th birthday and will not be eligible to receive
                         retirement benefit payments of any type until after achieving age 57.

                         Further, subject to the notice requirements of the PPA and other applicable law,
                         any Bargaining Units (and any non-Bargaining Unit employee groups participating
                         in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                         on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                         2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                  2.     Contributions

                         Compliance with the Primary Schedule requires annually compounded
                         contribution rate increases in accordance with Exhibit A effective immediately after
                         the expiration of the Collective Bargaining Agreement (or other agreement
                         requiring contributions to the Fund) and each agreement anniversary date (or
                         reallocation anniversary, where applicable) during the term of the new bargaining
                         agreement to the extent indicated in Exhibit A, depending on the year that the new
                         agreement is effective. Note that all contribution rate increases are annually
                         compounded on the total contribution rate (including any reallocations of employee
                         benefit contributions or agreed mid-contract contribution increases) immediately
                         prior to the increase.

                         The required annual rate increase may be provided through annual allocations to
                         pension contributions of general and aggregate employee benefit contribution
                         increases that were negotiated at the outset of an agreement, but were not
                         specifically allocated to pension contributions until subsequent contract years. The
                         Primary Schedule requires 8% per year contribution rate increases for the first 5
                         years, 6% per year contribution rate increases for the next 3 years and 4% per
                         year contribution rate increases each year thereafter for 2008 agreements under
                         the Primary Schedule and comparable rate increases over time for all other
                         agreements under the Primary Schedule (see Exhibit A).

                         Provided, however, that absent further amendment to this rehabilitation plan, as of
                         June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                         $348 per week for each full-time employee with respect to Participants covered by
                         the National Master Automobile Transporter Agreement, and (2) $342 per week
                         for each full-time employee with respect to all other Participants, will be deemed
                         to be in compliance with the Primary Schedule without the need for additional
                         annual rate increases.

                         Provided further that any Employer that qualifies as a New Employer under § 2.2(b)
                         of Appendix E of the Pension Plan will be deemed, as of the date it qualifies as a

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                         New Employer, to be in compliance with the Primary Schedule without the need
                         for additional contribution rate increases.

            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                         the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                         and payment options in effect on January 1, 2008 will remain in effect except for
                         the following, upon the effective date that the Default Schedule applies to the
                         Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                         the Fund):

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by 1/2% per month for each month prior to
                                     age 65 with a minimum retirement age of 57, except that, for Participants
                                     who (i) have not submitted a retirement application on or before July 1,
                                     2011 and (ii) do not have a benefit commencement date [within the
                                     meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                     Based Pension monthly benefit payable at age 65 shall be reduced to an
                                     actuarially equivalent benefit in accordance with the Schedule attached as
                                     Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to the
                         Fund) and each anniversary thereof during the term of the agreement.


                  3.     Effect of agreement to or imposition of Default Schedule.

                         (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                    particular Bargaining Unit, the Fund will not accept any subsequent
                                    Collective Bargaining Agreements covering that Bargaining Unit which are
                                    compliant with the Primary Schedule, except as determined by the Board of
                                    Trustees in their sole discretion.

                         (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                    operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                                    have failed to adopt either of the Schedules compliant with this Rehabilitation
                                    Plan within 180 days of the expiration of their prior Collective Bargaining
                                    Agreement, the Fund will then accept a Collective Bargaining Agreement that
                                    is compliant with the Primary Schedule described in this Rehabilitation Plan,
                                    provided that such new Collective Bargaining Agreement provides for
                                    Primary Schedule contribution rates that are retroactive to the expiration date

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                                    of the last Collective Bargaining Agreement that covered the affected
                                    Bargaining Unit.

            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is accepted
                         by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                     Contribution Based Pension monthly benefit payable at age 65 shall be
                                     reduced to an actuarially equivalent benefit in accordance with the
                                     Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                     except that any Participant who (i) has achieved a minimum age of 55 as
                                     of the date of the Distressed Employer’s termination of participation in the
                                     Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                     years credit towards a Contributory Credit Pension or an And-Out Pension
                                     as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                     to retain his eligibility for (but not gain further credit towards) any such
                                     Pension, provided that any such Participant has a minimum retirement age
                                     of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the Default
                         Schedule to be in compliance with and subject to the Distressed Employer
                         Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                         the Contributing Employer meets each of the following qualifications:

                         (i)        the common stock of the Employer or its parent corporation (or other affiliate
                                    under 80% or more common control with the Employer) is publicly traded and
                                    registered pursuant to the securities laws of the United States;

                         (ii)       the Employer has previously incurred a termination of its participation in the
                                    Fund due to an inability to remain current in its Contribution obligations, and
                                    the Employer was in terminated status immediately prior to executing the
                                    Agreement sought to be qualified under the Distressed Employer Schedule;


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                         (iii)   during the last ten years in which the Employer participated in the Fund prior
                                 to its termination, it had paid contributions to the Fund on behalf of at least
                                 1,000 full-time employees per month (or had, including part-time employees,
                                 paid contributions on behalf of the equivalent of at least 1,000 full-time
                                 employees per month for the specified ten year period);

                         (iv)    the Employer submits to a review of its financial condition and operations by
                                 the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                 the Fund for all fees and expenses incurred by the Fund in this review
                                 (including, but not limited to, reimbursement to the Fund for the time devoted
                                 by the Fund’s Staff to any such review, with this reimbursement to be made
                                 at market rates for comparable services performed by Fund’s Staff);

                         (v)     on the basis of this financial and operational review, it appears that the
                                 Employer is not able to contribute to the Fund at a higher rate than is
                                 indicated in the Collective Bargaining Agreement proposed for acceptance
                                 under the Distressed Employer Schedule, and that acceptance of the
                                 proposed Agreement is in the best interest of the Fund under all the
                                 circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)    the Employer provides the Fund with first lien collateral in any and all
                                 unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                 any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                 Employer’s obligation to make current and future pension contributions to the
                                 Fund, and (iii) any future withdrawal liability potentially incurred by the
                                 Employer (with the amount of such potential withdrawal liability to be
                                 determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                         are compliant with the Primary Schedule, except as determined by the Board of
                         Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A
                  REHABILITATION PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),

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                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                  Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                  requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                  shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                  does not engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced in
                  Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                  to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                         (i)     the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination were aware of,
                                 participated in or controlled, or could have controlled or prevented, through
                                 bargaining, grievance procedures, NLRB proceedings, litigation or other
                                 means, the circumstances that led to the administrative termination of the
                                 Employer;

                         (ii)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination benefited, directly or
                                 indirectly from the cessation of Employer Contributions or from the
                                 circumstances that led to the administrative termination of the Employer;

                         (iii)   the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination resisted or attempted
                                 to alter, or acquiesced in, the circumstances that led to the administrative
                                 termination of the Employer;

                         (iv)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination have become engaged
                                 as employees or independent contractors in the service of operations that


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                                were or are in whole or in part a successor of the operations of the Employer
                                that has undergone the administrative termination; and

                         (v)    the extent of the hardship that might be incurred by any actively employed
                                members of the affected Bargaining Unit or by any members who submitted
                                a retirement application prior to the effective date of the administrative
                                termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Section B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.




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            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or
                         trades or businesses under common control with such Employer within the

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                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                         (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                         per month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by 1/2% per month for each
                         month prior to age 65 at the time of retirement. Provided, however, for Participants
                         who (i) have not submitted a retirement application on or before July 1, 2011 and
                         (ii) do not have a benefit commencement date [within the meaning of ERISA §
                         305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                         Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                         actuarial equivalence in accordance with the Schedule attached as Exhibit B
                         hereto.

                  (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                         categories of benefits listed and defined as “adjustable benefits” under ERISA§
                         305(e)(8)(iv):



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                          (i)       benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                          (ii)      any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                          (iii)     benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

            I.     REHABILITATION PLAN WITHDRAWAL

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)    decertification or other removal of the Union as a bargaining agent;

                   (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                          permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                          Plan;

                   (3)    administrative termination of the Contributing Employer with respect to any or all
                          of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                          with respect to the terms of a Collective Bargaining Agreement (including, without
                          limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                          other Fund rule or policy (including, without limitation, practices or arrangements
                          that result in adverse selection);

                   (4)    any transaction or other event (including, without limitation, a merger,
                          consolidation, division, asset sale (other than an asset sale complying with ERISA
                          § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                          whereby all or a portion of the operations for which the Contributing Employer has
                          an obligation to contribute are continued (whether by the Contributing Employer or
                          by another party) in whole or in part without maintaining the obligation to contribute
                          to the Fund under the same or better terms (including, for example, as to number
                          of participants and contribution rate) as existed before the transaction;

                   Provided, however, that with respect to the circumstances described in Subparagraphs.
                   (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to


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                       consider, weigh and balance the following factors in determining whether a
                       Rehabilitation Plan Withdrawal has occurred:

                            (i)     the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                            (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                            (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                            (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                            (v)     the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.        BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                       INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A
                       RETIREMENT APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE
                       A BENEFIT COMMENCEMENT ON OR BEFORE THAT DATE.

                       Minimum Retirement Age 57.

                       Participants who (i) have not submitted a retirement application on or before July 1, 2011
                       and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                       305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                       57th birthday and will not be eligible to receive retirement benefit payments of any type
                       until after achieving age 57.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2026. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                   •    Actuarial projections updated for each year show, based on reasonable assumptions,
                        that under the Rehabilitation Plan and its schedules (as amended and updated from
                        time to time) the Fund will forestall its possible insolvency prior to 2023.



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Section 4.          ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:

       Schedule                         Benefit Reductions                      Contribution Rate Increases
    Default            Immediate maximum Critical Status benefit cuts        15% per year until emergence
                       for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                             1.6% annual increase for
                                                                             Benefit Classes 14 and below)
    Alternative 1      Maintain current benefits                             17% per year until emergence
                                                                             in 2021
    Alternative 2      On the second anniversary of the new                  16% per year until emergence
                       bargaining agreement, reduce the future benefit       in 2021
                       accrual rate from 1% of contributions payable at
                       age 62 to 1% of contributions at payable at age
                       65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in 2010, 2011, 2012 and 2013 the
             Trustees concluded that in light of current valuation data available in each of those years, the
             experience of the Fund and projections, the option available to the Fund under ERISA Section
             305(e)(3)(ii) was to pursue reasonable measures to forestall a possible insolvency. The
             Trustees also concluded during the 2010, 2011, 2012 and 2013 update process that requiring
             annual contribution increases above the level described in the Primary Schedule would not
             be reasonable and would likely accelerate a possible insolvency of the Fund rather than
             forestall it.

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            In recent years, prior to Plan/calendar year 2013, the Trustees have implemented (and, where
            applicable, have continued to implement) numerous measures to improve the Fund’s funding.
            These have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate significant
                     amounts of annual benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     seeking a waiver of the conditions of that extension in 2009 in light of investment
                     losses resulting from the weakness in financial markets in recent years;

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases;

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund;

                    Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                     under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                     historically significant) Contributing Employers, resumed Contributions in June 2011
                     at rates lower than would have been permitted under previous (pre-2011)
                     Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                     adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                     despite the lower Contribution rates, the continued participation of these Employers
                     would tend to improve overall pension funding; and

                    Adopting a new withdrawal liability method, and obtaining approval of that method by
                     the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                     and existing Contributing Employers who satisfy their withdrawal liability under the
                     Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                     method”), will have any future withdrawal liability determined under the “direct
                     attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                     some Contributing Employers who wish to continue to participate in the Fund, but may
                     be concerned about the potential for future growth of their estimated withdrawal liability
                     as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                     this, in turn, will encourage continued participation in the Fund and tend to improve
                     overall pension funding.

                    Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                     Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                     eligible for the direct attribution method under the hybrid method, to comply with the
                     Primary Schedule without the need for the contribution rate increases otherwise
                     required under the Primary Schedule. The Trustees determined that this amendment
                     to the Rehabilitation Plan will encourage existing Contributing Employers to satisfy
                     their existing withdrawal liability and to continue their participation in the Fund as New
                     Employers under the hybrid method; the Trustees determined that the New Employers’
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                     participation on these terms would tend to improve overall pension funding.

            As part of their responsibility to consider updates to the Rehabilitation Plan for Plan Year
            2013, the Board of Trustees also determined that mandating additional significant benefit cuts
            (beyond those provided in this updated Rehabilitation Plan), or (as noted) mandating
            contribution rate increases at levels beyond those required in recent years, would substantially
            accelerate the rate at which employers would withdraw from the Fund, in large part because
            the Union could conclude that it would be in its members’ best interest to agree to withdrawals.
            The Board of Trustees also determined that this acceleration of employer withdrawals would,
            in turn, be counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                   Exhibit A


          Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                      (all rate increases are to be compounded annually)

 Calendar Year                 Year of initial Bargaining Agreement Conforming to Primary Schedule
 of Contribution
 Rate Increase         2006 &
                                    2007   2008     2009       2010   2011     2012     2013         2014
                       Earlier

       2006              7%

       2007              7%         8%

       2008              7%         8%      8%

       2009              7%         8%      8%       8%

       2010              7%         8%      8%       8%        8%

       2011              6%         8%      8%       8%        8%      8%

       2012              5%         6%      8%       8%        8%      8%       8%

       2013              4%         4%      6%       8%        8%      8%       8%       8%

       2014              4%         4%      6%       8%        8%      8%       8%       8%          8%

       2015              4%         4%      6%       8%        8%      8%       8%       8%          8%

       2016              4%         4%      4%       6%        8%      8%       8%       8%          8%

       2017              4%         4%      4%       4%        6%      8%       8%       8%          8%

       2018              4%         4%      4%       4%        4%      6%       8%       8%          8%

       2019              4%         4%      4%       4%        4%      4%       6%       8%          8%

       2020              4%         4%      4%       4%        4%      4%       4%       6%          8%

       2021              4%         4%      4%       4%        4%      4%       4%       4%          6%

       2022              4%         4%      4%       4%        4%      4%       4%       4%          4%

       2023              4%         4%      4%       4%        4%      4%       4%       4%          4%

       2024              4%         4%      4%       4%        4%      4%       4%       4%          4%

       2025              4%         4%      4%       4%        4%      4%       4%       4%          4%

       2026              4%         4%      4%       4%        4%      4%       4%       4%          4%

       2027              4%         4%      4%       4%        4%      4%       4%       4%          4%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                 (Applicable to Default Schedule and Rehabilitation Plan Withdrawal
                                benefit adjustments for Participants who
                         (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                               Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence

                                    65                         100%
                                    64                          90%
                                    63                          81%
                                    62                          74%
                                    61                          67%
                                    60                          61%
                                    59                          55%
                                    58                          50%
                                    57                          46%




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APPENDIX M-6. REHABILITATION PLAN (INCLUDING 2014 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-6 is added to the Pension Plan effective on and after December 31, 2014 in
             order to update the Rehabilitation Plan in compliance with the requirements of the Pension
             Protection Act of 2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 201. The Fund’s Board of Trustees,
             as the plan sponsor of a “critical status” pension plan, is charged under the PPA with
             developing a “rehabilitation plan” designed to improve the financial condition of the Fund in
             accordance with the standards set forth in the PPA, and with annually updating the
             rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.            SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.




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            A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                  BENEFITS).

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers are in compliance with
                         this Primary Schedule, there will be no change in benefit formulas, levels or
                         payment options in effect on January 1, 2008, except that as provided in Section
                         2(J) below, Participants who (i) have not submitted a retirement application on or
                         before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                         meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                         Retirement Date prior to their 57th birthday and will not be eligible to receive
                         retirement benefit payments of any type until after achieving age 57.

                         Further, subject to the notice requirements of the PPA and other applicable law,
                         any Bargaining Units (and any non-Bargaining Unit employee groups participating
                         in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                         on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                         2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                  2.     Contributions

                         Compliance with the Primary Schedule requires annually compounded
                         contribution rate increases in accordance with Exhibit A effective immediately after
                         the expiration of the Collective Bargaining Agreement (or other agreement
                         requiring contributions to the Fund) and each agreement anniversary date (or
                         reallocation anniversary, where applicable) during the term of the new bargaining
                         agreement to the extent indicated in Exhibit A, depending on the year that the new
                         agreement is effective. Note that all contribution rate increases are annually
                         compounded on the total contribution rate (including any reallocations of employee
                         benefit contributions or agreed mid-contract contribution increases) immediately
                         prior to the increase.

                         The required annual rate increase may be provided through annual allocations to
                         pension contributions of general and aggregate employee benefit contribution
                         increases that were negotiated at the outset of an agreement, but were not
                         specifically allocated to pension contributions until subsequent contract years. The
                         Primary Schedule requires 8% per year contribution rate increases for the first 5
                         years, 6% per year contribution rate increases for the next 3 years and 4% per
                         year contribution rate increases each year thereafter for 2008 agreements under
                         the Primary Schedule and comparable rate increases over time for all other
                         agreements under the Primary Schedule (see Exhibit A).

                         Provided, however, that absent further amendment to this rehabilitation plan, as of
                         June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                         $348 per week for each full-time employee with respect to Participants covered by
                         the National Master Automobile Transporter Agreement, and (2) $342 per week
                         for each full-time employee with respect to all other Participants, will be deemed
                         to be in compliance with the Primary Schedule without the need for additional
                         annual rate increases.

                         Provided further that any Employer that qualifies as a New Employer under § 2.2(b)
                         of Appendix E of the Pension Plan will be deemed, as of the date it qualifies as a

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                         New Employer, to be in compliance with the Primary Schedule without the need
                         for additional contribution rate increases.

            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                         the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                         and payment options in effect on January 1, 2008 will remain in effect except for
                         the following, upon the effective date that the Default Schedule applies to the
                         Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                         the Fund):

                              •     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit
                                    payable at age 65 is reduced by 1/2% per month for each month prior to
                                    age 65 with a minimum retirement age of 57, except that, for Participants
                                    who (i) have not submitted a retirement application on or before July 1,
                                    2011 and (ii) do not have a benefit commencement date [within the
                                    meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                    Based Pension monthly benefit payable at age 65 shall be reduced to an
                                    actuarially equivalent benefit in accordance with the Schedule attached as
                                    Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to the
                         Fund) and each anniversary thereof during the term of the agreement.

                  3.     Effect of agreement to or imposition of Default Schedule.

                                  (i)    If a Contributing Employer agrees to the Default Schedule with respect
                                         to a particular Bargaining Unit, the Fund will not accept any subsequent
                                         Collective Bargaining Agreements covering that Bargaining Unit which
                                         are compliant with the Primary Schedule, except as determined by the
                                         Board of Trustees in their sole discretion.

                                  (ii)   If a Contributing Employer becomes subject to the Default Schedule by
                                         operation of ERISA Section 305(e)(3)(C), because the bargaining
                                         parties have failed to adopt either of the Schedules compliant with this
                                         Rehabilitation Plan within 180 days of the expiration of their prior
                                         Collective Bargaining Agreement, the Fund will then accept a Collective
                                         Bargaining Agreement that is compliant with the Primary Schedule
                                         described in this Rehabilitation Plan, provided that such new Collective
                                         Bargaining Agreement provides for Primary Schedule contribution rates


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                                         that are retroactive to the expiration date of the last Collective
                                         Bargaining Agreement that covered the affected Bargaining Unit.

            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is accepted
                         by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                     Contribution Based Pension monthly benefit payable at age 65 shall be
                                     reduced to an actuarially equivalent benefit in accordance with the
                                     Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                     except that any Participant who (i) has achieved a minimum age of 55 as
                                     of the date of the Distressed Employer’s termination of participation in the
                                     Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                     years credit towards a Contributory Credit Pension or an And-Out Pension
                                     as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                     to retain his eligibility for (but not gain further credit towards) any such
                                     Pension, provided that any such Participant has a minimum retirement age
                                     of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the Default
                         Schedule to be in compliance with and subject to the Distressed Employer
                         Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                         the Contributing Employer meets each of the following qualifications:

                         (i)        the common stock of the Employer or its parent corporation (or other affiliate
                                    under 80% or more common control with the Employer) is publicly traded and
                                    registered pursuant to the securities laws of the United States;

                         (ii)       the Employer has previously incurred a termination of its participation in the
                                    Fund due to an inability to remain current in its Contribution obligations, and
                                    the Employer was in terminated status immediately prior to executing the
                                    Agreement sought to be qualified under the Distressed Employer Schedule;


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                         (iii)   during the last ten years in which the Employer participated in the Fund prior
                                 to its termination, it had paid contributions to the Fund on behalf of at least
                                 1,000 full-time employees per month (or had, including part-time employees,
                                 paid contributions on behalf of the equivalent of at least 1,000 full-time
                                 employees per month for the specified ten year period);

                         (iv)    the Employer submits to a review of its financial condition and operations by
                                 the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                 the Fund for all fees and expenses incurred by the Fund in this review
                                 (including, but not limited to, reimbursement to the Fund for the time devoted
                                 by the Fund’s Staff to any such review, with this reimbursement to be made
                                 at market rates for comparable services performed by Fund’s Staff);

                         (v)     on the basis of this financial and operational review, it appears that the
                                 Employer is not able to contribute to the Fund at a higher rate than is
                                 indicated in the Collective Bargaining Agreement proposed for acceptance
                                 under the Distressed Employer Schedule, and that acceptance of the
                                 proposed Agreement is in the best interest of the Fund under all the
                                 circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)    the Employer provides the Fund with first lien collateral in any and all
                                 unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                 any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                 Employer’s obligation to make current and future pension contributions to the
                                 Fund, and (iii) any future withdrawal liability potentially incurred by the
                                 Employer (with the amount of such potential withdrawal liability to be
                                 determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                         are compliant with the Primary Schedule, except as determined by the Board of
                         Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A
                  REHABILITATION PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),

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                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                  Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                  requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                  shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                  does not engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced in
                  Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                  to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                            (i)     the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination were aware of,
                                    participated in or controlled, or could have controlled or prevented, through
                                    bargaining, grievance procedures, NLRB proceedings, litigation or other
                                    means, the circumstances that led to the administrative termination of the
                                    Employer;

                            (ii)    the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination benefited,
                                    directly or indirectly from the cessation of Employer Contributions or from
                                    the circumstances that led to the administrative termination of the
                                    Employer;

                            (iii)   the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination resisted or
                                    attempted to alter, or acquiesced in, the circumstances that led to the
                                    administrative termination of the Employer;

                            (iv)    the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination have become
                                    engaged as employees or independent contractors in the service of

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                                    operations that were or are in whole or in part a successor of the operations
                                    of the Employer that has undergone the administrative termination; and

                            (v)     the extent of the hardship that might be incurred by any actively employed
                                    members of the affected Bargaining Unit or by any members who submitted
                                    a retirement application prior to the effective date of the administrative
                                    termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Section B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.




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            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or
                         trades or businesses under common control with such Employer within the

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                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                         (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                         per month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by 1/2% per month for each
                         month prior to age 65 at the time of retirement. Provided, however, for Participants
                         who (i) have not submitted a retirement application on or before July 1, 2011 and
                         (ii) do not have a benefit commencement date [within the meaning of ERISA §
                         305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                         Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                         actuarial equivalence in accordance with the Schedule attached as Exhibit B
                         hereto.

                  (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                         categories of benefits listed and defined as “adjustable benefits” under ERISA§
                         305(e)(8)(iv):




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                          (i)       benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                          (ii)      any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                          (iii)     benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

            I.     REHABILITATION PLAN WITHDRAWAL

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)    decertification or other removal of the Union as a bargaining agent;

                   (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                          permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                          Plan;

                   (3)    administrative termination of the Contributing Employer with respect to any or all
                          of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                          with respect to the terms of a Collective Bargaining Agreement (including, without
                          limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                          other Fund rule or policy (including, without limitation, practices or arrangements
                          that result in adverse selection);

                   (4)    any transaction or other event (including, without limitation, a merger,
                          consolidation, division, asset sale (other than an asset sale complying with ERISA
                          § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                          whereby all or a portion of the operations for which the Contributing Employer has
                          an obligation to contribute are continued (whether by the Contributing Employer or
                          by another party) in whole or in part without maintaining the obligation to contribute
                          to the Fund under the same or better terms (including, for example, as to number
                          of participants and contribution rate) as existed before the transaction;

                   Provided, however, that with respect to the circumstances described in Subparagraphs.
                   (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to


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                       consider, weigh and balance the following factors in determining whether a
                       Rehabilitation Plan Withdrawal has occurred:

                            (i)     the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                            (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                            (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                            (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                            (v)     the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.        BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                       INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                       APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                       COMMENCEMENT ON OR BEFORE THAT DATE.

                       Minimum Retirement Age 57.

                       Participants who (i) have not submitted a retirement application on or before July 1, 2011
                       and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                       305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                       57th birthday and will not be eligible to receive retirement benefit payments of any type
                       until after achieving age 57.

Section 3.              REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2026. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                   •    Actuarial projections updated for each year show, based on reasonable assumptions,
                        that under the Rehabilitation Plan and its schedules (as amended and updated from
                        time to time) the Fund will forestall its possible insolvency prior to 2023.



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Section 4.           ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:

      Schedule                         Benefit Reductions                     Contribution Rate Increases
    Default            Immediate maximum Critical Status benefit cuts        15% per year until emergence
                       for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                             1.6% annual increase for
                                                                             Benefit Classes 14 and below)
    Alternative 1      Maintain current benefits                             17% per year until emergence
                                                                             in 2021
    Alternative 2      On the second anniversary of the new                  16% per year until emergence
                       bargaining agreement, reduce the future benefit       in 2021
                       accrual rate from 1% of contributions payable at
                       age 62 to 1% of contributions at payable at age
                       65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2014 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.

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            In recent years, prior to Plan/calendar year 2014, the Trustees have implemented (and, where
            applicable, have continued to implement) numerous measures to improve the Fund’s funding.
            These have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate significant
                     amounts of annual benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     seeking a waiver of the conditions of that extension in 2009 in light of investment
                     losses resulting from the weakness in financial markets in recent years;

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases;

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund;

                    Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                     under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                     historically significant) Contributing Employers, resumed Contributions in June 2011
                     at rates lower than would have been permitted under previous (pre-2011)
                     Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                     adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                     despite the lower Contribution rates, the continued participation of these Employers
                     would tend to improve overall pension funding; and

                    Adopting a new withdrawal liability method, and obtaining approval of that method by
                     the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                     and existing Contributing Employers who satisfy their withdrawal liability under the
                     Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                     method”), will have any future withdrawal liability determined under the “direct
                     attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                     some Contributing Employers who wish to continue to participate in the Fund, but may
                     be concerned about the potential for future growth of their estimated withdrawal liability
                     as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                     this, in turn, will encourage continued participation in the Fund and tend to improve
                     overall pension funding.

                    Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                     Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                     eligible for the direct attribution method under the hybrid method, to comply with the
                     Primary Schedule without the need for the contribution rate increases otherwise
                     required under the Primary Schedule. The Trustees determined that this amendment
                     to the Rehabilitation Plan will encourage existing Contributing Employers to satisfy
                     their existing withdrawal liability and to continue their participation in the Fund as New

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                     Employers under the hybrid method; the Trustees determined that the New Employers’
                     participation on these terms would tend to improve overall pension funding.

            As part of their responsibility to consider updates to the Rehabilitation Plan for Plan Year
            2014, the Board of Trustees also determined that mandating additional significant benefit cuts
            (beyond those provided in this updated Rehabilitation Plan), or (as noted) mandating
            contribution rate increases at levels beyond those required in recent years, would substantially
            accelerate the rate at which employers would withdraw from the Fund, in large part because
            the Union could conclude that it would be in its members’ best interest to agree to withdrawals.
            The Board of Trustees also determined that this acceleration of employer withdrawals would,
            in turn, be counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                       Exhibit A


              Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                          (all rate increases are to be compounded annually)

Calendar Year                      Year of initial Bargaining Agreement Conforming to Primary Schedule
of Contribution
                    2006 &
Rate Increase                    2007     2008     2009       2010   2011       2012    2013       2014      2015
                    Earlier
    2006               7%

    2007               7%         8%

    2008               7%         8%       8%

    2009               7%         8%       8%       8%

    2010               7%         8%       8%       8%         8%

    2011               6%         8%       8%       8%         8%     8%

    2012               5%         6%       8%       8%         8%     8%        8%

    2013               4%         4%       6%       8%         8%     8%        8%       8%

    2014               4%         4%       6%       8%         8%     8%        8%       8%        8%

    2015               4%         4%       6%       8%         8%     8%        8%       8%        8%         8%

    2016               4%         4%       4%       6%         8%     8%        8%       8%        8%         8%

    2017               4%         4%       4%       4%         6%     8%        8%       8%        8%         8%

    2018               4%         4%       4%       4%         4%     6%        8%       8%        8%         8%

    2019               4%         4%       4%       4%         4%     4%        6%       8%        8%         8%

    2020               4%         4%       4%       4%         4%     4%        4%       6%        8%         8%

    2021               4%         4%       4%       4%         4%     4%        4%       4%        6%         8%

    2022               4%         4%       4%       4%         4%     4%        4%       4%        4%         6%

    2023               4%         4%       4%       4%         4%     4%        4%       4%        4%         4%

    2024               4%         4%       4%       4%         4%     4%        4%       4%        4%         4%

    2025               4%         4%       4%       4%         4%     4%        4%       4%        4%         4%

    2026               4%         4%       4%       4%         4%     4%        4%       4%        4%         4%

    2027               4%         4%       4%       4%         4%     4%        4%       4%        4%         4%


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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                 (Applicable to Default Schedule and Rehabilitation Plan Withdrawal
                                benefit adjustments for Participants who
                         (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                               Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence

                                    65                         100%
                                    64                          90%
                                    63                          81%
                                    62                          74%
                                    61                          67%
                                    60                          61%
                                    59                          55%
                                    58                          50%
                                    57                          46%




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APPENDIX M-7. REHABILITATION PLAN (INCLUDING 2015 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-7 is added to the Pension Plan effective on and after December 31, 2015 in
             order to update the Rehabilitation Plan in compliance with the requirements of the Pension
             Protection Act of 2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, the actuary certified
             the Fund to be in “critical and declining status”, pursuant to the Multiemployer Pension Reform
             Act of 2014 (“MPRA”). The Fund’s Board of Trustees, as the plan sponsor of a “critical and
             declining status” pension plan, is charged under the PPA and MPRA with developing a
             “rehabilitation plan” designed to improve the financial condition of the Fund in accordance with
             the standards set forth in the PPA, and with annually updating the rehabilitation plan. Although
             for plan year 2009 the Fund was exempt from the update requirement, pursuant to an election
             under the Worker Retiree and Employer Recovery Act of 2008, for subsequent plan years the
             PPA provisions concerning the rehabilitation plan update process are applicable to the Fund.
             The purpose of this updated Rehabilitation Plan is to comply with those PPA provisions, as
             amended to date, including any applicable amendments under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.




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Section 2.            SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.

             A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                   BENEFITS).

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers are in compliance with
                          this Primary Schedule, there will be no change in benefit formulas, levels or
                          payment options in effect on January 1, 2008, except that as provided in Section
                          2(J) below, Participants who (i) have not submitted a retirement application on or
                          before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                          meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                          Retirement Date prior to their 57th birthday and will not be eligible to receive
                          retirement benefit payments of any type until after achieving age 57.

                          Further, subject to the notice requirements of the PPA and other applicable law,
                          any Bargaining Units (and any non-Bargaining Unit employee groups participating
                          in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                          on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                          2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                   2.     Contributions

                          Compliance with the Primary Schedule requires annually compounded
                          contribution rate increases in accordance with Exhibit A effective immediately after
                          the expiration of the Collective Bargaining Agreement (or other agreement
                          requiring contributions to the Fund) and each agreement anniversary date (or
                          reallocation anniversary, where applicable) during the term of the new bargaining
                          agreement to the extent indicated in Exhibit A, depending on the year that the new
                          agreement is effective. Note that all contribution rate increases are annually
                          compounded on the total contribution rate (including any reallocations of employee
                          benefit contributions or agreed mid-contract contribution increases) immediately
                          prior to the increase.

                          The required annual rate increase may be provided through annual allocations to
                          pension contributions of general and aggregate employee benefit contribution
                          increases that were negotiated at the outset of an agreement, but were not
                          specifically allocated to pension contributions until subsequent contract years. The
                          Primary Schedule requires 8% per year contribution rate increases for the first 5
                          years, 6% per year contribution rate increases for the next 3 years and 4% per
                          year contribution rate increases each year thereafter for 2008 agreements under
                          the Primary Schedule and comparable rate increases over time for all other
                          agreements under the Primary Schedule (see Exhibit A).

                          Provided, however, that absent further amendment to this rehabilitation plan, as of
                          June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                          $348 per week for each full-time employee with respect to Participants covered by
                          the National Master Automobile Transporter Agreement, and (2) $342 per week

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                         for each full-time employee with respect to all other Participants, will be deemed
                         to be in compliance with the Primary Schedule without the need for additional
                         annual rate increases.

                         Provided further that any Employer that qualifies as a New Employer under § 2.2(b)
                         of Appendix E of the Pension Plan will be deemed, as of the date it qualifies as a
                         New Employer, to be in compliance with the Primary Schedule without the need
                         for additional contribution rate increases.

            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                         the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                         and payment options in effect on January 1, 2008 will remain in effect except for
                         the following, upon the effective date that the Default Schedule applies to the
                         Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                         the Fund):

                              •     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit
                                    payable at age 65 is reduced by 1/2% per month for each month prior to
                                    age 65 with a minimum retirement age of 57, except that, for Participants
                                    who (i) have not submitted a retirement application on or before July 1,
                                    2011 and (ii) do not have a benefit commencement date [within the
                                    meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                    Based Pension monthly benefit payable at age 65 shall be reduced to an
                                    actuarially equivalent benefit in accordance with the Schedule attached as
                                    Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to the
                         Fund) and each anniversary thereof during the term of the agreement.

                  3.     Effect of agreement to or imposition of Default Schedule.

                                  (i)    If a Contributing Employer agrees to the Default Schedule with respect
                                         to a particular Bargaining Unit, the Fund will not accept any subsequent
                                         Collective Bargaining Agreements covering that Bargaining Unit which
                                         are compliant with the Primary Schedule, except as determined by the
                                         Board of Trustees in their sole discretion.

                                  (ii)   If a Contributing Employer becomes subject to the Default Schedule by
                                         operation of ERISA Section 305(e)(3)(C), because the bargaining
                                         parties have failed to adopt either of the Schedules compliant with this

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                                        Rehabilitation Plan within 180 days of the expiration of their prior
                                        Collective Bargaining Agreement, the Fund will then accept a Collective
                                        Bargaining Agreement that is compliant with the Primary Schedule
                                        described in this Rehabilitation Plan, provided that such new Collective
                                        Bargaining Agreement provides for Primary Schedule contribution rates
                                        that are retroactive to the expiration date of the last Collective
                                        Bargaining Agreement that covered the affected Bargaining Unit.

            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is accepted
                         by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                               •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit
                                    payable at age 65 is reduced by ½% per month for each month prior to age
                                    65 with a minimum retirement age of 57, except that, for Participants who
                                    (i) have not submitted a retirement application on or before July 1, 2011
                                    and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                    Contribution Based Pension monthly benefit payable at age 65 shall be
                                    reduced to an actuarially equivalent benefit in accordance with the
                                    Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                    except that any Participant who (i) has achieved a minimum age of 55 as
                                    of the date of the Distressed Employer’s termination of participation in the
                                    Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                    years credit towards a Contributory Credit Pension or an And-Out Pension
                                    as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                    to retain his eligibility for (but not gain further credit towards) any such
                                    Pension, provided that any such Participant has a minimum retirement age
                                    of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the Default
                         Schedule to be in compliance with and subject to the Distressed Employer
                         Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                         the Contributing Employer meets each of the following qualifications:

                         (i)       the common stock of the Employer or its parent corporation (or other affiliate
                                   under 80% or more common control with the Employer) is publicly traded and
                                   registered pursuant to the securities laws of the United States;


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                         (ii)    the Employer has previously incurred a termination of its participation in the
                                 Fund due to an inability to remain current in its Contribution obligations, and
                                 the Employer was in terminated status immediately prior to executing the
                                 Agreement sought to be qualified under the Distressed Employer Schedule;

                         (iii)   during the last ten years in which the Employer participated in the Fund prior
                                 to its termination, it had paid contributions to the Fund on behalf of at least
                                 1,000 full-time employees per month (or had, including part-time employees,
                                 paid contributions on behalf of the equivalent of at least 1,000 full-time
                                 employees per month for the specified ten year period);

                         (iv)    the Employer submits to a review of its financial condition and operations by
                                 the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                 the Fund for all fees and expenses incurred by the Fund in this review
                                 (including, but not limited to, reimbursement to the Fund for the time devoted
                                 by the Fund’s Staff to any such review, with this reimbursement to be made
                                 at market rates for comparable services performed by Fund’s Staff);

                         (v)     on the basis of this financial and operational review, it appears that the
                                 Employer is not able to contribute to the Fund at a higher rate than is
                                 indicated in the Collective Bargaining Agreement proposed for acceptance
                                 under the Distressed Employer Schedule, and that acceptance of the
                                 proposed Agreement is in the best interest of the Fund under all the
                                 circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)    the Employer provides the Fund with first lien collateral in any and all
                                 unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                 any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                 Employer’s obligation to make current and future pension contributions to the
                                 Fund, and (iii) any future withdrawal liability potentially incurred by the
                                 Employer (with the amount of such potential withdrawal liability to be
                                 determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                         are compliant with the Primary Schedule, except as determined by the Board of
                         Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                  PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any


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                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                  Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                  requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                  shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                  does not engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced in
                  Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                  to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                         (i)     the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination were aware of,
                                 participated in or controlled, or could have controlled or prevented, through
                                 bargaining, grievance procedures, NLRB proceedings, litigation or other
                                 means, the circumstances that led to the administrative termination of the
                                 Employer;

                         (ii)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination benefited, directly or
                                 indirectly from the cessation of Employer Contributions or from the
                                 circumstances that led to the administrative termination of the Employer;

                         (iii)   the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination resisted or attempted
                                 to alter, or acquiesced in, the circumstances that led to the administrative
                                 termination of the Employer;

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                         (iv)   the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application prior
                                to the effective date of the administrative termination have become engaged
                                as employees or independent contractors in the service of operations that
                                were or are in whole or in part a successor of the operations of the Employer
                                that has undergone the administrative termination; and

                         (v)    the extent of the hardship that might be incurred by any actively employed
                                members of the affected Bargaining Unit or by any members who submitted
                                a retirement application prior to the effective date of the administrative
                                termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Section B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.

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            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or

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                         trades or businesses under common control with such Employer within the
                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                         (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                         per month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by 1/2% per month for each
                         month prior to age 65 at the time of retirement. Provided, however, for Participants
                         who (i) have not submitted a retirement application on or before July 1, 2011 and
                         (ii) do not have a benefit commencement date [within the meaning of ERISA §
                         305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                         Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                         actuarial equivalence in accordance with the Schedule attached as Exhibit B
                         hereto.

                  (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                         categories of benefits listed and defined as “adjustable benefits” under ERISA§
                         305(e)(8)(iv):


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                          (i)       benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                          (ii)      any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                          (iii)     benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

            I.     REHABILITATION PLAN WITHDRAWAL

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)    decertification or other removal of the Union as a bargaining agent;

                   (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                          permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                          Plan;

                   (3)    administrative termination of the Contributing Employer with respect to any or all
                          of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                          with respect to the terms of a Collective Bargaining Agreement (including, without
                          limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                          other Fund rule or policy (including, without limitation, practices or arrangements
                          that result in adverse selection);

                   (4)    any transaction or other event (including, without limitation, a merger,
                          consolidation, division, asset sale (other than an asset sale complying with ERISA
                          § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                          whereby all or a portion of the operations for which the Contributing Employer has
                          an obligation to contribute are continued (whether by the Contributing Employer or
                          by another party) in whole or in part without maintaining the obligation to contribute
                          to the Fund under the same or better terms (including, for example, as to number
                          of participants and contribution rate) as existed before the transaction;

                   Provided, however, that with respect to the circumstances described in Subparagraphs.
                   (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to


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                   consider, weigh and balance the following factors in determining whether a
                   Rehabilitation Plan Withdrawal has occurred:

                            (i)     the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                            (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                            (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                            (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service
                                    of operations that were or are in whole or in part a successor of the
                                    operations of the Contributing Employer who incurred the cessation of
                                    Employer Contributions; and

                            (v)     the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

            J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                   INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                   APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                   COMMENCEMENT ON OR BEFORE THAT DATE.

                   Minimum Retirement Age 57.

                   Participants who (i) have not submitted a retirement application on or before July 1, 2011
                   and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                   57th birthday and will not be eligible to receive retirement benefit payments of any type
                   until after achieving age 57.




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Section 3.           REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                 •   Actuarial projections updated for each year show, based on reasonable assumptions,
                     that under the Rehabilitation Plan and its schedules (as amended and updated from
                     time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.           ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:

       Schedule                        Benefit Reductions                       Contribution Rate Increases
    Default            Immediate maximum Critical Status benefit cuts        15% per year until emergence
                       for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                             1.6% annual increase for
                                                                             Benefit Classes 14 and below)
   Alternative 1       Maintain current benefits                             17% per year until emergence
                                                                             in 2021
   Alternative 2       On the second anniversary of the new                  16% per year until emergence
                       bargaining agreement, reduce the future benefit       in 2021
                       accrual rate from 1% of contributions payable at
                       age 62 to 1% of contributions at payable at age
                       65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the

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            terms of the IRS approved amortization extension would be jeopardized by any attempt to
            emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

            As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
            presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
            increases. For example, the daily contribution rate would generally have to grow from $52 to
            over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
            above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
            mass withdrawals and significant losses to the Fund and the participants.

            During the process of updating the Rehabilitation Plan in each applicable year subsequent to
            2008, the Trustees concluded that in light of current valuation data available in each of those
            years, the experience of the Fund and projections, the option available to the Fund under
            ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
            insolvency. The Trustees also concluded during the 2010 - 2015 update processes that
            requiring annual contribution increases above the level described in the Primary Schedule
            would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
            than forestall it.

            In recent years, prior to Plan/calendar year 2015, the Trustees have implemented (and, where
            applicable, have continued to implement) numerous measures to improve the Fund’s funding.
            These have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate significant
                     amounts of annual benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     seeking a waiver of the conditions of that extension in 2009 in light of investment
                     losses resulting from the weakness in financial markets in recent years;

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases;

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund;

                    Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                     under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                     historically significant) Contributing Employers, resumed Contributions in June 2011
                     at rates lower than would have been permitted under previous (pre-2011)
                     Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                     adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                     despite the lower Contribution rates, the continued participation of these Employers
                     would tend to improve overall pension funding; and

                    Adopting a new withdrawal liability method, and obtaining approval of that method by
                     the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
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                     and existing Contributing Employers who satisfy their withdrawal liability under the
                     Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                     method”), will have any future withdrawal liability determined under the “direct
                     attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                     some Contributing Employers who wish to continue to participate in the Fund, but may
                     be concerned about the potential for future growth of their estimated withdrawal liability
                     as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                     this, in turn, will encourage continued participation in the Fund and tend to improve
                     overall pension funding.

                    Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                     Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                     eligible for the direct attribution method under the hybrid method, to comply with the
                     Primary Schedule without the need (under their current collective bargaining
                     agreements) for the contribution rate increases otherwise required under the Primary
                     Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                     will encourage existing Contributing Employers to satisfy their existing withdrawal
                     liability and to continue their participation in the Fund as New Employers under the
                     hybrid method; the Trustees determined that the New Employers’ participation on
                     these terms would tend to improve overall pension funding.

            As part of their responsibility to consider updates to the Rehabilitation Plan for Plan Year
            2015, the Board of Trustees approved the continuation of each of the measures listed above.

            As part of the 2015 update the Board of Trustees also noted that it authorized the filing, on
            September 25, 2015, of an application with the United States Department of the Treasury
            requesting approval of a plan of suspension of benefits under MPRA. The Trustees have
            determined that the filing of this application was a reasonable measure designed to forestall
            insolvency, and therefore one that they were required to take under the PPA.

            However, the Trustees have also determined, as part of the 2015 Rehabilitation Plan update
            process, that mandating additional significant benefit cuts (beyond those provided in this
            updated Rehabilitation Plan or as proposed in the MPRA application filed with Treasury), or
            (as noted) mandating significant contribution rate increases at levels beyond those required
            in recent years, would, in the absence of an approval by Treasury of the pending MPRA
            application, substantially accelerate the rate at which employers would withdraw from the
            Fund, in large part because the Union could conclude that it would be in its members’ best
            interest to agree to withdrawals. The Board of Trustees also determined that this acceleration
            of employer withdrawals would, in turn, be counterproductive to the Trustees’ effort to forestall
            possible insolvency.




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                                                       Exhibit A


               Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                           (all rate increases are to be compounded annually)

 Calendar                         Year of initial Bargaining Agreement Conforming to Primary Schedule
  Year of
Contribution    2006
   Rate           &         2007        2008   2009     2010       2011   2012     2013     2014     2015        2016
 Increase       Earlier

   2006           7%

   2007           7%         8%

   2008           7%         8%         8%

   2009           7%         8%         8%     8%
   2010           7%         8%         8%     8%       8%
   2011           6%         8%         8%     8%       8%         8%
   2012           5%         6%         8%     8%       8%         8%     8%
   2013           4%         4%         6%     8%       8%         8%     8%        8%
   2014           4%         4%         6%     8%       8%         8%     8%        8%       8%

   2015           4%         4%         6%     8%       8%         8%     8%        8%       8%         8%
   2016           4%         4%         4%     6%       8%         8%     8%        8%       8%         8%       8%
   2017           4%         4%         4%     4%       6%         8%     8%        8%       8%         8%       8%
   2018           4%         4%         4%     4%       4%         6%     8%        8%       8%         8%       8%
   2019           4%         4%         4%     4%       4%         4%     6%        8%       8%         8%       8%
   2020           4%         4%         4%     4%       4%         4%     4%        6%       8%         8%       8%
   2021           4%         4%         4%     4%       4%         4%     4%        4%       6%         8%       8%
   2022           4%         4%         4%     4%       4%         4%     4%        4%       4%         6%       8%
   2023           4%         4%         4%     4%       4%         4%     4%        4%       4%         4%       8%

   2024           4%         4%         4%     4%       4%         4%     4%        4%       4%         4%       6%

   2025           4%         4%         4%     4%       4%         4%     4%        4%       4%         4%       4%

   2026           4%         4%         4%     4%       4%         4%     4%        4%       4%         4%       4%
   2027           4%         4%         4%     4%       4%         4%     4%        4%       4%         4%       4%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                 (Applicable to Default Schedule and Rehabilitation Plan Withdrawal
                                benefit adjustments for Participants who
                         (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                               Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence

                                    65                         100%
                                    64                          90%
                                    63                          81%
                                    62                          74%
                                    61                          67%
                                    60                          61%
                                    59                          55%
                                    58                          50%
                                    57                          46%




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APPENDIX M-8. REHABILITATION PLAN (INCLUDING 2016 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-8 is added to the Pension Plan effective on and after December 31, 2016 in
             order to update the Rehabilitation Plan in compliance with the requirements of the Pension
             Protection Act of 2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015 and 2016, the actuary
             certified the Fund to be in “critical and declining status”, pursuant to the Multiemployer Pension
             Reform Act of 2014 (“MPRA”). The Fund’s Board of Trustees, as the plan sponsor of a “critical
             and declining status” pension plan, is charged under the PPA and MPRA with developing a
             “rehabilitation plan” designed to improve the financial condition of the Fund in accordance with
             the standards set forth in the PPA, and with annually updating the rehabilitation plan. Although
             for plan year 2009 the Fund was exempt from the update requirement, pursuant to an election
             under the Worker Retiree and Employer Recovery Act of 2008, for subsequent plan years the
             PPA provisions concerning the rehabilitation plan update process are applicable to the Fund.
             The purpose of this updated Rehabilitation Plan is to comply with those PPA provisions, as
             amended to date, including any applicable amendments under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.            SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.


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            A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                  BENEFITS).

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers are in compliance with
                         this Primary Schedule, there will be no change in benefit formulas, levels or
                         payment options in effect on January 1, 2008, except that as provided in Section
                         2(J) below, Participants who (i) have not submitted a retirement application on or
                         before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                         meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                         Retirement Date prior to their 57th birthday and will not be eligible to receive
                         retirement benefit payments of any type until after achieving age 57.

                         Further, subject to the notice requirements of the PPA and other applicable law,
                         any Bargaining Units (and any non-Bargaining Unit employee groups participating
                         in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                         on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                         2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                  2.     Contributions

                         Compliance with the Primary Schedule requires annually compounded
                         contribution rate increases in accordance with Exhibit A effective immediately after
                         the expiration of the Collective Bargaining Agreement (or other agreement
                         requiring contributions to the Fund) and each agreement anniversary date (or
                         reallocation anniversary, where applicable) during the term of the new bargaining
                         agreement to the extent indicated in Exhibit A, depending on the year that the new
                         agreement is effective. Note that all contribution rate increases are annually
                         compounded on the total contribution rate (including any reallocations of employee
                         benefit contributions or agreed mid-contract contribution increases) immediately
                         prior to the increase.

                         The required annual rate increase may be provided through annual allocations to
                         pension contributions of general and aggregate employee benefit contribution
                         increases that were negotiated at the outset of an agreement, but were not
                         specifically allocated to pension contributions until subsequent contract years. The
                         Primary Schedule requires 8% per year contribution rate increases for the first 5
                         years, 6% per year contribution rate increases for the next 3 years and 4% per
                         year contribution rate increases each year thereafter for 2008 agreements under
                         the Primary Schedule and comparable rate increases over time for all other
                         agreements under the Primary Schedule (see Exhibit A).

                         Provided, however, that absent further amendment to this rehabilitation plan, as of
                         June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                         $348 per week for each full-time employee with respect to Participants covered by
                         the National Master Automobile Transporter Agreement, and (2) $342 per week
                         for each full-time employee with respect to all other Participants, will be deemed
                         to be in compliance with the Primary Schedule without the need for additional
                         annual rate increases.

                         Provided further that any Employer that qualifies as a New Employer under § 2.2(b)
                         of Appendix E of the Pension Plan will be deemed, as of the date it qualifies as a

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                         New Employer, to be in compliance with the Primary Schedule without the need
                         for additional contribution rate increases.

            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                         the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                         and payment options in effect on January 1, 2008 will remain in effect except for
                         the following, upon the effective date that the Default Schedule applies to the
                         Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                         the Fund):

                                   Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit
                                    payable at age 65 is reduced by 1/2% per month for each month prior to
                                    age 65 with a minimum retirement age of 57, except that, for Participants
                                    who (i) have not submitted a retirement application on or before July 1,
                                    2011 and (ii) do not have a benefit commencement date [within the
                                    meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                    Based Pension monthly benefit payable at age 65 shall be reduced to an
                                    actuarially equivalent benefit in accordance with the Schedule attached as
                                    Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to the
                         Fund) and each anniversary thereof during the term of the agreement.

                  3.     Effect of agreement to or imposition of Default Schedule.

                                  (i)    If a Contributing Employer agrees to the Default Schedule with respect
                                         to a particular Bargaining Unit, the Fund will not accept any subsequent
                                         Collective Bargaining Agreements covering that Bargaining Unit which
                                         are compliant with the Primary Schedule, except as determined by the
                                         Board of Trustees in their sole discretion.

                                  (ii)   If a Contributing Employer becomes subject to the Default Schedule by
                                         operation of ERISA Section 305(e)(3)(C), because the bargaining
                                         parties have failed to adopt either of the Schedules compliant with this
                                         Rehabilitation Plan within 180 days of the expiration of their prior
                                         Collective Bargaining Agreement, the Fund will then accept a Collective
                                         Bargaining Agreement that is compliant with the Primary Schedule
                                         described in this Rehabilitation Plan, provided that such new Collective
                                         Bargaining Agreement provides for Primary Schedule contribution rates


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                                         that are retroactive to the expiration date of the last Collective
                                         Bargaining Agreement that covered the affected Bargaining Unit.

            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is accepted
                         by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                     Contribution Based Pension monthly benefit payable at age 65 shall be
                                     reduced to an actuarially equivalent benefit in accordance with the
                                     Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                     except that any Participant who (i) has achieved a minimum age of 55 as
                                     of the date of the Distressed Employer’s termination of participation in the
                                     Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                     years credit towards a Contributory Credit Pension or an And-Out Pension
                                     as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                     to retain his eligibility for (but not gain further credit towards) any such
                                     Pension, provided that any such Participant has a minimum retirement age
                                     of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the Default
                         Schedule to be in compliance with and subject to the Distressed Employer
                         Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                         the Contributing Employer meets each of the following qualifications:

                         (i)        the common stock of the Employer or its parent corporation (or other affiliate
                                    under 80% or more common control with the Employer) is publicly traded and
                                    registered pursuant to the securities laws of the United States;

                         (ii)       the Employer has previously incurred a termination of its participation in the
                                    Fund due to an inability to remain current in its Contribution obligations, and
                                    the Employer was in terminated status immediately prior to executing the
                                    Agreement sought to be qualified under the Distressed Employer Schedule;


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                         (iii)   during the last ten years in which the Employer participated in the Fund prior
                                 to its termination, it had paid contributions to the Fund on behalf of at least
                                 1,000 full-time employees per month (or had, including part-time employees,
                                 paid contributions on behalf of the equivalent of at least 1,000 full-time
                                 employees per month for the specified ten year period);

                         (iv)    the Employer submits to a review of its financial condition and operations by
                                 the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                 the Fund for all fees and expenses incurred by the Fund in this review
                                 (including, but not limited to, reimbursement to the Fund for the time devoted
                                 by the Fund’s Staff to any such review, with this reimbursement to be made
                                 at market rates for comparable services performed by Fund’s Staff);

                         (v)     on the basis of this financial and operational review, it appears that the
                                 Employer is not able to contribute to the Fund at a higher rate than is
                                 indicated in the Collective Bargaining Agreement proposed for acceptance
                                 under the Distressed Employer Schedule, and that acceptance of the
                                 proposed Agreement is in the best interest of the Fund under all the
                                 circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)    the Employer provides the Fund with first lien collateral in any and all
                                 unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                 any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                 Employer’s obligation to make current and future pension contributions to the
                                 Fund, and (iii) any future withdrawal liability potentially incurred by the
                                 Employer (with the amount of such potential withdrawal liability to be
                                 determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                         are compliant with the Primary Schedule, except as determined by the Board of
                         Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                  PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Subsection B(1) above) with respect to
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),

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                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                  Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                  requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                  shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                  does not engage in Restricted Reemployment at any time subsequent to the benefit
                  commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced in
                  Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                  to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                         (i)     the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination were aware of,
                                 participated in or controlled, or could have controlled or prevented, through
                                 bargaining, grievance procedures, NLRB proceedings, litigation or other
                                 means, the circumstances that led to the administrative termination of the
                                 Employer;

                         (ii)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination benefited, directly or
                                 indirectly from the cessation of Employer Contributions or from the
                                 circumstances that led to the administrative termination of the Employer;

                         (iii)   the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination resisted or attempted
                                 to alter, or acquiesced in, the circumstances that led to the administrative
                                 termination of the Employer;

                         (iv)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application prior
                                 to the effective date of the administrative termination have become engaged
                                 as employees or independent contractors in the service of operations that


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                                were or are in whole or in part a successor of the operations of the Employer
                                that has undergone the administrative termination; and

                         (v)    the extent of the hardship that might be incurred by any actively employed
                                members of the affected Bargaining Unit or by any members who submitted
                                a retirement application prior to the effective date of the administrative
                                termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (to the same extent indicated in Section B(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.




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            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or
                         trades or businesses under common control with such Employer within the

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                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                         (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                         per month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by 1/2% per month for each
                         month prior to age 65 at the time of retirement. Provided, however, for Participants
                         who (i) have not submitted a retirement application on or before July 1, 2011 and
                         (ii) do not have a benefit commencement date [within the meaning of ERISA §
                         305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                         Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                         actuarial equivalence in accordance with the Schedule attached as Exhibit B
                         hereto.

                  (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                         categories of benefits listed and defined as “adjustable benefits” under ERISA§
                         305(e)(8)(iv):




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                          (i)       benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                          (ii)      any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                          (iii)     benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

            I.     REHABILITATION PLAN WITHDRAWAL

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)    decertification or other removal of the Union as a bargaining agent;

                   (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                          permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                          Plan;

                   (3)    administrative termination of the Contributing Employer with respect to any or all
                          of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                          with respect to the terms of a Collective Bargaining Agreement (including, without
                          limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                          other Fund rule or policy (including, without limitation, practices or arrangements
                          that result in adverse selection);

                   (4)    any transaction or other event (including, without limitation, a merger,
                          consolidation, division, asset sale (other than an asset sale complying with ERISA
                          § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                          whereby all or a portion of the operations for which the Contributing Employer has
                          an obligation to contribute are continued (whether by the Contributing Employer or
                          by another party) in whole or in part without maintaining the obligation to contribute
                          to the Fund under the same or better terms (including, for example, as to number
                          of participants and contribution rate) as existed before the transaction;

                   Provided, however, that with respect to the circumstances described in Subparagraphs.
                   (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to


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                   consider, weigh and balance the following factors in determining whether a
                   Rehabilitation Plan Withdrawal has occurred:

                          (i)       the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                          (ii)      the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                          (iii)     the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                          (iv)      the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                          (v)       the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

            J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                   INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                   APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                   COMMENCEMENT ON OR BEFORE THAT DATE.

                   Minimum Retirement Age 57.

                   Participants who (i) have not submitted a retirement application on or before July 1, 2011
                   and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                   57th birthday and will not be eligible to receive retirement benefit payments of any type
                   until after achieving age 57.

            K.     SPECIAL SCHEDULE: QUALIFYING NEW (“HYBRID METHOD”) EMPLOYERS
                   (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                   1.     Benefits.

                          Bargaining Units (and any non-Bargaining Unit groups participating in the Fund)
                          whose Contributing Employers have been specifically accepted and approved by
                          the Trustees as satisfying the requirements for this Qualifying New Employer
                          Schedule will, as it relates to benefits or potential benefit adjustments, be treated
                          in the same way as Bargaining Units (and non-Bargaining Unit groups) under the
                          Primary Schedule (Section 2(A) above).




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                   2.     Contributions.

                          Contributing Employers who have qualified as New Employers within the meaning
                          of Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for
                          treatment under the Pension Fund’s alternative, or “hybrid,” method of calculating
                          Employer Withdrawal Liability), and who have fulfilled all requirements relating to
                          the duration and/or level of continued participation in the Pension Fund contained
                          in the agreement under which the Fund accepted the Employer as a New
                          Employer, may contribute under this Schedule to the Fund at a rate to be
                          specifically and separately approved by the Board of Trustees with respect to each
                          such New Employer (the “New Rate”), subject to a specific determination by the
                          Board of Trustees that the following conditions have been or will be met:

                                    (i)     The New Employer has in fact fulfilled its contribution or participation
                                            commitments under the agreement in which the Fund accepted the
                                            Employer’s New Employer status, and the New Employer has fulfilled
                                            all other obligations under that agreement, is current in its ongoing
                                            contribution obligations to the Fund and is in compliance with the
                                            Fund’s rules and polices applicable to Contributing Employers;

                                    (ii)    Unless a New Rate is determined and made available under this
                                            Schedule, the New Employer would likely withdraw from the Fund on
                                            about the expiration date of its most recent Collective Bargaining
                                            Agreement requiring contributions to the Fund;

                                    (iii)   The New Employer’s continued participation in the Fund at the New
                                            Rate, under the specific circumstances presented, will result in net
                                            positive cash flow to the Fund, in comparison to the net cash flow that
                                            would result from a withdrawal by the New Employer from the Fund;
                                            and

                                    (iv)    The New Employer’s obligation to contribute to the Fund at the New
                                            Rate is documented in a Collective Bargaining Agreement that is or will
                                            be acceptable to the Board of Trustees, and contains (or will contain)
                                            terms under which the bargaining representative of the affected
                                            Bargaining Unit specifically agrees or acknowledges that any
                                            reductions in labor costs resulting from the New Employer’s
                                            contributions at the New Rate have been allocated to the Bargaining
                                            Unit in a manner that is satisfactory to the bargaining representative.

Section 3.           REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:




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                 •   Actuarial projections updated for each year show, based on reasonable assumptions,
                     that under the Rehabilitation Plan and its schedules (as amended and updated from
                     time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.           ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:

      Schedule                        Benefit Reductions                      Contribution Rate Increases
   Default             Immediate maximum Critical Status benefit cuts        15% per year until emergence
                       for all participants to the extent permitted by law   in 2021 (plus an additional
                                                                             1.6% annual increase for
                                                                             Benefit Classes 14 and below)
   Alternative 1       Maintain current benefits                             17% per year until emergence
                                                                             in 2021
   Alternative 2       On the second anniversary of the new                  16% per year until emergence
                       bargaining agreement, reduce the future benefit       in 2021
                       accrual rate from 1% of contributions payable at
                       age 62 to 1% of contributions at payable at age
                       65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible

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            insolvency. The Trustees also concluded during the 2010 - 2016 update processes that
            requiring annual contribution increases above the level described in the Primary Schedule
            would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
            than forestall it.

            Prior to Plan/calendar year 2016, the Trustees have implemented (and, where applicable,
            have continued to implement) numerous measures to improve the Fund’s funding. These
            have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate significant
                     amounts of annual benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     successfully seeking a waiver of the conditions of that extension in light of investment
                     losses resulting from the weakness in financial markets in recent years (waiver or
                     alteration of conditions granted in 2016);

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases;

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund;

                    Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                     under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                     historically significant) Contributing Employers, resumed Contributions in June 2011
                     at rates lower than would have been permitted under previous (pre-2011)
                     Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                     adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                     despite the lower Contribution rates, the continued participation of these Employers
                     would tend to improve overall pension funding; and

                    Adopting a new withdrawal liability method, and obtaining approval of that method by
                     the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                     and existing Contributing Employers who satisfy their withdrawal liability under the
                     Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                     method”), will have any future withdrawal liability determined under the “direct
                     attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                     some Contributing Employers who wish to continue to participate in the Fund, but may
                     be concerned about the potential for future growth of their estimated withdrawal liability
                     as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                     this, in turn, will encourage continued participation in the Fund and tend to improve
                     overall pension funding.

                    Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                     Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                     eligible for the direct attribution method under the hybrid method, to comply with the
                     Primary Schedule without the need (under their current collective bargaining
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                     agreements) for the contribution rate increases otherwise required under the Primary
                     Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                     will encourage existing Contributing Employers to satisfy their existing withdrawal
                     liability and to continue their participation in the Fund as New Employers under the
                     hybrid method; the Trustees determined that the New Employers’ participation on
                     these terms would tend to improve overall pension funding.

                    Authorizing the filing, on September 25, 2015, of an application with the United States
                     Department of the Treasury requesting approval of a plan of suspension of benefits
                     under MPRA. (The Trustees determined that the filing of this application was a
                     reasonable measure designed to forestall insolvency, and therefore one that they were
                     required to take under the PPA. However, the Fund’s MPRA application was denied
                     by the Department of Treasury on May 6, 2016, and the Trustees have determined
                     that it is not feasible for the Fund to submit a revised MPRA application.)

            As part of their responsibility to consider updates to the Rehabilitation Plan for Plan Year 2016,
            the Board of Trustees approved the continuation, to the extent feasible, of the measures listed
            above and also approved the Special Schedule relating to Qualifying New (“Hybrid Method”)
            Employers indicated in Section 2(K) of this Appendix.

            However, the Trustees have also determined, as part of the 2016 Rehabilitation Plan update
            process, that mandating additional significant benefit cuts (beyond those provided in this
            updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
            at levels beyond those required in recent years, would substantially accelerate the rate at
            which employers would withdraw from the Fund, in large part because the Union could
            conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
            Trustees also determined that this acceleration of employer withdrawals would, in turn, be
            counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                     Exhibit A


          Primary Schedule: Contribution Rate Increases By Bargaining Agreement Year
                      (all rate increases are to be compounded annually)


                                    Year of initial Bargaining Agreement Conforming to Primary Schedule
Calendar Year of
  Contribution          2006
 Rate Increases         &           2007   2008   2009    2010     2011   2012   2013   2014   2015   2016   2017
                        Earlier
      2006                 7%

      2007                 7%       8%

      2008                 7%       8%      8%

      2009                 7%       8%      8%     8%

      2010                 7%       8%      8%     8%      8%

      2011                 6%       8%      8%     8%      8%      8%

      2012                 5%       6%      8%     8%      8%      8%     8%

      2013                 4%       4%      6%     8%      8%      8%     8%     8%

      2014                 4%       4%     6%      8%      8%      8%     8%     8%      8%

      2015                 4%       4%      6%     8%      8%      8%     8%     8%      8%     8%

      2016                 4%       4%      4%     6%      8%      8%     8%     8%      8%     8%     8%

      2017                 4%       4%      4%     4%      6%      8%     8%     8%      8%     8%     8%    8%

      2018                 4%       4%      4%     4%      4%      6%     8%     8%      8%     8%     8%    8%

      2019                 4%       4%      4%     4%      4%      4%     6%     8%      8%     8%     8%    8%

      2020                 4%       4%      4%     4%      4%      4%     4%     6%      8%     8%     8%    8%

      2021                 4%       4%      4%     4%      4%      4%     4%     4%      6%     8%     8%    8%

      2022                 4%       4%      4%     4%      4%      4%     4%     4%      4%     6%     8%    8%

      2023                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     6%    8%

      2024                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    6%

      2025                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    4%

      2026                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    4%

      2027                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    4%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                        (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                               Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence

                                    65                        100%
                                    64                         90%
                                    63                         81%
                                    62                         74%
                                    61                         67%
                                    60                         61%
                                    59                         55%
                                    58                         50%
                                    57                         46%




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APPENDIX M-9. REHABILITATION PLAN (INCLUDING 2017 UPDATE)


Section 1.            PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-9 is added to the Pension Plan effective on and after December 31, 2017
             (except where a different effective date for any provision is noted below) in order to update
             the Rehabilitation Plan in compliance with the requirements of the Pension Protection Act of
             2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, 2016, and 2017 the
             actuary certified the Fund to be in “critical and declining status”, pursuant to the Multiemployer
             Pension Reform Act of 2014 (“MPRA”). The Fund’s Board of Trustees, as the plan sponsor of
             a “critical and declining status” pension plan, is charged under the PPA and MPRA with
             developing a “rehabilitation plan” designed to improve the financial condition of the Fund in
             accordance with the standards set forth in the PPA, and with annually updating the
             rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions, as amended to date, including any applicable amendments
             under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.




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Section 2.            SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over
             agreements requiring contributions to the Fund.

             A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                   BENEFITS).

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers are in compliance with
                          this Primary Schedule, there will be no change in benefit formulas, levels or
                          payment options in effect on January 1, 2008, except that as provided in Section
                          2(J) below, Participants who (i) have not submitted a retirement application on or
                          before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                          meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                          Retirement Date prior to their 57th birthday and will not be eligible to receive
                          retirement benefit payments of any type until after achieving age 57.

                          Further, subject to the notice requirements of the PPA and other applicable law,
                          any Bargaining Units (and any non-Bargaining Unit employee groups participating
                          in the Fund) whose Contributing Employers incur a Rehabilitation Plan
                          Withdrawal on or after March 26, 2008 shall have their Adjustable Benefits listed
                          in Section 2(H) below eliminated or reduced to the extent indicated in Section
                          2(B)(1) below.

                   2.     Contributions

                          Compliance with the Primary Schedule requires annually compounded
                          contribution rate increases in accordance with Exhibit A effective immediately
                          after the expiration of the Collective Bargaining Agreement (or other agreement
                          requiring contributions to the Fund) and each agreement anniversary date (or
                          reallocation anniversary, where applicable) during the term of the new bargaining
                          agreement to the extent indicated in Exhibit A, depending on the year that the
                          new agreement is effective. Note that all contribution rate increases are annually
                          compounded on the total contribution rate (including any reallocations of
                          employee benefit contributions or agreed mid-contract contribution increases)
                          immediately prior to the increase.

                          The required annual rate increase may be provided through annual allocations to
                          pension contributions of general and aggregate employee benefit contribution
                          increases that were negotiated at the outset of an agreement, but were not
                          specifically allocated to pension contributions until subsequent contract years.
                          The Primary Schedule requires 8% per year contribution rate increases for the
                          first 5 years, 6% per year contribution rate increases for the next 3 years and 4%
                          per year contribution rate increases each year thereafter for 2008 agreements
                          under the Primary Schedule and comparable rate increases over time for all other
                          agreements under the Primary Schedule (see Exhibit A).

                          Provided, however, that absent further amendment to this rehabilitation plan, as
                          of June 1, 2011, any Collective Bargaining Agreement requiring contributions of
                          (1) $348 per week for each full-time employee with respect to Participants covered

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                         by the National Master Automobile Transporter Agreement, and (2) $342 per
                         week for each full-time employee with respect to all other Participants, will be
                         deemed to be in compliance with the Primary Schedule without the need for
                         additional annual rate increases.

                         Provided further that any Employer that qualifies as a New Employer under §
                         2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it qualifies
                         as a New Employer, to be in compliance with the Primary Schedule without the
                         need for additional contribution rate increases.

            B.    DEFAULT SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers agree to comply with this
                         Default Schedule [or who become subject to the Default Schedule due to a failure
                         to achieve an agreement to accept one of the Rehabilitation Plan Schedules
                         within the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas,
                         levels, and payment options in effect on January 1, 2008 will remain in effect
                         except for the following, upon the effective date that the Default Schedule applies
                         to the Bargaining Unit (or to any non-Bargaining Unit employee groups
                         participating in the Fund):

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by 1/2% per month for each month prior to
                                     age 65 with a minimum retirement age of 57, except that, for Participants
                                     who (i) have not submitted a retirement application on or before July 1,
                                     2011 and (ii) do not have a benefit commencement date [within the
                                     meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                     Based Pension monthly benefit payable at age 65 shall be reduced to an
                                     actuarially equivalent benefit in accordance with the Schedule attached as
                                     Exhibit B with a minimum retirement age of 57.

                  2.     Contributions

                         Compliance with the Default Schedule consists of annually compounded
                         contribution rate increases of 4% effective immediately after the expiration of the
                         Collective Bargaining Agreement (or other agreement requiring contributions to
                         the Fund) and each anniversary thereof during the term of the agreement.

                  3.     Effect of agreement to or imposition of Default Schedule.

                         (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                    particular Bargaining Unit, the Fund will not accept any subsequent
                                    Collective Bargaining Agreements covering that Bargaining Unit which are
                                    compliant with the Primary Schedule, except as determined by the Board of
                                    Trustees in their sole discretion.

                         (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                    operation of ERISA Section 305(e)(3)(C), because the bargaining parties

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                                  have failed to adopt either of the Schedules compliant with this
                                  Rehabilitation Plan within 180 days of the expiration of their prior Collective
                                  Bargaining Agreement, the Fund will then accept a Collective Bargaining
                                  Agreement that is compliant with the Primary Schedule described in this
                                  Rehabilitation Plan, provided that such new Collective Bargaining
                                  Agreement provides for Primary Schedule contribution rates that are
                                  retroactive to the expiration date of the last Collective Bargaining Agreement
                                  that covered the affected Bargaining Unit.

            C.    DISTRESSED EMPLOYER SCHEDULE.

                  1.     Benefits

                         With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                         participating in the Fund) whose Contributing Employers and contribution rates
                         have been specifically accepted and approved by the Board of Trustees as
                         satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                         Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                         on January 1, 2008 will remain in effect except for the following, upon the effective
                         date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                         any non-Bargaining Unit employee group participating in the Fund) that is
                         accepted by the Board of Trustees as qualifying under the Distressed Employer
                         Schedule:

                              •     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                    to the maximum extent permitted by law, but the future benefit accrual rate
                                    of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                    with the modification that the Contribution Based Pension monthly benefit
                                    payable at age 65 is reduced by ½% per month for each month prior to
                                    age 65 with a minimum retirement age of 57, except that, for Participants
                                    who (i) have not submitted a retirement application on or before July 1,
                                    2011 and (ii) have not achieved a Retirement Date on or before July 1,
                                    2011, the Contribution Based Pension monthly benefit payable at age 65
                                    shall be reduced to an actuarially equivalent benefit in accordance with
                                    the Schedule attached as Exhibit B with a minimum retirement age of 57,
                                    and except that any Participant who (i) has achieved a minimum age of
                                    55 as of the date of the Distressed Employer’s termination of participation
                                    in the Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum
                                    of 25 years credit towards a Contributory Credit Pension or an And-Out
                                    Pension as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall
                                    be entitled to retain his eligibility for (but not gain further credit towards)
                                    any such Pension, provided that any such Participant has a minimum
                                    retirement age of 62.

                  2.     Contributions and Qualifications for the Distressed Employer Schedule.

                         The Board of Trustees may deem a Collective Bargaining Agreement with
                         contribution rates not in compliance with either the Primary Schedule or the
                         Default Schedule to be in compliance with and subject to the Distressed
                         Employer Schedule, if in the Board of Trustees’ sole discretion, the Board
                         determines that the Contributing Employer meets each of the following
                         qualifications:



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                         (i)     the common stock of the Employer or its parent corporation (or other
                                 affiliate under 80% or more common control with the Employer) is publicly
                                 traded and registered pursuant to the securities laws of the United States;

                         (ii)    the Employer has previously incurred a termination of its participation in
                                 the Fund due to an inability to remain current in its Contribution obligations,
                                 and the Employer was in terminated status immediately prior to executing
                                 the Agreement sought to be qualified under the Distressed Employer
                                 Schedule;

                         (iii)   during the last ten years in which the Employer participated in the Fund
                                 prior to its termination, it had paid contributions to the Fund on behalf of at
                                 least 1,000 full-time employees per month (or had, including part-time
                                 employees, paid contributions on behalf of the equivalent of at least 1,000
                                 full-time employees per month for the specified ten year period);

                         (iv)    the Employer submits to a review of its financial condition and operations by
                                 the Fund’s Staff and outside expert and consultants, and agrees to
                                 reimburse the Fund for all fees and expenses incurred by the Fund in this
                                 review (including, but not limited to, reimbursement to the Fund for the time
                                 devoted by the Fund’s Staff to any such review, with this reimbursement to
                                 be made at market rates for comparable services performed by Fund’s
                                 Staff);

                         (v)     on the basis of this financial and operational review, it appears that the
                                 Employer is not able to contribute to the Fund at a higher rate than is
                                 indicated in the Collective Bargaining Agreement proposed for acceptance
                                 under the Distressed Employer Schedule, and that acceptance of the
                                 proposed Agreement is in the best interest of the Fund under all the
                                 circumstances and advances the goals of this Rehabilitation Plan; and

                         (vi)    the Employer provides the Fund with first lien collateral in any and all
                                 unencumbered assets to the fullest extent it is able in order to fully secure
                                 (i) any delinquent or deferred Contribution obligations owed to the Fund, (ii)
                                 the Employer’s obligation to make current and future pension contributions
                                 to the Fund, and (iii) any future withdrawal liability potentially incurred by the
                                 Employer (with the amount of such potential withdrawal liability to be
                                 determined based on estimates to be provided by the Fund).

                  3.     Effect of agreement to or imposition of the Distressed Employer
                         Schedule.

                         If a Contributing Employer becomes subject to the Distressed Employer Schedule
                         with respect to a particular Bargaining Unit, the Fund will not accept any
                         subsequent Collective Bargaining Agreements covering that Bargaining Unit
                         which are compliant with the Primary Schedule, except as determined by the
                         Board of Trustees in their sole discretion.

            D.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                  PLAN WITHDRAWAL.

                  Subject to the provisos indicated in the final clauses of this Subsection D, effective
                  March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be

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                  eliminated or reduced (to the same extent indicated in Subsection B(1) above) with
                  respect to Participants whose benefit commencement date [within the meaning of
                  ERISA § 305(i)(10)] with the Fund is on or after April 8, 2008, and:

                  (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                         by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                         time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                         or

                  (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                         Employer (or any predecessor or successor entity) that at any time on or after
                         March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                         and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                         Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                         predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                  of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                  above, who has a benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation
                  Plan Withdrawal or (ii) the date of the expiration of the last Collective Bargaining
                  Agreement requiring Employer Contributions under the Primary Schedule prior to such
                  Withdrawal, shall not be subject to the elimination of Adjustable Benefits provided that
                  the Pensioner does not engage in Restricted Reemployment at any time subsequent to
                  the benefit commencement date.

                  Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                  resulting from an administrative termination of a Contributing Employer as referenced
                  in Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority
                  (A) to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                  affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                  application naming a Retirement Date to the Fund on or before the date selected by the
                  Trustees as the effective date of the administrative termination which ended the
                  Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                  requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                  to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                  services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                  Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                  discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                  and balance the following factors:

                         (i)    the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application
                                prior to the effective date of the administrative termination were aware of,
                                participated in or controlled, or could have controlled or prevented, through
                                bargaining, grievance procedures, NLRB proceedings, litigation or other
                                means, the circumstances that led to the administrative termination of the
                                Employer;

                         (ii)   the extent to which any actively employed members of the affected
                                Bargaining Unit or any members who submitted a retirement application
                                prior to the effective date of the administrative termination benefited, directly
                                or indirectly from the cessation of Employer Contributions or from the
                                circumstances that led to the administrative termination of the Employer;

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                         (iii)   the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application
                                 prior to the effective date of the administrative termination resisted or
                                 attempted to alter, or acquiesced in, the circumstances that led to the
                                 administrative termination of the Employer;

                         (iv)    the extent to which any actively employed members of the affected
                                 Bargaining Unit or any members who submitted a retirement application
                                 prior to the effective date of the administrative termination have become
                                 engaged as employees or independent contractors in the service of
                                 operations that were or are in whole or in part a successor of the operations
                                 of the Employer that has undergone the administrative termination; and

                         (v)     the extent of the hardship that might be incurred by any actively employed
                                 members of the affected Bargaining Unit or by any members who submitted
                                 a retirement application prior to the effective date of the administrative
                                 termination due to the elimination of Adjustable Benefits.

                  Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                  to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                  any Surviving Spouse Benefits for which such spouse has a benefit commencement
                  date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                  Rehabilitation Plan Withdrawal.

            E.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DEFAULT SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection E, effective
                  March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                  eliminated or reduced (to the same extent indicated in Section B(1) above) with respect
                  to any Participants whose benefit commencement date [within the meaning of ERISA
                  § 305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer
                         (or any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Default Schedule described herein; and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Default Schedule was earned while a member of a Bargaining Unit
                         (or any predecessor or successor Bargaining Unit) that ultimately became subject
                         to the Default Schedule.

                  Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination of
                  Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                  Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                  the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                  becoming subject to the Default Schedule, shall not be subject to the elimination of
                  Adjustable Benefits provided that the Pensioner does not engage in Restricted
                  Reemployment at any time subsequent to the benefit commencement date.



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                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                  subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                  Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  spouse has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                  Default Schedule.

            F.    ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                  CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                  THE DISTRESSED EMPLOYER SCHEDULE.

                  Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                  26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                  reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                  Participants whose benefit commencement date [within the meaning of ERISA §
                  305(i)(10)] is on or after April 8, 2008, and:

                  (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                         any predecessor or successor entity) that at any time becomes subject (by
                         agreement or otherwise) to the Distressed Employer Schedule described herein;
                         and

                  (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                         subject to the Distressed Employer Schedule was earned while a member of a
                         Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                         became subject to the Distressed Employer Schedule.

                  Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                  Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                  Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                  F, who has a benefit commencement date [within the meaning of ERISA Section
                  305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                  Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                  Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                  Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                  benefit commencement date, and provided further that with respect to Bargaining Units
                  that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                  no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                  such Distressed Employer Schedule benefit reduction.

                  Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                  the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                  to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                  loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                  surviving spouse has a benefit commencement date [within the meaning of ERISA
                  Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                  to the Distressed Employer Schedule, and provided further in any event that with respect
                  to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                  to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                  benefit reduction if the Participant’s death occurred prior to September 24, 2010.




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            G.    RESTORATION OF ADJUSTED BENEFITS.

                  Any Participant who incurs a benefit adjustment or elimination under the terms of
                  Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                  restored if, subsequent to the event causing the benefit adjustment, the Participant:

                  (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                         Section 2(I) below), permanently ceases all employment with, and performance of
                         services in any capacity for, the Contributing Employer (and any successors or
                         trades or businesses under common control with such Employer within the
                         meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                         Rehabilitation Plan Withdrawal; and

                  (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                         Contributing Employer while that Employer is in compliance with the Primary
                         Schedule described herein.

            H.    ADJUSTABLE BENEFITS.

                  As used herein, Adjustable Benefits shall mean and include:

                  (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                         to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                         be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                         Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                         Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                         Deferred Pension (Pension Plan § 4.09)].

                  (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                         an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                         (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                  (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                  (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                         surviving spouse benefit.

                  (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                  (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                         tied to one or more of the Adjustable Benefits listed above.

                  (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                         Participant meets all other requirements for receiving a Contribution-Based
                         Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                         per month for each month prior to age 65 at the time of retirement with a minimum
                         retirement age of 57. Such minimum retirement age shall not apply if the
                         Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                         eliminated or reduced. In such circumstance, the Participant shall be entitled to
                         receive the Contribution-Based Pension reduced by 1/2% per month for each
                         month prior to age 65 at the time of retirement. Provided, however, for Participants
                         who (i) have not submitted a retirement application on or before July 1, 2011 and
                         (ii) do not have a benefit commencement date [within the meaning of ERISA §
                         305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
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                          Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                          actuarial equivalence in accordance with the Schedule attached as Exhibit B
                          hereto.

                   (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                          categories of benefits listed and defined as “adjustable benefits” under ERISA§
                          305(e)(8)(iv):

                          (i)       benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                          (ii)      any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                          (iii)     benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                   Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                   this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                   payable at normal retirement.

          I.       REHABILITATION PLAN WITHDRAWAL

                   Subject to the discretionary authority of the Board of Trustees indicated in the final
                   clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                   Contributing Employer (a) is no longer required to make Employer Contributions to the
                   Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                   undergoes a significant reduction in its obligation to make Employer Contributions
                   resulting from outsourcing or subcontracting work covered by the applicable Collective
                   Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                   representatives) or the Contributing Employer, which actions include, but are not limited
                   to the following:

                   (1)    decertification or other removal of the Union as a bargaining agent;

                   (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                          permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                          Plan;

                   (3)    administrative termination of the Contributing Employer with respect to any or all
                          of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                          with respect to the terms of a Collective Bargaining Agreement (including, without
                          limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                          other Fund rule or policy (including, without limitation, practices or arrangements
                          that result in adverse selection);

                   (4)    any transaction or other event (including, without limitation, a merger,
                          consolidation, division, asset sale (other than an asset sale complying with ERISA
                          § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                          whereby all or a portion of the operations for which the Contributing Employer has

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                          an obligation to contribute are continued (whether by the Contributing Employer or
                          by another party) in whole or in part without maintaining the obligation to contribute
                          to the Fund under the same or better terms (including, for example, as to number
                          of participants and contribution rate) as existed before the transaction;

                   Provided, however, that with respect to the circumstances described in Subparagraphs.
                   (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to
                   consider, weigh and balance the following factors in determining whether a
                   Rehabilitation Plan Withdrawal has occurred:

                          (i)       the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                          (ii)      the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                          (iii)     the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                          (iv)      the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                          (v)       the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

            J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                   INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                   APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                   COMMENCEMENT ON OR BEFORE THAT DATE.

                   Minimum Retirement Age 57.

                   Participants who (i) have not submitted a retirement application on or before July 1, 2011
                   and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                   57th birthday and will not be eligible to receive retirement benefit payments of any type
                   until after achieving age 57.

            K.     SPECIAL SCHEDULE: QUALIFYING NEW (“HYBRID METHOD”) EMPLOYERS
                   (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                   1.     Benefits.

                          Bargaining Units (and any non-Bargaining Unit groups participating in the Fund)
                          whose Contributing Employers have been specifically accepted and approved by
                          the Trustees as satisfying the requirements for this Qualifying New Employer
                          Schedule will, as it relates to benefits or potential benefit adjustments, be treated


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                          in the same way as Bargaining Units (and non-Bargaining Unit groups) under the
                          Primary Schedule (Section 2.A. above).

                   2.     Contributions.

                          Contributing Employers who have qualified as New Employers within the meaning
                          of Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for
                          treatment under the Pension Fund’s alternative, or “hybrid,” method of calculating
                          Employer Withdrawal Liability), and who have fulfilled all requirements relating to
                          the duration and/or level of continued participation in the Pension Fund contained
                          in the agreement under which the Fund accepted the Employer as a New
                          Employer, may contribute under this Schedule to the Fund at a rate to be
                          specifically and separately approved by the Board of Trustees with respect to each
                          such New Employer (the “New Rate”), subject to a specific determination by the
                          Board of Trustees that the following conditions have been or will be met:

                          (i)       The New Employer has in fact fulfilled its contribution or participation
                                    commitments under the agreement in which the Fund accepted the
                                    Employer’s New Employer status, and the New Employer has fulfilled all
                                    other obligations under that agreement, is current in its ongoing contribution
                                    obligations to the Fund and is in compliance with the Fund’s rules and polices
                                    applicable to Contributing Employers;

                          (ii)      Unless a New Rate is determined and made available under this Schedule,
                                    the New Employer would likely withdraw from the Fund on about the
                                    expiration date of its most recent Collective Bargaining Agreement requiring
                                    contributions to the Fund;

                          (iii)     the New Employer’s continued participation in the Fund at the New Rate,
                                    under the specific circumstances presented, will result in net positive cash
                                    flow to the Fund, in comparison to the net cash flow that would result from a
                                    withdrawal by the New Employer from the Fund; and

                          (iv)      the New Employer’s obligation to contribute to the Fund at the New Rate is
                                    documented in a Collective Bargaining Agreement that is or will be
                                    acceptable to the Board of Trustees, and contains (or will contain) terms
                                    under which the bargaining representative of the affected Bargaining Unit
                                    specifically agrees or acknowledges that any reductions in labor costs
                                    resulting from the New Employer’s contributions at the New Rate have been
                                    allocated to the Bargaining Unit in a manner that is satisfactory to the
                                    bargaining representative.

            L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                   SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                   BENEFITS). (Effective on and after March 14, 2017)

                   1.     Benefits.

                          With regard to any Bargaining Unit subject to a Collective Bargaining Agreement
                          in effect as of March 1, 2017 (the “Current Agreement”) that –

                          (i)       was (or is) of 3 to 5 years in duration,

                          (ii)      did not (or does not) provide for any wage increases for the entire duration
                                    of the Agreement, and
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                          (iii)     required (or requires) pension contribution rate increases in compliance with
                                    the Primary Schedule (Section 2.A of this Rehabilitation Plan) for the entire
                                    duration of the Agreement, but did not (or does not) at any time require
                                    contributions at rates equal to or in excess of any of the maximum rates
                                    specified under the provisos to the Primary Schedule the benefits available
                                    to any such Bargaining Unit under any new Collective Bargaining Agreement
                                    that is the immediate successor or renewal Agreement of the Current
                                    Agreement, and is not in compliance with the Primary Schedule (“Successor
                                    Agreement”), will be nevertheless identical to the benefits available to
                                    Bargaining Units whose Collective Bargaining Agreements are in compliance
                                    with the Primary Schedule, provided that any such Successor Agreement
                                    has the characteristics specified in Section 2.L.2 below.

                     2.   Contributions.

                          In order for a Bargaining Unit to qualify for the benefits specified under Section
                          2.L.1 above, the Successor Agreement must:

                          (i)       Not be of less duration than the Current Agreement, but not
                                    exceeding 5 years in duration;

                          (ii)      require pension contributions at a rate that is at least as high as the
                                    highest rate required under the Current Agreement, but need not
                                    provide for any increase in the contribution rates for the duration of
                                    the Successor Agreement (the “Special Rate”); and

                          (iii)     contain terms under which the bargaining representative of the
                                    affected Bargaining Unit specifically agrees and acknowledges that
                                    any reduction in labor costs resulting from contributions at the Special
                                    Rate (i.e., contributions without the rate increases otherwise required
                                    under the Primary Schedule) have been allocated to the Bargaining
                                    Unit in a manner that is satisfactory to the bargaining representative.

Section 3.            REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                 •    Actuarial projections updated for each year show, based on reasonable assumptions,
                      that under the Rehabilitation Plan and its schedules (as amended and updated from
                      time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.            ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light

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            of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
            from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
            January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
            indefinitely (beyond the date referenced above under the “Standards and Objectives”
            heading). Some of the alternatives considered were determined to be unreasonable
            measures. The various default and alternative schedules considered included the following:

            Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
            plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
            December 31. 2020:


       Schedule                        Benefit Reductions                    Contribution Rate Increases
    Default             Immediate maximum Critical Status benefit          15% per year until
                        cuts for all participants to the extent            emergence in 2021 (plus an
                        permitted by law                                   additional 1.6% annual
                                                                           increase for Benefit Classes
                                                                           14 and below
    Alternative 1       Maintain current benefits                          17% per year until emergence
                                                                           in 2021
    Alternative 2       On the second anniversary of the new               16% per year until emergence
                        bargaining agreement, reduce the future            in 2021
                        benefit accrual rate from 1% of contributions
                        payable at age 62 to 1% of contributions at
                        payable at age 65

            In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
            that utilizing any and all possible measures to emerge from Critical Status by the end of the
            10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
            unreasonable and would involve considerable risk to the Fund and Fund participants. In
            particular, the Board of Trustees concluded that the continued existence of the Fund and the
            Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
            terms of the IRS approved amortization extension would be jeopardized by any attempt to
            emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

            As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
            presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
            increases. For example, the daily contribution rate would generally have to grow from $52 to
            over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
            above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
            mass withdrawals and significant losses to the Fund and the participants.

            During the process of updating the Rehabilitation Plan in each applicable year subsequent to
            2008, the Trustees concluded that in light of current valuation data available in each of those
            years, the experience of the Fund and projections, the option available to the Fund under
            ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
            insolvency. The Trustees also concluded during the 2010 - 2016 update processes that
            requiring annual contribution increases above the level described in the Primary Schedule
            would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
            than forestall it.


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            Prior to Plan/calendar year 2017, the Trustees have implemented (and, where applicable,
            have continued to implement) numerous measures to improve the Fund’s funding. These
            have included:

                    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                     end 2003 levels;

                    Obtaining agreements from the major bargaining parties to reallocate significant
                     amounts of annual benefit contributions to the Pension Fund;

                    Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                     successfully seeking a waiver of the conditions of that extension in light of investment
                     losses resulting from the weakness in financial markets in recent years (waiver or
                     alteration of conditions granted in 2016);

                    Requiring as a condition of continued participation in the Fund that new bargaining
                     agreements in the last several years include significant annual contribution rate
                     increases;

                    Providing information to Congress and federal agencies with respect to legislative or
                     regulatory proposals that appear to assist in addressing the funding challenges
                     confronting the Fund;

                    Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                     under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                     historically significant) Contributing Employers, resumed Contributions in June 2011
                     at rates lower than would have been permitted under previous (pre-2011)
                     Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                     adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                     despite the lower Contribution rates, the continued participation of these Employers
                     would tend to improve overall pension funding; and

                    Adopting a new withdrawal liability method, and obtaining approval of that method by
                     the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                     and existing Contributing Employers who satisfy their withdrawal liability under the
                     Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                     method”), will have any future withdrawal liability determined under the “direct
                     attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                     some Contributing Employers who wish to continue to participate in the Fund, but may
                     be concerned about the potential for future growth of their estimated withdrawal liability
                     as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                     this, in turn, will encourage continued participation in the Fund and tend to improve
                     overall pension funding.

                    Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                     Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                     eligible for the direct attribution method under the hybrid method, to comply with the
                     Primary Schedule without the need (under their current collective bargaining
                     agreements) for the contribution rate increases otherwise required under the Primary
                     Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                     will encourage existing Contributing Employers to satisfy their existing withdrawal
                     liability and to continue their participation in the Fund as New Employers under the
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                     hybrid method; the Trustees determined that the New Employers’ participation on
                     these terms would tend to improve overall pension funding.

                    Authorizing the filing, on September 25, 2015, of an application with the United States
                     Department of the Treasury requesting approval of a plan of suspension of benefits
                     under MPRA. (The Trustees determined that the filing of this application was a
                     reasonable measure designed to forestall insolvency, and therefore one that they were
                     required to take under the PPA. However, the Fund’s MPRA application was denied
                     by the Department of Treasury on May 6, 2016, and the Trustees have determined
                     that it is not feasible for the Fund to submit a revised MPRA application.)

            As part of their responsibility to consider updates to the Rehabilitation Plan during Plan Year
            2017, the Board of Trustees approved the continuation, to the extent feasible, of the measures
            listed above and also approved the Special Schedule relating to Qualifying New (“Hybrid
            Method”) Employers indicated in Section 2.K. of this Appendix. In March 2017 the Trustees
            added Section 2.L relating to Qualifying Bargaining Units that Have Been Subject to a Wage
            Freezes as an additional update to this Appendix.

            However, the Trustees have also determined, as part of the 2017 Rehabilitation Plan update
            process, that mandating additional significant benefit cuts (beyond those provided in this
            updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
            at levels beyond those required in recent years, would risk substantially accelerating the rate
            at which employers would withdraw from the Fund, in large part because the Union could
            conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
            Trustees also determined that this acceleration of employer withdrawals would, in turn, be
            counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                     Exhibit A


          Primary Schedule: Contribution Rate Increases by Bargaining Agreement Year
                      (all rate increases are to be compounded annually)


                                    Year of initial Bargaining Agreement Conforming to Primary Schedule
Calendar Year of
  Contribution
                         2006
 Rate Increases
                           &        2007   2008   2009    2010     2011   2012   2013   2014   2015   2016   2017
                         Earlier
      2006                 7%

      2007                 7%       8%

      2008                 7%       8%      8%

      2009                 7%       8%      8%     8%

      2010                 7%       8%      8%     8%      8%

      2011                 6%       8%      8%     8%      8%      8%

      2012                 5%       6%      8%     8%      8%      8%     8%

      2013                 4%       4%      6%     8%      8%      8%     8%     8%

      2014                 4%       4%     6%      8%      8%      8%     8%     8%      8%

      2015                 4%       4%      6%     8%      8%      8%     8%     8%      8%     8%

      2016                 4%       4%      4%     6%      8%      8%     8%     8%      8%     8%     8%

      2017                 4%       4%      4%     4%      6%      8%     8%     8%      8%     8%     8%    8%

      2018                 4%       4%      4%     4%      4%      6%     8%     8%      8%     8%     8%    8%

      2019                 4%       4%      4%     4%      4%      4%     6%     8%      8%     8%     8%    8%

      2020                 4%       4%      4%     4%      4%      4%     4%     6%      8%     8%     8%    8%

      2021                 4%       4%      4%     4%      4%      4%     4%     4%      6%     8%     8%    8%

      2022                 4%       4%      4%     4%      4%      4%     4%     4%      4%     6%     8%    8%

      2023                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     6%    8%

      2024                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    6%

      2025                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    4%

      2026                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    4%

      2027                 4%       4%      4%     4%      4%      4%     4%     4%      4%     4%     4%    4%




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                                               EXHIBIT B


                           Schedule for Actuarial Reduction of Age 65 Benefits

                       (Applicable to Default Schedule and Rehabilitation Plan
                        Withdrawal benefit adjustments for Participants who
                         (i) have not submitted a retirement application on or
                 before July 1, 2011 and (ii) do not have a benefit commencement
              date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                               Percent of Age 65 Benefit Based on
                                    Age             Actuarial Equivalence


                                    65                      100%
                                    64                       90%
                                    63                       81%
                                    62                       74%
                                    61                       67%
                                    60                       61%
                                    59                       55%
                                    58                       50%
                                    57                       46%




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APPENDIX M-10. REHABILITATION PLAN (INCLUDING 2018 UPDATE)


Section 1.           PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-10 is added to the Pension Plan effective on and after December 31, 2018
             (except where a different effective date for any provision is noted below) in order to update
             the Rehabilitation Plan in compliance with the requirements of the Pension Protection Act of
             2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, 2016, 2017 and
             2018 the actuary certified the Fund to be in “critical and declining status”, pursuant to the
             Multiemployer Pension Reform Act of 2014 (“MPRA”). The Fund’s Board of Trustees, as the
             plan sponsor of a “critical and declining status” pension plan, is charged under the PPA and
             MPRA with developing a “rehabilitation plan” designed to improve the financial condition of
             the Fund in accordance with the standards set forth in the PPA, and with annually updating
             the rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions, as amended to date, including any applicable amendments
             under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.




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Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over
             agreements requiring contributions to the Fund.

             A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                   BENEFITS).

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers are in compliance with
                          this Primary Schedule, there will be no change in benefit formulas, levels or
                          payment options in effect on January 1, 2008, except that as provided in Section
                          2(J) below, Participants who (i) have not submitted a retirement application on or
                          before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                          meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                          Retirement Date prior to their 57th birthday and will not be eligible to receive
                          retirement benefit payments of any type until after achieving age 57.

                          Further, subject to the notice requirements of the PPA and other applicable law,
                          any Bargaining Units (and any non-Bargaining Unit employee groups participating
                          in the Fund) whose Contributing Employers incur a Rehabilitation Plan
                          Withdrawal on or after March 26, 2008 shall have their Adjustable Benefits listed
                          in Section 2(H) below eliminated or reduced to the extent indicated in Section
                          2(B)(1) below.

                   2.     Contributions

                          Compliance with the Primary Schedule requires annually compounded
                          contribution rate increases in accordance with Exhibit A effective immediately
                          after the expiration of the Collective Bargaining Agreement (or other agreement
                          requiring contributions to the Fund) and each agreement anniversary date (or
                          reallocation anniversary, where applicable) during the term of the new bargaining
                          agreement to the extent indicated in Exhibit A, depending on the year that the
                          new agreement is effective. Note that all contribution rate increases are annually
                          compounded on the total contribution rate (including any reallocations of
                          employee benefit contributions or agreed mid-contract contribution increases)
                          immediately prior to the increase.

                          The required annual rate increase may be provided through annual allocations to
                          pension contributions of general and aggregate employee benefit contribution
                          increases that were negotiated at the outset of an agreement, but were not
                          specifically allocated to pension contributions until subsequent contract years.
                          The Primary Schedule requires 8% per year contribution rate increases for the
                          first 5 years, 6% per year contribution rate increases for the next 3 years and 4%
                          per year contribution rate increases each year thereafter for 2008 agreements
                          under the Primary Schedule and comparable rate increases over time for all other
                          agreements under the Primary Schedule (see Exhibit A).

                          Provided, however, that absent further amendment to this rehabilitation plan, as
                          of June 1, 2011, any Collective Bargaining Agreement requiring contributions of
                          (1) $348 per week for each full-time employee with respect to Participants covered

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                          by the National Master Automobile Transporter Agreement, and (2) $342 per
                          week for each full-time employee with respect to all other Participants, will be
                          deemed to be in compliance with the Primary Schedule without the need for
                          additional annual rate increases.

                          Provided further that any Employer that qualifies as a New Employer under §
                          2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it qualifies
                          as a New Employer, to be in compliance with the Primary Schedule without the
                          need for additional contribution rate increases.

            B.     DEFAULT SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers agree to comply with this
                          Default Schedule [or who become subject to the Default Schedule due to a failure
                          to achieve an agreement to accept one of the Rehabilitation Plan Schedules
                          within the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas,
                          levels, and payment options in effect on January 1, 2008 will remain in effect
                          except for the following, upon the effective date that the Default Schedule applies
                          to the Bargaining Unit (or to any non-Bargaining Unit employee groups
                          participating in the Fund):

                                 •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                      to the maximum extent permitted by law, but the future benefit accrual rate
                                      of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                      with the modification that the Contribution Based Pension monthly benefit
                                      payable at age 65 is reduced by 1/2% per month for each month prior to
                                      age 65 with a minimum retirement age of 57, except that, for Participants
                                      who (i) have not submitted a retirement application on or before July 1,
                                      2011 and (ii) do not have a benefit commencement date [within the
                                      meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                      Based Pension monthly benefit payable at age 65 shall be reduced to an
                                      actuarially equivalent benefit in accordance with the Schedule attached as
                                      Exhibit B with a minimum retirement age of 57.

                   2.     Contributions

                          Compliance with the Default Schedule consists of annually compounded
                          contribution rate increases of 4% effective immediately after the expiration of the
                          Collective Bargaining Agreement (or other agreement requiring contributions to
                          the Fund) and each anniversary thereof during the term of the agreement.

                   3.     Effect of agreement to or imposition of Default Schedule.

                          (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                     particular Bargaining Unit, the Fund will not accept any subsequent
                                     Collective Bargaining Agreements covering that Bargaining Unit which are
                                     compliant with the Primary Schedule, except as determined by the Board of
                                     Trustees in their sole discretion.

                          (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                     operation of ERISA Section 305(e)(3)(C), because the bargaining parties

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                                    have failed to adopt either of the Schedules compliant with this
                                    Rehabilitation Plan within 180 days of the expiration of their prior Collective
                                    Bargaining Agreement, the Fund will then accept a Collective Bargaining
                                    Agreement that is compliant with the Primary Schedule described in this
                                    Rehabilitation Plan, provided that such new Collective Bargaining
                                    Agreement provides for Primary Schedule contribution rates that are
                                    retroactive to the expiration date of the last Collective Bargaining Agreement
                                    that covered the affected Bargaining Unit.

            C.     DISTRESSED EMPLOYER SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers and contribution rates
                          have been specifically accepted and approved by the Board of Trustees as
                          satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                          Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                          on January 1, 2008 will remain in effect except for the following, upon the effective
                          date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                          any non-Bargaining Unit employee group participating in the Fund) that is
                          accepted by the Board of Trustees as qualifying under the Distressed Employer
                          Schedule:

                               •     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to
                                     age 65 with a minimum retirement age of 57, except that, for Participants
                                     who (i) have not submitted a retirement application on or before July 1,
                                     2011 and (ii) have not achieved a Retirement Date on or before July 1,
                                     2011, the Contribution Based Pension monthly benefit payable at age 65
                                     shall be reduced to an actuarially equivalent benefit in accordance with
                                     the Schedule attached as Exhibit B with a minimum retirement age of 57,
                                     and except that any Participant who (i) has achieved a minimum age of
                                     55 as of the date of the Distressed Employer’s termination of participation
                                     in the Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum
                                     of 25 years credit towards a Contributory Credit Pension or an And-Out
                                     Pension as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall
                                     be entitled to retain his eligibility for (but not gain further credit towards)
                                     any such Pension, provided that any such Participant has a minimum
                                     retirement age of 62.

                   2.     Contributions and Qualifications for the Distressed Employer Schedule.

                          The Board of Trustees may deem a Collective Bargaining Agreement with
                          contribution rates not in compliance with either the Primary Schedule or the
                          Default Schedule to be in compliance with and subject to the Distressed
                          Employer Schedule, if in the Board of Trustees’ sole discretion, the Board
                          determines that the Contributing Employer meets each of the following
                          qualifications:



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                          (i)       the common stock of the Employer or its parent corporation (or other
                                    affiliate under 80% or more common control with the Employer) is publicly
                                    traded and registered pursuant to the securities laws of the United States;

                          (ii)      the Employer has previously incurred a termination of its participation in
                                    the Fund due to an inability to remain current in its Contribution obligations,
                                    and the Employer was in terminated status immediately prior to executing
                                    the Agreement sought to be qualified under the Distressed Employer
                                    Schedule;

                          (iii)     during the last ten years in which the Employer participated in the Fund
                                    prior to its termination, it had paid contributions to the Fund on behalf of at
                                    least 1,000 full-time employees per month (or had, including part-time
                                    employees, paid contributions on behalf of the equivalent of at least 1,000
                                    full-time employees per month for the specified ten year period);

                          (iv)      the Employer submits to a review of its financial condition and operations by
                                    the Fund’s Staff and outside expert and consultants, and agrees to
                                    reimburse the Fund for all fees and expenses incurred by the Fund in this
                                    review (including, but not limited to, reimbursement to the Fund for the time
                                    devoted by the Fund’s Staff to any such review, with this reimbursement to
                                    be made at market rates for comparable services performed by Fund’s
                                    Staff);

                          (v)       on the basis of this financial and operational review, it appears that the
                                    Employer is not able to contribute to the Fund at a higher rate than is
                                    indicated in the Collective Bargaining Agreement proposed for acceptance
                                    under the Distressed Employer Schedule, and that acceptance of the
                                    proposed Agreement is in the best interest of the Fund under all the
                                    circumstances and advances the goals of this Rehabilitation Plan; and

                          (vi)      the Employer provides the Fund with first lien collateral in any and all
                                    unencumbered assets to the fullest extent it is able in order to fully secure
                                    (i) any delinquent or deferred Contribution obligations owed to the Fund, (ii)
                                    the Employer’s obligation to make current and future pension contributions
                                    to the Fund, and (iii) any future withdrawal liability potentially incurred by the
                                    Employer (with the amount of such potential withdrawal liability to be
                                    determined based on estimates to be provided by the Fund).

                   3.     Effect of agreement to or imposition of the Distressed Employer
                          Schedule.

                          If a Contributing Employer becomes subject to the Distressed Employer Schedule
                          with respect to a particular Bargaining Unit, the Fund will not accept any
                          subsequent Collective Bargaining Agreements covering that Bargaining Unit
                          which are compliant with the Primary Schedule, except as determined by the
                          Board of Trustees in their sole discretion.

            D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                   PLAN WITHDRAWAL.

                   Subject to the provisos indicated in the final clauses of this Subsection D, effective
                   March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be

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                   eliminated or reduced (to the same extent indicated in Subsection B(1) above) with
                   respect to Participants whose benefit commencement date [within the meaning of
                   ERISA § 305(i)(10)] with the Fund is on or after April 8, 2008, and:

                   (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                          by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                          time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                          or

                   (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                          Employer (or any predecessor or successor entity) that at any time on or after
                          March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                          and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                          Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                          predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                   of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                   above, who has a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation
                   Plan Withdrawal or (ii) the date of the expiration of the last Collective Bargaining
                   Agreement requiring Employer Contributions under the Primary Schedule prior to such
                   Withdrawal, shall not be subject to the elimination of Adjustable Benefits provided that
                   the Pensioner does not engage in Restricted Reemployment at any time subsequent to
                   the benefit commencement date.

                   Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                   resulting from an administrative termination of a Contributing Employer as referenced
                   in Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority
                   (A) to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                   affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                   application naming a Retirement Date to the Fund on or before the date selected by the
                   Trustees as the effective date of the administrative termination which ended the
                   Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                   requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                   to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                   services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                   Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                   discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                   and balance the following factors:

                          (i)       the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination were aware of,
                                    participated in or controlled, or could have controlled or prevented, through
                                    bargaining, grievance procedures, NLRB proceedings, litigation or other
                                    means, the circumstances that led to the administrative termination of the
                                    Employer;

                          (ii)      the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination benefited, directly
                                    or indirectly from the cessation of Employer Contributions or from the
                                    circumstances that led to the administrative termination of the Employer;

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                          (iii)     the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination resisted or
                                    attempted to alter, or acquiesced in, the circumstances that led to the
                                    administrative termination of the Employer;

                          (iv)      the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination have become
                                    engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Employer that has undergone the administrative termination; and
                          (v)       the extent of the hardship that might be incurred by any actively employed
                                    members of the affected Bargaining Unit or by any members who submitted
                                    a retirement application prior to the effective date of the administrative
                                    termination due to the elimination of Adjustable Benefits.

                   Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                   to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                   any Surviving Spouse Benefits for which such spouse has a benefit commencement
                   date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                   Rehabilitation Plan Withdrawal.

            E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DEFAULT SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection E, effective
                   March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                   eliminated or reduced (to the same extent indicated in Section B(1) above) with respect
                   to any Participants whose benefit commencement date [within the meaning of ERISA
                   § 305(i)(10)] is on or after April 8, 2008, and:

                   (1)    who have earned any Contributory Service Credit with a Contributing Employer
                          (or any predecessor or successor entity) that at any time becomes subject (by
                          agreement or otherwise) to the Default Schedule described herein; and

                   (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                          subject to the Default Schedule was earned while a member of a Bargaining Unit
                          (or any predecessor or successor Bargaining Unit) that ultimately became subject
                          to the Default Schedule.

                   Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination of
                   Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                   Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                   the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                   becoming subject to the Default Schedule, shall not be subject to the elimination of
                   Adjustable Benefits provided that the Pensioner does not engage in Restricted
                   Reemployment at any time subsequent to the benefit commencement date.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to his Contributing Employer becoming

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                   subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                   Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   spouse has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                   Default Schedule.

            F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DISTRESSED EMPLOYER SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                   26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                   reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                   Participants whose benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] is on or after April 8, 2008, and:

                   (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                          any predecessor or successor entity) that at any time becomes subject (by
                          agreement or otherwise) to the Distressed Employer Schedule described herein;
                          and

                   (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                          subject to the Distressed Employer Schedule was earned while a member of a
                          Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                          became subject to the Distressed Employer Schedule.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                   Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                   Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                   F, who has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                   Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                   Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                   Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                   benefit commencement date, and provided further that with respect to Bargaining Units
                   that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                   no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                   such Distressed Employer Schedule benefit reduction.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                   to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                   loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   surviving spouse has a benefit commencement date [within the meaning of ERISA
                   Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                   to the Distressed Employer Schedule, and provided further in any event that with respect
                   to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                   to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                   benefit reduction if the Participant’s death occurred prior to September 24, 2010.




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            G.     RESTORATION OF ADJUSTED BENEFITS.

                   Any Participant who incurs a benefit adjustment or elimination under the terms of
                   Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                   restored if, subsequent to the event causing the benefit adjustment, the Participant:

                   (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                          Section 2(I) below), permanently ceases all employment with, and performance of
                          services in any capacity for, the Contributing Employer (and any successors or
                          trades or businesses under common control with such Employer within the
                          meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                          Rehabilitation Plan Withdrawal; and

                   (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                          Contributing Employer while that Employer is in compliance with the Primary
                          Schedule described herein.

            H.     ADJUSTABLE BENEFITS.

                   As used herein, Adjustable Benefits shall mean and include:

                   (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                          to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                          be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                          Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                          Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                          Deferred Pension (Pension Plan § 4.09)].

                   (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                          an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                          (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                   (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                   (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                          surviving spouse benefit.

                   (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                   (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                          tied to one or more of the Adjustable Benefits listed above.

                   (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                          Participant meets all other requirements for receiving a Contribution-Based
                          Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                          per month for each month prior to age 65 at the time of retirement with a minimum
                          retirement age of 57. Such minimum retirement age shall not apply if the
                          Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                          eliminated or reduced. In such circumstance, the Participant shall be entitled to
                          receive the Contribution-Based Pension reduced by 1/2% per month for each
                          month prior to age 65 at the time of retirement. Provided, however, for Participants
                          who (i) have not submitted a retirement application on or before July 1, 2011 and
                          (ii) do not have a benefit commencement date [within the meaning of ERISA §
                          305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
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                           Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                           actuarial equivalence in accordance with the Schedule attached as Exhibit B
                           hereto.

                    (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                           categories of benefits listed and defined as “adjustable benefits” under ERISA§
                           305(e)(8)(iv):

                           (i)      benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                           (ii)     any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                           (iii)    benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                    Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                    this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                    payable at normal retirement.

             I.     REHABILITATION PLAN WITHDRAWAL

                    Subject to the discretionary authority of the Board of Trustees indicated in the final
                    clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                    Contributing Employer (a) is no longer required to make Employer Contributions to the
                    Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                    undergoes a significant reduction in its obligation to make Employer Contributions
                    resulting from outsourcing or subcontracting work covered by the applicable Collective
                    Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                    representatives) or the Contributing Employer, which actions include, but are not limited
                    to the following:

                    (1)    decertification or other removal of the Union as a bargaining agent;

                    (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                           permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                           Plan;

                    (3)    administrative termination of the Contributing Employer with respect to any or all
                           of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                           with respect to the terms of a Collective Bargaining Agreement (including, without
                           limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                           other Fund rule or policy (including, without limitation, practices or arrangements
                           that result in adverse selection);

                    (4)    any transaction or other event (including, without limitation, a merger,
                           consolidation, division, asset sale (other than an asset sale complying with ERISA
                           § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                           whereby all or a portion of the operations for which the Contributing Employer has

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                           an obligation to contribute are continued (whether by the Contributing Employer or
                           by another party) in whole or in part without maintaining the obligation to contribute
                           to the Fund under the same or better terms (including, for example, as to number
                           of participants and contribution rate) as existed before the transaction;

                    Provided, however, that with respect to the circumstances described in Subparagraphs.
                    (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to
                    consider, weigh and balance the following factors in determining whether a
                    Rehabilitation Plan Withdrawal has occurred:

                             (i)     the extent to which the affected Bargaining Unit or its bargaining
                                     representative participated in or controlled, or could have controlled or
                                     prevented, through bargaining, grievance procedures, NLRB proceedings,
                                     litigation or other means, the cessation of Employer Contributions;

                             (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                     indirectly, from the cessation of Employer Contributions;

                             (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                     representative, resisted or attempted to resist, or acquiesced in, the
                                     cessation of Employer Contributions;

                             (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                     become engaged as employees or independent contractors in the service
                                     of operations that were or are in whole or in part a successor of the
                                     operations of the Contributing Employer who incurred the cessation of
                                     Employer Contributions; and

                             (v)     the extent of the hardship that might be incurred by members of the affected
                                     Bargaining Unit by the elimination of Adjustable Benefits.

             J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                    INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                    APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                    COMMENCEMENT ON OR BEFORE THAT DATE.

                    Minimum Retirement Age 57.

                    Participants who (i) have not submitted a retirement application on or before July 1, 2011
                    and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                    305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                    57th birthday and will not be eligible to receive retirement benefit payments of any type
                    until after achieving age 57.

             K.     SPECIAL SCHEDULE: QUALIFYING NEW (“HYBRID METHOD”) EMPLOYERS
                    (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                    1.     Benefits.

                           Bargaining Units (and any non-Bargaining Unit groups participating in the Fund)
                           whose Contributing Employers have been specifically accepted and approved by
                           the Trustees as satisfying the requirements for this Qualifying New Employer
                           Schedule will, as it relates to benefits or potential benefit adjustments, be treated


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                           in the same way as Bargaining Units (and non-Bargaining Unit groups) under the
                           Primary Schedule (Section 2.A. above).

                    2.     Contributions.

                           Contributing Employers who have qualified as New Employers within the meaning
                           of Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for
                           treatment under the Pension Fund’s alternative, or “hybrid,” method of calculating
                           Employer Withdrawal Liability), and who have fulfilled all requirements relating to
                           the duration and/or level of continued participation in the Pension Fund contained
                           in the agreement under which the Fund accepted the Employer as a New
                           Employer, may contribute under this Schedule to the Fund at a rate to be
                           specifically and separately approved by the Board of Trustees with respect to each
                           such New Employer (the “New Rate”), subject to a specific determination by the
                           Board of Trustees that the following conditions have been or will be met:

                           (i)      The New Employer has in fact fulfilled its contribution or participation
                                    commitments under the agreement in which the Fund accepted the
                                    Employer’s New Employer status, and the New Employer has fulfilled all
                                    other obligations under that agreement, is current in its ongoing contribution
                                    obligations to the Fund and is in compliance with the Fund’s rules and polices
                                    applicable to Contributing Employers;

                           (ii)     Unless a New Rate is determined and made available under this Schedule,
                                    the New Employer would likely withdraw from the Fund on about the
                                    expiration date of its most recent Collective Bargaining Agreement requiring
                                    contributions to the Fund;

                           (iii)    the New Employer’s continued participation in the Fund at the New Rate,
                                    under the specific circumstances presented, will result in net positive cash
                                    flow to the Fund, in comparison to the net cash flow that would result from a
                                    withdrawal by the New Employer from the Fund; and

                           (iv)     the New Employer’s obligation to contribute to the Fund at the New Rate is
                                    documented in a Collective Bargaining Agreement that is or will be
                                    acceptable to the Board of Trustees, and contains (or will contain) terms
                                    under which the bargaining representative of the affected Bargaining Unit
                                    specifically agrees or acknowledges that any reductions in labor costs
                                    resulting from the New Employer’s contributions at the New Rate have been
                                    allocated to the Bargaining Unit in a manner that is satisfactory to the
                                    bargaining representative.

             L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                    SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                    BENEFITS). (Effective on and after March 14, 2017)

                    1.     Benefits.

                           With regard to any Bargaining Unit subject to a Collective Bargaining Agreement
                           in effect as of March 1, 2017 (the “Current Agreement”) that –

                           (i)      was (or is) of 3 to 5 years in duration,

                           (ii)     did not (or does not) provide for any wage increases for the entire duration
                                    of the Agreement, and
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                           (iii)    required (or requires) pension contribution rate increases in compliance with
                                    the Primary Schedule (Section 2.A of this Rehabilitation Plan) for the entire
                                    duration of the Agreement, but did not (or does not) at any time require
                                    contributions at rates equal to or in excess of any of the maximum rates
                                    specified under the provisos to the Primary Schedule

                           the benefits available to any such Bargaining Unit under any new Collective
                           Bargaining Agreement that is the immediate successor or renewal Agreement of
                           the Current Agreement, and is not in compliance with the Primary Schedule
                           (“Successor Agreement”), will be nevertheless identical to the benefits available to
                           Bargaining Units whose Collective Bargaining Agreements are in compliance with
                           the Primary Schedule, provided that any such Successor Agreement has the
                           characteristics specified in Section 2.L.2 below.

                      2.   Contributions.

                           In order for a Bargaining Unit to qualify for the benefits specified under Section
                           2.L.1 above, the Successor Agreement must:

                           (i)      Not be of less duration than the Current Agreement, but not
                                    exceeding 5 years in duration;

                           (ii)     require pension contributions at a rate that is at least as high as the
                                    highest rate required under the Current Agreement, but need not
                                    provide for any increase in the contribution rates for the duration of
                                    the Successor Agreement (the “Special Rate”); and

                           (iii)    contain terms under which the bargaining representative of the
                                    affected Bargaining Unit specifically agrees and acknowledges that
                                    any reduction in labor costs resulting from contributions at the Special
                                    Rate (i.e., contributions without the rate increases otherwise required
                                    under the Primary Schedule) have been allocated to the Bargaining
                                    Unit in a manner that is satisfactory to the bargaining representative.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                  •    Actuarial projections updated for each year show, based on reasonable assumptions,
                       that under the Rehabilitation Plan and its schedules (as amended and updated from
                       time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.             ALTERNATIVES CONSIDERED BY THE TRUSTEES.



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             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:

       Schedule                         Benefit Reductions                    Contribution Rate Increases
      Default            Immediate maximum Critical Status benefit          15% per year until
                         cuts for all participants to the extent            emergence in 2021 (plus an
                         permitted by law                                   additional 1.6% annual
                                                                            increase for Benefit Classes
                                                                            14 and below)
    Alternative 1        Maintain current benefits                          17% per year until emergence
                                                                            in 2021
    Alternative 2        On the second anniversary of the new               16% per year until emergence
                         bargaining agreement, reduce the future            in 2021
                         benefit accrual rate from 1% of contributions
                         payable at age 62 to 1% of contributions at
                         payable at age 65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2017 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.
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             Prior to Plan/calendar year 2018, the Trustees have implemented (and, where applicable,
             have continued to implement) numerous measures to improve the Fund’s funding. These
             have included:

                     Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                     Protecting the “and-out” and early retirement benefits while freezing them at their year-
                      end 2003 levels;

                     Obtaining agreements from the major bargaining parties to reallocate significant
                      amounts of annual benefit contributions to the Pension Fund;

                     Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                      successfully seeking a waiver of the conditions of that extension in light of investment
                      losses resulting from the weakness in financial markets in recent years (waiver or
                      alteration of conditions granted in 2016);

                     Requiring as a condition of continued participation in the Fund that new bargaining
                      agreements in the last several years include significant annual contribution rate
                      increases;

                     Providing information to Congress and federal agencies with respect to legislative or
                      regulatory proposals that appear to assist in addressing the funding challenges
                      confronting the Fund;

                     Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                      under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                      historically significant) Contributing Employers, resumed Contributions in June 2011
                      at rates lower than would have been permitted under previous (pre-2011)
                      Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                      adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                      despite the lower Contribution rates, the continued participation of these Employers
                      would tend to improve overall pension funding; and

                     Adopting a new withdrawal liability method, and obtaining approval of that method by
                      the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                      and existing Contributing Employers who satisfy their withdrawal liability under the
                      Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                      method”), will have any future withdrawal liability determined under the “direct
                      attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                      some Contributing Employers who wish to continue to participate in the Fund, but may
                      be concerned about the potential for future growth of their estimated withdrawal liability
                      as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                      this, in turn, will encourage continued participation in the Fund and tend to improve
                      overall pension funding.

                     Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                      Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                      eligible for the direct attribution method under the hybrid method, to comply with the
                      Primary Schedule without the need (under their current collective bargaining
                      agreements) for the contribution rate increases otherwise required under the Primary
                      Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                      will encourage existing Contributing Employers to satisfy their existing withdrawal
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                      liability and to continue their participation in the Fund as New Employers under the
                      hybrid method; the Trustees determined that the New Employers’ participation on
                      these terms would tend to improve overall pension funding.

                     Authorizing the filing, on September 25, 2015, of an application with the United States
                      Department of the Treasury requesting approval of a plan of suspension of benefits
                      under MPRA. (The Trustees determined that the filing of this application was a
                      reasonable measure designed to forestall insolvency, and therefore one that they were
                      required to take under the PPA. However, the Fund’s MPRA application was denied
                      by the Department of Treasury on May 6, 2016, and the Trustees have determined
                      that it is not feasible for the Fund to submit a revised MPRA application.)

                     Approval of the Special Schedule relating to Qualifying New (“Hybrid“) Method
                      Employers indicated in Section 2.K. of this Appendix.

                     And the addition of Section 2.L. to this Appendix dealing with Qualifying Bargaining
                      Units that have been subject to wage freezes.

             However, the Trustees have also determined, as part of the 2018 Rehabilitation Plan update
             process, that mandating additional significant benefit cuts (beyond those provided in this
             updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
             at levels beyond those required in recent years, would risk substantially accelerating the rate
             at which employers would withdraw from the Fund, in large part because the Union could
             conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
             Trustees also determined that this acceleration of employer withdrawals would, in turn, be
             counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                              Exhibit A
            Primary Schedule: Contribution Rate Increases by Bargaining Agreement Year
                        (all rate increases are to be compounded annually)


                                     Year of initial Bargaining Agreement Conforming to Primary Schedule
Calendar Year
of Contribution
                   2006
Rate Increases
                     &       2007       2008   2009   2010    2011     2012   2013   2014   2015   2016    2017   2018
                   Earlier
     2006           7%

     2007           7%        8%

     2008           7%        8%         8%

     2009           7%        8%        8%      8%

     2010           7%        8%        8%      8%     8%

     2011           6%        8%        8%      8%     8%      8%

     2012           5%        6%        8%      8%     8%      8%      8%

     2013           4%        4%        6%      8%     8%      8%      8%     8%

     2014           4%        4%        6%      8%     8%      8%      8%     8%     8%

     2015           4%        4%         6%     8%     8%      8%      8%     8%     8%     8%

     2016           4%        4%         4%     6%     8%      8%      8%     8%     8%     8%     8%

     2017           4%        4%        4%      4%     6%      8%      8%     8%     8%     8%     8%      8%

     2018           4%        4%        4%      4%     4%      6%      8%     8%     8%     8%     8%      8%     8%

     2019           4%        4%        4%      4%     4%      4%      6%     8%     8%     8%     8%      8%     8%

     2020           4%        4%        4%      4%     4%      4%      4%     6%     8%     8%     8%      8%     8%

     2021           4%        4%        4%      4%     4%      4%      4%     4%     6%     8%     8%      8%     8%

     2022           4%        4%        4%      4%     4%      4%      4%     4%     4%     6%     8%      8%     8%

     2023           4%        4%        4%      4%     4%      4%      4%     4%     4%     4%     6%      8%     8%

     2024           4%        4%        4%      4%     4%      4%      4%     4%     4%     4%     4%      6%     8%

     2025           4%        4%        4%      4%     4%      4%      4%     4%     4%     4%     4%      4%     6%

     2026           4%        4%        4%      4%     4%      4%      4%     4%     4%     4%     4%      4%     4%

     2027           4%        4%        4%      4%     4%      4%      4%     4%     4%     4%     4%      4%     4%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                        (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                                Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence


                                    65                        100%
                                    64                         90%
                                    63                         81%
                                    62                         74%
                                    61                         67%
                                    60                         61%
                                    59                         55%
                                    58                         50%
                                    57                         46%




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APPENDIX M-11. REHABILITATION PLAN (INCLUDING 2019 UPDATE)


Section 1.           PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-11 is added to the Pension Plan effective on and after December 31, 2019
             (except where a different effective date for any provision is noted below) in order to update
             the Rehabilitation Plan in compliance with the requirements of the Pension Protection Act of
             2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, 2016, 2017, 2018
             and 2019 the actuary certified the Fund to be in “critical and declining status”, pursuant to the
             Multiemployer Pension Reform Act of 2014 (“MPRA”). The Fund’s Board of Trustees, as the
             plan sponsor of a “critical and declining status” pension plan, is charged under the PPA and
             MPRA with developing a “rehabilitation plan” designed to improve the financial condition of
             the Fund in accordance with the standards set forth in the PPA, and with annually updating
             the rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions, as amended to date, including any applicable amendments
             under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.




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Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.

             A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                   BENEFITS).

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers are in compliance with
                          this Primary Schedule, there will be no change in benefit formulas, levels or
                          payment options in effect on January 1, 2008, except that as provided in Section
                          2(J) below, Participants who (i) have not submitted a retirement application on or
                          before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                          meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                          Retirement Date prior to their 57th birthday and will not be eligible to receive
                          retirement benefit payments of any type until after achieving age 57.

                          Further, subject to the notice requirements of the PPA and other applicable law,
                          any Bargaining Units (and any non-Bargaining Unit employee groups participating
                          in the Fund) whose Contributing Employers incur a Rehabilitation Plan Withdrawal
                          on or after March 26, 2008 shall have their Adjustable Benefits listed in Section
                          2(H) below eliminated or reduced to the extent indicated in Section 2(B)(1) below.

                   2.     Contributions

                          Compliance with the Primary Schedule requires annually compounded
                          contribution rate increases in accordance with Exhibit A effective immediately after
                          the expiration of the Collective Bargaining Agreement (or other agreement
                          requiring contributions to the Fund) and each agreement anniversary date (or
                          reallocation anniversary, where applicable) during the term of the new bargaining
                          agreement to the extent indicated in Exhibit A, depending on the year that the new
                          agreement is effective. Note that all contribution rate increases are annually
                          compounded on the total contribution rate (including any reallocations of employee
                          benefit contributions or agreed mid-contract contribution increases) immediately
                          prior to the increase.

                          The required annual rate increase may be provided through annual allocations to
                          pension contributions of general and aggregate employee benefit contribution
                          increases that were negotiated at the outset of an agreement, but were not
                          specifically allocated to pension contributions until subsequent contract years. The
                          Primary Schedule requires 8% per year contribution rate increases for the first 5
                          years, 6% per year contribution rate increases for the next 3 years and 4% per
                          year contribution rate increases each year thereafter for 2008 agreements under
                          the Primary Schedule and comparable rate increases over time for all other
                          agreements under the Primary Schedule (see Exhibit A).

                          Provided, however, that absent further amendment to this rehabilitation plan, as of
                          June 1, 2011, any Collective Bargaining Agreement requiring contributions of (1)
                          $348 per week for each full-time employee with respect to Participants covered by
                          the National Master Automobile Transporter Agreement, and (2) $342 per week

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                          for each full-time employee with respect to all other Participants, will be deemed
                          to be in compliance with the Primary Schedule without the need for additional
                          annual rate increases.

                          Provided further that any Employer that qualifies as a New Employer under §
                          2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it qualifies
                          as a New Employer, to be in compliance with the Primary Schedule without the
                          need for additional contribution rate increases.

            B.     DEFAULT SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers agree to comply with this
                          Default Schedule [or who become subject to the Default Schedule due to a failure
                          to achieve an agreement to accept one of the Rehabilitation Plan Schedules within
                          the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas, levels,
                          and payment options in effect on January 1, 2008 will remain in effect except for
                          the following, upon the effective date that the Default Schedule applies to the
                          Bargaining Unit (or to any non-Bargaining Unit employee groups participating in
                          the Fund):

                                 •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                      to the maximum extent permitted by law, but the future benefit accrual rate
                                      of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                      with the modification that the Contribution Based Pension monthly benefit
                                      payable at age 65 is reduced by 1/2% per month for each month prior to
                                      age 65 with a minimum retirement age of 57, except that, for Participants
                                      who (i) have not submitted a retirement application on or before July 1,
                                      2011 and (ii) do not have a benefit commencement date [within the
                                      meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                      Based Pension monthly benefit payable at age 65 shall be reduced to an
                                      actuarially equivalent benefit in accordance with the Schedule attached as
                                      Exhibit B with a minimum retirement age of 57.

                   2.     Contributions

                          Compliance with the Default Schedule consists of annually compounded
                          contribution rate increases of 4% effective immediately after the expiration of the
                          Collective Bargaining Agreement (or other agreement requiring contributions to the
                          Fund) and each anniversary thereof during the term of the agreement.

                   3.     Effect of agreement to or imposition of Default Schedule.

                          (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                     particular Bargaining Unit, the Fund will not accept any subsequent
                                     Collective Bargaining Agreements covering that Bargaining Unit which are
                                     compliant with the Primary Schedule, except as determined by the Board of
                                     Trustees in their sole discretion.

                          (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                     operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                                     have failed to adopt either of the Schedules compliant with this Rehabilitation

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                                    Plan within 180 days of the expiration of their prior Collective Bargaining
                                    Agreement, the Fund will then accept a Collective Bargaining Agreement that
                                    is compliant with the Primary Schedule described in this Rehabilitation Plan,
                                    provided that such new Collective Bargaining Agreement provides for
                                    Primary Schedule contribution rates that are retroactive to the expiration date
                                    of the last Collective Bargaining Agreement that covered the affected
                                    Bargaining Unit.

            C.     DISTRESSED EMPLOYER SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers and contribution rates
                          have been specifically accepted and approved by the Board of Trustees as
                          satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                          Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                          on January 1, 2008 will remain in effect except for the following, upon the effective
                          date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                          any non-Bargaining Unit employee group participating in the Fund) that is accepted
                          by the Board of Trustees as qualifying under the Distressed Employer Schedule:

                                •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to age
                                     65 with a minimum retirement age of 57, except that, for Participants who
                                     (i) have not submitted a retirement application on or before July 1, 2011
                                     and (ii) have not achieved a Retirement Date on or before July 1, 2011, the
                                     Contribution Based Pension monthly benefit payable at age 65 shall be
                                     reduced to an actuarially equivalent benefit in accordance with the
                                     Schedule attached as Exhibit B with a minimum retirement age of 57, and
                                     except that any Participant who (i) has achieved a minimum age of 55 as
                                     of the date of the Distressed Employer’s termination of participation in the
                                     Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum of 25
                                     years credit towards a Contributory Credit Pension or an And-Out Pension
                                     as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                     to retain his eligibility for (but not gain further credit towards) any such
                                     Pension, provided that any such Participant has a minimum retirement age
                                     of 62.

                   3.     Contributions and Qualifications for the Distressed Employer Schedule.

                          The Board of Trustees may deem a Collective Bargaining Agreement with
                          contribution rates not in compliance with either the Primary Schedule or the Default
                          Schedule to be in compliance with and subject to the Distressed Employer
                          Schedule, if in the Board of Trustees’ sole discretion, the Board determines that
                          the Contributing Employer meets each of the following qualifications:

                          (i)       the common stock of the Employer or its parent corporation (or other affiliate
                                    under 80% or more common control with the Employer) is publicly traded and
                                    registered pursuant to the securities laws of the United States;


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                          (ii)      the Employer has previously incurred a termination of its participation in the
                                    Fund due to an inability to remain current in its Contribution obligations, and
                                    the Employer was in terminated status immediately prior to executing the
                                    Agreement sought to be qualified under the Distressed Employer Schedule;

                          (iii)     during the last ten years in which the Employer participated in the Fund prior
                                    to its termination, it had paid contributions to the Fund on behalf of at least
                                    1,000 full-time employees per month (or had, including part-time employees,
                                    paid contributions on behalf of the equivalent of at least 1,000 full-time
                                    employees per month for the specified ten year period);

                          (iv)      the Employer submits to a review of its financial condition and operations by
                                    the Fund’s Staff and outside expert and consultants, and agrees to reimburse
                                    the Fund for all fees and expenses incurred by the Fund in this review
                                    (including, but not limited to, reimbursement to the Fund for the time devoted
                                    by the Fund’s Staff to any such review, with this reimbursement to be made
                                    at market rates for comparable services performed by Fund’s Staff);

                          (v)       on the basis of this financial and operational review, it appears that the
                                    Employer is not able to contribute to the Fund at a higher rate than is
                                    indicated in the Collective Bargaining Agreement proposed for acceptance
                                    under the Distressed Employer Schedule, and that acceptance of the
                                    proposed Agreement is in the best interest of the Fund under all the
                                    circumstances and advances the goals of this Rehabilitation Plan; and

                          (vi)      the Employer provides the Fund with first lien collateral in any and all
                                    unencumbered assets to the fullest extent it is able in order to fully secure (i)
                                    any delinquent or deferred Contribution obligations owed to the Fund, (ii) the
                                    Employer’s obligation to make current and future pension contributions to the
                                    Fund, and (iii) any future withdrawal liability potentially incurred by the
                                    Employer (with the amount of such potential withdrawal liability to be
                                    determined based on estimates to be provided by the Fund).

                   3.     Effect of agreement to or imposition of the Distressed Employer Schedule.

                          If a Contributing Employer becomes subject to the Distressed Employer Schedule
                          with respect to a particular Bargaining Unit, the Fund will not accept any
                          subsequent Collective Bargaining Agreements covering that Bargaining Unit which
                          are compliant with the Primary Schedule, except as determined by the Board of
                          Trustees in their sole discretion.

            D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                   PLAN WITHDRAWAL.

                   Subject to the provisos indicated in the final clauses of this Subsection D, effective March
                   26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                   reduced (to the same extent indicated in Subsection B(1) above) with respect to
                   Participants whose benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] with the Fund is on or after April 8, 2008, and:

                   (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                          by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any


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                           time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                           or

                   (2)     who (i) has earned or earns an Hour of Service while employed with a Contributing
                           Employer (or any predecessor or successor entity) that at any time on or after
                           March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                           and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                           Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                           predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                   of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                   above, who has a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation Plan
                   Withdrawal or (ii) the date of the expiration of the last Collective Bargaining Agreement
                   requiring Employer Contributions under the Primary Schedule prior to such Withdrawal,
                   shall not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                   does not engage in Restricted Reemployment at any time subsequent to the benefit
                   commencement date.

                   Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                   resulting from an administrative termination of a Contributing Employer as referenced in
                   Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority (A)
                   to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                   affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                   application naming a Retirement Date to the Fund on or before the date selected by the
                   Trustees as the effective date of the administrative termination which ended the
                   Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                   requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                   to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                   services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                   Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                   discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                   and balance the following factors:

                   (i)     the extent to which any actively employed members of the affected Bargaining Unit
                           or any members who submitted a retirement application prior to the effective date
                           of the administrative termination were aware of, participated in or controlled, or
                           could have controlled or prevented, through bargaining, grievance procedures,
                           NLRB proceedings, litigation or other means, the circumstances that led to the
                           administrative termination of the Employer;

                   (ii)    the extent to which any actively employed members of the affected Bargaining Unit
                           or any members who submitted a retirement application prior to the effective date
                           of the administrative termination benefited, directly or indirectly from the cessation
                           of Employer Contributions or from the circumstances that led to the administrative
                           termination of the Employer;

                   (iii)   the extent to which any actively employed members of the affected Bargaining Unit
                           or any members who submitted a retirement application prior to the effective date
                           of the administrative termination resisted or attempted to alter, or acquiesced in,
                           the circumstances that led to the administrative termination of the Employer;



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                   (iv)   the extent to which any actively employed members of the affected Bargaining Unit
                          or any members who submitted a retirement application prior to the effective date
                          of the administrative termination have become engaged as employees or
                          independent contractors in the service of operations that were or are in whole or
                          in part a successor of the operations of the Employer that has undergone the
                          administrative termination; and

                   (v)    the extent of the hardship that might be incurred by any actively employed
                          members of the affected Bargaining Unit or by any members who submitted a
                          retirement application prior to the effective date of the administrative termination
                          due to the elimination of Adjustable Benefits.

                   Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                   to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                   any Surviving Spouse Benefits for which such spouse has a benefit commencement
                   date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                   Rehabilitation Plan Withdrawal.

            E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DEFAULT SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection E, effective March
                   26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                   reduced (to the same extent indicated in Section B(1) above) with respect to any
                   Participants whose benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] is on or after April 8, 2008, and:

                   (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                          any predecessor or successor entity) that at any time becomes subject (by
                          agreement or otherwise) to the Default Schedule described herein; and

                   (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                          subject to the Default Schedule was earned while a member of a Bargaining Unit
                          (or any predecessor or successor Bargaining Unit) that ultimately became subject
                          to the Default Schedule.

                   Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination
                   of Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                   Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                   the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                   becoming subject to the Default Schedule, shall not be subject to the elimination of
                   Adjustable Benefits provided that the Pensioner does not engage in Restricted
                   Reemployment at any time subsequent to the benefit commencement date.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                   subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
                   Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   spouse has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                   Default Schedule.


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            F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DISTRESSED EMPLOYER SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                   26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                   reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                   Participants whose benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] is on or after April 8, 2008, and:

                   (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                          any predecessor or successor entity) that at any time becomes subject (by
                          agreement or otherwise) to the Distressed Employer Schedule described herein;
                          and

                   (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                          subject to the Distressed Employer Schedule was earned while a member of a
                          Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                          became subject to the Distressed Employer Schedule.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                   Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                   Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                   F, who has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                   Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                   Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                   Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                   benefit commencement date, and provided further that with respect to Bargaining Units
                   that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                   no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                   such Distressed Employer Schedule benefit reduction.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                   to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                   loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   surviving spouse has a benefit commencement date [within the meaning of ERISA
                   Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                   to the Distressed Employer Schedule, and provided further in any event that with respect
                   to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                   to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                   benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.     RESTORATION OF ADJUSTED BENEFITS.

                   Any Participant who incurs a benefit adjustment or elimination under the terms of
                   Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                   restored if, subsequent to the event causing the benefit adjustment, the Participant:

                   (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                          Section 2(I) below), permanently ceases all employment with, and performance of
                          services in any capacity for, the Contributing Employer (and any successors or
                          trades or businesses under common control with such Employer within the

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                          meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                          Rehabilitation Plan Withdrawal; and

                   (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                          Contributing Employer while that Employer is in compliance with the Primary
                          Schedule described herein.

            H.     ADJUSTABLE BENEFITS.

                   As used herein, Adjustable Benefits shall mean and include:

                   (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                          to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                          be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                          Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                          Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                          Deferred Pension (Pension Plan § 4.09)].

                   (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                          an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                          (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                   (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                   (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                          surviving spouse benefit.

                   (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                   (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                          tied to one or more of the Adjustable Benefits listed above.

                   (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                          Participant meets all other requirements for receiving a Contribution-Based
                          Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                          per month for each month prior to age 65 at the time of retirement with a minimum
                          retirement age of 57. Such minimum retirement age shall not apply if the
                          Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                          eliminated or reduced. In such circumstance, the Participant shall be entitled to
                          receive the Contribution-Based Pension reduced by 1/2% per month for each
                          month prior to age 65 at the time of retirement. Provided, however, for Participants
                          who (i) have not submitted a retirement application on or before July 1, 2011 and
                          (ii) do not have a benefit commencement date [within the meaning of ERISA §
                          305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                          Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                          actuarial equivalence in accordance with the Schedule attached as Exhibit B
                          hereto.

                   (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                          categories of benefits listed and defined as “adjustable benefits” under ERISA§
                          305(e)(8)(iv):




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                           (i)      benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                           (ii)     any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                           (iii)    benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                    Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                    this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                    payable at normal retirement.

             I.     REHABILITATION PLAN WITHDRAWAL

                    Subject to the discretionary authority of the Board of Trustees indicated in the final
                    clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                    Contributing Employer (a) is no longer required to make Employer Contributions to the
                    Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                    undergoes a significant reduction in its obligation to make Employer Contributions
                    resulting from outsourcing or subcontracting work covered by the applicable Collective
                    Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                    representatives) or the Contributing Employer, which actions include, but are not limited
                    to the following:

                    (1)    decertification or other removal of the Union as a bargaining agent;

                    (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                           permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                           Plan;

                    (3)    administrative termination of the Contributing Employer with respect to any or all
                           of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                           with respect to the terms of a Collective Bargaining Agreement (including, without
                           limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                           other Fund rule or policy (including, without limitation, practices or arrangements
                           that result in adverse selection);

                    (4)    any transaction or other event (including, without limitation, a merger,
                           consolidation, division, asset sale (other than an asset sale complying with ERISA
                           § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                           whereby all or a portion of the operations for which the Contributing Employer has
                           an obligation to contribute are continued (whether by the Contributing Employer or
                           by another party) in whole or in part without maintaining the obligation to contribute
                           to the Fund under the same or better terms (including, for example, as to number
                           of participants and contribution rate) as existed before the transaction;

                    Provided, however, that with respect to the circumstances described in Subparagraphs.
                    (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to


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                    consider, weigh and balance the following factors in determining whether a
                    Rehabilitation Plan Withdrawal has occurred:

                           (i)      the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;
                           (ii)     the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                           (iii)    the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                           (iv)     the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                           (v)      the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                    INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                    APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                    COMMENCEMENT ON OR BEFORE THAT DATE.

                    Minimum Retirement Age 57.

                    Participants who (i) have not submitted a retirement application on or before July 1, 2011
                    and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                    305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                    57th birthday and will not be eligible to receive retirement benefit payments of any type
                    until after achieving age 57.

             K.     SPECIAL SCHEDULE: QUALIFYING NEW (“HYBRID METHOD”) EMPLOYERS
                    (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                    1.     Benefits.

                    Bargaining Units (and any non-Bargaining Unit groups participating in the Fund) whose
                    Contributing Employers have been specifically accepted and approved by the Trustees
                    as satisfying the requirements for this Qualifying New Employer Schedule will, as it
                    relates to benefits or potential benefit adjustments, be treated in the same way as
                    Bargaining Units (and non-Bargaining Unit groups) under the Primary Schedule (Section
                    2.A. above).




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                    2.      Contributions.

                    Contributing Employers who have qualified as New Employers within the meaning of
                    Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for treatment
                    under the Pension Fund’s alternative, or “hybrid,” method of calculating Employer
                    Withdrawal Liability), and who have fulfilled all requirements relating to the duration
                    and/or level of continued participation in the Pension Fund contained in the agreement
                    under which the Fund accepted the Employer as a New Employer, may contribute under
                    this Schedule to the Fund at a rate to be specifically and separately approved by the
                    Board of Trustees with respect to each such New Employer (the “New Rate”), subject to
                    a specific determination by the Board of Trustees that the following conditions have been
                    or will be met:

                    (i)     The New Employer has in fact fulfilled its contribution or participation commitments
                            under the agreement in which the Fund accepted the Employer’s New Employer
                            status, and the New Employer has fulfilled all other obligations under that
                            agreement, is current in its ongoing contribution obligations to the Fund and is in
                            compliance with the Fund’s rules and polices applicable to Contributing Employers;

                    (ii)    Unless a New Rate is determined and made available under this Schedule, the
                            New Employer would likely withdraw from the Fund on about the expiration date
                            of its most recent Collective Bargaining Agreement requiring contributions to the
                            Fund;

                    (iii)   the New Employer’s continued participation in the Fund at the New Rate, under
                            the specific circumstances presented, will result in net positive cash flow to the
                            Fund, in comparison to the net cash flow that would result from a withdrawal by
                            the New Employer from the Fund; and

                    (iv)    the New Employer’s obligation to contribute to the Fund at the New Rate is
                            documented in a Collective Bargaining Agreement that is or will be acceptable to
                            the Board of Trustees, and contains (or will contain) terms under which the
                            bargaining representative of the affected Bargaining Unit specifically agrees or
                            acknowledges that any reductions in labor costs resulting from the New Employer’s
                            contributions at the New Rate have been allocated to the Bargaining Unit in a
                            manner that is satisfactory to the bargaining representative.

             L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                    SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                    BENEFITS). (Effective on and after March 14, 2017)

                    1.      Benefits.

                    With regard to any Bargaining Unit subject to a Collective Bargaining Agreement in effect
                    as of March 1, 2017 (the “Current Agreement”) that –

                    (i)     was (or is) of 3 to 5 years in duration,

                    (ii)    did not (or does not) provide for any wage increases for the entire duration of the
                            Agreement, and

                    (iii)   required (or requires) pension contribution rate increases in compliance with the
                            Primary Schedule (Section 2.A of this Rehabilitation Plan) for the entire duration
                            of the Agreement, but did not (or does not) at any time require contributions at

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                              rates equal to or in excess of any of the maximum rates specified under the
                              provisos to the Primary Schedule

                      the benefits available to any such Bargaining Unit under any new Collective Bargaining
                      Agreement that is the immediate successor or renewal Agreement of the Current
                      Agreement, and is not in compliance with the Primary Schedule (“Successor
                      Agreement”), will be nevertheless identical to the benefits available to Bargaining Units
                      whose Collective Bargaining Agreements are in compliance with the Primary Schedule,
                      provided that any such Successor Agreement has the characteristics specified in
                      Section 2.L.2 below.

                      B.      Contributions.

                      In order for a Bargaining Unit to qualify for the benefits specified under Section 2.L.1
                      above, the Successor Agreement must:

                      (i)     Not be of less duration than the Current Agreement, but not exceeding 5 years in
                              duration;

                      (ii)    require pension contributions at a rate that is at least as high as the highest rate
                              required under the Current Agreement, but need not provide for any increase in
                              the contribution rates for the duration of the Successor Agreement (the “Special
                              Rate”); and

                      (iii)   contain terms under which the bargaining representative of the affected Bargaining
                              Unit specifically agrees and acknowledges that any reduction in labor costs
                              resulting from contributions at the Special Rate (i.e., contributions without the rate
                              increases otherwise required under the Primary Schedule) have been allocated to
                              the Bargaining Unit in a manner that is satisfactory to the bargaining
                              representative.

Section 3.               REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                  •      Actuarial projections updated for each year show, based on reasonable assumptions,
                         that under the Rehabilitation Plan and its schedules (as amended and updated from
                         time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.               ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency

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             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:


      Schedule                           Benefit Reductions                    Contribution Rate Increases
    Default              Immediate maximum Critical Status benefit           15% per year until emergence
                         cuts for all participants to the extent permitted   in 2021 (plus an additional
                         by law                                              1.6% annual increase for
                                                                             Benefit Classes 14 and
                                                                             below)
    Alternative 1        Maintain current benefits                           17% per year until emergence
                                                                             in 2021
    Alternative 2        On the second anniversary of the new                16% per year until emergence
                         bargaining agreement, reduce the future             in 2021
                         benefit accrual rate from 1% of contributions
                         payable at age 62 to 1% of contributions at
                         payable at age 65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2017 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.

             Prior to Plan/calendar year 2019, the Trustees have implemented (and, where applicable,
             have continued to implement) numerous measures to improve the Fund’s funding. These
             have included:

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                     Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                     Protecting the “and-out” and early retirement benefits while freezing them at their year-
                      end 2003 levels;

                     Obtaining agreements from the major bargaining parties to reallocate significant
                      amounts of annual benefit contributions to the Pension Fund;

                     Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                      successfully seeking a waiver of the conditions of that extension in light of investment
                      losses resulting from the weakness in financial markets in recent years (waiver or
                      alteration of conditions granted in 2016);

                     Requiring as a condition of continued participation in the Fund that new bargaining
                      agreements in the last several years include significant annual contribution rate
                      increases;

                     Providing information to Congress and federal agencies with respect to legislative or
                      regulatory proposals that appear to assist in addressing the funding challenges
                      confronting the Fund;

                     Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                      under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                      historically significant) Contributing Employers, resumed Contributions in June 2011
                      at rates lower than would have been permitted under previous (pre-2011)
                      Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                      adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                      despite the lower Contribution rates, the continued participation of these Employers
                      would tend to improve overall pension funding; and

                     Adopting a new withdrawal liability method, and obtaining approval of that method by
                      the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                      and existing Contributing Employers who satisfy their withdrawal liability under the
                      Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                      method”), will have any future withdrawal liability determined under the “direct
                      attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                      some Contributing Employers who wish to continue to participate in the Fund, but may
                      be concerned about the potential for future growth of their estimated withdrawal liability
                      as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                      this, in turn, will encourage continued participation in the Fund and tend to improve
                      overall pension funding.

                     Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                      Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                      eligible for the direct attribution method under the hybrid method, to comply with the
                      Primary Schedule without the need (under their current collective bargaining
                      agreements) for the contribution rate increases otherwise required under the Primary
                      Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                      will encourage existing Contributing Employers to satisfy their existing withdrawal
                      liability and to continue their participation in the Fund as New Employers under the
                      hybrid method; the Trustees determined that the New Employers’ participation on
                      these terms would tend to improve overall pension funding.


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                     Authorizing the filing, on September 25, 2015, of an application with the United States
                      Department of the Treasury requesting approval of a plan of suspension of benefits
                      under MPRA. (The Trustees determined that the filing of this application was a
                      reasonable measure designed to forestall insolvency, and therefore one that they were
                      required to take under the PPA. However, the Fund’s MPRA application was denied
                      by the Department of Treasury on May 6, 2016, and the Trustees have determined
                      that it is not feasible for the Fund to submit a revised MPRA application.)

                     Approval of the Special Schedule relating to Qualifying New (“Hybrid“) Method
                      Employers indicated in Section 2.K. of this Appendix.

                     And the addition of Section 2.L. to this Appendix dealing with Qualifying Bargaining
                      Units that have been subject to wage freezes.

             However, the Trustees have also determined, as part of the 2019 Rehabilitation Plan update
             process, that mandating additional significant benefit cuts (beyond those provided in this
             updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
             at levels beyond those required in recent years, would risk substantially accelerating the rate
             at which employers would withdraw from the Fund, in large part because the Union could
             conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
             Trustees also determined that this acceleration of employer withdrawals would, in turn, be
             counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                 Exhibit A
               Primary Schedule: Contribution Rate Increases by Bargaining Agreement Year
                           (all rate increases are to be compounded annually)

 Calendar                            Year of initial Bargaining Agreement Conforming to Primary Schedule
  Year of
Contribution
                 2006
    Rate
                  &       2007   2008      2009   2010   2011    2012   2013   2014    2015   2016   2017   2018   2019
 Increases
                Earlier
   2006          7%

   2007          7%       8%

   2008          7%       8%     8%

   2009          7%       8%     8%        8%

   2010          7%       8%     8%        8%      8%

   2011          6%       8%     8%        8%      8%     8%

   2012          5%       6%     8%        8%      8%     8%     8%

   2013          4%       4%     6%        8%      8%     8%     8%      8%

   2014          4%       4%     6%        8%      8%     8%     8%      8%     8%

   2015          4%       4%     6%        8%      8%     8%     8%      8%     8%     8%

   2016          4%       4%     4%        6%      8%     8%     8%      8%     8%     8%      8%

   2017          4%       4%     4%        4%      6%     8%     8%      8%     8%     8%      8%     8%

   2018          4%       4%     4%        4%      4%     6%     8%      8%     8%     8%      8%     8%    8%

   2019          4%       4%     4%        4%      4%     4%     6%      8%     8%     8%      8%     8%    8%     8%

   2020          4%       4%     4%        4%      4%     4%     4%      6%     8%     8%      8%     8%    8%     8%

   2021          4%       4%     4%        4%      4%     4%     4%      4%     6%     8%      8%     8%    8%     8%

   2022          4%       4%     4%        4%      4%     4%     4%      4%     4%     6%      8%     8%    8%     8%

   2023          4%       4%     4%        4%      4%     4%     4%      4%     4%     4%      6%     8%    8%     8%

   2024          4%       4%     4%        4%      4%     4%     4%      4%     4%     4%      4%     6%    8%     8%

   2025          4%       4%     4%        4%      4%     4%     4%      4%     4%     4%      4%     4%    6%     8%

   2026          4%       4%     4%        4%      4%     4%     4%      4%     4%     4%      4%     4%    4%     6%

   2027          4%       4%     4%        4%      4%     4%     4%      4%     4%     4%      4%     4%    4%     4%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                        (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                                Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence


                                    65                       100%
                                    64                        90%
                                    63                        81%
                                    62                        74%
                                    61                        67%
                                    60                        61%
                                    59                        55%
                                    58                        50%
                                    57                        46%




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APPENDIX M-12. REHABILITATION PLAN (INCLUDING 2020 UPDATE)


Section 1.           PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-12 is added to the Pension Plan effective on and after December 31, 2020
             (except where a different effective date for any provision is noted below) in order to update
             the Rehabilitation Plan in compliance with the requirements of the Pension Protection Act of
             2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, 2016, 2017, 2018,
             2019 and 2020 the actuary certified the Fund to be in “critical and declining status”, pursuant
             to the Multiemployer Pension Reform Act of 2014 (“MPRA”). The Fund’s Board of Trustees,
             as the plan sponsor of a “critical and declining status” pension plan, is charged under the PPA
             and MPRA with developing a “rehabilitation plan” designed to improve the financial condition
             of the Fund in accordance with the standards set forth in the PPA, and with annually updating
             the rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer Recovery Act of
             2008, for subsequent plan years the PPA provisions concerning the rehabilitation plan update
             process are applicable to the Fund. The purpose of this updated Rehabilitation Plan is to
             comply with those PPA provisions, as amended to date, including any applicable amendments
             under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.




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Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over
             agreements requiring contributions to the Fund.

             A.    PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                   BENEFITS).

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers are in compliance with
                          this Primary Schedule, there will be no change in benefit formulas, levels or
                          payment options in effect on January 1, 2008, except that as provided in Section
                          2(J) below, Participants who (i) have not submitted a retirement application on or
                          before July 1, 2011 and (ii) do not have a benefit commencement date (within the
                          meaning of ERISA § 305(i)(10)) on or before July 1, 2011, will not be granted a
                          Retirement Date prior to their 57th birthday and will not be eligible to receive
                          retirement benefit payments of any type until after achieving age 57.

                          Further, subject to the notice requirements of the PPA and other applicable law,
                          any Bargaining Units (and any non-Bargaining Unit employee groups participating
                          in the Fund) whose Contributing Employers incur a Rehabilitation Plan
                          Withdrawal on or after March 26, 2008 shall have their Adjustable Benefits listed
                          in Section 2(H) below eliminated or reduced to the extent indicated in Section
                          2(B)(1) below.

                   2.     Contributions

                          Compliance with the Primary Schedule requires annually compounded
                          contribution rate increases in accordance with Exhibit A effective immediately
                          after the expiration of the Collective Bargaining Agreement (or other agreement
                          requiring contributions to the Fund) and each agreement anniversary date (or
                          reallocation anniversary, where applicable) during the term of the new bargaining
                          agreement to the extent indicated in Exhibit A, depending on the year that the
                          new agreement is effective. Note that all contribution rate increases are annually
                          compounded on the total contribution rate (including any reallocations of
                          employee benefit contributions or agreed mid-contract contribution increases)
                          immediately prior to the increase.

                          The required annual rate increase may be provided through annual allocations to
                          pension contributions of general and aggregate employee benefit contribution
                          increases that were negotiated at the outset of an agreement, but were not
                          specifically allocated to pension contributions until subsequent contract years.
                          The Primary Schedule requires 8% per year contribution rate increases for the
                          first 5 years, 6% per year contribution rate increases for the next 3 years and 4%
                          per year contribution rate increases each year thereafter for 2008 agreements
                          under the Primary Schedule and comparable rate increases over time for all other
                          agreements under the Primary Schedule (see Exhibit A).

                          Provided, however, that absent further amendment to this rehabilitation plan, as
                          of June 1, 2011, any Collective Bargaining Agreement requiring contributions of
                          (1) $348 per week for each full-time employee with respect to Participants covered

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                          by the National Master Automobile Transporter Agreement, and (2) $342 per
                          week for each full-time employee with respect to all other Participants, will be
                          deemed to be in compliance with the Primary Schedule without the need for
                          additional annual rate increases.

                          Provided further that any Employer that qualifies as a New Employer under §
                          2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it qualifies
                          as a New Employer, to be in compliance with the Primary Schedule without the
                          need for additional contribution rate increases.

            B.     DEFAULT SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers agree to comply with this
                          Default Schedule [or who become subject to the Default Schedule due to a failure
                          to achieve an agreement to accept one of the Rehabilitation Plan Schedules
                          within the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas,
                          levels, and payment options in effect on January 1, 2008 will remain in effect
                          except for the following, upon the effective date that the Default Schedule applies
                          to the Bargaining Unit (or to any non-Bargaining Unit employee groups
                          participating in the Fund):

                                 •    Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                      to the maximum extent permitted by law, but the future benefit accrual rate
                                      of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                      with the modification that the Contribution Based Pension monthly benefit
                                      payable at age 65 is reduced by 1/2% per month for each month prior to
                                      age 65 with a minimum retirement age of 57, except that, for Participants
                                      who (i) have not submitted a retirement application on or before July 1,
                                      2011 and (ii) do not have a benefit commencement date [within the
                                      meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                      Based Pension monthly benefit payable at age 65 shall be reduced to an
                                      actuarially equivalent benefit in accordance with the Schedule attached as
                                      Exhibit B with a minimum retirement age of 57.

                   2.     Contributions

                          Compliance with the Default Schedule consists of annually compounded
                          contribution rate increases of 4% effective immediately after the expiration of the
                          Collective Bargaining Agreement (or other agreement requiring contributions to
                          the Fund) and each anniversary thereof during the term of the agreement.

                   3.     Effect of agreement to or imposition of Default Schedule.

                          (i)        If a Contributing Employer agrees to the Default Schedule with respect to a
                                     particular Bargaining Unit, the Fund will not accept any subsequent
                                     Collective Bargaining Agreements covering that Bargaining Unit which are
                                     compliant with the Primary Schedule, except as determined by the Board of
                                     Trustees in their sole discretion.

                          (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                     operation of ERISA Section 305(e)(3)(C), because the bargaining parties

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                                    have failed to adopt either of the Schedules compliant with this
                                    Rehabilitation Plan within 180 days of the expiration of their prior Collective
                                    Bargaining Agreement, the Fund will then accept a Collective Bargaining
                                    Agreement that is compliant with the Primary Schedule described in this
                                    Rehabilitation Plan, provided that such new Collective Bargaining
                                    Agreement provides for Primary Schedule contribution rates that are
                                    retroactive to the expiration date of the last Collective Bargaining Agreement
                                    that covered the affected Bargaining Unit.

            C.     DISTRESSED EMPLOYER SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers and contribution rates
                          have been specifically accepted and approved by the Board of Trustees as
                          satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                          Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                          on January 1, 2008 will remain in effect except for the following, upon the effective
                          date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                          any non-Bargaining Unit employee group participating in the Fund) that is
                          accepted by the Board of Trustees as qualifying under the Distressed Employer
                          Schedule:

                               •     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to
                                     age 65 with a minimum retirement age of 57, except that, for Participants
                                     who (i) have not submitted a retirement application on or before July 1,
                                     2011 and (ii) have not achieved a Retirement Date on or before July 1,
                                     2011, the Contribution Based Pension monthly benefit payable at age 65
                                     shall be reduced to an actuarially equivalent benefit in accordance with
                                     the Schedule attached as Exhibit B with a minimum retirement age of 57,
                                     and except that any Participant who (i) has achieved a minimum age of
                                     55 as of the date of the Distressed Employer’s termination of participation
                                     in the Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum
                                     of 25 years credit towards a Contributory Credit Pension or an And-Out
                                     Pension as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall
                                     be entitled to retain his eligibility for (but not gain further credit towards)
                                     any such Pension, provided that any such Participant has a minimum
                                     retirement age of 62.

                   2.     Contributions and Qualifications for the Distressed Employer Schedule.

                          The Board of Trustees may deem a Collective Bargaining Agreement with
                          contribution rates not in compliance with either the Primary Schedule or the
                          Default Schedule to be in compliance with and subject to the Distressed
                          Employer Schedule, if in the Board of Trustees’ sole discretion, the Board
                          determines that the Contributing Employer meets each of the following
                          qualifications:



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                          (i)       the common stock of the Employer or its parent corporation (or other
                                    affiliate under 80% or more common control with the Employer) is publicly
                                    traded and registered pursuant to the securities laws of the United States;

                          (ii)      the Employer has previously incurred a termination of its participation in
                                    the Fund due to an inability to remain current in its Contribution obligations,
                                    and the Employer was in terminated status immediately prior to executing
                                    the Agreement sought to be qualified under the Distressed Employer
                                    Schedule;

                          (iii)     during the last ten years in which the Employer participated in the Fund
                                    prior to its termination, it had paid contributions to the Fund on behalf of at
                                    least 1,000 full-time employees per month (or had, including part-time
                                    employees, paid contributions on behalf of the equivalent of at least 1,000
                                    full-time employees per month for the specified ten year period);

                          (iv)      the Employer submits to a review of its financial condition and operations by
                                    the Fund’s Staff and outside expert and consultants, and agrees to
                                    reimburse the Fund for all fees and expenses incurred by the Fund in this
                                    review (including, but not limited to, reimbursement to the Fund for the time
                                    devoted by the Fund’s Staff to any such review, with this reimbursement to
                                    be made at market rates for comparable services performed by Fund’s
                                    Staff);

                          (v)       on the basis of this financial and operational review, it appears that the
                                    Employer is not able to contribute to the Fund at a higher rate than is
                                    indicated in the Collective Bargaining Agreement proposed for acceptance
                                    under the Distressed Employer Schedule, and that acceptance of the
                                    proposed Agreement is in the best interest of the Fund under all the
                                    circumstances and advances the goals of this Rehabilitation Plan; and

                          (vi)      the Employer provides the Fund with first lien collateral in any and all
                                    unencumbered assets to the fullest extent it is able in order to fully secure
                                    (i) any delinquent or deferred Contribution obligations owed to the Fund, (ii)
                                    the Employer’s obligation to make current and future pension contributions
                                    to the Fund, and (iii) any future withdrawal liability potentially incurred by the
                                    Employer (with the amount of such potential withdrawal liability to be
                                    determined based on estimates to be provided by the Fund).

                   3.     Effect of agreement to or imposition of the Distressed Employer
                          Schedule.

                          If a Contributing Employer becomes subject to the Distressed Employer Schedule
                          with respect to a particular Bargaining Unit, the Fund will not accept any
                          subsequent Collective Bargaining Agreements covering that Bargaining Unit
                          which are compliant with the Primary Schedule, except as determined by the
                          Board of Trustees in their sole discretion.

            D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                   PLAN WITHDRAWAL.

                   Subject to the provisos indicated in the final clauses of this Subsection D, effective
                   March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be

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                   eliminated or reduced (to the same extent indicated in Subsection B(1) above) with
                   respect to Participants whose benefit commencement date [within the meaning of
                   ERISA § 305(i)(10)] with the Fund is on or after April 8, 2008, and:

                   (1)     whose last Hour of Service prior to January 1, 2008 was earned while employed
                           by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                           time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                           or

                   (2)     who (i) has earned or earns an Hour of Service while employed with a Contributing
                           Employer (or any predecessor or successor entity) that at any time on or after
                           March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                           and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                           Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                           predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                   of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                   above, who has a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation
                   Plan Withdrawal or (ii) the date of the expiration of the last Collective Bargaining
                   Agreement requiring Employer Contributions under the Primary Schedule prior to such
                   Withdrawal, shall not be subject to the elimination of Adjustable Benefits provided that
                   the Pensioner does not engage in Restricted Reemployment at any time subsequent to
                   the benefit commencement date.

                   Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                   resulting from an administrative termination of a Contributing Employer as referenced
                   in Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority
                   (A) to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                   affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                   application naming a Retirement Date to the Fund on or before the date selected by the
                   Trustees as the effective date of the administrative termination which ended the
                   Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                   requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                   to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                   services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                   Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                   discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                   and balance the following factors:

                         (i)    the extent to which any actively employed members of the affected Bargaining
                                Unit or any members who submitted a retirement application prior to the
                                effective date of the administrative termination were aware of, participated in
                                or controlled, or could have controlled or prevented, through bargaining,
                                grievance procedures, NLRB proceedings, litigation or other means, the
                                circumstances that led to the administrative termination of the Employer;

                         (ii)   the extent to which any actively employed members of the affected Bargaining
                                Unit or any members who submitted a retirement application prior to the
                                effective date of the administrative termination benefited, directly or indirectly
                                from the cessation of Employer Contributions or from the circumstances that
                                led to the administrative termination of the Employer;


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                         (iii)   the extent to which any actively employed members of the affected Bargaining
                                 Unit or any members who submitted a retirement application prior to the
                                 effective date of the administrative termination resisted or attempted to alter,
                                 or acquiesced in, the circumstances that led to the administrative termination
                                 of the Employer;

                         (iv)    the extent to which any actively employed members of the affected Bargaining
                                 Unit or any members who submitted a retirement application prior to the
                                 effective date of the administrative termination have become engaged as
                                 employees or independent contractors in the service of operations that were
                                 or are in whole or in part a successor of the operations of the Employer that
                                 has undergone the administrative termination; and

                         (v)     the extent of the hardship that might be incurred by any actively employed
                                 members of the affected Bargaining Unit or by any members who submitted
                                 a retirement application prior to the effective date of the administrative
                                 termination due to the elimination of Adjustable Benefits.

                   Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                   to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                   any Surviving Spouse Benefits for which such spouse has a benefit commencement
                   date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                   Rehabilitation Plan Withdrawal.

            E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DEFAULT SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection E, effective
                   March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                   eliminated or reduced (to the same extent indicated in Section B(1) above) with respect
                   to any Participants whose benefit commencement date [within the meaning of ERISA
                   § 305(i)(10)] is on or after April 8, 2008, and:

                   (1)      who have earned any Contributory Service Credit with a Contributing Employer (or
                            any predecessor or successor entity) that at any time becomes subject (by
                            agreement or otherwise) to the Default Schedule described herein; and

                   (2)      whose last year of Contributory Service Credit prior to the Employer’s becoming
                            subject to the Default Schedule was earned while a member of a Bargaining Unit
                            (or any predecessor or successor Bargaining Unit) that ultimately became subject
                            to the Default Schedule.

                   Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination of
                   Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                   Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                   the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                   becoming subject to the Default Schedule, shall not be subject to the elimination of
                   Adjustable Benefits provided that the Pensioner does not engage in Restricted
                   Reemployment at any time subsequent to the benefit commencement date.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                   subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of
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                   Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   spouse has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                   Default Schedule.

            F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DISTRESSED EMPLOYER SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                   26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                   reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                   Participants whose benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] is on or after April 8, 2008, and:

                   (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                          any predecessor or successor entity) that at any time becomes subject (by
                          agreement or otherwise) to the Distressed Employer Schedule described herein;
                          and

                   (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                          subject to the Distressed Employer Schedule was earned while a member of a
                          Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                          became subject to the Distressed Employer Schedule.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                   Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                   Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                   F, who has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                   Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                   Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                   Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                   benefit commencement date, and provided further that with respect to Bargaining Units
                   that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                   no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                   such Distressed Employer Schedule benefit reduction.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                   to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                   loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   surviving spouse has a benefit commencement date [within the meaning of ERISA
                   Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                   to the Distressed Employer Schedule, and provided further in any event that with respect
                   to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                   to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                   benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.     RESTORATION OF ADJUSTED BENEFITS.

                   Any Participant who incurs a benefit adjustment or elimination under the terms of
                   Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                   restored if, subsequent to the event causing the benefit adjustment, the Participant:

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                   (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                          Section 2(I) below), permanently ceases all employment with, and performance of
                          services in any capacity for, the Contributing Employer (and any successors or
                          trades or businesses under common control with such Employer within the
                          meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                          Rehabilitation Plan Withdrawal; and

                   (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                          Contributing Employer while that Employer is in compliance with the Primary
                          Schedule described herein.

            H.     ADJUSTABLE BENEFITS.

                   As used herein, Adjustable Benefits shall mean and include:

                   (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                          to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                          be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                          Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                          Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                          Deferred Pension (Pension Plan § 4.09)].

                   (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                          an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                          (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                   (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                   (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                          surviving spouse benefit.

                   (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                   (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                          tied to one or more of the Adjustable Benefits listed above.

                   (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                          Participant meets all other requirements for receiving a Contribution-Based
                          Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                          per month for each month prior to age 65 at the time of retirement with a minimum
                          retirement age of 57. Such minimum retirement age shall not apply if the
                          Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                          eliminated or reduced. In such circumstance, the Participant shall be entitled to
                          receive the Contribution-Based Pension reduced by 1/2% per month for each
                          month prior to age 65 at the time of retirement. Provided, however, for Participants
                          who (i) have not submitted a retirement application on or before July 1, 2011 and
                          (ii) do not have a benefit commencement date [within the meaning of ERISA §
                          305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                          Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                          actuarial equivalence in accordance with the Schedule attached as Exhibit B
                          hereto.



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                    (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                           categories of benefits listed and defined as “adjustable benefits” under ERISA§
                           305(e)(8)(iv):

                           (i)      benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                           (ii)     any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                           (iii)    benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                    Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                    this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                    payable at normal retirement.

             I.     REHABILITATION PLAN WITHDRAWAL

                    Subject to the discretionary authority of the Board of Trustees indicated in the final
                    clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                    Contributing Employer (a) is no longer required to make Employer Contributions to the
                    Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                    undergoes a significant reduction in its obligation to make Employer Contributions
                    resulting from outsourcing or subcontracting work covered by the applicable Collective
                    Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                    representatives) or the Contributing Employer, which actions include, but are not limited
                    to the following:

                    (1)    decertification or other removal of the Union as a bargaining agent;

                    (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                           permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                           Plan;

                    (3)    administrative termination of the Contributing Employer with respect to any or all
                           of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                           with respect to the terms of a Collective Bargaining Agreement (including, without
                           limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                           other Fund rule or policy (including, without limitation, practices or arrangements
                           that result in adverse selection);

                    (4)    any transaction or other event (including, without limitation, a merger,
                           consolidation, division, asset sale (other than an asset sale complying with ERISA
                           § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                           whereby all or a portion of the operations for which the Contributing Employer has
                           an obligation to contribute are continued (whether by the Contributing Employer or
                           by another party) in whole or in part without maintaining the obligation to contribute
                           to the Fund under the same or better terms (including, for example, as to number
                           of participants and contribution rate) as existed before the transaction;

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                    Provided, however, that with respect to the circumstances described in Subparagraphs.
                    (3)(ii) or (4) above, the Board of Trustees shall have full discretionary authority to
                    consider, weigh and balance the following factors in determining whether a
                    Rehabilitation Plan Withdrawal has occurred:

                           (i)      the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;
                           (ii)     the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                           (iii)    the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                           (iv)     the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                           (v)      the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                    INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                    APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                    COMMENCEMENT ON OR BEFORE THAT DATE.

                    Minimum Retirement Age 57.

                    Participants who (i) have not submitted a retirement application on or before July 1, 2011
                    and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                    305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                    57th birthday and will not be eligible to receive retirement benefit payments of any type
                    until after achieving age 57.

             K.     SPECIAL SCHEDULE: QUALIFYING NEW (“HYBRID METHOD”) EMPLOYERS
                    (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                    1.     Benefits.

                           Bargaining Units (and any non-Bargaining Unit groups participating in the Fund)
                           whose Contributing Employers have been specifically accepted and approved by
                           the Trustees as satisfying the requirements for this Qualifying New Employer
                           Schedule will, as it relates to benefits or potential benefit adjustments, be treated
                           in the same way as Bargaining Units (and non-Bargaining Unit groups) under the
                           Primary Schedule (Section 2.A. above).




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                    2.     Contributions.

                           Contributing Employers who have qualified as New Employers within the meaning
                           of Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for
                           treatment under the Pension Fund’s alternative, or “hybrid,” method of calculating
                           Employer Withdrawal Liability), and who have fulfilled all requirements relating to
                           the duration and/or level of continued participation in the Pension Fund contained
                           in the agreement under which the Fund accepted the Employer as a New
                           Employer, may contribute under this Schedule to the Fund at a rate to be
                           specifically and separately approved by the Board of Trustees with respect to each
                           such New Employer (the “New Rate”), subject to a specific determination by the
                           Board of Trustees that the following conditions have been or will be met:

                           (i)      The New Employer has in fact fulfilled its contribution or participation
                                    commitments under the agreement in which the Fund accepted the
                                    Employer’s New Employer status, and the New Employer has fulfilled all
                                    other obligations under that agreement, is current in its ongoing contribution
                                    obligations to the Fund and is in compliance with the Fund’s rules and polices
                                    applicable to Contributing Employers;

                           (ii)     Unless a New Rate is determined and made available under this Schedule,
                                    the New Employer would likely withdraw from the Fund on about the
                                    expiration date of its most recent Collective Bargaining Agreement requiring
                                    contributions to the Fund;

                           (iii)    the New Employer’s continued participation in the Fund at the New Rate,
                                    under the specific circumstances presented, will result in net positive cash
                                    flow to the Fund, in comparison to the net cash flow that would result from a
                                    withdrawal by the New Employer from the Fund; and

                           (iv)     the New Employer’s obligation to contribute to the Fund at the New Rate is
                                    documented in a Collective Bargaining Agreement that is or will be
                                    acceptable to the Board of Trustees, and contains (or will contain) terms
                                    under which the bargaining representative of the affected Bargaining Unit
                                    specifically agrees or acknowledges that any reductions in labor costs
                                    resulting from the New Employer’s contributions at the New Rate have been
                                    allocated to the Bargaining Unit in a manner that is satisfactory to the
                                    bargaining representative.

             L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                    SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                    BENEFITS). (Effective on and after March 14, 2017)

                    1.     Benefits.

                           With regard to any Bargaining Unit subject to a Collective Bargaining Agreement
                           in effect as of March 1, 2017 (the “Current Agreement”) that –

                           (i)      was (or is) of 3 to 5 years in duration,

                           (ii)     did not (or does not) provide for any wage increases for the entire duration
                                    of the Agreement, and

                           (iii)    required (or requires) pension contribution rate increases in compliance with
                                    the Primary Schedule (Section 2.A of this Rehabilitation Plan) for the entire
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                                    duration of the Agreement, but did not (or does not) at any time require
                                    contributions at rates equal to or in excess of any of the maximum rates
                                    specified under the provisos to the Primary Schedule

                           the benefits available to any such Bargaining Unit under any new Collective
                           Bargaining Agreement that is the immediate successor or renewal Agreement of
                           the Current Agreement, and is not in compliance with the Primary Schedule
                           (“Successor Agreement”), will be nevertheless identical to the benefits available to
                           Bargaining Units whose Collective Bargaining Agreements are in compliance with
                           the Primary Schedule, provided that any such Successor Agreement has the
                           characteristics specified in Section 2.L.2 below.

                      2.   Contributions.

                           In order for a Bargaining Unit to qualify for the benefits specified under Section
                           2.L.1 above, the Successor Agreement must:

                           (i)      Not be of less duration than the Current Agreement, but not
                                    exceeding 5 years in duration;

                           (ii)     require pension contributions at a rate that is at least as high as the
                                    highest rate required under the Current Agreement, but need not
                                    provide for any increase in the contribution rates for the duration of
                                    the Successor Agreement (the “Special Rate”); and

                           (iii)    contain terms under which the bargaining representative of the
                                    affected Bargaining Unit specifically agrees and acknowledges that
                                    any reduction in labor costs resulting from contributions at the Special
                                    Rate (i.e., contributions without the rate increases otherwise required
                                    under the Primary Schedule) have been allocated to the Bargaining
                                    Unit in a manner that is satisfactory to the bargaining representative.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                  •    Actuarial projections updated for each year show, based on reasonable assumptions,
                       that under the Rehabilitation Plan and its schedules (as amended and updated from
                       time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.             ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on

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             January 1, 2011 and ends on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:


      Schedule                          Benefit Reductions                    Contribution Rate Increases
      Default            Immediate maximum Critical Status benefit          15% per year until
                         cuts for all participants to the extent            emergence in 2021 (plus an
                         permitted by law                                   additional 1.6% annual
                                                                            increase for Benefit Classes
                                                                            14 and below)
    Alternative 1        Maintain current benefits                          17% per year until emergence
                                                                            in 2021
    Alternative 2        On the second anniversary of the new               16% per year until emergence
                         bargaining agreement, reduce the future            in 2021
                         benefit accrual rate from 1% of contributions
                         payable at age 62 to 1% of contributions at
                         payable at age 65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2020 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.

             Prior to Plan/calendar year 2020, the Trustees have implemented (and, where applicable,
             have continued to implement) numerous measures to improve the Fund’s funding. These
             have included:
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                     Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                     Protecting the “and-out” and early retirement benefits while freezing them at their year-
                      end 2003 levels;

                     Obtaining agreements from the major bargaining parties to reallocate significant
                      amounts of annual benefit contributions to the Pension Fund;

                     Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                      successfully seeking a waiver of the conditions of that extension in light of investment
                      losses resulting from the weakness in financial markets in recent years (waiver or
                      alteration of conditions granted in 2016);

                     Requiring as a condition of continued participation in the Fund that new bargaining
                      agreements in the last several years include significant annual contribution rate
                      increases;

                     Providing information to Congress and federal agencies with respect to legislative or
                      regulatory proposals that appear to assist in addressing the funding challenges
                      confronting the Fund;

                     Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                      under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                      historically significant) Contributing Employers, resumed Contributions in June 2011
                      at rates lower than would have been permitted under previous (pre-2011)
                      Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                      adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                      despite the lower Contribution rates, the continued participation of these Employers
                      would tend to improve overall pension funding; and

                     Adopting a new withdrawal liability method, and obtaining approval of that method by
                      the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                      and existing Contributing Employers who satisfy their withdrawal liability under the
                      Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                      method”), will have any future withdrawal liability determined under the “direct
                      attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                      some Contributing Employers who wish to continue to participate in the Fund, but may
                      be concerned about the potential for future growth of their estimated withdrawal liability
                      as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                      this, in turn, will encourage continued participation in the Fund and tend to improve
                      overall pension funding.

                     Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                      Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                      eligible for the direct attribution method under the hybrid method, to comply with the
                      Primary Schedule without the need (under their current collective bargaining
                      agreements) for the contribution rate increases otherwise required under the Primary
                      Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                      will encourage existing Contributing Employers to satisfy their existing withdrawal
                      liability and to continue their participation in the Fund as New Employers under the
                      hybrid method; the Trustees determined that the New Employers’ participation on
                      these terms would tend to improve overall pension funding.

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                     Authorizing the filing, on September 25, 2015, of an application with the United States
                      Department of the Treasury requesting approval of a plan of suspension of benefits
                      under MPRA. (The Trustees determined that the filing of this application was a
                      reasonable measure designed to forestall insolvency, and therefore one that they were
                      required to take under the PPA. However, the Fund’s MPRA application was denied
                      by the Department of Treasury on May 6, 2016, and the Trustees have determined
                      that it is not feasible for the Fund to submit a revised MPRA application.)

                     Approval of the Special Schedule relating to Qualifying New (“Hybrid“) Method
                      Employers indicated in Section 2.K. of this Appendix.

                     And the addition of Section 2.L. to this Appendix dealing with Qualifying Bargaining
                      Units that have been subject to wage freezes.

             However, the Trustees have also determined, as part of the 2020 Rehabilitation Plan update
             process, that mandating additional significant benefit cuts (beyond those provided in this
             updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
             at levels beyond those required in recent years, would risk substantially accelerating the rate
             at which employers would withdraw from the Fund, in large part because the Union could
             conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
             Trustees also determined that this acceleration of employer withdrawals would, in turn, be
             counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                 Exhibit A
               Primary Schedule: Contribution Rate Increases by Bargaining Agreement Year
                           (all rate increases are to be compounded annually)

  Calendar                             Year of initial Bargaining Agreement Conforming to Primary Schedule
   Year of
Contribution
               2006
    Rate
               &         2007   2008    2009   2010    2011    2012     2013   2014   2015    2016   2017    2018   2019   2020
 Increases
               Earlier
   2006          7%
   2007          7%      8%
   2008          7%      8%      8%
   2009          7%      8%      8%      8%
   2010          7%      8%      8%      8%     8%
   2011          6%      8%      8%      8%     8%      8%
   2012          5%      6%      8%      8%     8%      8%      8%
   2013          4%      4%      6%      8%     8%      8%      8%      8%
   2014          4%      4%      6%      8%     8%      8%      8%      8%     8%
   2015          4%      4%      6%      8%     8%      8%      8%      8%     8%     8%
   2016          4%      4%      4%      6%     8%      8%      8%      8%     8%     8%      8%
   2017          4%      4%      4%      4%     6%      8%      8%      8%     8%     8%      8%     8%
   2018          4%      4%      4%      4%     4%      6%      8%      8%     8%     8%      8%     8%      8%
   2019          4%      4%      4%      4%     4%      4%      6%      8%     8%     8%      8%     8%      8%     8%
   2020          4%      4%      4%      4%     4%      4%      4%      6%     8%     8%      8%     8%      8%     8%     8%
   2021          4%      4%      4%      4%     4%      4%      4%      4%     6%     8%      8%     8%      8%     8%     8%
   2022          4%      4%      4%      4%     4%      4%      4%      4%     4%     6%      8%     8%      8%     8%     8%
   2023          4%      4%      4%      4%     4%      4%      4%      4%     4%     4%      6%     8%      8%     8%     8%
   2024          4%      4%      4%      4%     4%      4%      4%      4%     4%     4%      4%     6%      8%     8%     8%
   2025          4%      4%      4%      4%     4%      4%      4%      4%     4%     4%      4%     4%      6%     8%     8%
   2026          4%      4%      4%      4%     4%      4%      4%      4%     4%     4%      4%     4%      4%     6%     8%
   2027          4%      4%      4%      4%     4%      4%      4%      4%     4%     4%      4%     4%      4%     4%     6%
   2028          4%      4%      4%      4%     4%      4%      4%      4%     4%     4%      4%     4%      4%     4%     4%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                        (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                                Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence


                                      65                          100%
                                      64                           90%
                                      63                           81%
                                      62                           74%
                                      61                           67%
                                      60                           61%
                                      59                           55%
                                      58                           50%
                                      57                           46%




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APPENDIX M-13. REHABILITATION PLAN (INCLUDING 2021 UPDATE)


Section 1.           PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-13 is added to the Pension Plan effective on and after December 31, 2021
             (except where a different effective date for any provision is noted below) in order to update
             the Rehabilitation Plan in compliance with the requirements of the Pension Protection Act of
             2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, 2016, 2017, 2018,
             2019, 2020 and 2021 the actuary certified the Fund to be in “critical and declining status”,
             pursuant to the Multiemployer Pension Reform Act of 2014 (“MPRA”). The Fund’s Board of
             Trustees, as the plan sponsor of a “critical and declining status” pension plan, is charged
             under the PPA and MPRA with developing a “rehabilitation plan” designed to improve the
             financial condition of the Fund in accordance with the standards set forth in the PPA, and with
             annually updating the rehabilitation plan. Although for plan year 2009 the Fund was exempt
             from the update requirement, pursuant to an election under the Worker Retiree and Employer
             Recovery Act of 2008, for subsequent plan years the PPA provisions concerning the
             rehabilitation plan update process are applicable to the Fund. The purpose of this updated
             Rehabilitation Plan is to comply with those PPA provisions, as amended to date, including any
             applicable amendments under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over
             agreements requiring contributions to the Fund.
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                   A.     PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL
                          CURRENT BENEFITS).

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers are in
                                    compliance with this Primary Schedule, there will be no change in benefit
                                    formulas, levels or payment options in effect on January 1, 2008, except that
                                    as provided in Section 2(J) below, Participants who (i) have not submitted a
                                    retirement application on or before July 1, 2011 and (ii) do not have a benefit
                                    commencement date (within the meaning of ERISA § 305(i)(10)) on or
                                    before July 1, 2011, will not be granted a Retirement Date prior to their 57th
                                    birthday and will not be eligible to receive retirement benefit payments of any
                                    type until after achieving age 57.

                                    Further, subject to the notice requirements of the PPA and other applicable
                                    law, any Bargaining Units (and any non-Bargaining Unit employee groups
                                    participating in the Fund) whose Contributing Employers incur a
                                    Rehabilitation Plan Withdrawal on or after March 26, 2008 shall have their
                                    Adjustable Benefits listed in Section 2(H) below eliminated or reduced to the
                                    extent indicated in Section 2(B)(1) below.

                          2.        Contributions

                                    Compliance with the Primary Schedule requires annually compounded
                                    contribution rate increases in accordance with Exhibit A effective
                                    immediately after the expiration of the Collective Bargaining Agreement (or
                                    other agreement requiring contributions to the Fund) and each agreement
                                    anniversary date (or reallocation anniversary, where applicable) during the
                                    term of the new bargaining agreement to the extent indicated in Exhibit A,
                                    depending on the year that the new agreement is effective. Note that all
                                    contribution rate increases are annually compounded on the total
                                    contribution rate (including any reallocations of employee benefit
                                    contributions or agreed mid-contract contribution increases) immediately
                                    prior to the increase.

                                    The required annual rate increase may be provided through annual
                                    allocations to pension contributions of general and aggregate employee
                                    benefit contribution increases that were negotiated at the outset of an
                                    agreement, but were not specifically allocated to pension contributions until
                                    subsequent contract years. The Primary Schedule requires 8% per year
                                    contribution rate increases for the first 5 years, 6% per year contribution rate
                                    increases for the next 3 years and 4% per year contribution rate increases
                                    each year thereafter for 2008 agreements under the Primary Schedule and
                                    comparable rate increases over time for all other agreements under the
                                    Primary Schedule (see Exhibit A).

                                    Provided, however, that absent further amendment to this rehabilitation
                                    plan, as of June 1, 2011, any Collective Bargaining Agreement requiring
                                    contributions of (1) $348 per week for each full-time employee with respect
                                    to Participants covered by the National Master Automobile Transporter
                                    Agreement, and (2) $342 per week for each full-time employee with respect

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                                    to all other Participants, will be deemed to be in compliance with the Primary
                                    Schedule without the need for additional annual rate increases.

                                    Provided further that any Employer that qualifies as a New Employer under
                                    § 2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it
                                    qualifies as a New Employer, to be in compliance with the Primary Schedule
                                    without the need for additional contribution rate increases.

            B.     DEFAULT SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers agree to comply with this
                          Default Schedule [or who become subject to the Default Schedule due to a failure
                          to achieve an agreement to accept one of the Rehabilitation Plan Schedules
                          within the time frame specified under ERISA § 305(e)(3)(C)], the benefit formulas,
                          levels, and payment options in effect on January 1, 2008 will remain in effect
                          except for the following, upon the effective date that the Default Schedule applies
                          to the Bargaining Unit (or to any non-Bargaining Unit employee groups
                          participating in the Fund):

                                    •   Adjustable Benefits listed in Section 2(H) below are eliminated or
                                        reduced to the maximum extent permitted by law, but the future benefit
                                        accrual rate of 1% of contributions (the Contribution-Based Pension)
                                        remains in effect, with the modification that the Contribution Based
                                        Pension monthly benefit payable at age 65 is reduced by 1/2% per
                                        month for each month prior to age 65 with a minimum retirement age of
                                        57, except that, for Participants who (i) have not submitted a retirement
                                        application on or before July 1, 2011 and (ii) do not have a benefit
                                        commencement date [within the meaning of ERISA § 305(i)(10)] on or
                                        before July 1, 2011, the Contribution Based Pension monthly benefit
                                        payable at age 65 shall be reduced to an actuarially equivalent benefit
                                        in accordance with the Schedule attached as Exhibit B with a minimum
                                        retirement age of 57.

                   2.     Contributions

                          Compliance with the Default Schedule consists of annually compounded
                          contribution rate increases of 4% effective immediately after the expiration of the
                          Collective Bargaining Agreement (or other agreement requiring contributions to
                          the Fund) and each anniversary thereof during the term of the agreement.

                   3.     Effect of agreement to or imposition of Default Schedule.

                          (i)       If a Contributing Employer agrees to the Default Schedule with respect to a
                                    particular Bargaining Unit, the Fund will not accept any subsequent
                                    Collective Bargaining Agreements covering that Bargaining Unit which are
                                    compliant with the Primary Schedule, except as determined by the Board of
                                    Trustees in their sole discretion.

                          (ii)      If a Contributing Employer becomes subject to the Default Schedule by
                                    operation of ERISA Section 305(e)(3)(C), because the bargaining parties
                                    have failed to adopt either of the Schedules compliant with this
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                                    Rehabilitation Plan within 180 days of the expiration of their prior Collective
                                    Bargaining Agreement, the Fund will then accept a Collective Bargaining
                                    Agreement that is compliant with the Primary Schedule described in this
                                    Rehabilitation Plan, provided that such new Collective Bargaining
                                    Agreement provides for Primary Schedule contribution rates that are
                                    retroactive to the expiration date of the last Collective Bargaining Agreement
                                    that covered the affected Bargaining Unit.

            C.     DISTRESSED EMPLOYER SCHEDULE.

                   1.     Benefits

                          With regard to Bargaining Units (and any non-Bargaining Unit employee groups
                          participating in the Fund) whose Contributing Employers and contribution rates
                          have been specifically accepted and approved by the Board of Trustees as
                          satisfying the Qualifications for the Distressed Employer Schedule (as set forth in
                          Section 2(C)(2) below), the benefit formulas, levels, and payment options in effect
                          on January 1, 2008 will remain in effect except for the following, upon the effective
                          date that the Distressed Employer Schedule applies to the Bargaining Unit (or to
                          any non-Bargaining Unit employee group participating in the Fund) that is
                          accepted by the Board of Trustees as qualifying under the Distressed Employer
                          Schedule:

                               •     Adjustable Benefits listed in Section 2(H) below are eliminated or reduced
                                     to the maximum extent permitted by law, but the future benefit accrual rate
                                     of 1% of contributions (the Contribution-Based Pension) remains in effect,
                                     with the modification that the Contribution Based Pension monthly benefit
                                     payable at age 65 is reduced by ½% per month for each month prior to
                                     age 65 with a minimum retirement age of 57, except that, for Participants
                                     who (i) have not submitted a retirement application on or before July 1,
                                     2011 and (ii) have not achieved a Retirement Date on or before July 1,
                                     2011, the Contribution Based Pension monthly benefit payable at age 65
                                     shall be reduced to an actuarially equivalent benefit in accordance with
                                     the Schedule attached as Exhibit B with a minimum retirement age of 57,
                                     and except that any Participant who (i) has achieved a minimum age of
                                     55 as of the date of the Distressed Employer’s termination of participation
                                     in the Fund (see Section 2(C)(2) below) and (ii) has accrued a minimum
                                     of 25 years credit towards a Contributory Credit Pension or an And-Out
                                     Pension as of that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall
                                     be entitled to retain his eligibility for (but not gain further credit towards)
                                     any such Pension, provided that any such Participant has a minimum
                                     retirement age of 62.

                   2.     Contributions and Qualifications for the Distressed Employer Schedule.

                          The Board of Trustees may deem a Collective Bargaining Agreement with
                          contribution rates not in compliance with either the Primary Schedule or the
                          Default Schedule to be in compliance with and subject to the Distressed
                          Employer Schedule, if in the Board of Trustees’ sole discretion, the Board
                          determines that the Contributing Employer meets each of the following
                          qualifications:




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                          (i)       the common stock of the Employer or its parent corporation (or other
                                    affiliate under 80% or more common control with the Employer) is publicly
                                    traded and registered pursuant to the securities laws of the United States;

                          (ii)      the Employer has previously incurred a termination of its participation in
                                    the Fund due to an inability to remain current in its Contribution obligations,
                                    and the Employer was in terminated status immediately prior to executing
                                    the Agreement sought to be qualified under the Distressed Employer
                                    Schedule;

                          (iii)     during the last ten years in which the Employer participated in the Fund
                                    prior to its termination, it had paid contributions to the Fund on behalf of at
                                    least 1,000 full-time employees per month (or had, including part-time
                                    employees, paid contributions on behalf of the equivalent of at least 1,000
                                    full-time employees per month for the specified ten year period);

                          (iv)      the Employer submits to a review of its financial condition and operations by
                                    the Fund’s Staff and outside expert and consultants, and agrees to
                                    reimburse the Fund for all fees and expenses incurred by the Fund in this
                                    review (including, but not limited to, reimbursement to the Fund for the time
                                    devoted by the Fund’s Staff to any such review, with this reimbursement to
                                    be made at market rates for comparable services performed by Fund’s
                                    Staff);

                          (v)       on the basis of this financial and operational review, it appears that the
                                    Employer is not able to contribute to the Fund at a higher rate than is
                                    indicated in the Collective Bargaining Agreement proposed for acceptance
                                    under the Distressed Employer Schedule, and that acceptance of the
                                    proposed Agreement is in the best interest of the Fund under all the
                                    circumstances and advances the goals of this Rehabilitation Plan; and

                          (vi)      the Employer provides the Fund with first lien collateral in any and all
                                    unencumbered assets to the fullest extent it is able in order to fully secure
                                    (i) any delinquent or deferred Contribution obligations owed to the Fund, (ii)
                                    the Employer’s obligation to make current and future pension contributions
                                    to the Fund, and (iii) any future withdrawal liability potentially incurred by the
                                    Employer (with the amount of such potential withdrawal liability to be
                                    determined based on estimates to be provided by the Fund).

                   3.     Effect of agreement to or imposition of the Distressed Employer
                          Schedule.

                          If a Contributing Employer becomes subject to the Distressed Employer Schedule
                          with respect to a particular Bargaining Unit, the Fund will not accept any
                          subsequent Collective Bargaining Agreements covering that Bargaining Unit
                          which are compliant with the Primary Schedule, except as determined by the
                          Board of Trustees in their sole discretion.

            D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A REHABILITATION
                   PLAN WITHDRAWAL.

                   Subject to the provisos indicated in the final clauses of this Subsection D, effective
                   March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be

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                   eliminated or reduced (to the same extent indicated in Subsection B(1) above) with
                   respect to Participants whose benefit commencement date [within the meaning of
                   ERISA § 305(i)(10)] with the Fund is on or after April 8, 2008, and:

                   (1)    whose last Hour of Service prior to January 1, 2008 was earned while employed
                          by United Parcel Service, Inc. (“UPS”), or with any trades or businesses at any
                          time under common control with UPS, within the meaning of ERISA § 4001(b)(1);
                          or

                   (2)    who (i) has earned or earns an Hour of Service while employed with a Contributing
                          Employer (or any predecessor or successor entity) that at any time on or after
                          March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see Section 2(I) below),
                          and (ii) whose last year of Contributory Service Credit prior to the Rehabilitation
                          Plan Withdrawal was earned while a member of a Bargaining Unit (or any
                          predecessor or successor Bargaining Unit) ultimately incurring such Withdrawal.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the elimination
                   of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant Section 2(D)(2)
                   above, who has a benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] one year or more prior to the earlier of: (i) the date of such Rehabilitation
                   Plan Withdrawal or (ii) the date of the expiration of the last Collective Bargaining
                   Agreement requiring Employer Contributions under the Primary Schedule prior to such
                   Withdrawal, shall not be subject to the elimination of Adjustable Benefits provided that
                   the Pensioner does not engage in Restricted Reemployment at any time subsequent to
                   the benefit commencement date.

                   Proviso 2: And provided further that in the event of a Rehabilitation Plan Withdrawal
                   resulting from an administrative termination of a Contributing Employer as referenced
                   in Section 2(I)(3)(ii) below, the Board of Trustees shall have full discretionary authority
                   (A) to decline to apply the elimination of Adjustable Benefits to Participants otherwise
                   affected by a Rehabilitation Plan Withdrawal of this type who have submitted a pension
                   application naming a Retirement Date to the Fund on or before the date selected by the
                   Trustees as the effective date of the administrative termination which ended the
                   Employer’s obligation to contribute to the Pension Fund, and (B) to decline to apply the
                   requirement of Section 2(G) below that a Participant incurring a benefit adjustment due
                   to Rehabilitation Plan Withdrawal must cease employment with and the performance of
                   services for the withdrawn Employer within 60 days of the Rehabilitation Plan
                   Withdrawal in order to eventually qualify for a restoration of benefits; in exercising their
                   discretionary authority under this Proviso 2, the Board of Trustees shall consider, weigh
                   and balance the following factors:

                   (i)    the extent to which any actively employed members of the affected Bargaining
                          Unit or any members who submitted a retirement application prior to the effective
                          date of the administrative termination were aware of, participated in or controlled,
                          or could have controlled or prevented, through bargaining, grievance procedures,
                          NLRB proceedings, litigation or other means, the circumstances that led to the
                          administrative termination of the Employer;

                   (ii)   the extent to which any actively employed members of the affected Bargaining
                          Unit or any members who submitted a retirement application prior to the effective
                          date of the administrative termination benefited, directly or indirectly from the
                          cessation of Employer Contributions or from the circumstances that led to the
                          administrative termination of the Employer;


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                   (iii)   the extent to which any actively employed members of the affected Bargaining
                           Unit or any members who submitted a retirement application prior to the effective
                           date of the administrative termination resisted or attempted to alter, or acquiesced
                           in, the circumstances that led to the administrative termination of the Employer;

                   (iv)    the extent to which any actively employed members of the affected Bargaining
                           Unit or any members who submitted a retirement application prior to the effective
                           date of the administrative termination have become engaged as employees or
                           independent contractors in the service of operations that were or are in whole or
                           in part a successor of the operations of the Employer that has undergone the
                           administrative termination; and

                   (v)     the extent of the hardship that might be incurred by any actively employed
                           members of the affected Bargaining Unit or by any members who submitted a
                           retirement application prior to the effective date of the administrative termination
                           due to the elimination of Adjustable Benefits.

                   Proviso 3: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal pursuant
                   to Subsection D(2) above, shall not incur a loss of Adjustable Benefits with respect to
                   any Surviving Spouse Benefits for which such spouse has a benefit commencement
                   date [within the meaning of ERISA Section 305(i)(10)] prior to the date of the
                   Rehabilitation Plan Withdrawal.

            E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DEFAULT SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection E, effective
                   March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                   eliminated or reduced (to the same extent indicated in Section B(1) above) with respect
                   to any Participants whose benefit commencement date [within the meaning of ERISA
                   § 305(i)(10)] is on or after April 8, 2008, and:

                   (1)     who have earned any Contributory Service Credit with a Contributing Employer
                           (or any predecessor or successor entity) that at any time becomes subject (by
                           agreement or otherwise) to the Default Schedule described herein; and

                   (2)     whose last year of Contributory Service Credit prior to the Employer’s becoming
                           subject to the Default Schedule was earned while a member of a Bargaining Unit
                           (or any predecessor or successor Bargaining Unit) that ultimately became subject
                           to the Default Schedule.

                   Proviso 1: Provided, however. that any Pensioner otherwise subject to the elimination of
                   Adjustable Benefits, due to his Contributing Employer becoming subject to the Default
                   Schedule pursuant to this Subsection E, who has a benefit commencement date [within
                   the meaning of ERISA § 305(i)(10)] one year or more prior to the Contributing Employer
                   becoming subject to the Default Schedule, shall not be subject to the elimination of
                   Adjustable Benefits provided that the Pensioner does not engage in Restricted
                   Reemployment at any time subsequent to the benefit commencement date.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the elimination of Adjustable Benefits, due to his Contributing Employer becoming
                   subject to the Default Schedule pursuant this Subsection E. shall not incur a loss of

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                   Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   spouse has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] prior to the date on which the Contributing Employer became subject to the
                   Default Schedule.

            F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE EARNED
                   CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES SUBJECT TO
                   THE DISTRESSED EMPLOYER SCHEDULE.

                   Subject to the provisos indicated in the final clauses of this Subsection F, effective March
                   26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be eliminated or
                   reduced (with the exception indicated in Section 2(C)(1) above) with respect to any
                   Participants whose benefit commencement date [within the meaning of ERISA §
                   305(i)(10)] is on or after April 8, 2008, and:

                   (1)    who have earned any Contributory Service Credit with a Contributing Employer (or
                          any predecessor or successor entity) that at any time becomes subject (by
                          agreement or otherwise) to the Distressed Employer Schedule described herein;
                          and

                   (2)    whose last year of Contributory Service Credit prior to the Employer’s becoming
                          subject to the Distressed Employer Schedule was earned while a member of a
                          Bargaining Unit (or any predecessor or successor Bargaining Unit) that ultimately
                          became subject to the Distressed Employer Schedule.

                   Proviso 1: Provided, however, that any Pensioner otherwise subject to the reduction in
                   Adjustable Benefits indicated in the Distressed Employer Schedule, due to his
                   Contributing Employer becoming subject to that Schedule pursuant to this Subsection
                   F, who has a benefit commencement date [within the meaning of ERISA Section
                   305(i)(10)] one year or more prior to the Contributing Employer becoming subject to the
                   Distressed Employer Schedule, shall not be subject to the reduction of Adjustable
                   Benefits otherwise mandated by the Distressed Employer Schedule provided that the
                   Pensioner does not engage in Restricted Reemployment at any time subsequent to the
                   benefit commencement date, and provided further that with respect to Bargaining Units
                   that become subject to the Distressed Employer Schedule on or prior to June 1, 2011,
                   no Pensioners with Retirement Dates prior to September 24, 2010 shall be subject to
                   such Distressed Employer Schedule benefit reduction.

                   Proviso 2: And provided further that the spouse of any Participant otherwise subject to
                   the reduction of Adjustable Benefits. due to his Contributing Employer becoming subject
                   to the Distressed Employer Schedule pursuant to this Subsection F, shall not incur a
                   loss of Adjustable Benefits with respect to any Surviving Spouse Benefits for which such
                   surviving spouse has a benefit commencement date [within the meaning of ERISA
                   Section 305(i)(10)] prior to the date on which the Contributing Employer became subject
                   to the Distressed Employer Schedule, and provided further in any event that with respect
                   to Bargaining Units that become subject to the Distressed Employer Schedule on or prior
                   to June 1, 2011, no spouse shall be subject to such Distressed Employer Schedule
                   benefit reduction if the Participant’s death occurred prior to September 24, 2010.

            G.     RESTORATION OF ADJUSTED BENEFITS.

                   Any Participant who incurs a benefit adjustment or elimination under the terms of
                   Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                   restored if, subsequent to the event causing the benefit adjustment, the Participant:

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                   (1)    in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal (see
                          Section 2(I) below), permanently ceases all employment with, and performance of
                          services in any capacity for, the Contributing Employer (and any successors or
                          trades or businesses under common control with such Employer within the
                          meaning of ERISA § 4001(b)(1)) within 60 days of the occurrence of such
                          Rehabilitation Plan Withdrawal; and

                   (2)    in any case, subsequently earns one year of Contributory Service Credit with a
                          Contributing Employer while that Employer is in compliance with the Primary
                          Schedule described herein.

            H.     ADJUSTABLE BENEFITS.

                   As used herein, Adjustable Benefits shall mean and include:

                   (1)    Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV) prior
                          to age 65 [including without limitation any pre-age 65 benefits that would otherwise
                          be payable as (i) a Twenty Year Service Pension (Pension Plan § 4.01); (ii) a
                          Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested Pension (Pension
                          Plan § 4.07); (iv) a Deferred Pension (Pension Plan § 4.08); or (v) a Twenty-Year
                          Deferred Pension (Pension Plan § 4.09)].

                   (2)    Early retirement benefit or retirement-type subsidies [including without limitation (i)
                          an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-Out Pension
                          (Pension Plan § 4.05); or a 30-And-Out Pension (Pension Plan § 4.06)].

                   (3)    All Disability Benefits not yet in pay status (Pension Plan, Article V).

                   (4)    Before Retirement Death Benefits (Pension Plan, Article VI) other than the 50%
                          surviving spouse benefit.

                   (5)    Post-retirement death benefits that are not part of the annuity form of payment.

                   (6)    All Partial Pensions (Pension Plan, Appendix D), to the extent any such pension is
                          tied to one or more of the Adjustable Benefits listed above.

                   (7)    All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming the
                          Participant meets all other requirements for receiving a Contribution-Based
                          Pension, the Contribution-Based Pension is payable at age 65 reduced by 1/2%
                          per month for each month prior to age 65 at the time of retirement with a minimum
                          retirement age of 57. Such minimum retirement age shall not apply if the
                          Participant retired prior to age 57 before the Participant’s Adjustable Benefits were
                          eliminated or reduced. In such circumstance, the Participant shall be entitled to
                          receive the Contribution-Based Pension reduced by 1/2% per month for each
                          month prior to age 65 at the time of retirement. Provided, however, for Participants
                          who (i) have not submitted a retirement application on or before July 1, 2011 and
                          (ii) do not have a benefit commencement date [within the meaning of ERISA §
                          305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-Based
                          Pensions payable at age 65 referenced in this subparagraph (7) shall be based on
                          actuarial equivalence in accordance with the Schedule attached as Exhibit B
                          hereto.



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                    (8)    To the extent not already included in paragraphs (1) - (7) above, the following
                           categories of benefits listed and defined as “adjustable benefits” under ERISA§
                           305(e)(8)(iv):

                           (i)      benefits, rights, and features under the plan, including post-retirement death
                                    benefits, 60-month guarantees, disability benefits not yet in pay status, and
                                    similar benefits,

                           (ii)     any early retirement benefit or retirement-type subsidy (within the meaning
                                    of ERISA Section 204(g)(2)(A)) and any benefit payment option (other than
                                    the qualified joint and survivor annuity), and

                           (iii)    benefit increases that would not be eligible for a guarantee under ERISA
                                    Section 4022A on the first day of the Fund’s initial critical year under the PPA
                                    because the increases were adopted (or, if later, took effect) less than 60
                                    months before such first day.

                    Provided, however, that except as provided in subparagraph (8)(iii) above, nothing in
                    this paragraph shall be construed to reduce the level of a Participant’s accrued benefit
                    payable at normal retirement.

             I.     REHABILITATION PLAN WITHDRAWAL

                    Subject to the discretionary authority of the Board of Trustees indicated in the final
                    clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date a
                    Contributing Employer (a) is no longer required to make Employer Contributions to the
                    Pension Fund under one or more of its Collective Bargaining Agreements, or (b)
                    undergoes a significant reduction in its obligation to make Employer Contributions
                    resulting from outsourcing or subcontracting work covered by the applicable Collective
                    Bargaining Agreement(s), as a result of actions by members of a Bargaining Unit (or its
                    representatives) or the Contributing Employer, which actions include, but are not limited
                    to the following:

                    (1)    decertification or other removal of the Union as a bargaining agent;

                    (2)    ratification or other acceptance of a Collective Bargaining Agreement which
                           permits withdrawal of the Bargaining Unit, in whole or in part, from the Pension
                           Plan;

                    (3)    administrative termination of the Contributing Employer with respect to any or all
                           of its Collective Bargaining Agreements due to: (i) a violation of the Fund’s rules
                           with respect to the terms of a Collective Bargaining Agreement (including, without
                           limitation, a provision providing for a split bargaining unit); or (ii) a violation of any
                           other Fund rule or policy (including, without limitation, practices or arrangements
                           that result in adverse selection);

                    (4)    any transaction or other event (including, without limitation, a merger,
                           consolidation, division, asset sale (other than an asset sale complying with ERISA
                           § 4204), liquidation, dissolution, joint venture, outsourcing, subcontracting)
                           whereby all or a portion of the operations for which the Contributing Employer has
                           an obligation to contribute are continued (whether by the Contributing Employer or
                           by another party) in whole or in part without maintaining the obligation to contribute
                           to the Fund under the same or better terms (including, for example, as to number
                           of participants and contribution rate) as existed before the transaction;

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                           Provided, however, that with respect to the circumstances described in
                           Subparagraphs. (3)(ii) or (4) above, the Board of Trustees shall have full
                           discretionary authority to consider, weigh and balance the following factors in
                           determining whether a Rehabilitation Plan Withdrawal has occurred:

                           (i)      the extent to which the affected Bargaining Unit or its bargaining
                                    representative participated in or controlled, or could have controlled or
                                    prevented, through bargaining, grievance procedures, NLRB proceedings,
                                    litigation or other means, the cessation of Employer Contributions;

                           (ii)     the extent to which the affected Bargaining Unit benefited, directly or
                                    indirectly, from the cessation of Employer Contributions;

                           (iii)    the extent to which the affected Bargaining Unit, or its bargaining
                                    representative, resisted or attempted to resist, or acquiesced in, the
                                    cessation of Employer Contributions;

                           (iv)     the extent to which the affected Bargaining Unit, or any of its members,
                                    become engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Contributing Employer who incurred the cessation of Employer
                                    Contributions; and

                           (v)      the extent of the hardship that might be incurred by members of the affected
                                    Bargaining Unit by the elimination of Adjustable Benefits.

             J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS (INCLUDING
                    INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT SUBMITTED A RETIREMENT
                    APPLICATION ON OR BEFORE JULY 1, 2011 AND DO NOT HAVE A BENEFIT
                    COMMENCEMENT ON OR BEFORE THAT DATE.

                    Minimum Retirement Age 57.

                    Participants who (i) have not submitted a retirement application on or before July 1, 2011
                    and (ii) do not have a benefit commencement date [within the meaning of ERISA §
                    305(i)(10)] on or before July 1, 2011, will not be granted a Retirement Date prior to their
                    57th birthday and will not be eligible to receive retirement benefit payments of any type
                    until after achieving age 57.

             K.     SPECIAL SCHEDULE: QUALIFYING NEW (“HYBRID METHOD”) EMPLOYERS
                    (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                    1.     Benefits.

                           Bargaining Units (and any non-Bargaining Unit groups participating in the Fund)
                           whose Contributing Employers have been specifically accepted and approved by
                           the Trustees as satisfying the requirements for this Qualifying New Employer
                           Schedule will, as it relates to benefits or potential benefit adjustments, be treated
                           in the same way as Bargaining Units (and non-Bargaining Unit groups) under the
                           Primary Schedule (Section 2.A. above).




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                    2.     Contributions.

                           Contributing Employers who have qualified as New Employers within the meaning
                           of Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for
                           treatment under the Pension Fund’s alternative, or “hybrid,” method of calculating
                           Employer Withdrawal Liability), and who have fulfilled all requirements relating to
                           the duration and/or level of continued participation in the Pension Fund contained
                           in the agreement under which the Fund accepted the Employer as a New
                           Employer, may contribute under this Schedule to the Fund at a rate to be
                           specifically and separately approved by the Board of Trustees with respect to each
                           such New Employer (the “New Rate”), subject to a specific determination by the
                           Board of Trustees that the following conditions have been or will be met:

                           (i)      The New Employer has in fact fulfilled its contribution or participation
                                    commitments under the agreement in which the Fund accepted the
                                    Employer’s New Employer status, and the New Employer has fulfilled all
                                    other obligations under that agreement, is current in its ongoing contribution
                                    obligations to the Fund and is in compliance with the Fund’s rules and polices
                                    applicable to Contributing Employers;

                           (ii)     Unless a New Rate is determined and made available under this Schedule,
                                    the New Employer would likely withdraw from the Fund on about the
                                    expiration date of its most recent Collective Bargaining Agreement requiring
                                    contributions to the Fund;

                           (iii)    the New Employer’s continued participation in the Fund at the New Rate,
                                    under the specific circumstances presented, will result in net positive cash
                                    flow to the Fund, in comparison to the net cash flow that would result from a
                                    withdrawal by the New Employer from the Fund; and

                           (iv)     the New Employer’s obligation to contribute to the Fund at the New Rate is
                                    documented in a Collective Bargaining Agreement that is or will be
                                    acceptable to the Board of Trustees, and contains (or will contain) terms
                                    under which the bargaining representative of the affected Bargaining Unit
                                    specifically agrees or acknowledges that any reductions in labor costs
                                    resulting from the New Employer’s contributions at the New Rate have been
                                    allocated to the Bargaining Unit in a manner that is satisfactory to the
                                    bargaining representative.

             L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                    SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                    BENEFITS). (Effective on and after March 14, 2017)

                    1.     Benefits.

                           With regard to any Bargaining Unit subject to a Collective Bargaining Agreement
                           in effect as of March 1, 2017 (the “Current Agreement”) that –

                           (i)      was (or is) of 3 to 5 years in duration,

                           (ii)     did not (or does not) provide for any wage increases for the entire duration
                                    of the Agreement, and

                           (iii)    required (or requires) pension contribution rate increases in compliance with
                                    the Primary Schedule (Section 2.A of this Rehabilitation Plan) for the entire
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                                    duration of the Agreement, but did not (or does not) at any time require
                                    contributions at rates equal to or in excess of any of the maximum rates
                                    specified under the provisos to the Primary Schedule

                           the benefits available to any such Bargaining Unit under any new Collective
                           Bargaining Agreement that is the immediate successor or renewal Agreement of
                           the Current Agreement, and is not in compliance with the Primary Schedule
                           (“Successor Agreement”), will be nevertheless identical to the benefits available to
                           Bargaining Units whose Collective Bargaining Agreements are in compliance with
                           the Primary Schedule, provided that any such Successor Agreement has the
                           characteristics specified in Section 2.L.2 below.

                      2.   Contributions.

                           In order for a Bargaining Unit to qualify for the benefits specified under Section
                           2.L.1 above, the Successor Agreement must:

                           (i)      Not be of less duration than the Current Agreement, but not
                                    exceeding 5 years in duration;

                           (ii)     require pension contributions at a rate that is at least as high as the
                                    highest rate required under the Current Agreement, but need not
                                    provide for any increase in the contribution rates for the duration of
                                    the Successor Agreement (the “Special Rate”); and

                           (iii)    contain terms under which the bargaining representative of the
                                    affected Bargaining Unit specifically agrees and acknowledges that
                                    any reduction in labor costs resulting from contributions at the Special
                                    Rate (i.e., contributions without the rate increases otherwise required
                                    under the Primary Schedule) have been allocated to the Bargaining
                                    Unit in a manner that is satisfactory to the bargaining representative.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                  •    Actuarial projections updated for each year show, based on reasonable assumptions,
                       that under the Rehabilitation Plan and its schedules (as amended and updated from
                       time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.             ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on

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             January 1, 2011 and ended on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31. 2020:


     Schedule                           Benefit Reductions                     Contribution Rate Increases

     Default            Immediate maximum Critical Status benefit             15% per year until emergence
                        cuts for all participants to the extent permitted     in 2021 (plus an additional 1.6%
                        by law                                                annual increase for Benefit
                                                                              Classes 14 and below)

    Alternative 1       Maintain current benefits                             17% per year until emergence in
                                                                              2021

    Alternative 2       On the second anniversary of the new                16% per year until emergence in
                        bargaining agreement, reduce the future             2021
                        benefit accrual rate from 1% of contributions
                        payable at age 62 to 1% of contributions at
                        payable at age 65

             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2020 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.



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             Prior to Plan/calendar year 2021, the Trustees have implemented (and, where applicable,
             have continued to implement) numerous measures to improve the Fund’s funding. These
             have included:

                     Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                     Protecting the “and-out” and early retirement benefits while freezing them at their year-
                      end 2003 levels;

                     Obtaining agreements from the major bargaining parties to reallocate significant
                      amounts of annual benefit contributions to the Pension Fund;

                     Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                      successfully seeking a waiver of the conditions of that extension in light of investment
                      losses resulting from the weakness in financial markets in recent years (waiver or
                      alteration of conditions granted in 2016);

                     Requiring as a condition of continued participation in the Fund that new bargaining
                      agreements in the last several years include significant annual contribution rate
                      increases;

                     Providing information to Congress and federal agencies with respect to legislative or
                      regulatory proposals that appear to assist in addressing the funding challenges
                      confronting the Fund;

                     Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                      under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                      historically significant) Contributing Employers, resumed Contributions in June 2011
                      at rates lower than would have been permitted under previous (pre-2011)
                      Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                      adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                      despite the lower Contribution rates, the continued participation of these Employers
                      would tend to improve overall pension funding; and

                     Adopting a new withdrawal liability method, and obtaining approval of that method by
                      the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                      and existing Contributing Employers who satisfy their withdrawal liability under the
                      Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                      method”), will have any future withdrawal liability determined under the “direct
                      attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                      some Contributing Employers who wish to continue to participate in the Fund, but may
                      be concerned about the potential for future growth of their estimated withdrawal liability
                      as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                      this, in turn, will encourage continued participation in the Fund and tend to improve
                      overall pension funding.

                     Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                      Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                      eligible for the direct attribution method under the hybrid method, to comply with the
                      Primary Schedule without the need (under their current collective bargaining
                      agreements) for the contribution rate increases otherwise required under the Primary
                      Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                      will encourage existing Contributing Employers to satisfy their existing withdrawal
                      liability and to continue their participation in the Fund as New Employers under the
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                      hybrid method; the Trustees determined that the New Employers’ participation on
                      these terms would tend to improve overall pension funding.

                     Authorizing the filing, on September 25, 2015, of an application with the United States
                      Department of the Treasury requesting approval of a plan of suspension of benefits
                      under MPRA. (The Trustees determined that the filing of this application was a
                      reasonable measure designed to forestall insolvency, and therefore one that they were
                      required to take under the PPA. However, the Fund’s MPRA application was denied
                      by the Department of Treasury on May 6, 2016, and the Trustees have determined
                      that it is not feasible for the Fund to submit a revised MPRA application.)

                     Approval of the Special Schedule relating to Qualifying New (“Hybrid“) Method
                      Employers indicated in Section 2.K. of this Appendix.

                     And the addition of Section 2.L. to this Appendix dealing with Qualifying Bargaining
                      Units that have been subject to wage freezes.

             However, the Trustees have also determined, as part of the 2021 Rehabilitation Plan update
             process, that mandating additional significant benefit cuts (beyond those provided in this
             updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
             at levels beyond those required in recent years, would risk substantially accelerating the rate
             at which employers would withdraw from the Fund, in large part because the Union could
             conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
             Trustees also determined that this acceleration of employer withdrawals would, in turn, be
             counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                       Exhibit A
                     Primary Schedule: Contribution Rate Increases by Bargaining Agreement Year
                                 (all rate increases are to be compounded annually)


Calendar                                        Year of Initial Bargaining Agreement Conforming to Primary Schedule
Year of
Contribution     2006
Rate               &      2007    2008        2009   2010   2011   2012    2013    2014   2015    2016    2017   2018   2019   2020   2021
Increases       Earlier
   2006           7%
   2007           7%       8%
   2008           7%       8%      8%
   2009           7%       8%      8%         8%
   2010           7%       8%      8%         8%     8%
   2011           6%       8%      8%         8%     8%      8%
   2012           5%       6%      8%         8%     8%      8%     8%
   2013           4%       4%      6%         8%     8%      8%     8%      8%
   2014           4%       4%      6%         8%     8%      8%     8%      8%      8%
   2015           4%       4%      6%         8%     8%      8%     8%      8%      8%     8%
   2016           4%       4%      4%         6%     8%      8%     8%      8%      8%     8%      8%
   2017           4%       4%      4%         4%     6%      8%     8%      8%      8%     8%      8%      8%
   2018           4%       4%      4%         4%     4%      6%     8%      8%      8%     8%      8%      8%     8%
   2019           4%       4%      4%         4%     4%      4%     6%      8%      8%     8%      8%      8%     8%     8%
   2020           4%       4%      4%         4%     4%      4%     4%      6%      8%     8%      8%      8%     8%     8%     8%
   2021           4%       4%      4%         4%     4%      4%     4%      4%      6%     8%      8%      8%     8%     8%     8%     8%
   2022           4%       4%      4%         4%     4%      4%     4%      4%      4%     6%      8%      8%     8%     8%     8%     8%
   2023           4%       4%      4%         4%     4%      4%     4%      4%      4%     4%      6%      8%     8%     8%     8%     8%
   2024           4%       4%      4%         4%     4%      4%     4%      4%      4%     4%      4%      6%     8%     8%     8%     8%
   2025           4%       4%      4%         4%     4%      4%     4%      4%      4%     4%      4%      4%     6%     8%     8%     8%
   2026           4%       4%      4%         4%     4%      4%     4%      4%      4%     4%      4%      4%     4%     6%     8%     8%
   2027           4%       4%      4%         4%     4%      4%     4%      4%      4%     4%      4%      4%     4%     4%     6%     8%
   2028           4%       4%      4%         4%     4%      4%     4%      4%      4%     4%      4%      4%     4%     4%     4%     6%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                        (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                                   Percent of Age 65 Benefit Based on
                                    Age                 Actuarial Equivalence


                                    65                            100%
                                    64                             90%
                                    63                             81%
                                    62                             74%
                                    61                             67%
                                    60                             61%
                                    59                             55%
                                    58                             50%
                                    57                             46%




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APPENDIX M-14. REHABILITATION PLAN (INCLUDING 2022 UPDATE)

Section 1.           PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan effective on
             and after March 26, 2008, and has been amended from time to time since then.

             This Appendix M-14 is added to the Pension Plan effective on and after December 31, 2022
             (except where a different effective date for any provision is noted below) in order to update
             the Rehabilitation Plan in compliance with the requirements of the Pension Protection Act of
             2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was initially
             certified on March 24, 2008 by its actuary to be in “critical status” (sometimes referred to as
             the “red zone”) under the PPA: the Fund’s actuary has also certified the Fund to be in critical
             status in March of each subsequent year through March 2014. For 2015, 2016, 2017, 2018,
             2019, 2020, 2021 and 2022, the actuary certified the Fund to be in “critical and declining
             status”, pursuant to the Multiemployer Pension Reform Act of 2014 (“MPRA”). The Fund’s
             Board of Trustees, as the plan sponsor of a “critical and declining status” pension plan, is
             charged under the PPA and MPRA with developing a “rehabilitation plan” designed to improve
             the financial condition of the Fund in accordance with the standards set forth in the PPA, and
             with annually updating the rehabilitation plan. Although for plan year 2009 the Fund was
             exempt from the update requirement, pursuant to an election under the Worker Retiree and
             Employer Recovery Act of 2008, for subsequent plan years the PPA provisions concerning
             the rehabilitation plan update process are applicable to the Fund. The purpose of this updated
             Rehabilitation Plan is to comply with those PPA provisions, as amended to date, including any
             applicable amendments under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must include one
             or more schedules showing revised benefit structures, revised contributions, or both, which,
             if adopted by the parties obligated under agreements participating in the pension plan, may
             reasonably be expected to enable the Fund to emerge from critical status in accordance with
             the rehabilitation plan. The PPA also provides that one of the rehabilitation plan schedules of
             benefits and contributions shall be designated the “default” schedule. The default schedule
             must assume that there are no increases in contributions under the plan other than the
             increases necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also creates
             certain categories of “adjustable benefits” which may be reduced or eliminated dependent
             upon the outcome of bargaining over the rehabilitation plan schedules and dependent on the
             exercise of certain flexibility and discretion conferred upon the Board of Trustees by the PPA.
             Adjustable benefits that may be affected in this manner include post-retirement death benefits,
             early retirement benefits or retirement-type subsidies, and generally any benefit that would be
             payable prior to normal retirement age (age 65 benefits under the Fund’s Plan Document - or,
             as discussed below, a Contribution Based Benefit actuarially reduced to be equivalent to an
             age 65 benefit). As noted, the PPA also requires annual updates of the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over
             agreements requiring contributions to the Fund.

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                   A.     PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL
                          CURRENT BENEFITS).

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers are in
                                    compliance with this Primary Schedule, there will be no change in benefit
                                    formulas, levels or payment options in effect on January 1, 2008, except that
                                    as provided in Section 2(J) below, Participants who (i) have not submitted a
                                    retirement application on or before July 1, 2011 and (ii) do not have a benefit
                                    commencement date (within the meaning of ERISA § 305(i)(10)) on or
                                    before July 1, 2011, will not be granted a Retirement Date prior to their 57th
                                    birthday and will not be eligible to receive retirement benefit payments of any
                                    type until after achieving age 57.

                                    Further, subject to the notice requirements of the PPA and other applicable
                                    law, any Bargaining Units (and any non-Bargaining Unit employee groups
                                    participating in the Fund) whose Contributing Employers incur a
                                    Rehabilitation Plan Withdrawal on or after March 26, 2008 shall have their
                                    Adjustable Benefits listed in Section 2(H) below eliminated or reduced to the
                                    extent indicated in Section 2(B)(1) below.

                          2.        Contributions

                                    Compliance with the Primary Schedule requires annually compounded
                                    contribution rate increases in accordance with Exhibit A effective
                                    immediately after the expiration of the Collective Bargaining Agreement (or
                                    other agreement requiring contributions to the Fund) and each agreement
                                    anniversary date (or reallocation anniversary, where applicable) during the
                                    term of the new bargaining agreement to the extent indicated in Exhibit A,
                                    depending on the year that the new agreement is effective. Note that all
                                    contribution rate increases are annually compounded on the total
                                    contribution rate (including any reallocations of employee benefit
                                    contributions or agreed mid-contract contribution increases) immediately
                                    prior to the increase.

                                    The required annual rate increase may be provided through annual
                                    allocations to pension contributions of general and aggregate employee
                                    benefit contribution increases that were negotiated at the outset of an
                                    agreement, but were not specifically allocated to pension contributions until
                                    subsequent contract years. The Primary Schedule requires 8% per year
                                    contribution rate increases for the first 5 years, 6% per year contribution rate
                                    increases for the next 3 years and 4% per year contribution rate increases
                                    each year thereafter for 2008 agreements under the Primary Schedule and
                                    comparable rate increases over time for all other agreements under the
                                    Primary Schedule (see Exhibit A).

                                    Provided, however, that absent further amendment to this rehabilitation
                                    plan, as of June 1, 2011, any Collective Bargaining Agreement requiring
                                    contributions of (1) $348 per week for each full-time employee with respect
                                    to Participants covered by the National Master Automobile Transporter
                                    Agreement, and (2) $342 per week for each full-time employee with respect


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                                    to all other Participants, will be deemed to be in compliance with the Primary
                                    Schedule without the need for additional annual rate increases.

                                    Provided further that any Employer that qualifies as a New Employer under
                                    § 2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it
                                    qualifies as a New Employer, to be in compliance with the Primary Schedule
                                    without the need for additional contribution rate increases.

                   B.     DEFAULT SCHEDULE.

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers agree to
                                    comply with this Default Schedule [or who become subject to the Default
                                    Schedule due to a failure to achieve an agreement to accept one of the
                                    Rehabilitation Plan Schedules within the time frame specified under ERISA
                                    § 305(e)(3)(C)], the benefit formulas, levels, and payment options in effect
                                    on January 1, 2008 will remain in effect except for the following, upon the
                                    effective date that the Default Schedule applies to the Bargaining Unit (or to
                                    any non-Bargaining Unit employee groups participating in the Fund):

                                           •    Adjustable Benefits listed in Section 2(H) below are eliminated or
                                                reduced to the maximum extent permitted by law, but the future
                                                benefit accrual rate of 1% of contributions (the Contribution-Based
                                                Pension) remains in effect, with the modification that the Contribution
                                                Based Pension monthly benefit payable at age 65 is reduced by
                                                1/2% per month for each month prior to age 65 with a minimum
                                                retirement age of 57, except that, for Participants who (i) have not
                                                submitted a retirement application on or before July 1, 2011 and (ii)
                                                do not have a benefit commencement date [within the meaning of
                                                ERISA § 305(i)(10)] on or before July 1, 2011, the Contribution
                                                Based Pension monthly benefit payable at age 65 shall be reduced
                                                to an actuarially equivalent benefit in accordance with the Schedule
                                                attached as Exhibit B with a minimum retirement age of 57.

                          2.        Contributions

                                    Compliance with the Default Schedule consists of annually compounded
                                    contribution rate increases of 4% effective immediately after the expiration
                                    of the Collective Bargaining Agreement (or other agreement requiring
                                    contributions to the Fund) and each anniversary thereof during the term of
                                    the agreement.

                          3.        Effect of agreement to or imposition of Default Schedule.

                                    (i)        If a Contributing Employer agrees to the Default Schedule with respect
                                               to a particular Bargaining Unit, the Fund will not accept any subsequent
                                               Collective Bargaining Agreements covering that Bargaining Unit which
                                               are compliant with the Primary Schedule, except as determined by the
                                               Board of Trustees in their sole discretion.

                                    (ii)       If a Contributing Employer becomes subject to the Default Schedule
                                               by operation of ERISA Section 305(e)(3)(C), because the bargaining
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                                           parties have failed to adopt either of the Schedules compliant with this
                                           Rehabilitation Plan within 180 days of the expiration of their prior
                                           Collective Bargaining Agreement, the Fund will then accept a
                                           Collective Bargaining Agreement that is compliant with the Primary
                                           Schedule described in this Rehabilitation Plan, provided that such new
                                           Collective Bargaining Agreement provides for Primary Schedule
                                           contribution rates that are retroactive to the expiration date of the last
                                           Collective Bargaining Agreement that covered the affected Bargaining
                                           Unit.

                   C.     DISTRESSED EMPLOYER SCHEDULE.

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers and
                                    contribution rates have been specifically accepted and approved by the
                                    Board of Trustees as satisfying the Qualifications for the Distressed
                                    Employer Schedule (as set forth in Section 2(C)(2) below), the benefit
                                    formulas, levels, and payment options in effect on January 1, 2008 will
                                    remain in effect except for the following, upon the effective date that the
                                    Distressed Employer Schedule applies to the Bargaining Unit (or to any non-
                                    Bargaining Unit employee group participating in the Fund) that is accepted
                                    by the Board of Trustees as qualifying under the Distressed Employer
                                    Schedule:

                                       •    Adjustable Benefits listed in Section 2(H) below are eliminated or
                                            reduced to the maximum extent permitted by law, but the future
                                            benefit accrual rate of 1% of contributions (the Contribution-Based
                                            Pension) remains in effect, with the modification that the
                                            Contribution Based Pension monthly benefit payable at age 65 is
                                            reduced by ½% per month for each month prior to age 65 with a
                                            minimum retirement age of 57, except that, for Participants who (i)
                                            have not submitted a retirement application on or before July 1, 2011
                                            and (ii) have not achieved a Retirement Date on or before July 1,
                                            2011, the Contribution Based Pension monthly benefit payable at
                                            age 65 shall be reduced to an actuarially equivalent benefit in
                                            accordance with the Schedule attached as Exhibit B with a minimum
                                            retirement age of 57, and except that any Participant who (i) has
                                            achieved a minimum age of 55 as of the date of the Distressed
                                            Employer’s termination of participation in the Fund (see Section
                                            2(C)(2) below) and (ii) has accrued a minimum of 25 years credit
                                            towards a Contributory Credit Pension or an And-Out Pension as of
                                            that date (see Pension Plan §§ 4.04, 4.05 and 4.06), shall be entitled
                                            to retain his eligibility for (but not gain further credit towards) any
                                            such Pension, provided that any such Participant has a minimum
                                            retirement age of 62.

                          2.        Contributions      and    Qualifications    for    the   Distressed   Employer
                                    Schedule.

                                    The Board of Trustees may deem a Collective Bargaining Agreement with
                                    contribution rates not in compliance with either the Primary Schedule or
                                    the Default Schedule to be in compliance with and subject to the

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                                    Distressed Employer Schedule, if in the Board of Trustees’ sole discretion,
                                    the Board determines that the Contributing Employer meets each of the
                                    following qualifications:

                                    (i)     the common stock of the Employer or its parent corporation (or other
                                            affiliate under 80% or more common control with the Employer) is
                                            publicly traded and registered pursuant to the securities laws of the
                                            United States;

                                    (ii)    the Employer has previously incurred a termination of its participation
                                            in the Fund due to an inability to remain current in its Contribution
                                            obligations, and the Employer was in terminated status immediately
                                            prior to executing the Agreement sought to be qualified under the
                                            Distressed Employer Schedule;

                                    (iii)   during the last ten years in which the Employer participated in the
                                            Fund prior to its termination, it had paid contributions to the Fund on
                                            behalf of at least 1,000 full-time employees per month (or had,
                                            including part-time employees, paid contributions on behalf of the
                                            equivalent of at least 1,000 full-time employees per month for the
                                            specified ten year period);

                                    (iv)    the Employer submits to a review of its financial condition and
                                            operations by the Fund’s Staff and outside expert and consultants, and
                                            agrees to reimburse the Fund for all fees and expenses incurred by
                                            the Fund in this review (including, but not limited to, reimbursement to
                                            the Fund for the time devoted by the Fund’s Staff to any such review,
                                            with this reimbursement to be made at market rates for comparable
                                            services performed by Fund’s Staff);

                                    (v)     on the basis of this financial and operational review, it appears that the
                                            Employer is not able to contribute to the Fund at a higher rate than is
                                            indicated in the Collective Bargaining Agreement proposed for
                                            acceptance under the Distressed Employer Schedule, and that
                                            acceptance of the proposed Agreement is in the best interest of the
                                            Fund under all the circumstances and advances the goals of this
                                            Rehabilitation Plan; and

                                    (vi)    the Employer provides the Fund with first lien collateral in any and all
                                            unencumbered assets to the fullest extent it is able in order to fully
                                            secure (i) any delinquent or deferred Contribution obligations owed to
                                            the Fund, (ii) the Employer’s obligation to make current and future
                                            pension contributions to the Fund, and (iii) any future withdrawal
                                            liability potentially incurred by the Employer (with the amount of such
                                            potential withdrawal liability to be determined based on estimates to
                                            be provided by the Fund).

                          3.        Effect of agreement to or imposition of the Distressed
                                    Employer Schedule.

                                    If a Contributing Employer becomes subject to the Distressed Employer
                                    Schedule with respect to a particular Bargaining Unit, the Fund will not
                                    accept any subsequent Collective Bargaining Agreements covering that


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                                    Bargaining Unit which are compliant with the Primary Schedule, except as
                                    determined by the Board of Trustees in their sole discretion.

                   D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE
                          EARNED CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A
                          REHABILITATION PLAN WITHDRAWAL.

                          Subject to the provisos indicated in the final clauses of this Subsection D,
                          effective March 26, 2008, all Adjustable Benefits (listed below in Section 2(H))
                          shall be eliminated or reduced (to the same extent indicated in Subsection B(1)
                          above) with respect to Participants whose benefit commencement date [within
                          the meaning of ERISA § 305(i)(10)] with the Fund is on or after April 8, 2008, and:

                          (1)       whose last Hour of Service prior to January 1, 2008 was earned while
                                    employed by United Parcel Service, Inc. (“UPS”), or with any trades or
                                    businesses at any time under common control with UPS, within the
                                    meaning of ERISA § 4001(b)(1); or

                          (2)       who (i) has earned or earns an Hour of Service while employed with a
                                    Contributing Employer (or any predecessor or successor entity) that at any
                                    time on or after March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see
                                    Section 2(I) below), and (ii) whose last year of Contributory Service Credit
                                    prior to the Rehabilitation Plan Withdrawal was earned while a member of a
                                    Bargaining Unit (or any predecessor or successor Bargaining Unit)
                                    ultimately incurring such Withdrawal.

                          Proviso 1: Provided, however, that any Pensioner otherwise subject to the
                          elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal
                          pursuant Section 2(D)(2) above, who has a benefit commencement date [within
                          the meaning of ERISA § 305(i)(10)] one year or more prior to the earlier of: (i) the
                          date of such Rehabilitation Plan Withdrawal or (ii) the date of the expiration of the
                          last Collective Bargaining Agreement requiring Employer Contributions under the
                          Primary Schedule prior to such Withdrawal, shall not be subject to the elimination
                          of Adjustable Benefits provided that the Pensioner does not engage in Restricted
                          Reemployment at any time subsequent to the benefit commencement date.

                          Proviso 2: And provided further that in the event of a Rehabilitation Plan
                          Withdrawal resulting from an administrative termination of a Contributing
                          Employer as referenced in Section 2(I)(3)(ii) below, the Board of Trustees shall
                          have full discretionary authority (A) to decline to apply the elimination of
                          Adjustable Benefits to Participants otherwise affected by a Rehabilitation Plan
                          Withdrawal of this type who have submitted a pension application naming a
                          Retirement Date to the Fund on or before the date selected by the Trustees as
                          the effective date of the administrative termination which ended the Employer’s
                          obligation to contribute to the Pension Fund, and (B) to decline to apply the
                          requirement of Section 2(G) below that a Participant incurring a benefit
                          adjustment due to Rehabilitation Plan Withdrawal must cease employment with
                          and the performance of services for the withdrawn Employer within 60 days of the
                          Rehabilitation Plan Withdrawal in order to eventually qualify for a restoration of
                          benefits; in exercising their discretionary authority under this Proviso 2, the Board
                          of Trustees shall consider, weigh and balance the following factors:

                          (i)       the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application

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                                    prior to the effective date of the administrative termination were aware of,
                                    participated in or controlled, or could have controlled or prevented, through
                                    bargaining, grievance procedures, NLRB proceedings, litigation or other
                                    means, the circumstances that led to the administrative termination of the
                                    Employer;

                          (ii)      the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination benefited, directly
                                    or indirectly from the cessation of Employer Contributions or from the
                                    circumstances that led to the administrative termination of the Employer;

                          (iii)     the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination resisted or
                                    attempted to alter, or acquiesced in, the circumstances that led to the
                                    administrative termination of the Employer;

                          (iv)      the extent to which any actively employed members of the affected
                                    Bargaining Unit or any members who submitted a retirement application
                                    prior to the effective date of the administrative termination have become
                                    engaged as employees or independent contractors in the service of
                                    operations that were or are in whole or in part a successor of the operations
                                    of the Employer that has undergone the administrative termination; and

                          (v)       the extent of the hardship that might be incurred by any actively employed
                                    members of the affected Bargaining Unit or by any members who submitted
                                    a retirement application prior to the effective date of the administrative
                                    termination due to the elimination of Adjustable Benefits.

                          Proviso 3: And provided further that the spouse of any Participant otherwise
                          subject to the elimination of Adjustable Benefits, due to a Rehabilitation Plan
                          Withdrawal pursuant to Subsection D(2) above, shall not incur a loss of Adjustable
                          Benefits with respect to any Surviving Spouse Benefits for which such spouse has
                          a benefit commencement date [within the meaning of ERISA Section 305(i)(10)]
                          prior to the date of the Rehabilitation Plan Withdrawal.

                   E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE
                          EARNED CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES
                          SUBJECT TO THE DEFAULT SCHEDULE.

                          Subject to the provisos indicated in the final clauses of this Subsection E, effective
                          March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                          eliminated or reduced (to the same extent indicated in Section B(1) above) with
                          respect to any Participants whose benefit commencement date [within the
                          meaning of ERISA § 305(i)(10)] is on or after April 8, 2008, and:

                          (1)       who have earned any Contributory Service Credit with a Contributing
                                    Employer (or any predecessor or successor entity) that at any time becomes
                                    subject (by agreement or otherwise) to the Default Schedule described
                                    herein; and

                          (2)       whose last year of Contributory Service Credit prior to the Employer’s
                                    becoming subject to the Default Schedule was earned while a member of a

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                                    Bargaining Unit (or any predecessor or successor Bargaining Unit) that
                                    ultimately became subject to the Default Schedule.

                          Proviso 1: Provided, however. that any Pensioner otherwise subject to the
                          elimination of Adjustable Benefits, due to his Contributing Employer becoming
                          subject to the Default Schedule pursuant to this Subsection E, who has a benefit
                          commencement date [within the meaning of ERISA § 305(i)(10)] one year or more
                          prior to the Contributing Employer becoming subject to the Default Schedule, shall
                          not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                          does not engage in Restricted Reemployment at any time subsequent to the
                          benefit commencement date.

                          Proviso 2: And provided further that the spouse of any Participant otherwise
                          subject to the elimination of Adjustable Benefits, due to his Contributing Employer
                          becoming subject to the Default Schedule pursuant this Subsection E. shall not
                          incur a loss of Adjustable Benefits with respect to any Surviving Spouse Benefits
                          for which such spouse has a benefit commencement date [within the meaning of
                          ERISA Section 305(i)(10)] prior to the date on which the Contributing Employer
                          became subject to the Default Schedule.

                   F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE
                          EARNED CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES
                          SUBJECT TO THE DISTRESSED EMPLOYER SCHEDULE.

                          Subject to the provisos indicated in the final clauses of this Subsection F, effective
                          March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                          eliminated or reduced (with the exception indicated in Section 2(C)(1) above) with
                          respect to any Participants whose benefit commencement date [within the
                          meaning of ERISA § 305(i)(10)] is on or after April 8, 2008, and:

                          (1)       who have earned any Contributory Service Credit with a Contributing
                                    Employer (or any predecessor or successor entity) that at any time becomes
                                    subject (by agreement or otherwise) to the Distressed Employer Schedule
                                    described herein; and

                          (2)       whose last year of Contributory Service Credit prior to the Employer’s
                                    becoming subject to the Distressed Employer Schedule was earned while a
                                    member of a Bargaining Unit (or any predecessor or successor Bargaining
                                    Unit) that ultimately became subject to the Distressed Employer Schedule.

                          Proviso 1: Provided, however, that any Pensioner otherwise subject to the
                          reduction in Adjustable Benefits indicated in the Distressed Employer Schedule,
                          due to his Contributing Employer becoming subject to that Schedule pursuant to
                          this Subsection F, who has a benefit commencement date [within the meaning of
                          ERISA Section 305(i)(10)] one year or more prior to the Contributing Employer
                          becoming subject to the Distressed Employer Schedule, shall not be subject to the
                          reduction of Adjustable Benefits otherwise mandated by the Distressed Employer
                          Schedule provided that the Pensioner does not engage in Restricted
                          Reemployment at any time subsequent to the benefit commencement date, and
                          provided further that with respect to Bargaining Units that become subject to the
                          Distressed Employer Schedule on or prior to June 1, 2011, no Pensioners with
                          Retirement Dates prior to September 24, 2010 shall be subject to such Distressed
                          Employer Schedule benefit reduction.


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                          Proviso 2: And provided further that the spouse of any Participant otherwise
                          subject to the reduction of Adjustable Benefits. due to his Contributing Employer
                          becoming subject to the Distressed Employer Schedule pursuant to this
                          Subsection F, shall not incur a loss of Adjustable Benefits with respect to any
                          Surviving Spouse Benefits for which such surviving spouse has a benefit
                          commencement date [within the meaning of ERISA Section 305(i)(10)] prior to the
                          date on which the Contributing Employer became subject to the Distressed
                          Employer Schedule, and provided further in any event that with respect to
                          Bargaining Units that become subject to the Distressed Employer Schedule on or
                          prior to June 1, 2011, no spouse shall be subject to such Distressed Employer
                          Schedule benefit reduction if the Participant’s death occurred prior to September
                          24, 2010.

                   G.     RESTORATION OF ADJUSTED BENEFITS.

                          Any Participant who incurs a benefit adjustment or elimination under the terms of
                          Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected
                          benefits restored if, subsequent to the event causing the benefit adjustment, the
                          Participant:

                          (1)       in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal
                                    (see Section 2(I) below), permanently ceases all employment with, and
                                    performance of services in any capacity for, the Contributing Employer (and
                                    any successors or trades or businesses under common control with such
                                    Employer within the meaning of ERISA § 4001(b)(1)) within 60 days of the
                                    occurrence of such Rehabilitation Plan Withdrawal; and

                          (2)       in any case, subsequently earns one year of Contributory Service Credit with
                                    a Contributing Employer while that Employer is in compliance with the
                                    Primary Schedule described herein.

                   H.     ADJUSTABLE BENEFITS.

                          As used herein, Adjustable Benefits shall mean and include:

                          (1)       Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV)
                                    prior to age 65 [including without limitation any pre-age 65 benefits that
                                    would otherwise be payable as (i) a Twenty Year Service Pension (Pension
                                    Plan § 4.01); (ii) a Contributory Credit Pension (Pension Plan § 4.04); (iii) a
                                    Vested Pension (Pension Plan § 4.07); (iv) a Deferred Pension (Pension
                                    Plan § 4.08); or (v) a Twenty-Year Deferred Pension (Pension Plan § 4.09)].

                          (2)       Early retirement benefit or retirement-type subsidies [including without
                                    limitation (i) an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-
                                    And-Out Pension (Pension Plan § 4.05); or a 30-And-Out Pension (Pension
                                    Plan § 4.06)].

                          (3)       All Disability Benefits not yet in pay status (Pension Plan, Article V).

                          (4)       Before Retirement Death Benefits (Pension Plan, Article VI) other than the
                                    50% surviving spouse benefit.

                          (5)       Post-retirement death benefits that are not part of the annuity form of
                                    payment.
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                           (6)      All Partial Pensions (Pension Plan, Appendix D), to the extent any such
                                    pension is tied to one or more of the Adjustable Benefits listed above.

                           (7)      All Contribution-Based Pensions (Pension Plan § 4.03) except that,
                                    assuming the Participant meets all other requirements for receiving a
                                    Contribution-Based Pension, the Contribution-Based Pension is payable at
                                    age 65 reduced by 1/2% per month for each month prior to age 65 at the time
                                    of retirement with a minimum retirement age of 57. Such minimum retirement
                                    age shall not apply if the Participant retired prior to age 57 before the
                                    Participant’s Adjustable Benefits were eliminated or reduced. In such
                                    circumstance, the Participant shall be entitled to receive the Contribution-
                                    Based Pension reduced by 1/2% per month for each month prior to age 65
                                    at the time of retirement. Provided, however, for Participants who (i) have not
                                    submitted a retirement application on or before July 1, 2011 and (ii) do not
                                    have a benefit commencement date [within the meaning of ERISA §
                                    305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-
                                    Based Pensions payable at age 65 referenced in this subparagraph (7) shall
                                    be based on actuarial equivalence in accordance with the Schedule attached
                                    as Exhibit B hereto.

                           (8)      To the extent not already included in paragraphs (1) - (7) above, the following
                                    categories of benefits listed and defined as “adjustable benefits” under
                                    ERISA§ 305(e)(8)(iv):

                                    (i)     benefits, rights, and features under the plan, including post-retirement
                                            death benefits, 60-month guarantees, disability benefits not yet in pay
                                            status, and similar benefits,

                                    (ii)    any early retirement benefit or retirement-type subsidy (within the
                                            meaning of ERISA Section 204(g)(2)(A)) and any benefit payment
                                            option (other than the qualified joint and survivor annuity), and

                                    (iii)   benefit increases that would not be eligible for a guarantee under
                                            ERISA Section 4022A on the first day of the Fund’s initial critical year
                                            under the PPA because the increases were adopted (or, if later, took
                                            effect) less than 60 months before such first day.

                           Provided, however, that except as provided in subparagraph (8)(iii) above, nothing
                           in this paragraph shall be construed to reduce the level of a Participant’s accrued
                           benefit payable at normal retirement.

                    I.     REHABILITATION PLAN WITHDRAWAL

                           Subject to the discretionary authority of the Board of Trustees indicated in the final
                           clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date
                           a Contributing Employer (a) is no longer required to make Employer Contributions
                           to the Pension Fund under one or more of its Collective Bargaining Agreements,
                           or (b) undergoes a significant reduction in its obligation to make Employer
                           Contributions resulting from outsourcing or subcontracting work covered by the
                           applicable Collective Bargaining Agreement(s), as a result of actions by members
                           of a Bargaining Unit (or its representatives) or the Contributing Employer, which
                           actions include, but are not limited to the following:


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                           (1)      decertification or other removal of the Union as a bargaining agent;

                           (2)      ratification or other acceptance of a Collective Bargaining Agreement which
                                    permits withdrawal of the Bargaining Unit, in whole or in part, from the
                                    Pension Plan;

                           (3)      administrative termination of the Contributing Employer with respect to any
                                    or all of its Collective Bargaining Agreements due to: (i) a violation of the
                                    Fund’s rules with respect to the terms of a Collective Bargaining Agreement
                                    (including, without limitation, a provision providing for a split bargaining unit);
                                    or (ii) a violation of any other Fund rule or policy (including, without limitation,
                                    practices or arrangements that result in adverse selection);

                           (4)      any transaction or other event (including, without limitation, a merger,
                                    consolidation, division, asset sale (other than an asset sale complying with
                                    ERISA § 4204), liquidation, dissolution, joint venture, outsourcing,
                                    subcontracting) whereby all or a portion of the operations for which the
                                    Contributing Employer has an obligation to contribute are continued (whether
                                    by the Contributing Employer or by another party) in whole or in part without
                                    maintaining the obligation to contribute to the Fund under the same or better
                                    terms (including, for example, as to number of participants and contribution
                                    rate) as existed before the transaction;

                           Provided, however, that with respect to the circumstances described in
                           Subparagraphs. (3)(ii) or (4) above, the Board of Trustees shall have full
                           discretionary authority to consider, weigh and balance the following factors in
                           determining whether a Rehabilitation Plan Withdrawal has occurred:

                                    (i)     the extent to which the affected Bargaining Unit or its bargaining
                                            representative participated in or controlled, or could have controlled or
                                            prevented, through bargaining, grievance procedures, NLRB
                                            proceedings, litigation or other means, the cessation of Employer
                                            Contributions;
                                    (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                            indirectly, from the cessation of Employer Contributions;

                                    (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                            representative, resisted or attempted to resist, or acquiesced in, the
                                            cessation of Employer Contributions;

                                    (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                            become engaged as employees or independent contractors in the
                                            service of operations that were or are in whole or in part a successor of
                                            the operations of the Contributing Employer who incurred the cessation
                                            of Employer Contributions; and

                                    (v)     the extent of the hardship that might be incurred by members of the
                                            affected Bargaining Unit by the elimination of Adjustable Benefits.




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                    J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS
                           (INCLUDING INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT
                           SUBMITTED A RETIREMENT APPLICATION ON OR BEFORE JULY 1, 2011
                           AND DO NOT HAVE A BENEFIT COMMENCEMENT ON OR BEFORE THAT
                           DATE.

                           Minimum Retirement Age 57.

                           Participants who (i) have not submitted a retirement application on or before July
                           1, 2011 and (ii) do not have a benefit commencement date [within the meaning of
                           ERISA § 305(i)(10)] on or before July 1, 2011, will not be granted a Retirement
                           Date prior to their 57th birthday and will not be eligible to receive retirement benefit
                           payments of any type until after achieving age 57.

                    K.     SPECIAL SCHEDULE:    QUALIFYING   NEW   (“HYBRID   METHOD”)
                           EMPLOYERS (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                           1. Benefits.

                           Bargaining Units (and any non-Bargaining Unit groups participating in the Fund)
                           whose Contributing Employers have been specifically accepted and approved by
                           the Trustees as satisfying the requirements for this Qualifying New Employer
                           Schedule will, as it relates to benefits or potential benefit adjustments, be treated
                           in the same way as Bargaining Units (and non-Bargaining Unit groups) under the
                           Primary Schedule (Section 2.A. above).

                           2. Contributions.

                           Contributing Employers who have qualified as New Employers within the meaning
                           of Appendix E of the Plan Document, Section 2.2 (b) (and are thus eligible for
                           treatment under the Pension Fund’s alternative, or “hybrid,” method of calculating
                           Employer Withdrawal Liability), and who have fulfilled all requirements relating to
                           the duration and/or level of continued participation in the Pension Fund contained
                           in the agreement under which the Fund accepted the Employer as a New
                           Employer, may contribute under this Schedule to the Fund at a rate to be
                           specifically and separately approved by the Board of Trustees with respect to each
                           such New Employer (the “New Rate”), subject to a specific determination by the
                           Board of Trustees that the following conditions have been or will be met:

                               (i)     The New Employer has in fact fulfilled its contribution or participation
                                       commitments under the agreement in which the Fund accepted the
                                       Employer’s New Employer status, and the New Employer has fulfilled all
                                       other obligations under that agreement, is current in its ongoing
                                       contribution obligations to the Fund and is in compliance with the Fund’s
                                       rules and polices applicable to Contributing Employers;

                               (ii)    Unless a New Rate is determined and made available under this
                                       Schedule, the New Employer would likely withdraw from the Fund on
                                       about the expiration date of its most recent Collective Bargaining
                                       Agreement requiring contributions to the Fund;

                               (iii)   the New Employer’s continued participation in the Fund at the New Rate,
                                       under the specific circumstances presented, will result in net positive
                                       cash flow to the Fund, in comparison to the net cash flow that would result
                                       from a withdrawal by the New Employer from the Fund; and
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                                (iv)        the New Employer’s obligation to contribute to the Fund at the New Rate
                                            is documented in a Collective Bargaining Agreement that is or will be
                                            acceptable to the Board of Trustees, and contains (or will contain) terms
                                            under which the bargaining representative of the affected Bargaining Unit
                                            specifically agrees or acknowledges that any reductions in labor costs
                                            resulting from the New Employer’s contributions at the New Rate have
                                            been allocated to the Bargaining Unit in a manner that is satisfactory to
                                            the bargaining representative.

                    L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                           SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                           BENEFITS). (Effective on and after March 14, 2017)

                           1.       Benefits.

                           With regard to any Bargaining Unit subject to a Collective Bargaining Agreement
                           in effect as of March 1, 2017 (the “Current Agreement”) that –

                                    (i)      was (or is) of 3 to 5 years in duration,

                                    (ii)     did not (or does not) provide for any wage increases for the entire
                                             duration of the Agreement, and

                                    (iii)    required (or requires) pension contribution rate increases in compliance
                                             with the Primary Schedule (Section 2.A of this Rehabilitation Plan) for
                                             the entire duration of the Agreement, but did not (or does not) at any
                                             time require contributions at rates equal to or in excess of any of the
                                             maximum rates specified under the provisos to the Primary Schedule

                           the benefits available to any such Bargaining Unit under any new Collective
                           Bargaining Agreement that is the immediate successor or renewal Agreement of
                           the Current Agreement, and is not in compliance with the Primary Schedule
                           (“Successor Agreement”), will be nevertheless identical to the benefits available to
                           Bargaining Units whose Collective Bargaining Agreements are in compliance with
                           the Primary Schedule, provided that any such Successor Agreement has the
                           characteristics specified in Section 2.L.2 below.

                           2.       Contributions.

                           In order for a Bargaining Unit to qualify for the benefits specified under Section
                           2.L.1 above, the Successor Agreement must:

                                    (i)      Not be of less duration than the Current Agreement, but not
                                             exceeding 5 years in duration;

                                    (ii)     require pension contributions at a rate that is at least as high as
                                             the highest rate required under the Current Agreement, but
                                             need not provide for any increase in the contribution rates for
                                             the duration of the Successor Agreement (the “Special Rate”);
                                             and

                                    (iii)     contain terms under which the bargaining representative of the
                                             affected Bargaining Unit specifically agrees and acknowledges
                                             that any reduction in labor costs resulting from contributions at
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                                       the Special Rate (i.e., contributions without the rate increases
                                       otherwise required under the Primary Schedule) have been
                                       allocated to the Bargaining Unit in a manner that is satisfactory
                                       to the bargaining representative.

Section 3.             REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to forestall the possible insolvency of the Fund prior
             to 2025. Projections of insolvency may vary from year to year as actual experience may differ
             from assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                  •     Actuarial projections updated for each year show, based on reasonable assumptions,
                        that under the Rehabilitation Plan and its schedules (as amended and updated from
                        time to time) the Fund will forestall its possible insolvency prior to 2023.

Section 4.             ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ended on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:

             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31, 2020:


   Schedule                          Benefit Reductions                        Contribution Rate Increases

   Default            Immediate maximum Critical Status benefit cuts          15% per year until emergence
                      for all participants to the extent permitted by law     in 2021 (plus an additional
                                                                              1.6% annual increase for
                                                                              Benefit Classes 14 and below)

  Alternative 1 Maintain current benefits                                     17% per year until emergence
                                                                              in 2021

  Alternative 2 On the second anniversary of the new bargaining             16% per year until emergence in
                agreement, reduce the future benefit accrual rate           2021
                from 1% of contributions payable at age 62 to 1%
                of contributions at payable at age 65


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             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the
             terms of the IRS approved amortization extension would be jeopardized by any attempt to
             emerge from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2021 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.

             Prior to Plan/calendar year 2022, the Trustees have implemented (and, where applicable,
             have continued to implement) numerous measures to improve the Fund’s funding. These
             have included:

                     Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                     Protecting the “and-out” and early retirement benefits while freezing them at their year-
                      end 2003 levels;

                     Obtaining agreements from the major bargaining parties to reallocate significant
                      amounts of annual benefit contributions to the Pension Fund;

                     Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                      successfully seeking a waiver of the conditions of that extension in light of investment
                      losses resulting from the weakness in financial markets in recent years (waiver or
                      alteration of conditions granted in 2016);

                     Requiring as a condition of continued participation in the Fund that new bargaining
                      agreements in the last several years include significant annual contribution rate
                      increases;

                     Providing information to Congress and federal agencies with respect to legislative or
                      regulatory proposals that appear to assist in addressing the funding challenges
                      confronting the Fund;

                     Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                      under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                      historically significant) Contributing Employers, resumed Contributions in June 2011
                      at rates lower than would have been permitted under previous (pre-2011)
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                      Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                      adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                      despite the lower Contribution rates, the continued participation of these Employers
                      would tend to improve overall pension funding; and

                     Adopting a new withdrawal liability method, and obtaining approval of that method by
                      the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                      and existing Contributing Employers who satisfy their withdrawal liability under the
                      Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                      method”), will have any future withdrawal liability determined under the “direct
                      attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                      some Contributing Employers who wish to continue to participate in the Fund, but may
                      be concerned about the potential for future growth of their estimated withdrawal liability
                      as calculated under the Fund’s prior (pre-2011) withdrawal liability method, and that
                      this, in turn, will encourage continued participation in the Fund and tend to improve
                      overall pension funding.

                     Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                      Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                      eligible for the direct attribution method under the hybrid method, to comply with the
                      Primary Schedule without the need (under their current collective bargaining
                      agreements) for the contribution rate increases otherwise required under the Primary
                      Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                      will encourage existing Contributing Employers to satisfy their existing withdrawal
                      liability and to continue their participation in the Fund as New Employers under the
                      hybrid method; the Trustees determined that the New Employers’ participation on
                      these terms would tend to improve overall pension funding.

                     Authorizing the filing, on September 25, 2015, of an application with the United States
                      Department of the Treasury requesting approval of a plan of suspension of benefits
                      under MPRA. (The Trustees determined that the filing of this application was a
                      reasonable measure designed to forestall insolvency, and therefore one that they were
                      required to take under the PPA. However, the Fund’s MPRA application was denied
                      by the Department of Treasury on May 6, 2016, and the Trustees have determined
                      that it is not feasible for the Fund to submit a revised MPRA application.)

                     Approval of the Special Schedule relating to Qualifying New (“Hybrid“) Method
                      Employers indicated in Section 2.K. of this Appendix.

                     And the addition of Section 2.L. to this Appendix dealing with Qualifying Bargaining
                      Units that have been subject to wage freezes.

             However, the Trustees have also determined, as part of the 2022 Rehabilitation Plan update
             process, that mandating additional significant benefit cuts (beyond those provided in this
             updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
             at levels beyond those required in recent years, would risk substantially accelerating the rate
             at which employers would withdraw from the Fund, in large part because the Union could
             conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
             Trustees also determined that this acceleration of employer withdrawals would, in turn, be
             counterproductive to the Trustees’ effort to forestall possible insolvency.




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                                                           Exhibit A
                         Primary Schedule: Contribution Rate Increases by Bargaining Agreement Year
                                     (all rate increases are to be compounded annually)

Calendar
Year of                                               Year of Initial Bargaining Agreement Conforming to Primary Schedule
Contribution
Rate
               2006
Increases
                 &        2007   2008   2009   2010     2011     2012     2013      2014      2015      2016     2017       2018   2019   2020   2021   2022
               Earlier
   2006         7%
   2007         7%        8%
   2008         7%        8%     8%
   2009         7%        8%     8%     8%
   2010         7%        8%     8%     8%     8%
   2011         6%        8%     8%     8%     8%       8%
   2012         5%        6%     8%     8%     8%       8%        8%
   2013         4%        4%     6%     8%     8%       8%        8%       8%
   2014         4%        4%     6%     8%     8%       8%        8%       8%        8%
   2015         4%        4%     6%     8%     8%       8%        8%       8%        8%        8%
   2016         4%        4%     4%     6%     8%       8%        8%       8%        8%        8%       8%
   2017         4%        4%     4%     4%     6%       8%        8%       8%        8%        8%       8%        8%
   2018         4%        4%     4%     4%     4%       6%        8%       8%        8%        8%       8%        8%        8%
   2019         4%        4%     4%     4%     4%       4%        6%       8%        8%        8%       8%        8%        8%     8%
   2020         4%        4%     4%     4%     4%       4%        4%       6%        8%        8%       8%        8%        8%     8%     8%
   2021         4%        4%     4%     4%     4%       4%        4%       4%        6%        8%       8%        8%        8%     8%     8%     8%
   2022         4%        4%     4%     4%     4%       4%        4%       4%        4%        6%       8%        8%        8%     8%     8%     8%     8%
   2023         4%        4%     4%     4%     4%       4%        4%       4%        4%        4%       6%        8%        8%     8%     8%     8%     8%
   2024         4%        4%     4%     4%     4%       4%        4%       4%        4%        4%       4%        6%        8%     8%     8%     8%     8%
   2025         4%        4%     4%     4%     4%       4%        4%       4%        4%        4%       4%        4%        6%     8%     8%     8%     8%
   2026         4%        4%     4%     4%     4%       4%        4%       4%        4%        4%       4%        4%        4%     6%     8%     8%     8%
   2027         4%        4%     4%     4%     4%       4%        4%       4%        4%        4%       4%        4%        4%     4%     6%     8%     8%
   2028         4%        4%     4%     4%     4%       4%        4%       4%        4%        4%       4%        4%        4%     4%     4%     6%     8%




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                                                EXHIBIT B


                            Schedule for Actuarial Reduction of Age 65 Benefits

                        (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                  before July 1, 2011 and (ii) do not have a benefit commencement
               date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                                Percent of Age 65 Benefit Based on
                                    Age              Actuarial Equivalence


                                    65                          100%
                                    64                           90%
                                    63                           81%
                                    62                           74%
                                    61                           67%
                                    60                           61%
                                    59                           55%
                                    58                           50%
                                    57                           46%




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APPENDIX M-15. REHABILITATION PLAN (INCLUDING 2023 UPDATE)

Section 1.           PREAMBLE AND DEFINITIONS.

             Appendix M comprising the Rehabilitation Plan was added to the Pension Plan
             effective on and after March 26, 2008, and has been amended from time to time since
             then.

             This Appendix M-15 is added to the Pension Plan effective on and after April 3, 2023
             (except where a different effective date for any provision is noted below) in order to
             update the Rehabilitation Plan in compliance with the requirements of the Pension
             Protection Act of 2006 (“PPA”).

             The Central States, Southeast and Southwest Areas Pension Fund (the “Fund”) was
             initially certified on March 24, 2008 by its actuary to be in “critical status” (sometimes
             referred to as the “red zone”) under the PPA: the Fund’s actuary has also certified
             the Fund to be in critical status in March of each subsequent year through March
             2014. For 2015, 2016, 2017, 2018, 2019, 2020, 2021 and 2022, the actuary certified
             the Fund to be in “critical and declining status”, pursuant to the Multiemployer
             Pension Reform Act of 2014 (“MPRA”). For 2023, the Fund’s actuary certified the
             Fund to be in critical status. The Fund’s Board of Trustees, as the plan sponsor of a
             “critical status” pension plan, is charged under the PPA and MPRA with developing a
             “rehabilitation plan” designed to improve the financial condition of the Fund in
             accordance with the standards set forth in the PPA, and with annually updating the
             rehabilitation plan. Although for plan year 2009 the Fund was exempt from the update
             requirement, pursuant to an election under the Worker Retiree and Employer
             Recovery Act of 2008, for subsequent plan years the PPA provisions concerning the
             rehabilitation plan update process are applicable to the Fund. The purpose of this
             updated Rehabilitation Plan is to comply with those PPA provisions, as amended to
             date, including any applicable amendments under MPRA.

             Under the PPA, a rehabilitation plan, including annual updates to the plan, must
             include one or more schedules showing revised benefit structures, revised
             contributions, or both, which, if adopted by the parties obligated under agreements
             participating in the pension plan, may reasonably be expected to enable the Fund to
             emerge from critical status in accordance with the rehabilitation plan. The PPA also
             provides that one of the rehabilitation plan schedules of benefits and contributions
             shall be designated the “default” schedule. The default schedule must assume that
             there are no increases in contributions under the plan other than the increases
             necessary to emerge from critical status after future benefit accruals and other
             benefits have been reduced to the maximum extent permitted by law. The PPA also
             creates certain categories of “adjustable benefits” which may be reduced or
             eliminated dependent upon the outcome of bargaining over the rehabilitation plan
             schedules and dependent on the exercise of certain flexibility and discretion
             conferred upon the Board of Trustees by the PPA. Adjustable benefits that may be
             affected in this manner include post-retirement death benefits, early retirement
             benefits or retirement-type subsidies, and generally any benefit that would be payable
             prior to normal retirement age (age 65 benefits under the Fund’s Plan Document -
             or, as discussed below, a Contribution Based Benefit actuarially reduced to be
             equivalent to an age 65 benefit). As noted, the PPA also requires annual updates of
             the rehabilitation plan.

             Unless otherwise indicated, all capitalized terms herein shall have the definitions and
             meanings assigned to them in the Fund’s Pension Plan Document.

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Section 2.           SCHEDULES OF CONTRIBUTIONS AND BENEFITS.

             With the PPA requirements outlined above in mind, the Fund’s Board of Trustees hereby
             provides the following PPA Schedules to the parties charged with bargaining over agreements
             requiring contributions to the Fund.

                   A.     PRIMARY SCHEDULE (EXCEPT AS NOTED, PRESERVES ALL CURRENT
                          BENEFITS).

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers are in
                                    compliance with this Primary Schedule, there will be no change in benefit
                                    formulas, levels or payment options in effect on January 1, 2008, except that
                                    as provided in Section 2(J) below, Participants who (i) have not submitted a
                                    retirement application on or before July 1, 2011 and (ii) do not have a benefit
                                    commencement date (within the meaning of ERISA § 305(i)(10)) on or before
                                    July 1, 2011, will not be granted a Retirement Date prior to their 57th birthday
                                    and will not be eligible to receive retirement benefit payments of any type
                                    until after achieving age 57.

                                    Further, subject to the notice requirements of the PPA and other applicable
                                    law, any Bargaining Units (and any non-Bargaining Unit employee groups
                                    participating in the Fund) whose Contributing Employers incur a
                                    Rehabilitation Plan Withdrawal on or after March 26, 2008 shall have their
                                    Adjustable Benefits listed in Section 2(H) below eliminated or reduced to the
                                    extent indicated in Section 2(B)(1) below.

                          2.        Contributions

                                    Compliance with the Primary Schedule requires annually compounded
                                    contribution rate increases in accordance with Exhibit A effective immediately
                                    after the expiration of the Collective Bargaining Agreement (or other
                                    agreement requiring contributions to the Fund) and each agreement
                                    anniversary date (or reallocation anniversary, where applicable) during the
                                    term of the new bargaining agreement to the extent indicated in Exhibit A,
                                    depending on the year that the new agreement is effective. Note that all
                                    contribution rate increases are annually compounded on the total contribution
                                    rate (including any reallocations of employee benefit contributions or agreed
                                    mid-contract contribution increases) immediately prior to the increase.

                                    The required annual rate increase may be provided through annual allocations
                                    to pension contributions of general and aggregate employee benefit
                                    contribution increases that were negotiated at the outset of an agreement,
                                    but were not specifically allocated to pension contributions until subsequent
                                    contract years. The Primary Schedule requires 8% per year contribution rate
                                    increases for the first 5 years, 6% per year contribution rate increases for the
                                    next 3 years and 4% per year contribution rate increases each year thereafter
                                    for 2008 agreements under the Primary Schedule and comparable rate
                                    increases over time for all other agreements under the Primary Schedule
                                    (see Exhibit A).

                                    Provided, however, that absent further amendment to this rehabilitation plan,
                                    as of June 1, 2011, any Collective Bargaining Agreement requiring
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                                    contributions of (1) $348 per week for each full-time employee with respect
                                    to Participants covered by the National Master Automobile Transporter
                                    Agreement, and (2) $342 per week for each full-time employee with respect
                                    to all other Participants, will be deemed to be in compliance with the Primary
                                    Schedule without the need for additional annual rate increases.

                                    Provided, further, that absent further amendment to this rehabilitation plan,
                                    as of April 3, 2023, any Collective Bargaining Agreement or Participation
                                    Agreement requiring contributions of:
                                    (1) $69.60 per day or $344.00 per week for employers whose participants
                                    are covered under Benefit Class 18+, and (2) $68.40 per day or $338.00 per
                                    week for employers whose participants are covered under all other Benefit
                                    Classes, will be deemed to be in compliance with the Primary Schedule
                                    without the need for additional annual rate increases.

                                    Provided, further, that absent further amendment to this rehabilitation plan,
                                    that for Collective Bargaining Agreements that have a stated expiration date
                                    on or after April 3, 2023: Rate increases continue to be required on the
                                    regular annual schedule until the stated expiration date of the Collective
                                    Bargaining Agreement. This rule applies even if the prior Collective Bargaining
                                    Agreement had a stated expiration date on or after April 3, 2023, but a new
                                    Collective Bargaining Agreement was ratified in advance of the stated
                                    expiration date but prior to April 3, 2023. However, in the latter circumstance,
                                    the bargaining parties would be allowed to agree to amend the Collective
                                    Bargaining Agreement to not require contribution rate increases beyond the
                                    highest contribution rate required by the original Collective Bargaining
                                    Agreement. The annual contribution rate increases are required for the entire
                                    term of the Collective Bargaining Agreement even if those contribution rate
                                    increases are not specified in the Collective Bargaining Agreement, or if the
                                    Collective Bargaining Agreement purports to allow the employer to cease
                                    contribution rate increases mid- contract. Nor shall the bargaining parties be
                                    allowed to renegotiate or terminate the Collective Bargaining Agreement mid-
                                    contract (or amend the stated expiration date of the Collective Bargaining
                                    Agreement to an earlier date) to alter the required contribution rate increases.
                                    After the stated expiration date of the Collective Bargaining Agreement,
                                    annual contribution rate increases will not be required beyond the rate at the
                                    stated expiration date unless the bargaining parties agree to a higher rate.

                                    Provided, further, that absent further amendment to this rehabilitation plan,
                                    for Collective Bargaining Agreements that expired prior to April 3, 2023: Rate
                                    increases continue to be required on the regular annual schedule until the
                                    latter of three years after expiration date of the Collective Bargaining
                                    Agreement or until the date a new Collective Bargaining Agreement is ratified,
                                    fully executed, and received by the Pension Fund. The rate shall include all
                                    rate increases required during the period between the stated expiration date
                                    of the Collective Bargaining Agreement and the date the new Collective
                                    Bargaining Agreement that is ratified and fully executed is received by the
                                    Pension Fund. The annual contribution rate increases are required for the
                                    entire term of the Collective Bargaining Agreement even if those contribution
                                    rate increases are not specified in the Collective Bargaining Agreement, or if
                                    the Collective Bargaining Agreement purports to allow the employer to cease
                                    contribution rate increases mid- contract. Nor shall the bargaining parties be
                                    allowed to renegotiate or terminate the Collective Bargaining Agreement mid-
                                    contract (or amend the stated expiration date of the Collective Bargaining
                                    Agreement to an earlier date) to alter the required contribution rate increases.
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                                    The new Collective Bargaining Agreement will not be required to include
                                    annual contribution rate increases beyond the rate required as of the date
                                    the new Collective Bargaining Agreement that is ratified and fully executed
                                    is received by the Pension Fund unless the bargaining parties agree to a
                                    higher rate.

                                    Provided, further, that absent further amendment to this rehabilitation plan,
                                    for those groups covered only by a Participation Agreement, rate increases
                                    specified in the Participation Agreement will continue to be required on the
                                    regular annual schedule. A new Participation Agreement for that group will
                                    not be accepted unless it includes all rate increases specified in the
                                    Participation Agreement in effect on April 3, 2023 even if those increases are
                                    not scheduled to happen until after April 3, 2023. For new Participation
                                    Agreements entered into on or after April 3, 2023, subject to the requirements
                                    listed in the preceding sentences, rate increases will not be required beyond
                                    the rate in effect on April 3, 2023 (or such higher rate(s) specified in the
                                    current Participation Agreement) unless a new Participation Agreement
                                    containing a higher rate is executed and received by the Pension Fund.

                                    Provided further that any Employer that qualifies as a New Employer under
                                    § 2.2(b) of Appendix E of the Pension Plan will be deemed, as of the date it
                                    qualifies as a New Employer, to be in compliance with the Primary Schedule
                                    without the need for additional contribution rate increases.

                   B.     DEFAULT SCHEDULE.

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers agree to
                                    comply with this Default Schedule [or who become subject to the Default
                                    Schedule due to a failure to achieve an agreement to accept one of the
                                    Rehabilitation Plan Schedules within the time frame specified under ERISA
                                    § 305(e)(3)(C)], the benefit formulas, levels, and payment options in effect on
                                    January 1, 2008 will remain in effect except for the following, upon the
                                    effective date that the Default Schedule applies to the Bargaining Unit (or to
                                    any non-Bargaining Unit employee groups participating in the Fund):

                                       •   Adjustable Benefits listed in Section 2(H) below are eliminated or
                                           reduced to the maximum extent permitted by law, but the future
                                           benefit accrual rate of 1% of contributions (the Contribution-Based
                                           Pension) remains in effect, with the modification that the
                                           Contribution Based Pension monthly benefit payable at age 65 is
                                           reduced by 1/2% per month for each month prior to age 65 with a
                                           minimum retirement age of 57, except that, for Participants who (i)
                                           have not submitted a retirement application on or before July 1,
                                           2011 and (ii) do not have a benefit commencement date [within the
                                           meaning of ERISA § 305(i)(10)] on or before July 1, 2011, the
                                           Contribution Based Pension monthly benefit payable at age 65 shall
                                           be reduced to an actuarially equivalent benefit in accordance with
                                           the Schedule attached as Exhibit B with a minimum retirement age
                                           of 57.



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                          2.        Contributions

                                    Compliance with the Default Schedule consists of annually compounded
                                    contribution rate increases of 4% effective immediately after the expiration of
                                    the Collective Bargaining Agreement (or other agreement requiring
                                    contributions to the Fund) and each anniversary thereof during the term of
                                    the agreement.

                                    Provided, further, that absent further amendment to this rehabilitation plan,
                                    as of April 3, 2023, any Collective Bargaining Agreement or Participation
                                    Agreement requiring contributions of: (1) $69.60 per day or $344.00 per week
                                    for employers whose participants are covered under Benefit Class 18+, and
                                    (2) $68.40 per day or $338.00 per week for employers whose participants are
                                    covered under all other Benefit Classes, will be deemed to be in compliance
                                    with the Default Schedule without the need for additional annual rate
                                    increases.

                          3.        Effect of agreement to or imposition of Default Schedule.

                                    (i)        If a Contributing Employer agrees to the Default Schedule with respect
                                               to a particular Bargaining Unit, the Fund will not accept any subsequent
                                               Collective Bargaining Agreements covering that Bargaining Unit which
                                               are compliant with the Primary Schedule, except as determined by the
                                               Board of Trustees in their sole discretion.

                                    (ii)       If a Contributing Employer becomes subject to the Default Schedule by
                                               operation of ERISA Section 305(e)(3)(C), because the bargaining
                                               parties have failed to adopt either of the Schedules compliant with this
                                               Rehabilitation Plan within 180 days of the expiration of their prior
                                               Collective Bargaining Agreement, the Fund will then accept a Collective
                                               Bargaining Agreement that is compliant with the Primary Schedule
                                               described in this Rehabilitation Plan, provided that such new Collective
                                               Bargaining Agreement provides for Primary Schedule contribution rates
                                               that are retroactive to the expiration date of the last Collective
                                               Bargaining Agreement that covered the affected Bargaining Unit.

                   C.     DISTRESSED EMPLOYER SCHEDULE.

                          1.        Benefits

                                    With regard to Bargaining Units (and any non-Bargaining Unit employee
                                    groups participating in the Fund) whose Contributing Employers and
                                    contribution rates have been specifically accepted and approved by the
                                    Board of Trustees as satisfying the Qualifications for the Distressed
                                    Employer Schedule (as set forth in Section 2(C)(2) below), the benefit
                                    formulas, levels, and payment options in effect on January 1, 2008 will
                                    remain in effect except for the following, upon the effective date that the
                                    Distressed Employer Schedule applies to the Bargaining Unit (or to any non-
                                    Bargaining Unit employee group participating in the Fund) that is accepted
                                    by the Board of Trustees as qualifying under the Distressed Employer
                                    Schedule:

                                           •    Adjustable Benefits listed in Section 2(H) below are eliminated or
                                                reduced to the maximum extent permitted by law, but the future benefit
                                                accrual rate of 1% of contributions (the Contribution-Based Pension)
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                                              remains in effect, with the modification that the Contribution Based
                                              Pension monthly benefit payable at age 65 is reduced by ½% per
                                              month for each month prior to age 65 with a minimum retirement age
                                              of 57, except that, for Participants who (i) have not submitted a
                                              retirement application on or before July 1, 2011 and (ii) have not
                                              achieved a Retirement Date on or before July 1, 2011, the
                                              Contribution Based Pension monthly benefit payable at age 65 shall
                                              be reduced to an actuarially equivalent benefit in accordance with the
                                              Schedule attached as Exhibit B with a minimum retirement age of 57,
                                              and except that any Participant who (i) has achieved a minimum age
                                              of 55 as of the date of the Distressed Employer’s termination of
                                              participation in the Fund (see Section 2(C)(2) below) and (ii) has
                                              accrued a minimum of 25 years credit towards a Contributory Credit
                                              Pension or an And-Out Pension as of that date (see Pension Plan §§
                                              4.04, 4.05 and 4.06), shall be entitled to retain his eligibility for (but
                                              not gain further credit towards) any such Pension, provided that any
                                              such Participant has a minimum retirement age of 62.

                          2.        Contributions       and    Qualifications    for    the   Distressed    Employer
                                    Schedule.

                                    The Board of Trustees may deem a Collective Bargaining Agreement with
                                    contribution rates not in compliance with either the Primary Schedule or the
                                    Default Schedule to be in compliance with and subject to the Distressed
                                    Employer Schedule, if in the Board of Trustees’ sole discretion, the Board
                                    determines that the Contributing Employer meets each of the following
                                    qualifications:

                                    (i)     the common stock of the Employer or its parent corporation (or other
                                            affiliate under 80% or more common control with the Employer) is
                                            publicly traded and registered pursuant to the securities laws of the
                                            United States;

                                    (ii)    the Employer has previously incurred a termination of its participation
                                            in the Fund due to an inability to remain current in its Contribution
                                            obligations, and the Employer was in terminated status immediately
                                            prior to executing the Agreement sought to be qualified under the
                                            Distressed Employer Schedule;

                                    (iii)   during the last ten years in which the Employer participated in the Fund
                                            prior to its termination, it had paid contributions to the Fund on behalf of
                                            at least 1,000 full- time employees per month (or had, including part-
                                            time employees, paid contributions on behalf of the equivalent of at least
                                            1,000 full-time employees per month for the specified ten year period);

                                    (iv)    the Employer submits to a review of its financial condition and
                                            operations by the Fund’s Staff and outside expert and consultants, and
                                            agrees to reimburse the Fund for all fees and expenses incurred by the
                                            Fund in this review (including, but not limited to, reimbursement to the
                                            Fund for the time devoted by the Fund’s Staff to any such review, with
                                            this reimbursement to be made at market rates for comparable services
                                            performed by Fund’s Staff);

                                    (v)     on the basis of this financial and operational review, it appears that the
                                            Employer is not able to contribute to the Fund at a higher rate than is
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                                           indicated in the Collective Bargaining Agreement proposed for
                                           acceptance under the Distressed Employer Schedule, and that
                                           acceptance of the proposed Agreement is in the best interest of the
                                           Fund under all the circumstances and advances the goals of this
                                           Rehabilitation Plan; and

                                    (vi)   the Employer provides the Fund with first lien collateral in any and all
                                           unencumbered assets to the fullest extent it is able in order to fully
                                           secure (i) any delinquent or deferred Contribution obligations owed to
                                           the Fund, (ii) the Employer’s obligation to make current and future
                                           pension contributions to the Fund, and (iii) any future withdrawal liability
                                           potentially incurred by the Employer (with the amount of such potential
                                           withdrawal liability to be determined based on estimates to be provided
                                           by the Fund).

                          3.        Effect of agreement to or imposition of the Distressed Employer
                                    Schedule.

                                    If a Contributing Employer becomes subject to the Distressed Employer
                                    Schedule with respect to a particular Bargaining Unit, the Fund will not accept
                                    any subsequent Collective Bargaining Agreements covering that Bargaining
                                    Unit which are compliant with the Primary Schedule, except as determined
                                    by the Board of Trustees in their sole discretion.

                   D.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE
                          EARNED CONTRIBUTORY SERVICE WITH AN EMPLOYER INCURRING A
                          REHABILITATION PLAN WITHDRAWAL.

                          Subject to the provisos indicated in the final clauses of this Subsection D, effective
                          March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                          eliminated or reduced (to the same extent indicated in Subsection B(1) above) with
                          respect to Participants whose benefit commencement date [within the meaning of
                          ERISA § 305(i)(10)] with the Fund is on or after April 8, 2008, and:

                          (1)       whose last Hour of Service prior to January 1, 2008 was earned while
                                    employed by United Parcel Service, Inc. (“UPS”), or with any trades or
                                    businesses at any time under common control with UPS, within the meaning
                                    of ERISA § 4001(b)(1); or

                          (2)       who (i) has earned or earns an Hour of Service while employed with a
                                    Contributing Employer (or any predecessor or successor entity) that at any
                                    time on or after March 26, 2008 incurs a Rehabilitation Plan Withdrawal (see
                                    Section 2(I) below), and (ii) whose last year of Contributory Service Credit
                                    prior to the Rehabilitation Plan Withdrawal was earned while a member of a
                                    Bargaining Unit (or any predecessor or successor Bargaining Unit) ultimately
                                    incurring such Withdrawal.

                                    Proviso 1: Provided, however, that any Pensioner otherwise subject to the
                                    elimination of Adjustable Benefits, due to a Rehabilitation Plan Withdrawal
                                    pursuant Section 2(D)(2) above, who has a benefit commencement date
                                    [within the meaning of ERISA § 305(i)(10)] one year or more prior to the
                                    earlier of: (i) the date of such Rehabilitation Plan Withdrawal or (ii) the date of
                                    the expiration of the last Collective Bargaining Agreement requiring Employer
                                    Contributions under the Primary Schedule prior to such Withdrawal, shall not
                                    be subject to the elimination of Adjustable Benefits provided that the
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                                    Pensioner does not engage in Restricted Reemployment at any time
                                    subsequent to the benefit commencement date.

                                    Proviso 2: And provided further that in the event of a Rehabilitation Plan
                                    Withdrawal resulting from an administrative termination of a Contributing
                                    Employer as referenced in Section 2(I)(3)(ii) below, the Board of Trustees
                                    shall have full discretionary authority (A) to decline to apply the elimination of
                                    Adjustable Benefits to Participants otherwise affected by a Rehabilitation
                                    Plan Withdrawal of this type who have submitted a pension application
                                    naming a Retirement Date to the Fund on or before the date selected by the
                                    Trustees as the effective date of the administrative termination which ended
                                    the Employer’s obligation to contribute to the Pension Fund, and (B) to
                                    decline to apply the requirement of Section 2(G) below that a Participant
                                    incurring a benefit adjustment due to Rehabilitation Plan Withdrawal must
                                    cease employment with and the performance of services for the withdrawn
                                    Employer within 60 days of the Rehabilitation Plan Withdrawal in order to
                                    eventually qualify for a restoration of benefits; in exercising their discretionary
                                    authority under this

                                    Proviso 2, the Board of Trustees shall consider, weigh and balance the
                                    following factors:

                                        (i)     the extent to which any actively employed members of the affected
                                                Bargaining Unit or any members who submitted a retirement
                                                application prior to the effective date of the administrative
                                                termination were aware of, participated in or controlled, or could
                                                have controlled or prevented, through bargaining, grievance
                                                procedures, NLRB proceedings, litigation or other means, the
                                                circumstances that led to the administrative termination of the
                                                Employer;

                                        (ii)    the extent to which any actively employed members of the affected
                                                Bargaining Unit or any members who submitted a retirement
                                                application prior to the effective date of the administrative
                                                termination benefited, directly or indirectly from the cessation of
                                                Employer Contributions or from the circumstances that led to the
                                                administrative termination of the Employer;

                                        (iii)   the extent to which any actively employed members of the affected
                                                Bargaining Unit or any members who submitted a retirement
                                                application prior to the effective date of the administrative
                                                termination resisted or attempted to alter, or acquiesced in, the
                                                circumstances that led to the administrative termination of the
                                                Employer;

                                        (iv)    the extent to which any actively employed members of the affected
                                                Bargaining Unit or any members who submitted a retirement
                                                application prior to the effective date of the administrative
                                                termination have become engaged as employees or independent
                                                contractors in the service of operations that were or are in whole or
                                                in part a successor of the operations of the Employer that has
                                                undergone the administrative termination; and

                                        (v)     the extent of the hardship that might be incurred by any actively
                                                employed members of the affected Bargaining Unit or by any
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                                             members who submitted a retirement application prior to the
                                             effective date of the administrative termination due to the
                                             elimination of Adjustable Benefits.

                                    Proviso 3: And provided further that the spouse of any Participant otherwise
                                    subject to the elimination of Adjustable Benefits, due to a Rehabilitation Plan
                                    Withdrawal pursuant to Subsection D(2) above, shall not incur a loss of
                                    Adjustable Benefits with respect to any Surviving Spouse Benefits for which
                                    such spouse has a benefit commencement date [within the meaning of
                                    ERISA Section 305(i)(10)] prior to the date of the Rehabilitation Plan
                                    Withdrawal.

                   E.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE
                          EARNED CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES
                          SUBJECT TO THE DEFAULT SCHEDULE.

                          Subject to the provisos indicated in the final clauses of this Subsection E, effective
                          March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
                          eliminated or reduced (to the same extent indicated in Section B(1) above) with
                          respect to any Participants whose benefit commencement date [within the
                          meaning of ERISA § 305(i)(10)] is on or after April 8, 2008, and:

                          (1)       who have earned any Contributory Service Credit with a Contributing
                                    Employer (or any predecessor or successor entity) that at any time becomes
                                    subject (by agreement or otherwise) to the Default Schedule described
                                    herein; and

                          (2)       whose last year of Contributory Service Credit prior to the Employer’s
                                    becoming subject to the Default Schedule was earned while a member of a
                                    Bargaining Unit (or any predecessor or successor Bargaining Unit) that
                                    ultimately became subject to the Default Schedule.

                          Proviso 1: Provided, however. that any Pensioner otherwise subject to the
                          elimination of Adjustable Benefits, due to his Contributing Employer becoming
                          subject to the Default Schedule pursuant to this Subsection E, who has a benefit
                          commencement date [within the meaning of ERISA § 305(i)(10)] one year or more
                          prior to the Contributing Employer becoming subject to the Default Schedule, shall
                          not be subject to the elimination of Adjustable Benefits provided that the Pensioner
                          does not engage in Restricted Reemployment at any time subsequent to the
                          benefit commencement date.

                          Proviso 2: And provided further that the spouse of any Participant otherwise subject
                          to the elimination of Adjustable Benefits, due to his Contributing Employer
                          becoming subject to the Default Schedule pursuant this Subsection E. shall not
                          incur a loss of Adjustable Benefits with respect to any Surviving Spouse Benefits
                          for which such spouse has a benefit commencement date [within the meaning of
                          ERISA Section 305(i)(10)] prior to the date on which the Contributing Employer
                          became subject to the Default Schedule.

                   F.     ADJUSTMENT OF BENEFITS OF CERTAIN PARTICIPANTS WHO HAVE
                          EARNED CONTRIBUTORY SERVICE WITH AN EMPLOYER WHO BECOMES
                          SUBJECT TO THE DISTRESSED EMPLOYER SCHEDULE.

                          Subject to the provisos indicated in the final clauses of this Subsection F, effective
                          March 26, 2008, all Adjustable Benefits (listed below in Section 2(H)) shall be
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                           eliminated or reduced (with the exception indicated in Section 2(C)(1) above) with
                           respect to any Participants whose benefit commencement date [within the
                           meaning of ERISA § 305(i)(10)] is on or after April 8, 2008, and:

                           (1)      who have earned any Contributory Service Credit with a Contributing
                                    Employer (or any predecessor or successor entity) that at any time becomes
                                    subject (by agreement or otherwise) to the Distressed Employer Schedule
                                    described herein; and

                           (2)      whose last year of Contributory Service Credit prior to the Employer’s
                                    becoming subject to the Distressed Employer Schedule was earned while a
                                    member of a Bargaining Unit (or any predecessor or successor Bargaining
                                    Unit) that ultimately became subject to the Distressed Employer Schedule.

                           Proviso 1: Provided, however, that any Pensioner otherwise subject to the
                           reduction in Adjustable Benefits indicated in the Distressed Employer Schedule,
                           due to his Contributing Employer becoming subject to that Schedule pursuant to
                           this Subsection F, who has a benefit commencement date [within the meaning of
                           ERISA Section 305(i)(10)] one year or more prior to the Contributing Employer
                           becoming subject to the Distressed Employer Schedule, shall not be subject to the
                           reduction of Adjustable Benefits otherwise mandated by the Distressed Employer
                           Schedule provided that the Pensioner does not engage in Restricted
                           Reemployment at any time subsequent to the benefit commencement date, and
                           provided further that with respect to Bargaining Units that become subject to the
                           Distressed Employer Schedule on or prior to June 1, 2011, no Pensioners with
                           Retirement Dates prior to September 24, 2010 shall be subject to such Distressed
                           Employer Schedule benefit reduction.

                           Proviso 2: And provided further that the spouse of any Participant otherwise subject
                           to the reduction of Adjustable Benefits. due to his Contributing Employer becoming
                           subject to the Distressed Employer Schedule pursuant to this Subsection F, shall
                           not incur a loss of Adjustable Benefits with respect to any Surviving Spouse
                           Benefits for which such surviving spouse has a benefit commencement date [within
                           the meaning of ERISA Section 305(i)(10)] prior to the date on which the
                           Contributing Employer became subject to the Distressed Employer Schedule, and
                           provided further in any event that with respect to Bargaining Units that become
                           subject to the Distressed Employer Schedule on or prior to June 1, 2011, no spouse
                           shall be subject to such Distressed Employer Schedule benefit reduction if the
                           Participant’s death occurred prior to September 24, 2010.

                    G.     RESTORATION OF ADJUSTED BENEFITS.

                           Any Participant who incurs a benefit adjustment or elimination under the terms of
                           Sections 2(A), 2(B), 2(C), 2(D), 2(E) or 2(F) above may have those affected benefits
                           restored if, subsequent to the event causing the benefit adjustment, the Participant:

                           (1)      in the case of benefit adjustment caused by a Rehabilitation Plan Withdrawal
                                    (see Section 2(I) below), permanently ceases all employment with, and
                                    performance of services in any capacity for, the Contributing Employer (and
                                    any successors or trades or businesses under common control with such
                                    Employer within the meaning of ERISA § 4001(b)(1)) within 60 days of the
                                    occurrence of such Rehabilitation Plan Withdrawal; and



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                           (2)      in any case, subsequently earns one year of Contributory Service Credit with
                                    a Contributing Employer while that Employer is in compliance with the
                                    Primary Schedule described herein.

                    H.     ADJUSTABLE BENEFITS.

                           As used herein, Adjustable Benefits shall mean and include:

                           (1)      Any right to receive a Retirement Pension Benefit (Pension Plan, Article IV)
                                    prior to age 65 [including without limitation any pre-age 65 benefits that would
                                    otherwise be payable as (i) a Twenty Year Service Pension (Pension Plan §
                                    4.01); (ii) a Contributory Credit Pension (Pension Plan § 4.04); (iii) a Vested
                                    Pension (Pension Plan § 4.07); (iv) a Deferred Pension (Pension Plan §
                                    4.08); or (v) a Twenty-Year Deferred Pension (Pension Plan § 4.09)].

                           (2)      Early retirement benefit or retirement-type subsidies [including without
                                    limitation (i) an Early Retirement Pension (Pension Plan § 4.02); (ii) a 25-And-
                                    Out Pension (Pension Plan § 4.05); or a 30-And- Out Pension (Pension Plan
                                    § 4.06)].

                           (3)      All Disability Benefits not yet in pay status (Pension Plan, Article V).

                           (4)      Before Retirement Death Benefits (Pension Plan, Article VI) other than the
                                    50% surviving spouse benefit.

                           (5)      Post-retirement death benefits that are not part of the annuity form of
                                    payment.

                           (6)      All Partial Pensions (Pension Plan, Appendix D), to the extent any such
                                    pension is tied to one or more of the Adjustable Benefits listed above.

                           (7)      All Contribution-Based Pensions (Pension Plan § 4.03) except that, assuming
                                    the Participant meets all other requirements for receiving a Contribution-
                                    Based Pension, the Contribution-Based Pension is payable at age 65
                                    reduced by 1/2% per month for each month prior to age 65 at the time of
                                    retirement with a minimum retirement age of 57. Such minimum retirement
                                    age shall not apply if the Participant retired prior to age 57 before the
                                    Participant’s Adjustable Benefits were eliminated or reduced. In such
                                    circumstance, the Participant shall be entitled to receive the Contribution-
                                    Based Pension reduced by 1/2% per month for each month prior to age 65 at
                                    the time of retirement. Provided, however, for Participants who (i) have not
                                    submitted a retirement application on or before July 1, 2011 and (ii) do not
                                    have a benefit commencement date [within the meaning of ERISA §
                                    305(i)(10)] on or before July 1, 2011, the reductions in the Contribution-
                                    Based Pensions payable at age 65 referenced in this subparagraph (7) shall
                                    be based on actuarial equivalence in accordance with the Schedule attached
                                    as Exhibit B hereto.

                           (8)      To the extent not already included in paragraphs (1) - (7) above, the following
                                    categories of benefits listed and defined as “adjustable benefits” under
                                    ERISA§ 305(e)(8)(iv):

                                    (i)   benefits, rights, and features under the plan, including post- retirement
                                          death benefits, 60-month guarantees, disability benefits not yet in pay
                                          status, and similar benefits,
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                                    (ii)    any early retirement benefit or retirement-type subsidy (within the
                                            meaning of ERISA Section 204(g)(2)(A)) and any benefit payment
                                            option (other than the qualified joint and survivor annuity), and

                                    (iii)   benefit increases that would not be eligible for a guarantee under
                                            ERISA Section 4022A on the first day of the Fund’s initial critical year
                                            under the PPA because the increases were adopted (or, if later, took
                                            effect) less than 60 months before such first day.

                           Provided, however, that except as provided in subparagraph (8)(iii) above, nothing
                           in this paragraph shall be construed to reduce the level of a Participant’s accrued
                           benefit payable at normal retirement.

                    I.     REHABILITATION PLAN WITHDRAWAL

                           Subject to the discretionary authority of the Board of Trustees indicated in the final
                           clause of this Subsection I, a “Rehabilitation Plan Withdrawal” occurs on the date
                           a Contributing Employer (a) is no longer required to make Employer Contributions
                           to the Pension Fund under one or more of its Collective Bargaining Agreements,
                           or (b) undergoes a significant reduction in its obligation to make Employer
                           Contributions resulting from outsourcing or subcontracting work covered by the
                           applicable Collective Bargaining Agreement(s), as a result of actions by members
                           of a Bargaining Unit (or its representatives) or the Contributing Employer, which
                           actions include, but are not limited to the following:

                           (1)      decertification or other removal of the Union as a bargaining agent;

                           (2)      ratification or other acceptance of a Collective Bargaining Agreement which
                                    permits withdrawal of the Bargaining Unit, in whole or in part, from the
                                    Pension Plan; administrative termination of the Contributing Employer with
                                    respect to any or all of its Collective Bargaining Agreements due to: (i) a
                                    violation of the Fund’s rules with respect to the terms of a Collective
                                    Bargaining Agreement (including, without limitation, a provision providing for
                                    a split bargaining unit); or (ii) a violation of any other Fund rule or policy
                                    (including, without limitation, practices or arrangements that result in adverse
                                    selection);

                           (3)      any transaction or other event (including, without limitation, a merger,
                                    consolidation, division, asset sale (other than an asset sale complying with
                                    ERISA § 4204), liquidation, dissolution, joint venture, outsourcing,
                                    subcontracting) whereby all or a portion of the operations for which the
                                    Contributing Employer has an obligation to contribute are continued (whether
                                    by the Contributing Employer or by another party) in whole or in part without
                                    maintaining the obligation to contribute to the Fund under the same or better
                                    terms (including, for example, as to number of participants and contribution
                                    rate) as existed before the transaction;

                           Provided, however, that with respect to the circumstances described in
                           Subparagraphs. (3)(ii) or (4) above, the Board of Trustees shall have full
                           discretionary authority to consider, weigh and balance the following factors in
                           determining whether a Rehabilitation Plan Withdrawal has occurred:

                                    (i)     the extent to which the affected Bargaining Unit or its bargaining
                                            representative participated in or controlled, or could have controlled or
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                                            prevented, through bargaining, grievance procedures, NLRB
                                            proceedings, litigation or other means, the cessation of Employer
                                            Contributions;

                                    (ii)    the extent to which the affected Bargaining Unit benefited, directly or
                                            indirectly, from the cessation of Employer Contributions;

                                    (iii)   the extent to which the affected Bargaining Unit, or its bargaining
                                            representative, resisted or attempted to resist, or acquiesced in, the
                                            cessation of Employer Contributions;

                                    (iv)    the extent to which the affected Bargaining Unit, or any of its members,
                                            become engaged as employees or independent contractors in the
                                            service of operations that were or are in whole or in part a successor of
                                            the operations of the Contributing Employer who incurred the cessation
                                            of Employer Contributions; and

                                    (v)     the extent of the hardship that might be incurred by members of the
                                            affected Bargaining Unit by the elimination of Adjustable Benefits.

                    J.     BENEFIT ADJUSTMENTS APPLICABLE TO ALL PARTICIPANTS
                           (INCLUDING INACTIVE VESTED PARTICIPANTS) WHO HAVE NOT
                           SUBMITTED A RETIREMENT APPLICATION ON OR BEFORE JULY 1, 2011
                           AND DO NOT HAVE A BENEFIT COMMENCEMENT ON OR BEFORE THAT
                           DATE.

                           Minimum Retirement Age 57.

                           Participants who (i) have not submitted a retirement application on or before July
                           1, 2011 and (ii) do not have a benefit commencement date [within the meaning of
                           ERISA § 305(i)(10)] on or before July 1, 2011, will not be granted a Retirement
                           Date prior to their 57th birthday and will not be eligible to receive retirement benefit
                           payments of any type until after achieving age 57.

                    K.     SPECIAL SCHEDULE:    QUALIFYING   NEW   (“HYBRID   METHOD”)
                           EMPLOYERS (EXCEPT AS NOTED, PRESERVES ALL BENEFITS).

                           1.       Benefits.

                                    Bargaining Units (and any non-Bargaining Unit groups participating in the
                                    Fund) whose Contributing Employers have been specifically accepted and
                                    approved by the Trustees as satisfying the requirements for this Qualifying
                                    New Employer Schedule will, as it relates to benefits or potential benefit
                                    adjustments, be treated in the same way as Bargaining Units (and non-
                                    Bargaining Unit groups) under the Primary Schedule (Section 2.A. above).

                           2.       Contributions.

                                    Contributing Employers who have qualified as New Employers within the
                                    meaning of Appendix E of the Plan Document, Section 2.2 (b) (and are thus
                                    eligible for treatment under the Pension Fund’s alternative, or “hybrid,”
                                    method of calculating Employer Withdrawal Liability), and who have fulfilled all
                                    requirements relating to the duration and/or level of continued participation
                                    in the Pension Fund contained in the agreement under which the Fund
                                    accepted the Employer as a New Employer, may contribute under this
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                                    Schedule to the Fund at a rate to be specifically and separately approved by
                                    the Board of Trustees with respect to each such New Employer (the “New
                                    Rate”), subject to a specific determination by the Board of Trustees that the
                                    following conditions have been or will be met:

                                    (i)     The New Employer has in fact fulfilled its contribution or participation
                                            commitments under the agreement in which the Fund accepted the
                                            Employer’s New Employer status, and the New Employer has fulfilled
                                            all other obligations under that agreement, is current in its ongoing
                                            contribution obligations to the Fund and is in compliance with the Fund’s
                                            rules and polices applicable to Contributing Employers;

                                    (ii)    Unless a New Rate is determined and made available under this
                                            Schedule, the New Employer would likely withdraw from the Fund on
                                            about the expiration date of its most recent Collective Bargaining
                                            Agreement requiring contributions to the Fund;

                                    (iii)   the New Employer’s continued participation in the Fund at the New
                                            Rate, under the specific circumstances presented, will result in net
                                            positive cash flow to the Fund, in comparison to the net cash flow that
                                            would result from a withdrawal by the New Employer from the Fund;
                                            and

                                    (iv)    the New Employer’s obligation to contribute to the Fund at the New
                                            Rate is documented in a Collective Bargaining Agreement that is or will
                                            be acceptable to the Board of Trustees, and contains (or will contain)
                                            terms under which the bargaining representative of the affected
                                            Bargaining Unit specifically agrees or acknowledges that any
                                            reductions in labor costs resulting from the New Employer’s
                                            contributions at the New Rate have been allocated to the Bargaining
                                            Unit in a manner that is satisfactory to the bargaining representative.

                    L.     SPECIAL SCHEDULE: QUALIFYING BARGAINING UNITS THAT HAVE BEEN
                           SUBJECT TO A WAGE FREEZE (EXCEPT AS NOTED PRESERVES ALL
                           BENEFITS). (Effective on and after March 14, 2017)

                           1.       Benefits.

                                    With regard to any Bargaining Unit subject to a Collective Bargaining
                                    Agreement in effect as of March 1, 2017 (the “Current Agreement”) that –

                                    (i)     was (or is) of 3 to 5 years in duration,

                                    (ii)    did not (or does not) provide for any wage increases for the entire
                                            duration of the Agreement, and

                                    (iii)   required (or requires) pension contribution rate increases in compliance
                                            with the Primary Schedule (Section 2.A of this Rehabilitation Plan) for
                                            the entire duration of the Agreement, but did not (or does not) at any time
                                            require contributions at rates equal to or in excess of any of the
                                            maximum rates specified under the provisos to the Primary Schedule

                                    the benefits available to any such Bargaining Unit under any new Collective
                                    Bargaining Agreement that is the immediate successor or renewal
                                    Agreement of the Current Agreement, and is not in compliance with the
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                                    Primary Schedule (“Successor Agreement”), will be nevertheless identical to
                                    the benefits available to Bargaining Units whose Collective Bargaining
                                    Agreements are in compliance with the Primary Schedule, provided that any
                                    such Successor Agreement has the characteristics specified in Section 2.L.2
                                    below.

                           2.       Contributions.

                                    In order for a Bargaining Unit to qualify for the benefits specified under
                                    Section 2.L.1 above, the Successor Agreement must:

                                    (i)     Not be of less duration than the Current Agreement, but not exceeding
                                            5 years in duration;

                                    (ii)    require pension contributions at a rate that is at least as high as the
                                            highest rate required under the Current Agreement, but need not
                                            provide for any increase in the contribution rates for the duration of the
                                            Successor Agreement (the “Special Rate”); and

                                    (iii)   contain terms under which the bargaining representative of the affected
                                            Bargaining Unit specifically agrees and acknowledges that any
                                            reduction in labor costs resulting from contributions at the Special Rate
                                            (i.e., contributions without the rate increases otherwise required under
                                            the Primary Schedule) have been allocated to the Bargaining Unit in a
                                            manner that is satisfactory to the bargaining representative.

Section 3.            REHABILITATION PLAN STANDARDS AND OBJECTIVES.

             The Schedules of Contributions and Benefits discussed above have been formulated by the
             Fund’s Board of Trustees as reasonable measures which, under reasonable actuarial
             assumptions, are designed and projected to allow the Fund to emerge from critical status in
             2052. Projections may vary from year to year as actual experience may differ from
             assumptions.

             The Trustees recognize the possibility that actual experience could be less favorable than the
             reasonable assumptions used for the Rehabilitation Plan on an annual basis. Consequently,
             the annual standards for meeting the requirements of the Rehabilitation Plan are as follows:

                  •   Actuarial projections updated for each year show, based on reasonable assumptions,
                      that under the Rehabilitation Plan and its schedules (as amended and updated from
                      time to time) the Fund will emerge from critical status in 2052.

Section 4.            ALTERNATIVES CONSIDERED BY THE TRUSTEES.

             The Board of Trustees considered numerous alternatives [including combinations of
             contribution rate increases (and other updates to the schedules of contribution rates in light
             of the experience of the Fund) and benefit adjustments] that might enable the Fund to emerge
             from Critical Status either by the end of ten year PPA Rehabilitation Period (which began on
             January 1, 2011 and ended on December 31, 2020), or to forestall possible insolvency
             indefinitely (beyond the date referenced above under the “Standards and Objectives”
             heading). Some of the alternatives considered were determined to be unreasonable
             measures. The various default and alternative schedules considered included the following:



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             Schedules considered by the Board of Trustees in formulating an initial 2008 rehabilitation
             plan that might permit the Fund to emerge by the end of the Rehabilitation Period on
             December 31, 2020:

    Schedule                          Benefit Reductions                       Contribution Rate Increases

   Default            Immediate maximum Critical Status benefit cuts          15% per year until emergence
                      for all participants to the extent permitted by law     in 2021 (plus an additional
                                                                              1.6% annual increase for
                                                                              Benefit Classes 14 and below)


  Alternative 1       Maintain current benefits                               17% per year until emergence
                                                                              in 2021

  Alternative 2 On the second anniversary of the new bargaining 16% per year until emergence in
                agreement, reduce the future benefit accrual rate 2021
                from 1% of contributions payable at age 62 to 1% of
                contributions at payable at age 65


             In formulating the Fund’s initial rehabilitation plan in 2008, the Board of Trustees concluded
             that utilizing any and all possible measures to emerge from Critical Status by the end of the
             10-year presumptive Rehabilitation Period described in ERISA Section 305(e)(4), would be
             unreasonable and would involve considerable risk to the Fund and Fund participants. In
             particular, the Board of Trustees concluded that the continued existence of the Fund and the
             Trustees’ ability to maintain and improve the Fund’s funded status in accordance with the terms
             of the IRS approved amortization extension would be jeopardized by any attempt to emerge
             from critical status by the end of the presumptive 10-year Rehabilitation Period.

             As shown above, based on January 1, 2008 valuation data, the emergence by the end of the
             presumptive 10 year Rehabilitation Period would require double-digit annual contribution rate
             increases. For example, the daily contribution rate would generally have to grow from $52 to
             over $300. Therefore, the Trustees concluded in 2008 that annual contribution rate increases
             above the 8%/6%/4% level in the Primary Schedule were not reasonable and could trigger
             mass withdrawals and significant losses to the Fund and the participants.

             During the process of updating the Rehabilitation Plan in each applicable year subsequent to
             2008, the Trustees concluded that in light of current valuation data available in each of those
             years, the experience of the Fund and projections, the option available to the Fund under
             ERISA Section 305(e)(3)(ii) was to pursue reasonable measures to forestall a possible
             insolvency. The Trustees also concluded during the 2010 - 2022 update processes that
             requiring annual contribution increases above the level described in the Primary Schedule
             would not be reasonable and would likely accelerate a possible insolvency of the Fund rather
             than forestall it.

             Prior to Plan/calendar year 2023, the Trustees have implemented (and, where applicable,
             have continued to implement) numerous measures to improve the Fund’s funding. These
             have included:

                  •    Reducing the benefit accrual rate from 2% of contributions to 1% of contributions;

                  •    Protecting the “and-out” and early retirement benefits while freezing them at their year-
                       end 2003 levels;
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                  •   Obtaining agreements from the major bargaining parties to reallocate significant
                      amounts of annual benefit contributions to the Pension Fund;

                  •   Obtaining an amortization extension from the Internal Revenue Service in 2005, and
                      successfully seeking a waiver of the conditions of that extension in light of investment
                      losses resulting from the weakness in financial markets in recent years (waiver or
                      alteration of conditions granted in 2016);

                  •   Requiring as a condition of continued participation in the Fund that new bargaining
                      agreements in the last several years include significant annual contribution rate
                      increases;

                  •   Providing information to Congress and federal agencies with respect to legislative or
                      regulatory proposals that appear to assist in addressing the funding challenges
                      confronting the Fund;

                  •   Approving a Distressed Employer Schedule as part of the Fund’s Rehabilitation Plan
                      under which YRC, Inc. and its affiliate USF Holland, Inc., two distressed (but
                      historically significant) Contributing Employers, resumed Contributions in June 2011
                      at rates lower than would have been permitted under previous (pre-2011)
                      Rehabilitation Plan Schedules; this Distressed Employer Schedule significantly
                      adjusted the benefits of the affected Bargaining Unit members, and helped assure that
                      despite the lower Contribution rates, the continued participation of these Employers
                      would tend to improve overall pension funding; and

                  •   Adopting a new withdrawal liability method, and obtaining approval of that method by
                      the Pension Benefit Guaranty Corporation, under which new Contributing Employers,
                      and existing Contributing Employers who satisfy their withdrawal liability under the
                      Fund’s historic (pre-2011) withdrawal liability method (i.e., the “modified presumptive
                      method”), will have any future withdrawal liability determined under the “direct
                      attribution” method; the Trustees believe that this “hybrid” method will be attractive to
                      some Contributing Employers who wish to continue to participate in the Fund, but may
                      be concerned about the potential for future growth of their estimated withdrawal
                      liability as calculated under the Fund’s prior (pre-2011) withdrawal liability
                      method, and that this, in turn, will encourage continued participation in the Fund and
                      tend to improve overall pension funding.

                  •   Amending the Primary Schedule of the Rehabilitation Plan to permit Contributing
                      Employers, who satisfy their existing withdrawal liability and qualify as New Employers
                      eligible for the direct attribution method under the hybrid method, to comply with the
                      Primary Schedule without the need (under their current Collective Bargaining
                      Agreements) for the contribution rate increases otherwise required under the Primary
                      Schedule. The Trustees determined that this amendment to the Rehabilitation Plan
                      will encourage existing Contributing Employers to satisfy their existing withdrawal
                      liability and to continue their participation in the Fund as New Employers under the
                      hybrid method; the Trustees determined that the New Employers’ participation on these
                      terms would tend to improve overall pension funding.

                  •   Authorizing the filing, on September 25, 2015, of an application with the United States
                      Department of the Treasury requesting approval of a plan of suspension of benefits
                      under MPRA. (The Trustees determined that the filing of this application was a
                      reasonable measure designed to forestall insolvency, and therefore one that they were
                      required to take under the PPA. However, the Fund’s MPRA application was denied

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                      by the Department of Treasury on May 6, 2016, and the Trustees have determined
                      that it is not feasible for the Fund to submit a revised MPRA application.)

                  •   Approval of the Special Schedule relating to Qualifying New (“Hybrid“) Method
                      Employers indicated in Section 2.K. of this Appendix.

                  •   And the addition of Section 2.L. to this Appendix dealing with Qualifying Bargaining
                      Units that have been subject to wage freezes.

                  •   Authorizing the filing in 2022 of an application with the Pension Benefit Guaranty
                      Corporation (PBGC) requesting Special Financial Assistance (SFA) under the
                      American Rescue Plan Act of 2021. The PBGC approved the application in
                      December 2022, and the Fund received $35,764,910,109.99 in SFA on January
                      12, 2023.

             However, the Trustees have also determined, as part of the 2023 Rehabilitation Plan update
             process, that mandating additional significant benefit cuts (beyond those provided in this
             updated Rehabilitation Plan), or (as noted) mandating significant contribution rate increases
             at levels beyond those required in recent years, would risk substantially accelerating the rate
             at which employers would withdraw from the Fund, in large part because the Union could
             conclude that it would be in its members’ best interest to agree to withdrawals. The Board of
             Trustees also determined that this acceleration of employer withdrawals would, in turn, be
             counterproductive to the Trustees’ effort to emerge from critical status in 2052.




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                                                         Exhibit A
                             Primary Schedule: Contribution Rate Increases by Bargaining
                           Agreement Year (all rate increases are to be compounded annually)
Calendar
Year of
Contribution                                          Year of Initial Bargaining Agreement Conforming to Primary Schedule
Rate
Increases
                2006
                 &        2007   2008   2009   2010      2011 2012        2013    2014    2015     2016   2017      2018    2019   2020   2021 2022   2023
               Earlier
    2006        7%
    2007        7%         8%
    2008        7%         8%    8%
    2009        7%         8%    8%     8%
    2010        7%         8%    8%     8%     8%
    2011        6%         8%    8%     8%     8%        8%
    2012        5%         6%    8%     8%     8%        8%       8%
    2013        4%         4%    6%     8%     8%        8%       8%      8%
    2014        4%         4%    6%     8%     8%        8%       8%      8%      8%
    2015        4%         4%    6%     8%     8%        8%       8%      8%      8%       8%
    2016        4%         4%    4%     6%     8%        8%       8%      8%      8%       8%      8%
    2017        4%         4%    4%     4%     6%        8%       8%      8%      8%       8%      8%       8%
    2018        4%         4%    4%     4%     4%        6%       8%      8%      8%       8%      8%       8%      8%
    2019        4%         4%    4%     4%     4%        4%       6%      8%      8%       8%      8%       8%      8%      8%
    2020        4%         4%    4%     4%     4%        4%       4%      6%      8%       8%      8%       8%      8%      8%     8%
    2021        4%         4%    4%     4%     4%        4%       4%      4%      6%       8%      8%       8%      8%      8%     8%     8%
    2022        4%         4%    4%     4%     4%        4%       4%      4%      4%       6%      8%       8%      8%      8%     8%     8%    8%
    2023        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      6%       8%      8%      8%     8%     8%    8%    8%
    2024        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      4%       6%      8%      8%     8%     8%    8%    8%
    2025        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      4%       4%      6%      8%     8%     8%    8%    8%
    2026        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      4%       4%      4%      6%     8%     8%    8%    8%
    2027        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      4%       4%      4%      4%     6%     8%    8%    8%
    2028        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      4%       4%      4%      4%     4%     6%    8%    8%
    2029        4%         4%    4%     4%     4%        4%       4%      4%      4%       4%      4%       4%      4%      4%     4%     4%    6%    8%




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                                                 EXHIBIT B


                             Schedule for Actuarial Reduction of Age 65 Benefits

                       (Applicable to Default Schedule and Rehabilitation Plan
                         Withdrawal benefit adjustments for Participants who
                          (i) have not submitted a retirement application on or
                     before July 1, 2011 and (ii) do not have a benefit commencement
                date [within the meaning of ERISA§ 305(i)(10)] on or before July 1, 2011)



                                                       Percent of Age 65 Benefit Based on
                                        Age                    Actuarial Equivalence


                                        65                                100%
                                        64                                 90%
                                        63                                 81%
                                        62                                 74%
                                        61                                 67%
                                        60                                 61%
                                        59                                 55%
                                        58                                 50%
                                        57                                 46%




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APPENDIX N.          PUERTO RICO PROVISIONS


Section 1.           PREAMBLE

             This Appendix N is added to the Pension Plan (this “Pension Plan”) by the Board of Trustees,
             effective on or after January 1, 2014. The provisions of this Appendix N shall apply solely with
             respect to Participants who are employed by a Contributing Employer that is engaged in
             business in the Commonwealth of Puerto Rico (a “Puerto Rico Employer”) and who are bona
             fide residents of the Commonwealth of Puerto Rico or who perform labor or services primarily
             within the Commonwealth of Puerto Rico, regardless of residence for other purposes (the
             “Puerto Rico Participants”). With respect to the Puerto Rico Participants, the Board of Trustees
             intends the Plan to qualify, effective January 1, 2011, under Section 1081.01(a) of the Puerto
             Rico Internal Revenue Code of 2011, as amended from time to time (the “2011 PR Code”),
             such that benefits provided hereunder, prior to distribution, are not currently taxable to the
             Puerto Rico Participant, the Puerto Rico Employers are entitled to a deduction for Puerto Rico
             tax purposes, and the Puerto Rico Participants may enjoy any preferential tax treatment
             available under the 2011 PR Code for rollovers from and to, and distributions from a Puerto
             Rico tax qualified retirement plan. The provisions of this Appendix N are generally effective
             January 1, 2014 unless provided otherwise. Notwithstanding anything herein to the contrary,
             no Puerto Rico Participant's Accrued Benefit as of December 31, 2011, shall be reduced
             because of this Appendix N. Notwithstanding the foregoing, solely for Puerto Rico tax
             qualification purposes and solely with respect to the Puerto Rico Participants, this Appendix
             N is effective as of January 1, 2011, unless otherwise provided in this Appendix N.

Section 2.           TYPE OF PLAN

             Effective January 1, 2011, the Board of Trustees intends that the Plan (including the trust
             agreement forming a part thereof), as applied to Puerto Rico Participants, be a defined benefit
             plan for the exclusive benefit of its Employees or their Beneficiaries as provided for in Section
             1081.01(a) of the 2011 PR Code, and is to be interpreted and administered in a manner
             consistent with that intent. With respect to the Puerto Rico Participants, the Plan will at all
             times be maintained and administered in accordance with any applicable laws and regulations
             of the Commonwealth of Puerto Rico in connection with contributions and accrual of benefits
             related to the Puerto Rico Participants, unless contrary to the applicable provisions of the
             Code or ERISA.

Section 3.           AFFILIATE

             Effective for Plan Years beginning on or after January 1, 2012, for purposes of the qualification
             requirements and the non-discrimination and coverage testing provisions of Sections
             1081.01(a) of the 2011 PR Code, the term “Affiliate” means the employers that are
             corporations and business organizations which together with a Puerto Rico Employer are
             members of a controlled group of corporations, or organizations under common control, or of
             affiliated service groups, as such terms are defined in Sections 1081.01(a)(14)(B) and
             1010.04 of the 2011 PR Code. For purposes of determining whether or not a person is an
             employee of the controlled group and the period of employment of such person, each entity
             (other than the Puerto Rico Employer) shall be considered an Affiliate only for such period or
             periods during which such entity is a member of a controlled group or under common control.




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Section 4.           PUERTO RICO COMPENSATION

             Notwithstanding any provision of the Plan to the contrary, only with respect to a Puerto Rico
             Participant, a Puerto Rico Participant’s Compensation shall include contributions made on
             behalf of the Puerto Rico Participant by his/her Puerto Rico Employer that are not currently
             includible in the Puerto Rico Participant’s gross income by reason of the application of
             Sections 1081.01(b)(1) and (d)(5). Notwithstanding the foregoing, effective for Plan Years
             beginning on or after January 1, 2012, a Puerto Rico Participant's Compensation shall not
             exceed the applicable annual compensation limit for any Plan Year determined under Section
             1081.01(a)(12) of the 2011 PR Code.

Section 5.           MAXIMUM BENEFIT LIMITATION

             Notwithstanding any provision of the Plan to the contrary, only with respect to a Puerto Rico
             Participant, effective for Plan Years beginning on or after January 1, 2012, the amount of a
             Puerto Rico Participant's Annual Benefit, including the right to any optional benefit provided
             under the Plan, credited to a Puerto Rico Participant for any Limitation Year shall not exceed
             the applicable annual limit provided in Section 1081.01(a)(11) of the 2011 PR Code (i.e., for
             2012, the lesser of (i) $200,000 (expressed as a straight life annuity with no ancillary benefits)
             or (ii) one hundred percent of the Participant’s average highest Compensation for a period not
             exceeding three years). For the purpose of this Section 5, all Puerto Rico tax qualified defined
             benefit plans maintained by the Puerto Rico Employer shall be treated as one defined benefit
             plan.

Section 6.           DIRECT ROLLOVER PAYMENTS

             Notwithstanding any provision of the Plan to the contrary, only with respect to a Puerto Rico
             Participant, a Puerto Rico Participant may elect, at the time and in the manner prescribed by
             the Board of Trustees, to have all or part of a lump-sum distribution received from the Plan on
             account of separation from service or the termination of the Plan paid directly in a direct
             rollover to a “Puerto Rico Eligible Retirement Plan” (as defined below) that accepts the Puerto
             Rico Participant’s Eligible Rollover Distribution (as defined in Section 7.16(b)(2) of the Plan).
             For purposes of this Section 6, the term “Puerto Rico Eligible Retirement Plan” means a
             qualified trust described in Section 1081.01(a) of the 2011 PR Code and an individual
             retirement account or annuity described in Sections 1081.02(a) and (b) of the 2011 PR Code,
             respectively, that accepts the Puerto Rico Participant’s Eligible Rollover Distribution.
             Notwithstanding the foregoing, in order for such Eligible Rollover Distribution not to be subject
             to both applicable US and Puerto Rico income tax withholdings and to defer taxation under
             both the Code and the 2011 PR Code, such Puerto Rico Participant’s benefit must be
             distributed in the form of a direct rollover distribution to a trust that is tax qualified under both
             Code Section 401(a) and 2011 PR Code Section 1081.01(a), at the time of the rollover
             distribution.

Section 7.           PUERTO RICO EMPLOYER CONTRIBUTIONS

             Only with respect to a Puerto Rico Participant, each contribution made by a Puerto Rico
             Employer to the Plan with respect to a Puerto Rico Participant is expressly conditioned on the
             deductibility of such contribution under the 2011 PR Code, for the taxable year for which it is
             contributed. If the Puerto Rico Department of the Treasury disallows the deduction, or if the
             contribution was made by a mistake of fact, to the extent permissible under ERISA and the
             Code, such contributions shall be returned to the Puerto Rico Employer within one (1) year
             after the disallowance of the deduction (to the extent disallowed), or after the payment of the
             contribution, respectively.
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Section 8.            PAYMENT OF CONTRIBUTIONS

             Contributions to the Plan by a Puerto Rico Employer with respect to the Puerto Rico
             Participants shall be paid to the Trustee not later than the due date for filing the Puerto Rico
             Employer’s Puerto Rico income tax return for the taxable year in which such payroll period
             falls, including any extension thereof.

Section 9.            HIGHLY COMPENSATED EMPLOYEES

             Solely for qualification purposes under the 2011 PR Code, a Highly Compensated Employee
             means, with respect to a Plan Year:

             (i)     is an officer (as defined by applicable regulations) of a Puerto Rico Employer; or

             (ii)    at any time during the calendar year ending with or within the Plan Year or the preceding
                     calendar year ending with or within the Plan Year was a 5% owner of a Puerto Rico
                     Employer; or

             (iii)   for the preceding calendar year had Compensation in excess of the applicable dollar
                     amount provided under Section 1081.01(d)(3)(E)(iii)(IV) of the 2011 PR Code.

             The term “Puerto Rico Highly Compensated Employee” also includes any former Employee
             of a Puerto Rico Employer eligible to participate in the Plan who separated from service (or
             has a deemed separation from service) prior to the Plan Year, performs no service for the
             Employer during the Plan Year, and was a Puerto Rico Highly Compensated Employee for
             the separation year.

Section 10.           PLAN MERGER, CONSOLIDATION OR TRANSFER

             Any merger or consolidation of the Plan with, or transfer in whole or in part of the assets and
             liabilities of the Trust to, another trust as applied to a Puerto Rico Participant under the Plan
             will be limited to the extent such other plan and trust are qualified under Section 1081.01(a)
             of the 2011 PR Code.

Section 11.           GOVERNING LAW

             Only with respect to the Puerto Rico Participants and the Puerto Rico Employers, it is the
             intent that the Plan be administered, governed and construed according to the Code and
             ERISA unless this Appendix N applies.

Section 12.           USE OF TERMS

             Unless otherwise indicated and unless the context clearly indicates otherwise, terms defined
             in the Plan will also apply to terms used in this Appendix N. All terms and provisions of the
             Plan shall apply to this Appendix N, except that where the terms and provisions of the Plan
             and this Appendix N conflict, the terms and provisions of this Appendix N shall govern, unless
             contrary to the applicable provisions of the Code or ERISA.




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APPENDIX O.          SPECIAL FINANCIAL ASSISTANCE FROM THE PBGC

            Beginning with the SFA measurement date selected by the plan in the plan’s application for
            special financial assistance, notwithstanding anything to the contrary in this or any other
            governing document, the plan shall be administered in accordance with the restrictions and
            conditions specified in section 4262 of ERISA and 29 CFR part 4262. This amendment is
            contingent upon approval by PBGC of the plan’s application for special financial assistance.




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